 Fill in this information to identify the case:

 Debtor name         Sunshine Dairy Foods Management, LLC

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         18-31644-pcm11
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 1, 2018                            X /s/ Dan Boverman
                                                                       Signature of individual signing on behalf of debtor

                                                                       Dan Boverman
                                                                       Printed name

                                                                       CRO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy




                                              Case 18-31644-pcm11                         Doc 152           Filed 06/01/18
 Fill in this information to identify the case:

 Debtor name            Sunshine Dairy Foods Management, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF OREGON

 Case number (if known)               18-31644-pcm11
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       14,798,821.91

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       14,798,821.91


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        9,190,838.21


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           675,867.31

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        4,841,676.89


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         14,708,382.41




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy



                                                        Case 18-31644-pcm11                                        Doc 152                  Filed 06/01/18
 Fill in this information to identify the case:

 Debtor name         Sunshine Dairy Foods Management, LLC

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         18-31644-pcm11
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.        Cash on hand                                                                                                                             $200.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number


           3.1.    Keybank                                                  Control Acct                 1574                                  $499,774.00




           3.2.    Keybank                                                  Health Insurance Acct        4130                                             $0.00




           3.3.    Keybank                                                  Money Market                 1389                                             $0.01




           3.4.    First Business Bank                                      Collateral Acct              1100                                             $0.00




           3.5.    First Business Bank                                      Health Insurance Acct        9200                                             $0.00




           3.6.    First Business Bank                                      Operating Acct               4100                                    $60,510.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy



                                              Case 18-31644-pcm11                  Doc 152       Filed 06/01/18
 Debtor           Sunshine Dairy Foods Management, LLC                                         Case number (If known) 18-31644-pcm11
                  Name


                    US Bank (funds in transit this day from
           3.7.     Access to US Bank                                       Lockbox                          2067                         $43,289.73



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                          $603,773.74
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Security Deposits - PGE and NW Natural Gas                                                                            $48,288.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                            $48,288.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                            3,807,198.00    -                          6,000.00 =....                 $3,801,198.00
                                              face amount                        doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                        $3,801,198.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                        Valuation method used   Current value of
                                                                                                        for current value       debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy



                                              Case 18-31644-pcm11                  Doc 152         Filed 06/01/18
 Debtor         Sunshine Dairy Foods Management, LLC                                          Case number (If known) 18-31644-pcm11
                Name

           Name of entity:                                                          % of ownership
                     14.29% investment of common stock of QCS
           15.1.     Insurance Company (valued as of 12/31/17)                      14.29%        %      Cost method                         $4,000.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


 17.       Total of Part 4.                                                                                                              $4,000.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of          Valuation method used   Current value of
                                                      physical inventory      debtor's interest          for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials
           Inventory - Raw
           Materials
           See Exhibit A for details                  April 2018                        Unknown          Recent cost                      $869,359.63



 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Inventory - Finished
           Goods
           See Exhibit A for details                  April 2018                        Unknown          Recent cost                      $571,622.05



 22.       Other inventory or supplies
           Inventory - Supplies
           See Exhibit A for details                  April 2018                        Unknown          Recent cost                      $586,039.52




 23.       Total of Part 5.                                                                                                         $2,027,021.20
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                          0 Valuation method                         Current Value                                0

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                  Doc 152            Filed 06/01/18
 Debtor         Sunshine Dairy Foods Management, LLC                                          Case number (If known) 18-31644-pcm11
                Name


        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office Furniture
           See Exhibit B for details                                                    $2,615.94    Cost                                $34,172.72



 40.       Office fixtures
           Office Furniture
           See Exhibit B for details                                                    $2,223.10    Cost                                $31,476.72



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers, Electronics, Communications,
           Software
           See Exhibit B for details                                                 $134,090.00     Cost                               $388,283.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                           $453,932.44
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy



                                              Case 18-31644-pcm11                  Doc 152        Filed 06/01/18
 Debtor         Sunshine Dairy Foods Management, LLC                                         Case number (If known) 18-31644-pcm11
                Name

           47.1.     Rolling Stock - Registered Vehicles of
                     All Types including over the road
                     trailers
                     See Exhibit C for details
                     (based on Value from 11/21/17 appraisal
                     performed by Great American Group -
                     Exhibit E)
                     VEHICLES WERE NOT LISTED ON
                     CURRENT DEPRECIATION SCHEDULE                                     Unknown       Liquidation                       $430,750.00


           47.2.     2017 Toyota Camry
                     VIN#4T1BF1FK5HU286064                                            $13,812.32     Proof of Claim                     $17,375.00


           47.3.     2013 Ford Fusion VIN
                     3FA6P0D9XDR279600
                     (based on Value from 11/21/17 appraisal
                     performed by Great American Group -
                     Exhibit E)                                                             $0.00    Liquidation                        $14,000.00


           47.4.     Vehicles and Trailers
                     See Exhibit C for details
                     (based on Value from 11/21/17 appraisal
                     performed by Great American Group -
                     Exhibit E)                                                       $36,229.97     Liquidation                      $129,250.00


           47.5.     Leased Vehicles and Trailers
                     See Exhibit D for details
                     (based on Value from 11/21/17 appraisal
                     performed by Great American Group -
                     Exhibit E)                                                             $0.00    Liquidation                        $71,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Leased Production Machinery
           See Exhibit F for Details                                                        $0.00    Cost                            $4,942,700.00


           ERP System (Leased from Harvest Food
           Solutions, LLC
           (based on Value from 11/21/17 appraisal
           performed by Great American Group - Exhibit
           E)                                                                         $26,530.85     Liquidation                        $50,000.00


           Leased Leasehold Improvements
           See Exhibit F for Details                                                  $13,986.37     Cost                               $25,504.77




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy



                                              Case 18-31644-pcm11                  Doc 152       Filed 06/01/18
 Debtor         Sunshine Dairy Foods Management, LLC                                          Case number (If known) 18-31644-pcm11
                Name

           Machinery - Including Material Handling and
           Storage Equipment, Mobile Equipment,
           Production Machinery, Support Equipment
           and Laboratory & Test Equipment
           See Exhibit G for details
           (based on Value from 11/21/17 appraisal
           performed by Great American Group - Exhibit
           E)                                                                      $1,602,473.94     Liquidation                      $2,093,000.00


           Leasehold Improvements
           See Exhibit H for details                                                  $66,078.63     Cost                                $87,028.76




 51.       Total of Part 8.                                                                                                      $7,860,608.53
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Sunshine DC -
                     Storage Building                     Storage
                     16117 SW 98th Ave,                   building -
                     Bldg B                               Currently
                     Clackamas OR 97015                   being vacated                Unknown                                             Unknown


           55.2.     Lease of 4 parcels of
                     real estate including
                     West Plant, 801 NE
                     21st Ave, Portland;
                     915 NE 21st Ave,
                     Portland; 959 NE 21st
                     Ave, Portland and
                     8440 NE Halsey St,                   Commercial
                     Portland                             Lease (KHI)                       $0.00                                                $0.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy



                                              Case 18-31644-pcm11                  Doc 152        Filed 06/01/18
 Debtor         Sunshine Dairy Foods Management, LLC                                          Case number (If known) 18-31644-pcm11
                Name


 56.        Total of Part 9.                                                                                                                  $0.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used   Current value of
                                                                              debtor's interest        for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Production Formulations                                                         $0.00                                          Unknown


            Sunshine Dairy Trademark                                                        $0.00                                          Unknown



 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer List, product lists, routing lists                                     $0.00                                          Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                 $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy



                                              Case 18-31644-pcm11                  Doc 152        Filed 06/01/18
 Debtor         Sunshine Dairy Foods Management, LLC                                         Case number (If known) 18-31644-pcm11
                Name


        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                            Current value of
                                                                                                                            debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

           Stumptown, Pacific Foods, Medosweet                                                                                            Unknown
           Nature of claim       Vendor/Customer Offset claims
           Amount requested                        $0.00


           Potential breach of contract, negligence and intential
           tort claims against:

           1) company accountants
           2) former officers of Sunshine Dairy Foods
           Management, LLC and
           3) independent contactors                                                                                                      Unknown
           Nature of claim          Tort, Contract
           Amount requested                                              $0.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                                                 $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy



                                              Case 18-31644-pcm11                  Doc 152       Filed 06/01/18
 Debtor          Sunshine Dairy Foods Management, LLC                                                                Case number (If known) 18-31644-pcm11
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $603,773.74

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $48,288.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $3,801,198.00

 83. Investments. Copy line 17, Part 4.                                                                               $4,000.00

 84. Inventory. Copy line 23, Part 5.                                                                           $2,027,021.20

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $453,932.44

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $7,860,608.53

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $14,798,821.91             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $14,798,821.91




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 9
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy



                                                  Case 18-31644-pcm11                                Doc 152              Filed 06/01/18
                                SUNSHINE DAIRY FOODS MANAGEMENT, LLC             CASE # 18-31644-pcm11
                                             SCHEDULE A/B
                                  INVENTORY - QUESTIONS 19, 21 and 22


                                                                                 Current Value
                                                                                  of Debtor's
 Item                                                              Location of    Interest in
  ID #                     Description of Property                  Property       Property

19. Inventory. Raw Materials
     1    Shep. Bros. Tower Bac 2 5 Gal                           West           $      582.40
     2    Shep. Bros. Safe Corr 3 Gal                             West           $      405.34
     3    Shep. Bros. Cycle Bio-Solve G15, 470# Drum              West           $      269.82
     4    Ecolab AC-103 - 50 GAL                                  East           $      565.81
     5    Ecolab AC-103 - 50 GAL                                  West           $    1,907.98
     6    Ecolab Enforce LP 55 GAL                                East           $      656.75
     7    Ecolab Enforce LP 55 GAL                                West           $    1,348.69
     8    Ecolab HC-1 5 LBS                                       West           $      171.95
     9    Ecolab Ster-Bar Quat 55 GAL                             East           $      531.75
   10     Ecolab Ster-Bar Quat 55 GAL                             West           $    1,851.64
   11     Ecolab Synergex 50 GAL                                  East           $    7,257.26
   12     Ecolab Synergex 50 GAL                                  West           $    9,503.55
   13     Ecolab Sani-Glide 55 GAL                                West           $    3,132.50
   14     Ecolab XY-12 - 55 GAL                                   East           $      292.73
   15     Ecolab XY-12 - 55 GAL                                   West           $      315.69
   16     Ecolab ASC-55-5 Red 55 GAL                              East           $      172.04
   17     Ecolab ASC-55-5 Red 55 GAL                              West           $    1,720.44
   18     Ecolab Boost 3200 - 55 GAL                              West           $    1,144.29
   19     Ecolab Boost 3201 - 55 GAL                              West           $    1,232.31
   20     Ecolab Boost ft - 1 LBS                                 West           $      424.41
   21     Ecolab Exelerate CIP Plus                               East           $    6,366.16
   22     Ecolab Exelerate CIP Plus                               West           $    5,242.72
   23     Ecolab SC-205 - 55 GAL                                  West           $      528.33
   24     Ecolab Foam-Nox 4 GAL                                   West           $      118.57
   25     Ecolab AC-103                                           East           $    1,235.07
   26     Ecolab Ster-Bac Quat 55 Gal                             West           $    2,569.15
   27     Nalco Ecolab Liquid Caustic 55 Gal                      West           $    5,228.59
   28     Nalco Ecolab Trasar 3DT230.12 55 LB                     West           $      378.12
   29     Nalco Ecolab Sulfuric Acid 93% - 55 Gal                 East           $    1,374.44
   30     Ecolab 2171 General Cleaner 5lbs                        West           $    1,317.17
   31     Nalco Ecolab Ultion 8185 - 2745 Tote                    West           $      164.32
   32     Nalco Ecolab 1404 - 55 Gal                              West           $    2,162.45
   33     Ecolab 2171 General Cleaner 50lbs                       West           $      181.94
  736     Organic Low Heat NFDM Powder 50 LB                      West           $    1,353.65
  737     Grade A Org Valley Org NF Dry Milk Powder 50 LB         East           $    9,568.00
  738     Grade A Org Valley Org NF Dry Milk Powder 50 LB         DC             $   28,080.00
  739     Premeate Milk Powder                                    DC             $    1,299.44
  740     Tillamook Kosher Whey Powder 55 LB                      West           $      241.18

EXHIBIT A
PAGE 1 of 29
                           Case 18-31644-pcm11          Doc 152   Filed 06/01/18
                               SUNSHINE DAIRY FOODS MANAGEMENT, LLC             CASE # 18-31644-pcm11
                                            SCHEDULE A/B
                                 INVENTORY - QUESTIONS 19, 21 and 22


                                                                                Current Value
                                                                                  of Debtor's
 Item                                                             Location of     Interest in
  ID #                       Description of Property               Property        Property
   741    Tate & Lyle 903000 Nat Eggnog Base 46 LB               West           $       705.46
   742    Crest Foods 42-2353 Sour Cream Base 50 LB              West           $     3,660.00
   743    Benjamin Forbes SS12 Choc Milk Powder 30 LB            West           $     3,629.20
   744    Benjamin Forbes Choc Milk Powder 40 LB                 West           $     4,238.79
   745    Sensory Effects Vita Rite D 4 OS Gal                   West           $     1,577.03
   746    DSM Vitimin Pre Mix Gerber LB                          East           $ 12,240.00
   747    Crest 42-1370 Sour Cream Solids LB                     West           $     1,571.60
   748    Crest Foods 34-036-SUN Buttermilk Stab 50 LB           West           $       824.91
   749    Univar Cargill Evaporated Fine Blending Salt 50 LB     West           $         5.45
   750    Danisco SSD 5675 Yogurt Stab Sys LB                    East           $       636.01
   751    Tic Gum Locust Bean Gum Stab 50 LB                     West           $     3,038.44
   752    PB Leiner 250 Beefskin Kosher Gelatin 50 LB Bag        West           $       460.90
   753    Brenntag Potass Sorb FCC GPD Kosh Gran-Reipu 50 LB     East           $       292.79
   754    Brenntag Potass Sorb FCC GPD Kosh Gran-Reipu 50 LB     West           $     2,810.81
   755    Gerber Nat Strwbry Rasp Flavor                         East           $     5,231.38
   756    Kerry Nat Strwbry Banana Flavor WONF Gerber 40 LB      East           $     5,072.12
   757    Everfresh Country Orange Cream Yogurt Prep LB          East           $       508.61
   758    Everfresh WF Mixed Berry Yogurt Prep 2600 LB           East           $     1,194.35
   759    Jogue Blueberry Topnote Gal                            West           $       129.83
   760    Jogue Rasp Topnote Gal                                 West           $       103.04
   761    Jogue Strwbry Topnote Gal                              West           $       171.72
   762    ADM Liquid Sugar LB                                    West           $       574.07
   763    AmCane Org Sugar NJ 50 LB                              East           $     9,912.32
   764    Tetrasdm Pyroph FG Pwdr 21D Innophos 50LB              West           $       476.10
   765    Danisco B901 DPL Buttermilk Sour Cream Culture         West           $     1,356.96
   766    Vivolac ABY 464 Yogurt Culture                         East           $       722.06
   767    Vivolac ABY 464 Yogurt Culture                         West           $       115.53
   768    Vivolac ABY 464 Yogurt Culture                         West           $       455.70
   769    Danisco Yo-Mix ABY-2C LYO 1125 DCU                     East           $     3,169.49
   770    Danisco Yo-Mix ABY-2C LYO 1125 DCU                     West           $       362.23
   771    Vivolac Vivopel FAS 727 Buttermilk S Cream Culture     West           $       884.80
   772    Danisco Crown Stablizer Sys 50 LB                      West           $       952.34
   773    Danisco Grindsted SSD5675 Stab Sys 50 LB               West           $       315.62
   774    Danisco Elevations 100 Stab & Emuls Sys 50 LB          West           $       611.80
   775    Firmenich Nat Peach WONF Gal                           East           $     6,155.14
   776    Firmenich Nat Mixed Berry WONF Gal                     East           $     5,134.92
   777    Firmenich Nat Strwbry WONF Gal                         East           $     3,628.11
   778    GNT Exberry Shade Bordeaux 55 LB                       East           $     4,971.01
   779    GNT Exberry Shade Flamingo Red Clear 55 LB             East           $     8,298.76
   780    Danisco Grindsted GSD 1795 Stab & Emuls Sys 50 LB      DC             $ 211,431.36

EXHIBIT A
PAGE 2 of 29
                           Case 18-31644-pcm11         Doc 152   Filed 06/01/18
                               SUNSHINE DAIRY FOODS MANAGEMENT, LLC            CASE # 18-31644-pcm11
                                            SCHEDULE A/B
                                 INVENTORY - QUESTIONS 19, 21 and 22


                                                                               Current Value
                                                                                 of Debtor's
 Item                                                            Location of     Interest in
  ID #                       Description of Property              Property        Property
   781    Danisco Grindsted GSD 1795 Stab & Emuls Sys 50 LB     East           $     6,987.87
   782    Color Maker Nat Orange Color 34 LB                    East           $     6,277.49
   783    Tree Top Peach Puree YC SS PUR BF BNB Gerber 40 LB    East           $     4,410.00
   784    Tree Top Rasp Pure SS SDLS PUR BF BNB Gerber 40 LB    East           $ 12,800.00
   785    SVZ Org Aseptic Seedlss Strwbry Puree Gerber 44 LB    East           $     2,374.14
   786    Danisco Kontrol Stab & Emuls Sys 10551102 50 LB       West           $     1,039.03
   787    Danisco Holdbac YM-B FRO Culture 500 DCU              East           $       553.51
   788    Danisco Holdbac YM-B LYO Culture 100 DCU              East           $        25.72
   789    Danisco Cho ozit 1001-B Buttermilk S Cream Culture    West           $     1,346.80
   790    Tree Top Black Pure SS SDLS PUR ASPTC BF BNB 40 LB    East           $     9,204.00
   791    Puratos Starch Novation 9360 Gerber 55 LB             East           $     1,227.60
   792    GNT Exberry Shade Summer Red 55 LB                    East           $     4,831.82
   793    Danisco Rennet Marzyme Liter                          West           $        81.03
   794    Danisco 501 Stab & Emuls Sys 50 LB                    West           $       287.58
   795    Danisco Dimodan HS 75 BK-A Dist Monoglyceride 45LB    West           $     1,439.11
   796    Tate & Lyle 317 Ice Cream Stab 50 LB                  West           $     1,791.19
   797    Tate & Lyle 427Q Org Multi Purpose Stablizer 50 LB    West           $ 18,552.72
   798    Danisco Invisible Stab Sys 50 LB                      West           $     1,629.08
   799    Danisco Microguard 100 Cultured Skim Milk 50 LB       East           $       202.40
   800    Danisco Microguard 100 Cultured Skim Milk 50 LB       West           $       789.36
   801    Mission Flavors Naturtal Cream Type Flavor LB         West           $     2,763.20
   802    Edgar A Weber Pure Van Extract 2X Gal                 West           $     3,703.09
   803    Citromax Flavors Choc Ganache Flavor LB               West           $     4,602.56
   804    Citromax Flavors Cinnamon Bun Flavor LB               West           $     1,008.75
   805    Bell Flavors Butterscotch Flavor LB                   West           $     1,292.28
   806    Barry Callebaut Grand Caraque Unsweet Choc 27 LB      DC             $     3,002.19
   807    Barry Cal. 22/24 DP Ryl Dutch Cocoa Alkali 50 LB      DC             $     4,249.05
   808    Barry Callebaut Semi-Sweet Choc 44 LB                 DC             $ 10,262.42
   809    Danisco Prem Ice Cream Stab Sys 50 LB                 West           $     1,107.33
   810    ITI Tropicals Coconut Cream Stumptown 44 LB           West           $ 25,887.99
   811    Zucarmex Zulka Evaporated Cane Juice 50 LB            East           $     1,231.70
   812    Zucarmex Zulka Evaporated Cane Juice 50 LB            West           $     5,327.10
   813    Zucarmex Zulka Evaporated Cane Juice 50 LB            DC             $ 19,178.10
   814    Everfresh SS Blackberry Yogurt Prep 50 LB             East           $       202.50
   815    Mercantum Gerber Banana Puree Aseptic 52 LB           East           $     1,243.62
   816    GNT Mango Yellow Color 55 LB                          East           $     5,400.60
   817    PB Leiner Pig SK 250 Gel 50 LB                        East           $     5,019.25
   818    Everfresh SS LF Prem Wild Blue Frt Yog Prep 50 LB     East           $       626.24
   819    Mane SS Banana Van WONF 40 LB                         East           $     8,756.30
   820    Everfresh SS LF Mixed Berry Frt Yogurt Prep 50 LB     East           $       664.30

EXHIBIT A
PAGE 3 of 29
                          Case 18-31644-pcm11         Doc 152   Filed 06/01/18
                               SUNSHINE DAIRY FOODS MANAGEMENT, LLC             CASE # 18-31644-pcm11
                                            SCHEDULE A/B
                                 INVENTORY - QUESTIONS 19, 21 and 22


                                                                                Current Value
                                                                                  of Debtor's
 Item                                                             Location of     Interest in
  ID #                       Description of Property               Property        Property
   821    Everfresh SS Prem Peach Fruit Yogurt Prep 50 LB        East           $       312.50
   822    Everfresh SS LF Rasp Fruit Yogurt Prep 50 LB           East           $       738.00
   823    Everfresh SS LF Prem Strwbry Frt Yogurt Prep 50 LB     East           $       189.86
   824    Everfresh SS Prem Van Yogurt Prep 50 LB                East           $       483.37
   825    Everfresh WF Van Yogurt Prep 2700 LB                   East           $     1,390.50
   826    Everfresh WF Van Yogurt Prep 2700 LB                   West           $       824.00
   827    Everfresh WF Strwbry Kiwi Fruit Prep 2600 LB           East           $     1,170.00
   828    Everfresh WF Rasp Fruit Prep 2600 LB                   West           $        44.29
   829    Everfresh WF Pina Colada Fruit Prep 2700 LB            East           $       579.86
   830    Everfresh WF Strwbry Yogurt Prep 2600 LB               West           $       333.00
   831    Everfresh WF Peach Yogurt Fruit 2600 LB                East           $     1,827.74
   832    Everfresh WF Peach Yogurt Fruit 26 LB                  West           $       187.46
   833    Everfresh WF Peach Mango Fruit Prep 2600 LB            East           $     1,731.97
   834    Everfresh WF Lemon Fruit Prep 2700 LB                  East           $       493.63
   835    Everfresh WF Boysenberry Fruit Prep 2700 LB            East           $       386.56
   836    Everfresh WF Boysenberry Fruit Prep 27 LB              West           $       214.76
   837    Everfresh WF Strwbry Banana Fruit Prep 2600 LB         East           $     1,781.05
   838    Everfresh WF Black Cherry Fruit Prep 2700 LB           East           $     1,615.22
   839    Everfresh WF Blueberry Fruit Prep 2600 LB              East           $     2,066.88
   840    Everfresh WF Key Lime Fruit Prep 1800 LB               East           $       303.53
   841    Stumptown Cold Brew Spice Extract LB                   West           $           -
   842    Stumptown Cold Brew Concentrate LB                     West           $           -
   843    Stumptown Coffee Beans LB                              West           $           -
   844    Vivolac Viv ozymen Enzyme BG 8000 Bottle               West           $       800.83
   845    Vivolac Vivopel SSF2 Culture Pouch                     West           $         5.05
   846    Ginger Juice 40 LB/tub                                 West           $     1,429.32
   847    Domino Foods Extra Fine GranSugar GMO Free 50 LB       DC             $ 31,052.07
   848    Domino Foods Extra Fine GranSugar GMO Free 50 LB       East           $     1,119.32
   849    Domino Foods Extra Fine GranSugar GMO Free 50 LB       West           $     1,435.03
   850    Darigen 9001 RTC 50lb                                  West           $     7,266.56
   851    MPC 85%                                                West           $        44.16
   852    Danisco Microguard 430 50 LB                           West           $     1,526.62
   853    High Desert High Heat NFDM - 55lbs                     West           $     1,948.23
   854    High Desert High Heat NFDM - 55lbs                     DC             $ 41,438.18
   855    Tic Gum Acacia, Gellan Gum Stab 50 LB                  West           $ 16,931.73
   856    Sensory Effects Vita Rite A&D W 80/16 Gal Non GMO      West           $         2.04
   857    Benjamin Forbes Cocoa Powder 50 LB                     West           $     4,012.80
   858    Maverick Liquick CO2                                   East           $       596.00
   859    Tic Gum Pectin 14 5 lbs                                East           $       578.03
   860    CA Customs Org Vanilla 50 lbs                          East           $     1,680.00

EXHIBIT A
PAGE 4 of 29
                           Case 18-31644-pcm11         Doc 152   Filed 06/01/18
                                SUNSHINE DAIRY FOODS MANAGEMENT, LLC              CASE # 18-31644-pcm11
                                             SCHEDULE A/B
                                  INVENTORY - QUESTIONS 19, 21 and 22


                                                                                  Current Value
                                                                                    of Debtor's
 Item                                                               Location of     Interest in
  ID #                        Description of Property                Property        Property
   861    Idaho Milk MPC 80 - 50lbs                                East           $     1,765.19
   862    Sensient Blueberry Fruit Prep 50 lb Pail                 East           $     7,894.58
   863    Tic Gum Locust Bean Gum POR/A2 Powder 50lb               East           $     5,960.74
   864    Pacific Coast Americas Liever-Fermentation E 44lbs       East           $       876.60
   865    Oilseeds Non-Org High Oleic Sunflower Oil                East           $     4,646.98
   866    Givauda Natural Bitter Masker Flavor 50lbs               East           $     4,176.47
   867    Givaudan Natural Pea Taste Modifier Flavor 50 lbs        East           $     5,617.82
   868    Givaudan Natural Milk Flavor 50lbs                       East           $     2,162.62
   869    Givaudan Natural Masking Astrigent Flavor 50lbs          East           $     6,871.97
   870    Dairy Connection Yo-Mix TM Vegetal                       East           $     4,410.76
   871    Gilco Organic Evaporated Cane Juice 50lbs                East           $ 10,008.69
   872    ICL Dipotassium Phosphate 50lbs                          East           $     3,700.08
   873    Zentis Vanilla with Flavor Yog Prep                      East           $ 15,090.36
   874    Zentis Strawberry with flavor Yog Prep                   East           $ 13,193.35
   875    Zentis Maple With Flavor Yog Prep                        East           $     2,253.22
   876    Everfresh Organic Strawberry YP 50 lbs                   East           $       920.00
   877    Bulk Milk                                                West           $ 61,363.63
                                                                        Total     $ 869,359.63

21. Inventory. Finished Goods
   34     SS Whole Milk Dispenser 5 Gal                            West           $       91.62
   35     SS 2% RF Milk Dispenser 5 Gal                            Route 02       $       11.81
   36     SS 2% RF Milk Dispenser 5 Gal                            Route 09       $       11.81
   37     SS 2% RF Milk Dispenser 5 Gal                            West           $       94.49
   38     SS 1% LF Milk Dispenser 5 Gal                            West           $      235.03
   39     SS 2% RF Choc Milk Dispenser 5 Gal                       Route 09       $       26.50
   40     SS 2% RF Choc Milk Dispenser 5 Gal                       West           $      105.98
   41     SS FF Milk Dispenser 5 Gal                               Route 09       $        9.69
   42     SS FF Milk Dispenser 5 Gal                               Route 14       $        9.69
   43     SS FF Milk Dispenser 5 Gal                               West           $       19.38
   44     Grade A SS 40% Org Whipping Cream 5 Gal                  West           $    1,644.87
   45     SS Whole Milk Gal                                        Route 55       $       42.67
   46     SS Whole Milk Gal                                        Route 57       $       40.16
   47     SS Whole Milk Gal                                        Route 01       $       98.08
   48     SS Whole Milk Gal                                        Route 02       $       15.49
   49     SS Whole Milk Gal                                        Route 09       $       92.92
   50     SS Whole Milk Gal                                        Route 09       $       64.53
   51     SS Whole Milk Gal                                        Route 14       $       56.78
   52     SS Whole Milk Gal                                        Route 16       $       15.49
   53     SS Whole Milk Gal                                        Route 18       $       61.94

EXHIBIT A
PAGE 5 of 29
                            Case 18-31644-pcm11          Doc 152   Filed 06/01/18
                              SUNSHINE DAIRY FOODS MANAGEMENT, LLC           CASE # 18-31644-pcm11
                                           SCHEDULE A/B
                                INVENTORY - QUESTIONS 19, 21 and 22


                                                                             Current Value
                                                                               of Debtor's
 Item                                                          Location of     Interest in
  ID #                    Description of Property               Property        Property
    54    SS Whole Milk Gal                                   Route 33       $         5.16
    55    SS Whole Milk Gal                                   West           $     2,694.56
    56    SS 2% RF Milk Gal                                   Route 57       $        81.43
    57    SS 2% RF Milk Gal                                   Route 01       $        13.95
    58    SS 2% RF Milk Gal                                   Route 02       $        23.25
    59    SS 2% RF Milk Gal                                   Route 09       $        46.50
    60    SS 2% RF Milk Gal                                   Route 14       $        32.55
    61    SS 2% RF Milk Gal                                   Route 16       $        13.95
    62    SS 2% RF Milk Gal                                   Route 18       $        13.95
    63    SS 2% RF Milk Gal                                   Route 33       $       125.55
    64    SS 2% RF Milk Gal                                   West           $     1,311.30
    65    SS FF Milk Gal                                      Route 55       $        22.24
    66    SS FF Milk Gal                                      Route 57       $        29.65
    67    SS FF Milk Gal                                      Route 01       $        13.31
    68    SS FF Milk Gal                                      Route 02       $        13.31
    69    SS FF Milk Gal                                      Route 09       $        11.41
    70    SS FF Milk Gal                                      Route 09       $        47.53
    71    SS FF Milk Gal                                      Route 14       $         1.90
    72    SS FF Milk Gal                                      Route 18       $        28.52
    73    SS FF Milk Gal                                      Route 33       $        36.12
    74    SS FF Milk Gal                                      West           $       581.71
    75    SS 1% LF Milk Gal                                   Route 55       $        12.26
    76    SS 1% LF Milk Gal                                   Route 57       $        38.84
    77    SS 1% LF Milk Gal                                   West           $        37.78
    78    SS 4% Heavy Whipping Cream Gal                      Route 01       $       214.19
    79    SS 4% Heavy Whipping Cream Gal                      Route 02       $        33.82
    80    SS 4% Heavy Whipping Cream Gal                      Route 09       $        56.37
    81    SS 4% Heavy Whipping Cream Gal                      Route 09       $       157.82
    82    SS 4% Heavy Whipping Cream Gal                      Route 14       $       135.28
    83    SS 4% Heavy Whipping Cream Gal                      Route 16       $        33.82
    84    SS 4% Heavy Whipping Cream Gal                      Route 18       $        56.37
    85    SS 4% Heavy Whipping Cream Gal                      Route 33       $       248.01
    86    SS 4% Heavy Whipping Cream Gal                      Route 55       $       135.90
    87    SS 4% Heavy Whipping Cream Gal                      Route 57       $        90.60
    88    SS Whole Milk Hgal                                  Route 55       $         7.52
    89    SS Whole Milk Hgal                                  Route 57       $        22.55
    90    SS Whole Milk Hgal                                  Route 02       $        30.82
    91    SS Whole Milk Hgal                                  Route 09       $         2.57
    92    SS Whole Milk Hgal                                  West           $       200.30
    93    SS 2% RF Milk Hgal                                  Route 02       $        13.87

EXHIBIT A
PAGE 6 of 29
                          Case 18-31644-pcm11       Doc 152   Filed 06/01/18
                                 SUNSHINE DAIRY FOODS MANAGEMENT, LLC            CASE # 18-31644-pcm11
                                              SCHEDULE A/B
                                   INVENTORY - QUESTIONS 19, 21 and 22


                                                                                 Current Value
                                                                                   of Debtor's
 Item                                                              Location of     Interest in
  ID #                        Description of Property               Property        Property
    94    SS 2% RF Milk Hgal                                      Route 09       $         4.62
    95    SS 2% RF Milk Hgal                                      Route 14       $        41.62
    96    SS 2% RF Milk Hgal                                      West           $       388.42
    97    SS 4% Heavy Whipping Cream Hgal                         Route 01       $        73.19
    98    SS 4% Heavy Whipping Cream Hgal                         Route 02       $        16.89
    99    SS 4% Heavy Whipping Cream Hgal                         Route 09       $        50.67
   100    SS 4% Heavy Whipping Cream Hgal                         Route 16       $        78.82
   101    SS 4% Heavy Whipping Cream Hgal                         Route 18       $       123.86
   102    SS 4% Heavy Whipping Cream Hgal                         Route 33       $        33.78
   103    SS 40% Heavy Whipping Cream Hgal                        West           $       810.72
   104    SS 4% Heavy Whipping Cream Hgal                         Route 55       $        45.28
   105    SS 4% Heavy Whipping Cream Hgal                         Route 57       $        28.30
   106    SS FF Milk Hgal                                         Route 57       $         2.78
   107    SS FF Milk Hgal                                         Route 02       $         3.78
   108    SS FF Milk Hgal                                         Route 09       $         7.55
   109    SS FF Milk Hgal                                         Route 14       $        50.98
   110    SS FF Milk Hgal                                         West           $       124.61
   111    SS Half & Half Hgal                                     Route 01       $        19.09
   112    SS Half & Half Hgal                                     Route 02       $        19.09
   113    SS Half & Half Hgal                                     Route 09       $        10.61
   114    SS Half & Half Hgal                                     Route 09       $        16.97
   115    SS Half & Half Hgal                                     Route 16       $         8.48
   116    SS Half & Half Hgal                                     Route 18       $        57.27
   117    SS Half & Half Hgal                                     West           $     1,094.44
   118    SS Half & Half Hgal                                     Route 57       $        57.62
   119    SS 1% LF Milk Hgal                                      Route 57       $         3.06
   120    SS 1% LF Milk Hgal                                      Route 14       $         8.34
   121    SS 1% LF Milk Hgal                                      West           $        87.61
   122    SS Buttermilk Hgal                                      Route 55       $        50.47
   123    SS Buttermilk Hgal                                      Route 57       $        10.30
   124    SS Buttermilk Hgal                                      Route 01       $        28.43
   125    SS Buttermilk Hgal                                      Route 02       $        53.70
   126    SS Buttermilk Hgal                                      Route 09       $        20.01
   127    SS Buttermilk Hgal                                      Route 09       $        25.27
   128    SS Buttermilk Hgal                                      Route 14       $         9.48
   129    SS Buttermilk Hgal                                      Route 16       $        16.85
   130    SS Buttermilk Hgal                                      Route 18       $        10.53
   131    SS Buttermilk Hgal                                      Route 33       $        10.53
   132    SS Buttermilk Hgal                                      West           $     2,047.03
   133    SS Whole Milk Qt                                        Route 57       $        16.23

EXHIBIT A
PAGE 7 of 29
                            Case 18-31644-pcm11         Doc 152   Filed 06/01/18
                                 SUNSHINE DAIRY FOODS MANAGEMENT, LLC           CASE # 18-31644-pcm11
                                              SCHEDULE A/B
                                   INVENTORY - QUESTIONS 19, 21 and 22


                                                                                Current Value
                                                                                  of Debtor's
 Item                                                             Location of     Interest in
  ID #                      Description of Property                Property        Property
   134    SS Whole Milk Qt                                       West           $       111.55
   135    SS 2% RF Milk Qt                                       Route 57       $        16.44
   136    SS 2% RF Milk Qt                                       West           $       360.00
   137    SS 1% LF Milk Qt                                       West           $        39.17
   138    SS FF Milk Qt                                          Route 55       $         1.94
   139    SS FF Milk Qt                                          Route 57       $         1.94
   140    SS FF Milk Qt                                          Route 09       $         5.93
   141    SS FF Milk Qt                                          Route 14       $         0.99
   142    SS FF Milk Qt                                          West           $        94.85
   143    SS 2% RF Choc Milk Qt                                  Route 55       $         5.28
   144    SS 2% RF Choc Milk Qt                                  Route 57       $         6.60
   145    SS 2% RF Choc Milk Qt                                  Route 09       $         8.74
   146    SS 2% RF Choc Milk Qt                                  West           $       177.41
   147    SS Buttermilk Qt                                       Route 57       $         0.54
   148    SS Buttermilk Qt                                       West           $        79.06
   149    Darigold FF Lactose Free Milk Hgal                     Route 02       $         8.47
   150    Darigold FF Lactose Free Milk Hgal                     West           $       389.46
   151    SS Half & Half Qt                                      Route 01       $        31.41
   152    SS Half & Half Qt                                      Route 02       $        44.40
   153    SS Half & Half Qt                                      Route 09       $        25.99
   154    SS Half & Half Qt                                      Route 14       $        25.99
   155    SS Half & Half Qt                                      Route 18       $         6.50
   156    SS Half & Half Qt                                      Route 33       $        63.90
   157    SS Half & Half Qt                                      West           $     1,507.54
   158    SS Half & Half Qt                                      Route 55       $        22.89
   159    SS Half & Half Qt                                      Route 57       $        39.24
   160    Dairy Fresh Coffee Creamer Qt                          West           $        98.93
   161    SS Whipping Cream Qt                                   Route 01       $         5.68
   162    SS Whipping Cream Qt                                   Route 02       $       105.01
   163    SS Whipping Cream Qt                                   Route 09       $        65.27
   164    SS Whipping Cream Qt                                   Route 09       $        14.19
   165    SS Whipping Cream Qt                                   Route 18       $        53.92
   166    SS Whipping Cream Qt                                   Route 33       $       124.87
   167    SS Whipping Cream Qt                                   West           $     1,089.79
   168    SS Whole Milk Pt                                       Route 57       $         2.05
   169    SS Whole Milk Pt                                       Route 09       $         2.45
   170    SS Whole Milk Pt                                       West           $        88.20
   171    SS 2% RF Milk Pt                                       Route 57       $         4.04
   172    SS 2% RF Milk Pt                                       Route 18       $         1.27
   173    SS 2% RF Milk Pt                                       West           $       146.92

EXHIBIT A
PAGE 8 of 29
                            Case 18-31644-pcm11       Doc 152   Filed 06/01/18
                                SUNSHINE DAIRY FOODS MANAGEMENT, LLC             CASE # 18-31644-pcm11
                                             SCHEDULE A/B
                                  INVENTORY - QUESTIONS 19, 21 and 22


                                                                                 Current Value
                                                                                   of Debtor's
 Item                                                              Location of     Interest in
  ID #                       Description of Property                Property        Property
   174    SS 2% RF Choc Milk Pt                                   Route 57       $         8.70
   175    SS 2% RF Choc Milk Pt                                   West           $       253.47
   176    Darigold 2% Milk RF UP Plastic Pt                       West           $       432.60
   177    Darigold 1% Choc Milk LF UP Btl Pt                      West           $       506.76
   178    SS Buttermilk Pt                                        West           $        85.85
   179    SS Half & Half Pt                                       Route 02       $         3.35
   180    SS Half & Half Pt                                       Route 09       $         3.35
   181    SS Half & Half Pt                                       Route 14       $         1.12
   182    SS Half & Half Pt                                       Route 18       $         2.24
   183    SS Half & Half Pt                                       West           $       201.24
   184    SS Half & Half Pt                                       Route 57       $         6.18
   185    SS Whipping Cream Pt                                    Route 01       $         4.31
   186    SS Whipping Cream Pt                                    Route 09       $         2.87
   187    SS Whipping Cream Pt                                    Route 18       $         5.74
   188    SS Whipping Cream Pt                                    West           $       542.81
   189    SS Whipping Cream Pt                                    Route 57       $         1.44
   190    SS Whole Milk Half Pt                                   Route 57       $         4.71
   191    SS Whole Milk Half Pt                                   West           $        13.32
   192    SS 2% RF Milk Half Pt                                   Route 57       $         2.66
   193    SS 2% RF Milk Half Pt                                   Route 02       $         0.68
   194    SS 2% RF Milk Half Pt                                   Route 09       $        12.17
   195    SS 2% RF Milk Half Pt                                   Route 14       $         6.08
   196    SS 2% RF Milk Half Pt                                   Route 16       $        24.34
   197    SS 2% RF Milk Half Pt                                   West           $       292.03
   198    SS 1% LF Milk Half Pt                                   West           $       613.80
   199    SS FF Choc Milk Half Pt                                 Route 57       $        11.52
   200    SS FF Choc Milk Half Pt                                 West           $     1,189.73
   201    SS FF Milk Half Pt                                      Route 01       $         0.85
   202    SS FF Milk Half Pt                                      Route 02       $        10.22
   203    SS FF Milk Half Pt                                      Route 09       $        20.16
   204    SS FF Milk Half Pt                                      West           $       143.14
   205    SS Whipping Cream Half Pt                               West           $       209.66
   206    Quality Chekd 4% Small Curd Cottage Cheese 5 LB         Route 02       $        13.70
   207    Quality Chekd 4% Small Curd Cottage Cheese 5 LB         Route 09       $        20.55
   208    Quality Chekd 4% Small Curd Cottage Cheese 5 LB         Route 16       $        27.40
   209    Quality Chekd 4% Small Curd Cottage Cheese 5 LB         Route 33       $        41.10
   210    Quality Chekd 4% Small Curd Cottage Cheese 5 LB         West           $     2,548.01
   211    Quality Chekd 2% LF Small Curd Cottage Cheese 5 LB      Route 02       $         6.85
   212    Quality Chekd 2% LF Small Curd Cottage Cheese 5 LB      Route 16       $        41.10
   213    Quality Chekd 2% LF Small Curd Cottage Cheese 5 LB      Route 18       $        27.40

EXHIBIT A
PAGE 9 of 29
                           Case 18-31644-pcm11          Doc 152   Filed 06/01/18
                               SUNSHINE DAIRY FOODS MANAGEMENT, LLC             CASE # 18-31644-pcm11
                                            SCHEDULE A/B
                                 INVENTORY - QUESTIONS 19, 21 and 22


                                                                                Current Value
                                                                                  of Debtor's
 Item                                                             Location of     Interest in
  ID #                      Description of Property                Property        Property
   214    Quality Chekd 2% LF Small Curd Cottage Cheese 5 LB     Route 33       $        20.55
   215    Quality Chekd 2% LF Small Curd Cottage Cheese 5 LB     West           $     3,534.34
   216    SS Sour Cream 5 LB                                     Route 55       $        36.67
   217    SS Sour Cream 5 LB                                     Route 57       $        15.72
   218    SS Sour Cream 5 LB                                     Route 01       $         5.30
   219    SS Sour Cream 5 LB                                     Route 02       $        21.21
   220    SS Sour Cream 5 LB                                     Route 09       $        31.82
   221    SS Sour Cream 5 LB                                     Route 09       $        63.63
   222    SS Sour Cream 5 LB                                     Route 14       $        63.63
   223    SS Sour Cream 5 LB                                     Route 18       $        37.12
   224    SS Sour Cream 5 LB                                     Route 33       $        63.63
   225    SS Lite Sour Cream 5 LB                                Route 14       $        17.31
   226    Quality Chekd 4% Small Curd Cottage Cheese 24 oz       West           $       131.26
   227    Quality Chekd2% LF Small Curd Cottage Cheese 24 oz     West           $       393.79
   228    Quality Chekd 2% LF Small Curd Cottage Cheese 1 LB     Route 57       $         1.55
   229    Quality Chekd 2% LF Small Curd Cottage Cheese 1 LB     West           $       458.87
   230    Quality Chekd 4% Small Curd Cottage Cheese 1 LB        West           $       560.84
   231    Quality Chekd Cottage Cheese Dry Curd 13 oz            West           $       575.11
   232    Quality Chekd 4% Small Curd Cottage Cheese 8 oz        West           $       929.60
   233    SS Sour Cream 32 LB                                    Route 01       $        32.87
   234    SS Sour Cream 32 LB                                    Route 16       $        65.74
   235    SS Sour Cream 32 LB                                    West           $       887.56
   236    SS 14% Ice Cream Mix 2.5 Gal                           West           $       429.21
   237    SS Old Fashioned Shake Mix 2.5 Gal                     West           $ 18,191.46
   238    SS 4% LF Van Ice Cream Mix Hgal                        West           $       591.51
   239    SS NF Van Yogurt Mix Hgal                              West           $     1,102.91
   240    SS NF Van Yogurt Mix Hgal                              Route 55       $        26.01
   241    Woody's Pina Colada Smoothie 6/Hgal                    West           $       119.31
   242    SS Gelato Egg Mix Hgal                                 West           $     1,210.74
   243    SS White Gelato Mix 2/2.5 Gal                          West           $       654.89
   244    Cal Cultures Org NF Tart Yogurt 6/Hgal                 West           $        21.66
   245    Cal Culture Org Nonfat Choc Yogurt 6/Hgal              West           $         4.24
   246    Stumptown Cold Brew Stubbies 12/10.5 oz                Route 09       $         2.00
   247    Stumptown Cold Brew Stubbies 12/10.5 oz                West           $     1,536.00
   248    Stumptown Coconut Cold Brew With Milk 16 oz            West           $     1,221.55
   249    DS Real Whipped Cream Topping 15 oz                    Route 02       $        70.21
   250    DS Real Whipped Cream Topping 15 oz                    Route 09       $        35.11
   251    DS Real Whipped Cream Topping 15 oz                    Route 14       $        70.21
   252    DS Real Whipped Cream Topping 15 oz                    Route 16       $        23.40
   253    DS Real Whipped Cream Topping 15 oz                    Route 33       $        23.40

EXHIBIT A
PAGE 10 of 29
                           Case 18-31644-pcm11         Doc 152   Filed 06/01/18
                                SUNSHINE DAIRY FOODS MANAGEMENT, LLC                 CASE # 18-31644-pcm11
                                             SCHEDULE A/B
                                  INVENTORY - QUESTIONS 19, 21 and 22


                                                                                     Current Value
                                                                                       of Debtor's
 Item                                                                  Location of     Interest in
  ID #                       Description of Property                    Property        Property
   254    DS Real Whipped Cream Topping 15 oz                         West           $     1,521.31
   255    DS Real Whipped Cream Topping 15 oz                         Route 55       $        23.61
   256    DS Real Whipped Cream Topping 15 oz                         Route 57       $        51.15
   257    Pac Foods Soy Van Ultra 12/Qt CS                            West           $     2,793.98
   258    Pac Foods Soy Blender Van 12/Qt CS                          Route 18       $         1.39
   259    Pac Foods Soy Blender Van 12/Qt CS                          Route 33       $         1.39
   260    Pac Foods Soy Blender Van 12/Qt CS                          West           $     1,774.18
   261    Pac Foods Soy Blender Plain 12/Qt CS                        Route 01       $         1.39
   262    Pac Foods Soy Blender Plain 12/Qt CS                        Route 09       $         1.39
   263    Pac Foods Soy Blender Plain 12/Qt CS                        Route 09       $         1.39
   264    Pac Foods Soy Blender Plain 12/Qt CS                        Route 16       $         2.79
   265    Pac Foods Soy Blender Plain 12/Qt CS                        Route 18       $         5.58
   266    Pac Foods Soy Blender Plain 12/Qt CS                        West           $     4,485.65
   267    Pac Foods Rice LF Original 12/Qt CS                         West           $     2,724.99
   268    Pac Foods Chai Concentrate Original 12/Qt CS                Route 55       $         2.60
   269    Pac Foods Chai Concentrate Original 12/Qt CS                West           $     3,405.15
   270    DS PC Half & Half UHT Creamers 3/8 oz 360/CS                Route 02       $        60.98
   271    DS PC Half & Half UHT Creamers 3/8 oz 360/CS                Route 09       $        15.24
   272    DS PC Half & Half UHT Creamers 3/8 oz 360/CS                Route 14       $        30.49
   273    DS PC Half & Half UHT Creamers 3/8 oz 360/CS                Route 16       $        60.98
   274    DS PC Half & Half UHT Creamers 3/8 oz 360/CS                Route 18       $        15.24
   275    DS PC Half & Half UHT Creamers 3/8 oz 360/CS                Route 33       $        30.49
   276    DS PC Half & Half UHT Creamers 3/8 oz 360/CS                Route 55       $        45.73
   277    DS PC Half & Half UHT Creamers 3/8 oz 360/CS                West           $     2,149.40
   278    Pac Foods IP Original Hazelnut 12/Qt CS                     West           $     3,487.37
   279    Pac Foods Barista Series Almd Original 12/Qt CS             Route 55       $         1.70
   280    Pac Foods Barista Series Almd Original 12/Qt CS             Route 01       $         6.80
   281    Pac Foods Barista Series Almd Original 12/Qt CS             Route 14       $         5.10
   282    Pac Foods Barista Series Almd Original 12/Qt CS             Route 16       $         1.70
   283    Pac Foods Barista Series Almd Original 12/Qt CS             Route 33       $         1.70
   284    Pac Foods Barista Series Almd Original 12/Qt CS             West           $     8,463.51
   285    Pac Foods Ultra Soy Single Serv 24/8 oz CS                  West           $     1,436.85
   286    Pac Foods Barista Series Coconut Milk 12/Qt CS              Route 55       $         1.70
   287    Pac Foods Barista Series Coconut Milk 12/Qt CS              Route 09       $         1.70
   288    Pac Foods Barista Series Coconut Milk 12/Qt CS              Route 09       $         1.70
   289    Pac Foods Barista Series Coconut Milk 12/Qt CS              Route 14       $         5.10
   290    Pac Foods Barista Series Coconut Milk 12/Qt CS              Route 18       $         1.70
   291    Pac Foods Barista Series Coconut Milk 12/Qt CS              West           $     3,059.10
   292    Pac Foods Plain Hemp Milk 12/Qt CS                          Route 09       $         2.16
   293    Pac Foods Plain Hemp Milk 12/Qt CS                          West           $ 11,649.62

EXHIBIT A
PAGE 11 of 29
                            Case 18-31644-pcm11             Doc 152   Filed 06/01/18
                                 SUNSHINE DAIRY FOODS MANAGEMENT, LLC              CASE # 18-31644-pcm11
                                              SCHEDULE A/B
                                   INVENTORY - QUESTIONS 19, 21 and 22


                                                                                   Current Value
                                                                                     of Debtor's
 Item                                                                Location of     Interest in
  ID #                       Description of Property                  Property        Property
   294    Mother's Choice Unsalted Org Butter Prints 1 LB           Route 09       $       291.45
   295    Mother's Choice Unsalted Org Butter Prints 1 LB           West           $     2,412.55
   296    Larsen's Mothers Org Salted Butter Qters 1 LB             West           $     1,394.70
   297    Larsen's AA Salted Butter Block 55 LB                     Route 01       $       265.41
   298    Larsen's AA Salted Butter Block 55 LB                     Route 09       $       132.70
   299    Larsen's AA Salted Butter Block 55 LB                     West           $ 13,004.86
   300    Larsen's AA Unsalted Butter Block 55 LB                   Route 09       $       133.55
   301    Larsen's AA Unsalted Butter Block 55 LB                   West           $ 10,550.64
   302    SS Salted rBST Free Butter Prints 1 LB                    Route 55       $        86.40
   303    SS Salted rBST Free Butter Prints 1 LB                    Route 57       $        86.40
   304    SS Salted rBST Free Butter Prints 1 LB                    Route 01       $        88.62
   305    SS Salted rBST Free Butter Prints 1 LB                    Route 02       $       110.78
   306    SS Salted rBST Free Butter Prints 1 LB                    Route 09       $         2.46
   307    SS Salted rBST Free Butter Prints 1 LB                    Route 18       $       177.24
   308    SS Salted rBST Free Butter Prints 1 LB                    West           $     5,159.72
   309    Cremerie Classique Unsalted Butter Prints 1 LB            Route 14       $        98.17
   310    Cremerie Classique Unsalted Butter Prints 1 LB            Route 18       $       196.34
   311    Cremerie Classique Unsalted Butter Prints 1 LB            West           $         5.45
   312    Cremerie Classique Unsalted Butter Qters 1 LB             West           $       896.17
   313    Cremerie Classique Unsalted Butter Block 44 LB            West           $ 17,617.70
   314    Larsen's Mother's Choice Unsalt Butter Prints 1 LB        Route 02       $       289.14
   315    Larsen's Mother's Choice Unsalt Butter Prints 1 LB        Route 16       $       179.47
   316    Larsen's Mother's Choice Unsalt Butter Prints 1 LB        Route 18       $       179.47
   317    Larsen's Mother's Choice Unsalt Butter Prints 1 LB        Route 33       $        89.73
   318    Larsen's Mother's Choice Unsalt Butter Prints 1 LB        West           $ 36,466.74
   319    Larsen's Mother's Choice Unsalt Butter Qtrs 1 LB          West           $       870.14
   320    Larsen's Mother's Choice Salted Butter Qters 1 LB         Route 55       $        30.36
   321    Larsen's Mother's Choice Salted Butter Qters 1 LB         Route 57       $        10.12
   322    Larsen's Mother's Choice Salted Butter Qters 1 LB         West           $       549.72
   323    Butter Chips Salted 90 Cuts Per LB 5 LB                   Route 33       $        16.48
   324    Butter Chips Salted 90 Cuts Per LB 5 LB                   West           $     1,483.20
   325    Larsen's Foil Wrap Salt Chip Butter 47 ct 4.25 LB         Route 01       $        12.10
   326    Larsen's Foil Wrap Salt Chip Butter 47 ct 4.25 LB         Route 02       $        24.21
   327    Larsen's Foil Wrap Salt Chip Butter 47 ct 4.25 LB         Route 09       $        48.42
   328    Larsen's Foil Wrap Salt Chip Butter 47 ct 4.25 LB         Route 09       $        24.21
   329    Larsen's Foil Wrap Salted Chip Butter 47 ct 17 LB         Route 55       $        47.41
   330    Larsen's Foil Wrap Salted Chip Butter 47 ct 17 LB         Route 09       $        48.42
   331    Larsen's Foil Wrap Salted Chip Butter 47 ct 17 LB         Route 14       $        96.83
   332    Larsen's Foil Wrap Salted Chip Butter 47 ct 17 LB         Route 33       $        48.42
   333    Larsen's Foil Wrap Salted Chip Butter 47 ct 17 LB         West           $     2,662.83

EXHIBIT A
PAGE 12 of 29
                            Case 18-31644-pcm11           Doc 152   Filed 06/01/18
                                SUNSHINE DAIRY FOODS MANAGEMENT, LLC              CASE # 18-31644-pcm11
                                             SCHEDULE A/B
                                  INVENTORY - QUESTIONS 19, 21 and 22


                                                                                  Current Value
                                                                                    of Debtor's
 Item                                                               Location of     Interest in
  ID #                        Description of Property                Property        Property
   334    Larsen's Salted Whipped Butter 5 LB                      Route 09       $        13.80
   335    Larsen's Salted Whipped Butter 5 LB                      West           $       731.51
   336    Salted Butter Balls 64 Cuts Per LB 3 LB                  West           $     1,275.09
   337    Salted Butter Balls 64 Cuts Per LB 3 LB                  Route 57       $        85.02
   338    Anhydrous Clarified Butter 5 LB                          West           $       264.35
   339    Stiebrs Go Org AA Lrg Eggs Dzn                           West           $     2,324.92
   340    Stiebrs AA Lrg Fry & Try Eggs Dzn                        West           $     3,234.67
   341    Davidson's Past Lrg Eggs 15/Dzn                          Route 14       $        36.55
   342    Davidson's Past Lrg Eggs 15/Dzn                          West           $     2,339.50
   343    Stiebrs Pasture Raised Org Lrg Eggs Dzn                  West           $     1,450.08
   344    Stiebrs Sunrise Cage Free AA Lrg White Eggs Dzn          Route 09       $         4.51
   345    Stiebrs Sunrise Cage Free AA Lrg White Eggs Dzn          West           $     1,001.53
   346    Stiebrs Sunrise Cage Free AA X-Lrg White Eggs Dzn        West           $        56.61
   347    Stiebrs Sunrise CF Eggs AA Lrg Brwn Half Dzn-Paks        West           $     1,663.90
   348    Stiebrs Sunrise Cage Free AA Lrg Bulk 15/Dzn             Route 14       $        33.22
   349    Stiebrs Sunrise Cage Free AA Lrg Bulk 15/Dzn             Route 33       $        33.22
   350    Stiebrs Sunrise Cage Free AA Lrg Bulk 15/Dzn             West           $     7,640.03
   351    Stiebrs AA Lrg Eggs Loose Pack 15/Dzn                    Route 55       $        64.58
   352    Stiebrs AA Lrg Eggs Loose Pack 15/Dzn                    Route 01       $       166.09
   353    Stiebrs AA Lrg Eggs Loose Pack 15/Dzn                    Route 09       $        66.44
   354    Stiebrs AA Lrg Eggs Loose Pack 15/Dzn                    Route 14       $       298.96
   355    Stiebrs AA Lrg Eggs Loose Pack 15/Dzn                    Route 16       $        99.65
   356    Stiebrs AA Lrg Eggs Loose Pack 15/Dzn                    Route 18       $        66.44
   357    Stiebrs AA Lrg Eggs Loose Pack 15/Dzn                    Route 33       $        33.22
   358    Stiebrs AA Lrg Eggs Loose Pack 15/Dzn                    West           $ 15,977.62
   359    Stiebrs AA Org Lrg Bulk 15/Dzn                           West           $     2,165.78
   360    Stiebrs Farmer Jon's Duck Eggs Dzn                       West           $       301.46
   361    Stiebrs AA Med Loose Pack Eggs Bulk 15/Dzn               Route 33       $        21.94
   362    Stiebrs AA Med Loose Pack Eggs Bulk 15/Dzn               West           $     1,491.85
   363    Stiebrs Cage Free Liquid Eggs 30 LB                      Route 09       $        84.67
   364    Stiebrs Cage Free Liquid Eggs 30 LB                      Route 14       $        42.33
   365    Stiebrs Cage Free Liquid Eggs 30 LB                      Route 33       $        84.67
   366    Stiebrs Cage Free Liquid Eggs 30 LB                      West           $ 10,667.92
   367    Natl Food Frozen Egg Yolks with Sugar 8 LB               West           $       540.21
   368    Stiebrs Whole Liquid Eggs 30 LB                          West           $       145.49
   369    Natl Food Frozen Egg Yolks Plain 8 LB                    West           $       609.10
   370    Natl Food Eggstra Liquid Eggs 5 LB                       Route 09       $         5.92
   371    Natl Food Eggstra Liquid Eggs 5 LB                       West           $       787.69
   372    Natl Food Frozen Egg Whites 5 LB                         Route 09       $        11.12
   373    Natl Food Frozen Egg Whites 5 LB                         West           $       726.77

EXHIBIT A
PAGE 13 of 29
                            Case 18-31644-pcm11          Doc 152   Filed 06/01/18
                               SUNSHINE DAIRY FOODS MANAGEMENT, LLC             CASE # 18-31644-pcm11
                                            SCHEDULE A/B
                                 INVENTORY - QUESTIONS 19, 21 and 22


                                                                                Current Value
                                                                                  of Debtor's
 Item                                                             Location of     Interest in
  ID #                       Description of Property               Property        Property
   374    Pride of Life Spread 5gram Cup 600/Case                Route 09       $        18.23
   375    Pride of Life Spread 5gram Cup 600/Case                West           $       127.62
   376    Margarine NTF Prints 30 LB                             West           $       484.10
   377    Butter Blend Margarine 1/20lb                          West           $       147.52
   378    American Sliced Cheese 96 Cut 5 LB                     Route 14       $         9.22
   379    American Sliced Cheese 96 Cut 5 LB                     Route 18       $        18.44
   380    American Sliced Cheese 96 Cut 5 LB                     West           $       221.24
   381    Stella Asiago Cheese 1/2 Wheel Avg 10 LB               West           $       145.35
   382    Blue Cheese Crumbles 5 LB                              Route 02       $        27.65
   383    Blue Cheese Crumbles 5 LB                              Route 09       $        13.82
   384    Blue Cheese Crumbles 5 LB                              Route 18       $        13.82
   385    Blue Cheese Crumbles 5 LB                              West           $       317.94
   386    Blue Cheese Wheel Avg 6 LB                             West           $        62.24
   387    French Brie Cheese Wheel Avg 2.2 LB                    Route 09       $        57.42
   388    French Brie Cheese Wheel Avg 2.2 LB                    West           $       153.13
   389    Mild Cheddar Cheese Loaf Avg 5 LB                      West           $       461.13
   390    Tillamook Med Cheddar Cheese Sliced 2 LB               Route 55       $        39.87
   391    Tillamook Med Cheddar Cheese Sliced 2 LB               Route 02       $         9.97
   392    Tillamook Med Cheddar Cheese Sliced 2 LB               Route 09       $        39.87
   393    Tillamook Med Cheddar Cheese Sliced 2 LB               Route 09       $        59.81
   394    Tillamook Med Cheddar Cheese Sliced 2 LB               Route 16       $        39.87
   395    Tillamook Med Cheddar Cheese Sliced 2 LB               Route 33       $        29.91
   396    Tillamook Med Cheddar Cheese Sliced 2 LB               West           $     1,076.61
   397    Tillamook Vintage White Sharp Cheddar Cheese Loaf      Route 09       $        51.52
   398    Tillamook Vintage White Sharp Cheddar Cheese Loaf      Route 18       $        51.52
   399    Tillamook Vintage White Sharp Cheddar Cheese Loaf      West           $       824.29
   400    Tillamook Med Cheddar Cheese Loaf 5 LB                 Route 02       $        19.38
   401    Tillamook Med Cheddar Cheese Loaf 5 LB                 Route 33       $        38.77
   402    Tillamook Med Cheddar Cheese Loaf 5 LB                 West           $     1,860.90
   403    Tillamook Sharp Cheddar Cheese Loaf 5 LB               West           $       202.88
   404    Til Smoked Cheddar Cheese Baby Loaf 2 LB               Route 09       $        58.68
   405    Til Smoked Cheddar Cheese Baby Loaf 2 LB               West           $       176.04
   406    Prem Mild Cheddar Cheese Shredded 5 LB                 Route 14       $        20.19
   407    Prem Mild Cheddar Cheese Shredded 5 LB                 Route 16       $        20.19
   408    Prem Mild Cheddar Cheese Shredded 5 LB                 Route 33       $        20.19
   409    Cal Prem Mild Cheddar Cheese Shredded 5 LB             West           $     1,534.29
   410    Prem Mild Cheddar Cheese Shredded 5 LB                 Route 55       $        10.39
   411    Tillamook Med Cheddar Cheese Shredded 5 LB             Route 55       $        57.51
   412    Tillamook Med Cheddar Cheese Shredded 5 LB             West           $     1,533.73
   413    Tillamook Med Cheddar 8 oz                             West           $        87.05

EXHIBIT A
PAGE 14 of 29
                           Case 18-31644-pcm11         Doc 152   Filed 06/01/18
                                SUNSHINE DAIRY FOODS MANAGEMENT, LLC             CASE # 18-31644-pcm11
                                             SCHEDULE A/B
                                  INVENTORY - QUESTIONS 19, 21 and 22


                                                                                 Current Value
                                                                                   of Debtor's
 Item                                                              Location of     Interest in
  ID #                       Description of Property                Property        Property
   414    Prem Cheddar Cheese Fancy Shredded 5 LB                 Route 57       $        10.03
   415    Prem Cheddar Cheese Fancy Shredded 5 LB                 Route 14       $        20.06
   416    Cal Prem Cheddar Cheese Fancy Shredded 5 LB             West           $       280.90
   417    Lucas Foods Kraft Philadelphia Cream Chse 1/1 oz        Route 01       $        25.60
   418    Lucas Foods Kraft Philadelphia Cream Chse 100/1 oz      West           $       204.76
   419    Kraft Philadelphia Cream Cheese 3 LB                    Route 01       $        56.91
   420    Kraft Philadelphia Cream Cheese 3 LB                    Route 02       $        28.45
   421    Kraft Philadelphia Cream Cheese 3 LB                    Route 09       $         9.48
   422    Kraft Philadelphia Cream Cheese 3 LB                    Route 16       $         9.48
   423    Kraft Philadelphia Cream Cheese 3 LB                    Route 55       $        47.42
   424    Kraft Philadelphia Cream Cheese 3 LB                    West           $     1,479.59
   425    Level Valley Cream Cheese 3 LB                          Route 02       $        41.99
   426    Level Valley Cream Cheese 3 LB                          Route 09       $        73.48
   427    Level Valley Cream Cheese 3 LB                          Route 14       $        10.50
   428    Level Valley Cream Cheese 3 LB                          Route 18       $        10.50
   429    Level Valley Cream Cheese 3 LB                          Route 33       $        10.50
   430    Level Valley Cream Cheese 3 LB                          West           $     1,784.62
   431    Level Valley Cream Cheese 3 LB                          Route 55       $        49.94
   432    Level Valley Cream Cheese Cups 100/1 oz                 Route 02       $        37.62
   433    Level Valley Cream Cheese Cups 100/1 oz                 Route 18       $        37.62
   434    Level Valley Cream Cheese Cups 100/1 oz                 West           $       357.39
   435    Gina Marie Nat Cream Cheese 5 LB                        West           $       218.15
   436    Whipped Cream Cheese 3 LB                               Route 02       $         9.42
   437    Whipped Cream Cheese 3 LB                               Route 16       $        18.84
   438    Whipped Cream Cheese 3 LB                               Route 18       $         9.42
   439    Whipped Cream Cheese 3 LB                               Route 55       $        37.68
   440    Whipped Cream Cheese 3 LB                               Route 57       $        18.84
   441    Whipped Cream Cheese 3 LB                               West           $       414.45
   442    Stella Crumbled Feta Cheese 5 LB                        West           $       204.60
   443    Red Rock Feta Cheese Loaf 9 LB                          West           $       139.61
   444    French Bucheron Goat Cheese Loaf Avg 2.2 LB             West           $       107.11
   445    Smoked Gouda Cheese Loaf Avg 7 LB                       West           $       384.66
   446    Domestic Mascarpone Cheese 5 LB                         West           $       432.60
   447    Danish Cream Plain Havarti Cheese Loaf Avg 10 LB        West           $       227.63
   448    Danish Cream Dill Havarti Cheese Loaf Avg 10 LB         West           $       149.36
   449    Pepper Jack Cheese Loaf Avg 5 LB                        Route 33       $        11.29
   450    Pepper Jack Cheese Loaf Avg 5 LB                        West           $       161.81
   451    Jalapeno Jack Cheese Shredded 5 LB                      West           $       136.11
   452    Monterey Jack Cheese Loaf Avg 5 LB                      West           $       335.84
   453    Monterey Jack Cheese Shredded 5 LB                      West           $       361.53

EXHIBIT A
PAGE 15 of 29
                           Case 18-31644-pcm11          Doc 152   Filed 06/01/18
                                SUNSHINE DAIRY FOODS MANAGEMENT, LLC             CASE # 18-31644-pcm11
                                             SCHEDULE A/B
                                  INVENTORY - QUESTIONS 19, 21 and 22


                                                                                 Current Value
                                                                                   of Debtor's
 Item                                                              Location of     Interest in
  ID #                      Description of Property                 Property        Property
   454    Monterey Jack Cheese Shredded 5 LB                      Route 55       $        43.11
   455    Mozzarella Whole Milk Cheese Loaf Avg 6 LB              West           $       278.21
   456    Mozzarella Cheese Shredded 5 LB                         Route 16       $        10.79
   457    Mozzarella Cheese Shredded 5 LB                         Route 33       $        10.79
   458    Mozzarella Cheese Shredded 5 LB                         West           $       517.88
   459    Mozzarella Cheese Shredded 5 LB                         Route 55       $        45.99
   460    Ricotta Cheese 5 LB                                     West           $       192.15
   461    Stella Parmesan Cheese Grated 5 LB                      Route 02       $        14.65
   462    Stella Parmesan Cheese Grated 5 LB                      Route 33       $        43.96
   463    Stella Parmesan Cheese Grated 5 LB                      West           $       293.09
   464    Stella Parmesan Cheese Shredded 5 LB                    Route 02       $        24.82
   465    Stella Parmesan Cheese Shredded 5 LB                    Route 16       $        49.65
   466    Stella Parmesan Cheese Shredded 5 LB                    Route 18       $        24.82
   467    Stella Parmesan Cheese Shredded 5 LB                    Route 33       $        99.29
   468    Stella Parmesan Cheese Shredded 5 LB                    West           $        99.29
   469    Pizza Blend Cheese Shredded 5 LB                        Route 18       $        10.05
   470    Pizza Blend Cheese Shredded 5 LB                        Route 33       $        20.10
   471    Pizza Blend Cheese Shredded 5 LB                        West           $       200.97
   472    Provolone Cheese Sliced 1 LB                            West           $        73.68
   473    Tillamook Pepper Jack Cheese Sliced 12 oz               Route 33       $        22.17
   474    Tillamook Pepper Jack Cheese Sliced 12 oz               West           $       177.32
   475    Provolone Cheese Loaf Avg 12 LB                         West           $       679.91
   476    Gossner Nat Swiss Loaf Avg 6/8 LB                       Route 55       $        42.34
   477    Gossner Nat Swiss Loaf Avg 6/8 LB                       Route 01       $        23.42
   478    Gossner Nat Swiss Loaf Avg 6/8 LB                       Route 16       $        23.42
   479    Gossner Nat Swiss Loaf Avg 6/8 LB                       West           $       700.89
   480    Nat Swiss Cheese Sliced 1 LB                            West           $       202.52
   481    Swiss Cheese Sliced 96 Cut 5 LB                         Route 14       $        10.58
   482    Swiss Cheese Sliced 96 Cut 5 LB                         Route 33       $        10.58
   483    Swiss Cheese Sliced 96 Cut 5 LB                         West           $       127.00
   484    Tillamook Med Cheddar Loaf 2 LB                         West           $       214.82
   485    Quality Chekd Orange Juice Plastic 6/Qt                 West           $       774.79
   486    Quality Chek'd Dairy Lemon Sorbet 3 Gal                 Route 12       $        28.84
   487    Quality Chek'd Dairy Lemon Sorbet 3 Gal                 West           $       663.32
   488    Quality Chek'd Dairy Rasp Sorbet 3 Gal                  West           $       230.72
   489    Quality Chek'd Dairy Mango Sorbet 3 Gal                 Route 12       $        28.84
   490    Quality Chek'd Dairy Mango Sorbet 3 Gal                 West           $       317.24
   491    Quality Chek'd No Sugar Added Van Ice Cream 3 Gal       Route 12       $        34.81
   492    Quality Chek'd No Sugar Added Van Ice Cream 3 Gal       West           $       313.33
   493    Schoep's Fudge Bar 6/2.5 oz                             West           $     1,541.35

EXHIBIT A
PAGE 16 of 29
                           Case 18-31644-pcm11          Doc 152   Filed 06/01/18
                               SUNSHINE DAIRY FOODS MANAGEMENT, LLC             CASE # 18-31644-pcm11
                                            SCHEDULE A/B
                                 INVENTORY - QUESTIONS 19, 21 and 22


                                                                                Current Value
                                                                                  of Debtor's
 Item                                                             Location of     Interest in
  ID #                      Description of Property                Property        Property
   494    Schoep's Ice Cream Bar 12/2.5 oz                       Route 55       $        20.60
   495    Schoep's Ice Cream Bar 12/2.5 oz                       West           $       149.35
   496    Schoep's NSA Popsicles 6/1.65 oz                       Route 55       $        11.12
   497    Schoep's NSA Popsicles 6/1.65 oz                       West           $       217.54
   498    Schoep's Fudge Bars 2 Dzn                              West           $       119.70
   499    Schoep's Van Dixie 64/Box                              West           $     2,078.13
   500    Schoep's Choc Dixie 64/Box                             West           $     3,372.96
   501    Schoep's Strwbry Dixie 64/Box                          West           $     1,870.32
   502    Schoep's Orange Dixie 64/Box                           West           $     2,349.88
   503    Schoep's Ice Cream Sandwich 2 Dzn                      West           $     1,719.21
   504    Nestle Haagen Dazs Choc Ice Cream 14 oz                West           $        89.40
   505    Nestle Haagen Dazs Coffee Ice Cream 14 oz              West           $       120.06
   506    Nestle Haagen Dazs Strwbry Ice Cream 14 oz             West           $        35.76
   507    Nestle Haagen Dazs Van Ice Cream 14 oz                 West           $        71.52
   508    Pac Foods Single Serve Soy Plain 24/8 oz               West           $     1,224.40
   509    Pac Foods Single Serve Soy Van 24/8 oz                 West           $       449.78
   510    Pac Foods Single Serve Soy Choc 24/8 oz                West           $       287.36
   511    cherry yogurt lf                                       J&D            $       188.80
   512    WF LF Cherry Yogurt 12/6 oz                            East           $       465.70
   513    WF LF Peach Mango Yogurt 12/6 oz                       J&D            $       347.96
   514    WF LF Peach Mango Yogurt 12/6 oz                       East           $       453.45
   515    WF LF Blueberry Yogurt 12/6 oz                         East           $       486.92
   516    WF LF Blueberry Yogurt 12/6 oz                         J&D            $       281.07
   517    WF LF Pina Colada 12/6 oz                              East           $       857.19
   518    WF LF Pina Colada 12/6 oz                              J&D            $       672.80
   519    WF LF Boysenberry Yogurt 12/6 oz                       J&D            $     1,000.07
   520    WF LF Boysenberry Yogurt 12/6 oz                       East           $     1,375.67
   521    WF LF Strwbry Cheesecake Yogurt 12/6 oz                J&D            $           -
   522    WF LF Strwbry Kiwi Yogurt 12/6 oz                      J&D            $       390.37
   523    WF LF Lemon Yogurt 12/6 oz                             J&D            $       408.54
   524    WF LF Lemon Yogurt 12/6 oz                             East           $       410.10
   525    WF LF Peach Yogurt 12/6 oz                             East           $       419.70
   526    WF LF Peach Yogurt 12/6 oz                             J&D            $       552.44
   527    WF LF Rasp Yogurt 12/6 oz                              J&D            $       620.98
   528    WF LF Orange Cream Yogurt 12/6 oz                      J&D            $           -
   529    WF LF Orange Cream Yogurt 12/6 oz                      East           $       413.26
   530    WF LF Mixed Berry Yogurt 12/6 oz                       East           $       713.55
   531    WF LF Mixed Berry Yogurt 12/6 oz                       J&D            $        73.80
   532    WF LF Strawberry Yogurt 12/6 oz                        East           $       452.71
   533    WF LF Strawberry Yogurt 12/6 oz                        J&D            $     1,215.54

EXHIBIT A
PAGE 17 of 29
                           Case 18-31644-pcm11         Doc 152   Filed 06/01/18
                                 SUNSHINE DAIRY FOODS MANAGEMENT, LLC             CASE # 18-31644-pcm11
                                              SCHEDULE A/B
                                   INVENTORY - QUESTIONS 19, 21 and 22


                                                                                  Current Value
                                                                                    of Debtor's
 Item                                                               Location of     Interest in
  ID #                       Description of Property                 Property        Property
   534    WF LF Strwbry Banana Yogurt 12/6 oz                      J&D            $       139.76
   535    WF LF Van Yogurt 12/6 oz                                 East           $       719.20
   536    WF LF Van Yogurt 12/6 oz                                 J&D            $       616.03
   537    WF LF Key Lime Yogurt 12/6 oz                            East           $       412.55
   538    WF LF Boysenberry Yogurt 6/32 oz                         J&D            $           -
   539    WF LF Van Yogurt 6/32 oz                                 J&D            $           -
   540    WF LF Peach Yogurt 6/32 oz                               J&D            $           -
   541    WF Nat Plain Yogurt 6/32 oz                              J&D            $     1,249.02
   542    WF LF Rasp Yogurt 6/32 oz                                J&D            $         7.05
   543    WF LF Strwbry Yogurt 6/32 oz                             J&D            $       337.89
   544    Nancy's NF Plain Yogurt 6/32 oz                          West           $       123.92
   545    Nancy's NF Van Yogurt 6/32 oz                            West           $     1,174.46
   546    Nancy's Org Kefir Peach Yogurt 6/8 oz                    Route 09       $         7.42
   547    Nancy's Org Kefir Peach Yogurt 6/8 oz                    West           $     1,945.19
   548    Nancy's Org LF Strwbry Kefir Yogurt 6/8 oz               West           $     1,069.09
   549    Nancy's Org LF Kefir Blueberry Yogurt 6/8 oz             Route 09       $        14.49
   550    Nancy's Org LF Kefir Blueberry Yogurt 6/8 oz             West           $     1,615.97
   551    Nancy's Org Whole Milk Plain Yogurt 4 LB                 West           $     1,355.09
   552    Nancy's Whole Milk Honey Yogurt 4 LB                     Route 01       $         8.72
   553    Nancy's Whole Milk Honey Yogurt 4 LB                     West           $       889.22
   554    Nancy's NF Plain Yogurt 4 LB                             Route 57       $         4.30
   555    Nancy's NF Plain Yogurt 4 LB                             West           $       176.31
   556    SS NF Blueberry Yogurt 5 LB                              Route 09       $         9.50
   557    SS NF Rasp Yogurt 5 LB                                   Route 09       $         3.20
   558    SS NF Plain Yogurt 5 LB                                  Route 33       $         2.96
   559    SS NF Vanilla Yogurt 5 LB                                Route 09       $        12.02
   560    SS NF Vanilla Yogurt 5 LB                                Route 14       $         6.01
   561    SS NF Vanilla Yogurt 5 LB                                Route 33       $         6.01
   562    SS NF Strawberry Yogurt 5 LB                             Route 09       $         3.19
   563    SS NF Strawberry Yogurt 5 LB                             Route 33       $         6.38
   564    SS Thick Plain Yogurt 32 LB                              West           $       122.09
   565    AirGas Dry Ice Block 10 LB                               West           $       971.19
   566    SS Org Sour Cream 16 oz                                  Route 55       $         1.47
   567    SS Org Sour Cream 5 LB                                   Route 02       $        24.75
   568    SS LF Blackberry Yogurt 6 oz                             Route 01       $         0.74
   569    SS LF Blackberry Yogurt 6 oz                             West           $       928.51
   570    SS LF Blueberry Yogurt 6 oz                              Route 01       $         5.37
   571    SS LF Blueberry Yogurt 6 oz                              West           $     1,617.72
   572    SS LF Mixed Berry Yogurt 6 oz                            Route 01       $         0.73
   573    SS LF Mixed Berry Yogurt 6 oz                            West           $       879.13

EXHIBIT A
PAGE 18 of 29
                            Case 18-31644-pcm11          Doc 152   Filed 06/01/18
                               SUNSHINE DAIRY FOODS MANAGEMENT, LLC             CASE # 18-31644-pcm11
                                            SCHEDULE A/B
                                 INVENTORY - QUESTIONS 19, 21 and 22


                                                                                Current Value
                                                                                  of Debtor's
 Item                                                             Location of     Interest in
  ID #                       Description of Property               Property        Property
   574    SS LF Peach Yogurt 6 oz                                Route 57       $         0.36
   575    SS LF Peach Yogurt 6 oz                                Route 01       $         0.73
   576    SS LF Peach Yogurt 6 oz                                Route 14       $         4.36
   577    SS LF Peach Yogurt 6 oz                                West           $     1,740.92
   578    SS LF Rasp Yogurt 6 oz                                 Route 57       $         0.39
   579    SS LF Rasp Yogurt 6 oz                                 Route 01       $         0.78
   580    SS LF Rasp Yogurt 6 oz                                 West           $     2,230.73
   581    SS LF Strwbry Yogurt 6 oz                              Route 55       $         4.33
   582    SS LF Strwbry Yogurt 6 oz                              Route 57       $         0.36
   583    SS LF Strwbry Yogurt 6 oz                              Route 01       $         5.07
   584    SS LF Strwbry Yogurt 6 oz                              West           $     1,147.77
   585    SS LF Van Yogurt 6 oz                                  Route 01       $         4.60
   586    SS LF Van Yogurt 6 oz                                  West           $       728.83
   587    SS LF Van Yogurt 6 oz                                  Route 55       $         3.94
   588    SS LF Van Yogurt 6 oz                                  Route 57       $         0.66
   589    SS LF Plain Yogurt Qt                                  Route 09       $         2.22
   590    SS LF Van Yogurt Qt                                    Route 57       $         2.67
   591    SS 12% Custard Mix Hgal                                West           $     1,169.38
   592    SS 18% Ice Cream Mix Bag in Box 2.5 Gal                Route 55       $     1,406.12
   593    IMP Fancy Shredded Parmesan Cheese                     West           $       468.25
   594    Romano Grated Cheese                                   Route 55       $       152.65
   595    Romano Grated Cheese                                   Route 57       $        16.96
   596    Romano Grated Cheese                                   West           $       407.55
   597    Quality Chek'd NSA Strwbry Chse Cake Ice Crm 3 Gal     Route 12       $       117.16
   598    Quality Chek'd NF Frozen Van Yogurt 3 Gal              Route 12       $         2.95
   599    Quality Chek'd Choc Peanut Butter Ice Cream Pt         Route 55       $        11.21
   600    Quality Chek'd Van Ice Cream Pt                        Route 55       $        11.21
   601    Quality Chek' Pumpkin Pie Ala Mode Ice Cream 3 Gal     Route 12       $        33.48
   602    Quality Chek'd Van Ice Cream 1.75 Qt                   Route 55       $         8.59
   603    Quality Chek'd Van Bean Ice Cream 1.75 Qt              Route 55       $        42.95
   604    Quality Chek'd Choc Ice Cream 1.75 Qt                  Route 55       $         8.59
   605    Quality Chek Choc Brwnie Thunder Ice Cream 1.75 Qt     Route 55       $        34.36
   606    Quality Chek'd Choc Chip Mint Ice Cream 1.75 Qt        Route 55       $        25.77
   607    Quality Chek' Choc Peanut Butter Ice Cream 1.75 Qt     Route 55       $        17.18
   608    Quality Chek'd Cookie Dough Ice Cream 1.75 Qt          Route 55       $        34.36
   609    Quality Chek'd Espresso Madness Ice Cream 1.75 Qt      Route 55       $        25.77
   610    Quality Chek'd French Van Ice Cream 1.75 Qt            Route 55       $        25.77
   611    Quality Chek'd Rocky Road Ice Cream 1.75 Qt            Route 55       $        17.18
   612    Quality Chek'd Strwbry Ice Cream 1.75 Qt               Route 55       $        40.09
   613    Quality Chek'd Choc Ice Cream 3 Gal                    Route 12       $       133.90

EXHIBIT A
PAGE 19 of 29
                           Case 18-31644-pcm11         Doc 152   Filed 06/01/18
                               SUNSHINE DAIRY FOODS MANAGEMENT, LLC             CASE # 18-31644-pcm11
                                            SCHEDULE A/B
                                 INVENTORY - QUESTIONS 19, 21 and 22


                                                                                Current Value
                                                                                  of Debtor's
 Item                                                             Location of     Interest in
  ID #                       Description of Property               Property        Property
   614    Quality Chek'd Choc Ice Cream 3 Gal                    West           $     2,979.28
   615    Quality Chek'd Expresso Madness Ice Cream 3 Gal        Route 12       $        66.95
   616    Quality Chek'd Expresso Madness Ice Cream 3 Gal        West           $       786.66
   617    Quality Chek'd Maple Nut Ice Cream 3 Gal               Route 12       $        66.95
   618    Quality Chek'd Maple Nut Ice Cream 3 Gal               West           $       803.40
   619    Quality Chek'd Rainbow Sherbet 3 Gal                   Route 12       $        28.02
   620    Quality Chek'd Rainbow Sherbet 3 Gal                   West           $       392.22
   621    Quality Chek'd Strwbry Ice Cream 3 Gal                 Route 12       $        83.69
   622    Quality Chek'd Strwbry Ice Cream 3 Gal                 West           $     1,439.43
   623    Quality Chek'd Van Ice Cream 3 Gal                     Route 12       $       167.38
   624    Quality Chek'd Van Ice Cream 3 Gal                     West           $       652.76
   625    Quality Chek'd Empress Van Ice Cream 3 Gal             West           $     1,357.95
   626    Quality Chek'd Peppermint Candy Ice Cream 3 Gal        Route 12       $        50.21
   627    Quality Chek'd Peppermint Candy Ice Cream 3 Gal        Route 55       $        83.69
   628    Quality Chek'd Peppermint Candy Ice Cream 3 Gal        West           $       569.08
   629    Quality Chek'd Mint Choc Chip Ice Cream 3 Gal          Route 12       $        66.95
   630    Quality Chek'd Mint Choc Chip Ice Cream 3 Gal          West           $     2,510.63
   631    Quality Chek'd Orange Sherbet 3 Gal                    Route 12       $        29.25
   632    Quality Chek'd Orange Sherbet 3 Gal                    West           $     1,799.00
   633    Quality Chek'd Spumoni Ice Cream 3 Gal                 Route 12       $       100.43
   634    Quality Chek'd Spumoni Ice Cream 3 Gal                 West           $       820.14
   635    United Brands Whippet Chargers                         Route 01       $         6.05
   636    United Brands Whippet Chargers                         Route 02       $        12.09
   637    United Brands Whippet Chargers                         Route 18       $        18.14
   638    United Brands Whippet Chargers                         West           $        54.41
   639    United Brands Whippet Chargers                         Route 55       $        22.74
   640    Fruit In Hand Strwbry 6/Qt                             West           $        36.93
   641    Fruit In Hand Rasp 6/Qt                                West           $        24.88
   642    Fruit In Hand Marion Blackberry 6/Qt                   West           $        88.84
   643    Fruit In Hand Mango 6/Qt                               West           $        14.32
   644    Tillamook Van Bean Ice Cream 1.75 Qt                   West           $       706.00
   645    Tillamook French Van Ice Cream 3 Gal                   West           $       423.11
   646    Tillamook Choc Ice Cream 3 Gal                         West           $       335.99
   647    Tillamook Udderly Choc Ice Cream 3 Gal                 West           $       407.98
   648    Tillamook Caramel Butter Pecan Ice Cream 3 Gal         Route 12       $        24.00
   649    Tillamook Caramel Butter Pecan Ice Cream 3 Gal         West           $       359.99
   650    Tillamook Chocolaty Chip Cookie Dough 3 Gal            West           $       455.98
   651    Tillamook Choc Chip Mint Ice Cream 3 Gal               West           $       479.98
   652    Tillamook Choc Peanut Butter Ice Cream 3 Gal           West           $       383.98
   653    Tillamook Coffee Almd Fudge Ice Cream 3 Gal            West           $       528.88

EXHIBIT A
PAGE 20 of 29
                           Case 18-31644-pcm11         Doc 152   Filed 06/01/18
                                SUNSHINE DAIRY FOODS MANAGEMENT, LLC             CASE # 18-31644-pcm11
                                             SCHEDULE A/B
                                  INVENTORY - QUESTIONS 19, 21 and 22


                                                                                 Current Value
                                                                                   of Debtor's
 Item                                                              Location of     Interest in
  ID #                        Description of Property               Property        Property
   654    Tillamook Cookies-N-Cream Ice Cream 3 Gal               West           $       383.98
   655    Tillamook Mountain Huckleberry Ice Cream 3 Gal          West           $       335.99
   656    Tillamook Oregon Black Cherry Ice Cream 3 Gal           West           $       287.99
   657    Tillamook Oregon Strwbry Ice Cream 3 Gal                West           $       423.11
   658    Tillamook Rocky Road Ice Cream 3 Gal                    West           $       191.99
   659    Tillamook Caramel Toffee Crunch Ice Cream 3 Gal         West           $       475.99
   660    Tillamook Van Bean Ice Cream 3 Gal                      Route 55       $        72.00
   661    Tillamook Van Bean Ice Cream 3 Gal                      West           $     1,055.96
   662    Tillamook Marionberry Pie Ice Cream 3 Gal               West           $       239.99
   663    Tillamook Mudslide Ice Cream 3 Gal                      West           $       479.98
   664    Tillamook Fireside Smores Ice Cream 3 Gal               West           $       239.99
   665    Tillamook White Choc Rasp Ice Cream 3 Gal               West           $       167.99
   666    Tillamook Oregon Blueberry 3 Gal                        West           $       238.00
   667    Tillamook Oregon Hazel Nut Salted Caramel 3 Gal         West           $       503.98
   668    Tillamook Orange Sherbert 3 Gal                         West           $        40.70
   669    Tillamook Udderly Choc Ice Cream 1.75 Qt                West           $       482.32
   670    Tillamook Oregon Strwbry Ice Cream 1.75 Qt              West           $       201.92
   671    Gerber Org Red Berry Yogurt                             Americold      $     3,474.90
   672    Gerber Banana Van Yogurt                                Americold      $ 14,004.90
   673    Whl Fds 365 Whole Milk 6/Gal                            West           $       273.33
   674    Whl Fds 365 2% Milk 6/Gal                               West           $       204.74
   675    Whl Fds 365 FF Milk 6/Gal                               West           $       122.17
   676    Whl Fds 365 1% Milk 6/Gal                               West           $       172.14
   677    Whl Fds 365 Whole Milk 12/Hgal                          West           $       151.08
   678    Whl Fds 365 2% Milk 12/Hgal                             West           $       108.58
   679    Whl Fds 365 1% Milk 12/Hgal                             West           $        48.88
   680    Stumptown Cold Brew Nitro Can 12/11 oz                  West           $        62.40
   681    Stumptown Cold Brew Stubbie 12/10.5 oz                  West           $        14.00
   682    Umpqua Van Shake IC 3 Gal                               Route 55       $        87.45
   683    Gerber Peach Tote - Fremont                             Americold      $     4,438.80
   684    Coconut Cold Brew 12/16 oz                              Route 09       $         0.69
   685    Stump CldBrw Nitro 12/11 oz                             West           $     1,152.00
   686    Umpqua Snickers Candy Ice Cream Bar 2 Dzn               Route 55       $        41.16
   687    Umpqua Snickers Candy Ice Cream Bar 2 Dzn               West           $       652.61
   688    Snickers King Size IC Bar 1/24 (2ea./1cs.)              West           $     4,389.55
   689    Giant Vanilla Sandwich 1/24                             West           $       403.43
   690    Giant Vanilla Sandwich 1/24                             Route 55       $        30.39
   691    Quality Chek'd Umpqua Chocolate Pints                   West           $        74.24
   692    Quality Chek'd Umpqua Vanilla Pints                     West           $        25.21
   693    Giant King Cone Van/Choc 12ct                           Route 55       $        88.85

EXHIBIT A
PAGE 21 of 29
                           Case 18-31644-pcm11          Doc 152   Filed 06/01/18
                               SUNSHINE DAIRY FOODS MANAGEMENT, LLC             CASE # 18-31644-pcm11
                                            SCHEDULE A/B
                                 INVENTORY - QUESTIONS 19, 21 and 22


                                                                                Current Value
                                                                                  of Debtor's
 Item                                                             Location of     Interest in
  ID #                        Description of Property              Property        Property
   694    Giant King Cone Van/Choc 12ct                          West           $     3,470.69
   695    Strawberry Shortcake Bar 24/ct                         West           $     3,385.66
   696    Mrs. Fields Sandwich 12/ct                             West           $     6,104.42
   697    King Cone Vanilla 24/ct                                West           $ 13,566.27
   698    King Cone Vanilla 24/ct                                Route 55       $        20.54
   699    LA Michoacana Stwbry Fruit 1/24                        West           $     3,385.66
   700    LA Michoacana Stwbry Fruit 1/24                        Route 55       $        52.99
   701    Magnum DBL Choc/Vanilla 1/12                           West           $     3,385.65
   702    Magnum DBL Caramel 1/12                                Route 55       $        17.63
   703    Magnum DBL Caramel 1/12                                West           $     3,385.68
   704    Magnum Almond 1/12                                     West           $     5,713.29
   705    Magnum Almond 1/12                                     Route 55       $        35.27
   706    Stiebrs Sunrise Cage Free Lrg Brown Dzn                West           $       159.63
   707    Rich Orange Cream Bars 24/2.5oz                        West           $     3,155.81
   708    Liovi Probiotic Drink Plain 6/8 oz Mfg                 West           $        41.16
   709    Liovi Probiotic Drink Van 6/8 oz Mfg                   West           $        10.80
   710    Liovi Probiotic Drink Plain 6/8 oz                     West           $         4.12
   711    Schoep's Junior Pops 2 dz                              West           $     2,990.02
   712    Frozen Orange Juice Cups 96/4oz                        West           $ 28,705.26
   713    Frozen Apple Juice Cups 96/4oz                         West           $ 27,205.73
   714    Frozen Grape Juice Cups 96/4oz                         West           $ 22,454.65
   715    Yammi Vanilla/Raspberry Yogurt Multi Pack 48/4oz       West           $ 13,546.56
   716    Peak Plain Yogurt 12/5 oz                              West           $       159.08
   717    Peak Plain Yogurt 12/5 oz Mfg                          East           $     2,938.71
   718    Peak Vanilla Yogurt 12/5oz                             West           $        53.29
   719    Peak Vanilla Yogurt 12/5oz Mfg                         East           $     7,727.69
   720    Peak Strawberry Yogurt 12/5oz                          West           $       110.10
   721    Peak Strawberry Yogurt 12/5oz Mfg                      East           $     5,551.00
   722    Fruit In Hand Passion Fruit Velvet 6/Qt                West           $        39.49
   723    Gerber Strawberry Tote - Fremont                       Americold      $     2,203.20
   724    Revive BD Original Kombucha 6/12 oz.                   Route 14       $         8.08
   725    Revive BD Original Kombucha 6/12 oz.                   West           $     4,943.08
   726    Revive Wild Ginger Kombucha 6/12 oz.                   West           $     3,477.60
   727    Oatly Oatmilk Barista Edition 12/32oz                  Route 01       $        55.41
   728    Oatly Oatmilk Barista Edition 12/32oz                  Route 18       $       138.54
   729    Oatly Oatmilk Barista Edition 12/32oz                  West           $     8,312.10
   730    Stumptown Cold Brew with Milk 10 oz Mfg                West           $       273.50
   731    Stumptown Cold Brew with Milk 6/10 oz                  Route 01       $         0.40
   732    Stumptown Chocolate Cold Brew 10 oz Mfg                West           $       264.28
   733    Stumptown Chocolate Cold Brew 6/10 oz                  Route 01       $         0.43

EXHIBIT A
PAGE 22 of 29
                           Case 18-31644-pcm11         Doc 152   Filed 06/01/18
                                SUNSHINE DAIRY FOODS MANAGEMENT, LLC             CASE # 18-31644-pcm11
                                             SCHEDULE A/B
                                  INVENTORY - QUESTIONS 19, 21 and 22


                                                                                 Current Value
                                                                                   of Debtor's
 Item                                                              Location of     Interest in
  ID #                    Description of Property                   Property        Property
   734    Stumptown Cold Brew Coconut 10 oz Mfg                   West           $      239.11
   735    Pac Foods Van Hemp 12/Qt CS                             Route 14       $         5.86
                                                                      Total      $ 571,622.05
22. Inventory -Supplies
  878     Berry P SS Blank White Cup 32oz. 500/CS                 DC             $      877.50
  879     Berry P SS Blank White Cup 32oz. 500/CS                 West           $       67.50
  880     Berry P SS Blank White Lid 32oz. 1500/CS                DC             $      527.73
  881     Tote Liner 330 Gal- Pac Food/Amy's 18/cs                West           $    2,998.80
  882     Pro Western Plastics White Square Pail 4 Gal            DC             $    6,244.47
  883     Pro Western Plastics White Square Pail 4 Gal            West           $       42.60
  884     Pro Western Plast Wht Sqr 4 Gal Lid Each                West           $      206.52
  885     Pro Western Plast Wht Sqr 4 Gal Lid Each                DC             $       98.12
  886     16" 59 Gauge Clear Cast Pallet Hand Wrap                East           $    2,615.55
  887     Tote Liner 300 Gal - Harry's/MedoSweet                  West           $      290.88
  888     Arena Air Evac Blowfish 3 Ply Liquid Liner Bag          East           $      235.38
  889     Arena Air Evac Blowfish 3 Ply Liquid Liner Bag          DC             $    3,481.71
  890     Andersen Plastics Plastic Gal Jugs 48/Bag               West           $   12,312.00
  891     Silgan SS/WF Red Homo Milk Cap 2500/CS                  West           $    2,870.10
  892     Silgan SS/WF 2% Blue Cap 2500/CS                        West           $    1,753.95
  893     Silgan SS Whipping Cream Cap Black 2500/CS              West           $      825.60
  894     Silgan SS/Umpqua Org Whole Red Cap 2500/CS              West           $      261.75
  895     Silgan SS/Umpqua Org 2% Blue Cap 2500/CS                West           $      236.30
  896     Silgan SS/Umpqua Org 1% Lite Blue Cap 2500/CS           West           $      848.50
  897     Silgan SS/Umpqua Org FF Cap Lite Green 2500/CS          West           $      500.25
  898     Dispenser Bag 5 Gal w/Tube 200/CS                       West           $    4,445.48
  899     Dispenser Bag 2.5 Gal w/Cap 400/CS                      West           $    5,904.96
  900     Ernest Pkg 3 GalShort Corrugate Box 750/Pallet          West           $    1,627.31
  901     Ernest Pkg 3M Tape 48mm x 100m 36 Roll/CS               West           $      149.76
  902     Taylor Made Lables Video Jet Case Lbl 2200/Roll         West           $      139.17
  903     Ernest Pkg 3M Tape Lrg 48mmx914m 6 Roll/CS              West           $      687.24
  904     TetraPak SS Org Half & Half Qt Carton 500/CS            West           $    2,458.09
  905     TetraPak SS Org Whole Milk Hgal Carton 250/CS           West           $      642.02
  906     TetraPak SS Org 2% Milk Hgal Carton 250/CS              West           $    1,190.81
  907     TetraPak SS Org 1% Milk Hgal Carton 250/CS              West           $      510.44
  908     TetraPak SS Org FF Milk Hgal Carton 250/CS              West           $    1,156.09
  909     TetraPak SS Whole Milk Hgal Carton 250/CS               West           $    1,264.29
  910     TetraPak SS Hvy Whipping Cream Hgal 250/CS              West           $    1,352.60
  911     TetraPak SS 2% Milk Hgal Carton 250/Case                West           $    2,255.72
  912     TetraPak SS 1% Milk Hgal Carton 250/Case                West           $      648.14
  913     TetraPak SS Half & Half Hgal Carton 250/CS              West           $    1,632.12

EXHIBIT A
PAGE 23 of 29
                           Case 18-31644-pcm11          Doc 152   Filed 06/01/18
                               SUNSHINE DAIRY FOODS MANAGEMENT, LLC            CASE # 18-31644-pcm11
                                            SCHEDULE A/B
                                 INVENTORY - QUESTIONS 19, 21 and 22


                                                                               Current Value
                                                                                 of Debtor's
 Item                                                            Location of     Interest in
  ID #                       Description of Property              Property        Property
   914    TetraPak SS Qty Chekd Buttermilk Hgal 250/CS          West           $     3,367.51
   915    TetraPak SS Original Gelato Mix Hgal 250/CS           West           $     2,585.94
   916    TetraPak SS FF Milk Hgal Carton 250/Case              West           $     1,231.92
   917    TetraPak SS Whole Milk Qt 500/CS                      West           $     1,029.48
   918    TetraPak SS 2% Qt Carton 500/Case                     West           $     1,974.28
   919    TetraPak SS Buttermilk Qt Carton 500/Case             West           $     1,621.79
   920    TetraPak SS FF Milk Qt Carton 500/Case                West           $     2,300.10
   921    TetraPak SS Choc RF Milk Qt Carton 500/Case           West           $     1,569.93
   922    TetraPak SS 1% Milk Qt Carton 500/Case                West           $       896.30
   923    TetraPak SS Half & Half Qt Carton 500/Case            West           $     7,086.30
   924    TetraPak SS Whipping Cream Qt Carton 500/Case         West           $     1,570.45
   925    TetraPak SS Whole Milk Pt 1000/CS                     West           $       223.83
   926    TetraPak SS Buttermilk Pt Carton 1000/Case            West           $       259.56
   927    TetraPak SS Choc RF Pt Carton 750/Case                West           $     2,911.50
   928    TetraPak SS 2% Milk Pt Carton 1000/Case               West           $       203.06
   929    TetraPak SS Half & Half Pt Carton 1000/CS             West           $     1,794.36
   930    TetraPak SS Whipping Cream Pt Carton 1000/CS          West           $     1,803.49
   931    TetraPak SS Whole Milk Half Pt 1000/CS                West           $       609.12
   932    TetraPak SS 2% Milk Half Pt Carton 1000/CS            West           $     5,874.79
   933    TetraPak Nat Directions Org 2% Milk Hgal 250/CS       West           $ 10,184.70
   934    TetraPak Nat Directions Org 1% Milk Hgal 250/CS       West           $         3.25
   935    TetraPak Nat Directions Org FF Milk Hgal 250/CS       West           $       850.69
   936    TetraPak SS 1% Milk Half Pt Carton 1000/CS            West           $     5,385.49
   937    TetraPak SS FF Milk Half Pt Carton 1000/CS            West           $     7,819.23
   938    TetraPak Stumptown Coconut Cold Brew Pt 1000/CS       West           $     2,023.40
   939    TetraPak Stumptown Choc Cold Brew Pt 1000/CS          West           $     2,833.04
   940    TetraPak Stumptown Winter Cheer Pt 1000/CS            West           $     2,800.17
   941    TetraPak Stumptown Winter Cheer Qt Carton 500/CS      West           $     5,172.51
   942    TetraPak SS FF Choc Milk Half Pt Carton 1000/CS       West           $     6,847.52
   943    TetraPak SS Blanks Hgal Carton 250/Case               West           $     1,392.56
   944    TetraPak Stumptown Cold Brew Pt Carton 1000/Case      West           $     4,099.82
   945    TetraPak SS Blank Pt Carton 1000/Case                 West           $     4,176.90
   946    TetraPak SS Whipping Cream Half Pt Carton 1000/CS     West           $     1,838.88
   947    Silgan SS/WF 1% Milk Pink Cap 2500/CS                 West           $       425.20
   948    Silgan SS/WF FF Light Blue Cap 2500/Case              West           $       797.25
   949    Crftsmn Lbl 2.75 x 3.25 Flood Yell Disp Lbl 2K/Rl     West           $       100.25
   950    Portco SS 8" White Dairy Lid Seal Roll                West           $     2,006.64
   951    Portco SS 11.875" White Dairy Lid Seal Roll           West           $     2,459.08
   952    WS Pkg SS Whole Homogenized Milk GalJFront Lbl        West           $       172.00
   953    Craftsman Lbl 2.75" x 3.25" Flood Blue 2K/Roll        West           $       122.15

EXHIBIT A
PAGE 24 of 29
                           Case 18-31644-pcm11        Doc 152   Filed 06/01/18
                               SUNSHINE DAIRY FOODS MANAGEMENT, LLC             CASE # 18-31644-pcm11
                                            SCHEDULE A/B
                                 INVENTORY - QUESTIONS 19, 21 and 22


                                                                                Current Value
                                                                                  of Debtor's
 Item                                                             Location of     Interest in
  ID #                       Description of Property               Property        Property
   954    Berry P SS Lite Sour Cream Lid 5 LB 400/CS             West           $     3,276.00
   955    Crftsmn Lbl 2.75 x 3.25 Flood Pant Green Disp2K/Rl     West           $       152.32
   956    Crafstman Lbl 2.75 x 3.25 Flood Lime Disp 2K/Roll      West           $        30.00
   957    Craftsman Lbl 2.75 x 3.25 Flood Warm Red 2K/Roll       West           $        30.47
   958    Craftsman Lbl 2.75 x 3.25 Flood Brwn 2K/Roll           West           $        94.45
   959    WS Pkg SS 40% Whip Cream Lbl 3K/Roll                   West           $        51.66
   960    WS Pkg SS 2% Milk GalJFront Lbl 4K/Roll                West           $       317.12
   961    WS Pkg SS FF GalJFront Lbl 4K/Roll                     West           $       137.63
   962    WS Pkg SS 1% Milk GalJFront Lbl 4K/Roll                West           $        98.16
   963    WS Pkg SS Choc 2% Milk GalJFront Lbl 4K/Roll           West           $        80.00
   964    Taylor Made Lbls 4x6 DT Blank Lbl 500/Roll             East           $       876.12
   965    Berry P SS 515 Dry Stock S Cream/Yg 5LB Cup 192/CS     West           $       861.84
   966    Berry P SS Sour Cream Lid 5 LB 450/Case                DC             $       655.73
   967    Berry P SS Sour Cream Lid 5 LB 450/Case                West           $       261.00
   968    Ernest Pkg Mac. Stretch Film 20X9000 40 Roll/PLT       West           $     1,346.91
   969    Ernest Pkg Hnd Wrp 18x1500 57GA Clr Cast 4/48 Roll     West           $       253.38
   970    Ernest Pkg Corrugate T-Sheets 1000/Case                West           $       972.00
   971    WS Pkg Whl Fds 365 1% Milk Gal Back Lbl 4K/Roll        West           $       116.32
   972    WS Pkg Whl Fds 365 Whole Gal Back Lbl 4K/Roll          West           $        77.16
   973    WS Pkg Whl Fds 365 2% Milk Gal Front Lbl 4K/Roll       West           $        34.76
   974    WS Pkg Whl Fds 365 FF Milk Gal Back Lbl 4K/Roll        West           $        96.00
   975    WS Pkg Whl Fds 365 FF Milk Gal Front Lbl 4K/Roll       West           $       317.12
   976    WS Pkg Whl Fds 365 2% Milk Gal Back Lbl 4K/Roll        West           $        55.68
   977    WS Pkg Whl Fds 365 1% Milk Gal Front Lbl 4K/Roll       West           $        72.00
   978    WS Pkg SS Org Whole Front Lbl 4K/Roll                  West           $       173.80
   979    WS Pkg SS Org 2% Front Lbl 4K/Roll                     West           $       139.04
   980    WS Pkg SS Org 1% Front Lbl 4K/Roll                     West           $       330.00
   981    WS Pkg SS Org FF Front Lbl 4K/Roll                     West           $       200.00
   982    WS Pkg SS Org Whole Back Lbl 4K/Roll                   West           $       102.88
   983    WS Pkg SS Org 2% Back Lbl 4K/Roll                      West           $       116.32
   984    WS Pkg SS Org 1% Back Lbl 4K/Roll                      West           $       585.48
   985    WS Pkg SS Org FF Back Lbl 4K/Roll                      West           $        80.00
   986    Ernest Pkg Plain Pint Box 12/16 oz (750/plt)           West           $         1.80
   987    Ernest Pkg Plain Half Gal Box (840/plt)                West           $       519.73
   988    Berry P SS NF Blueberry Yogurt 5 LB Lid 450/CS         West           $       207.00
   989    Berry P SS NF Plain Yogurt 5 LB Lid 300/CS             West           $       238.89
   990    Berry P SS NF Rasp Yogurt 5 LB Lid 450/CS              West           $       206.00
   991    Berry P SS NF Strwbry Yogurt 5 LB Lid 450/CS           West           $     1,165.78
   992    Berry P SS NF Van Yogurt 5 LB Lid 300/CS               West           $       296.33
   993    TetraPak Whl Fds 365 FF Milk Hgal 250/CS               West           $     1,580.56

EXHIBIT A
PAGE 25 of 29
                           Case 18-31644-pcm11         Doc 152   Filed 06/01/18
                               SUNSHINE DAIRY FOODS MANAGEMENT, LLC            CASE # 18-31644-pcm11
                                            SCHEDULE A/B
                                 INVENTORY - QUESTIONS 19, 21 and 22


                                                                               Current Value
                                                                                 of Debtor's
 Item                                                            Location of     Interest in
  ID #                        Description of Property             Property        Property
   994    TetraPak Whl Fds 365 1% Milk Hgal 250/CS              West           $     1,475.28
   995    TetraPak Whl Fds 365 2% Milk Hgal 250/CS              West           $     9,249.19
   996    TetraPak Whl Fds 365 Whole Milk Hgal 250/CS           West           $     5,719.48
   997    Ernest Pkg 4/1 Plain Box Gal500/Pallet                West           $     5,788.81
   998    LMI Pkg WF LF Red Lbl Seal 15680/Case                 East           $     7,492.80
   999    Craftman Lbl Meadow Sweet Green Lbl 1K/Roll           West           $       509.96
 1000     Craftman Lbl Meadow Sweet Blue Lbl 1K/Roll            West           $       409.95
 1001     Ernest Pkg 6-2 LB Box 1050/Pallet                     West           $     1,521.38
 1002     Berry P 302 TF Tall 6 oz Cup 1800/CS                  East           $       457.16
 1003     Berry P 302 TF Tall 6 oz Cup 1800/CS                  West           $       152.39
 1004     Berry P WF LF Rasp Yogurt 32 oz Cup 500/CS            West           $       701.03
 1005     Berry P WF LF Strwbry Yogurt 32 oz Cup 500/CS         West           $       573.57
 1006     Berry P WF LF Plain Yogurt 32 oz Cup 500/CS           DC             $       955.50
 1007     Berry P WF LF Plain Yogurt 32 oz Cup 500/CS           West           $       204.83
 1008     Berry P WF LF Boysenberry Yogurt 32 oz Cup 500/CS     DC             $     2,662.08
 1009     Berry P WF LF Boysenberry Yogurt 32 oz Cup 500/CS     West           $     1,070.21
 1010     Berry P SS LF Plain Yogurt 32 oz Cup 500/CS           DC             $     3,890.70
 1011     Berry P SS LF Van Bean Yogurt 32 oz Cup 500/CS        West           $        64.50
 1012     Berry P SS LF Van Bean Yogurt 32 oz Cup 500/CS        DC             $     3,153.70
 1013     Berry P SS LF Strwbry Yogurt 32 oz Cup 500/CS         DC             $       919.99
 1014     Berry P WF LF Cherry Yogurt 6 oz Cup 1800/CS          DC             $     2,636.71
 1015     Berry P WF LF Cherry Yogurt 6 oz Cup 1800/CS          East           $        70.34
 1016     Berry P WF LF Peach Mango Yogurt 6 oz Cup 1800/CS     DC             $     1,109.86
 1017     Berry P WF LF Peach Mango Yogurt 6 oz Cup 1800/CS     East           $        67.99
 1018     Berry P WF LF Blueberry Yogurt 6 oz Cup 1800/CS       DC             $     1,915.70
 1019     Berry P WF LF Blueberry Yogurt 6 oz Cup 1800/CS       East           $       140.83
 1020     Berry P WF LF Pina Colada Yogurt 6 oz Cup 1800/CS     DC             $       755.96
 1021     Berry P WF LF Boysenberry Yogurt 6 oz Cup 1800/CS     DC             $     1,501.65
 1022     Berry P WF LF Boysenberry Yogurt 6 oz Cup 1800/CS     East           $        69.03
 1023     Berry P WF LF StwbryryChsCake Yog 6 oz Cup 1800/CS    East           $        65.90
 1024     Berry P WF LF StwbryryChsCake Yog 6 oz Cup 1800/CS    DC             $       675.72
 1025     Berry P WF LF StwbryryKiwi Yogurt 6 oz Cup 1800/CS    East           $       126.43
 1026     Berry P WF LF StwbryryKiwi Yogurt 6 oz Cup 1800/CS    DC             $     1,517.87
 1027     Berry P WF LF Plain 6 oz Yogurt Cup 1800/CS           DC             $       833.00
 1028     Berry P WF LF Lemon Yogurt 6 oz Cup 1800/CS           East           $       126.47
 1029     Berry P WF LF Lemon Yogurt 6 oz Cup 1800/CS           DC             $     1,420.90
 1030     Berry P WF LF Peach Yogurt 6 oz Cup 1800/CS           East           $       120.60
 1031     Berry P WF LF Peach Yogurt 6 oz Cup 1800/CS           DC             $     2,441.52
 1032     Berry P WF LF Rasp Yogurt 6 oz Cup 1800/CS            East           $        65.50
 1033     Berry P WF LF Rasp Yogurt 6 oz Cup 1800/CS            DC             $     1,621.73

EXHIBIT A
PAGE 26 of 29
                           Case 18-31644-pcm11        Doc 152   Filed 06/01/18
                               SUNSHINE DAIRY FOODS MANAGEMENT, LLC            CASE # 18-31644-pcm11
                                            SCHEDULE A/B
                                 INVENTORY - QUESTIONS 19, 21 and 22


                                                                               Current Value
                                                                                 of Debtor's
 Item                                                            Location of     Interest in
  ID #                        Description of Property             Property        Property
 1034     Berry P WF LF Orange Cream Yogurt 6 oz Cup 1800/CS    East           $        61.18
 1035     Berry P WF LF Orange Cream Yogurt 6 oz Cup 1800/CS    DC             $       337.86
 1036     Berry P WF LF Mixed Berry Yogurt 6 oz Cup 1800/CS     DC             $     1,619.84
 1037     Berry P WF LF Mixed Berry Yogurt 6 oz Cup 1800/CS     East           $        68.56
 1038     Berry P WF LF Strwbry Yogurt 6 oz Cup 1800/CS         DC             $     2,638.82
 1039     Berry P WF LF Strwbry Yogurt 6 oz Cup 1800/CS         East           $       140.47
 1040     Berry P WF LF StrwbryBanana Yogurt 6 ozCup 1800/CS    East           $        65.41
 1041     Berry P WF LF StrwbryBanana Yogurt 6 ozCup 1800/CS    DC             $     2,305.40
 1042     Berry P WF LF Van Yogurt 6 oz Cup 1800/CS             DC             $     1,982.18
 1043     Berry P WF LF Van Yogurt 6 oz Cup 1800/CS             East           $        65.79
 1044     Berry P WF LF Key Lime Yogurt 6 oz Cup 1800/CS        DC             $       780.86
 1045     Berry P WF LF Key Lime Yogurt 6 oz Cup 1800/CS        East           $        71.26
 1046     Berry P WF LF RaspYogurt32 ozLid 1500/CS              DC             $     1,723.80
 1047     Berry P WF LF RaspYogurt32 ozLid 15/CS                West           $       795.96
 1048     Berry P WF LF BoysenberryYogurt32 ozLid 1500/CS       DC             $     1,079.64
 1049     Berry P WF LF BoysenberryYogurt32 ozLid 1500/CS       West           $     1,163.61
 1050     Berry P WF LF Strwbry Yogurt 32 oz Lid 1500/CS        West           $       589.49
 1051     Berry P WF LF Strwbry Yogurt 32 oz Lid 1500/CS        DC             $     1,819.13
 1052     Berry P WF LF Peach Yogurt 32 oz Lid 1500/CS          DC             $       931.35
 1053     Berry P WF LF Peach Yogurt 32 oz Lid 1500/CS          West           $       399.15
 1054     Berry P WF LF Plain Yogurt 32 oz Lid 15/CS            DC             $       250.98
 1055     Berry P WF LF Van Yogurt 32 oz Cup 500/CS             West           $       513.68
 1056     Berry P WF LF Van Yogurt 32 oz Lid 1500/CS            DC             $       222.24
 1057     Berry P WF LF Van Yogurt 32 oz Lid 1500/CS            West           $       500.99
 1058     Berry P SS LF Plain Yogurt 32 oz Lid 1500/CS          DC             $       163.26
 1059     Berry P SS LF Plain Yogurt 32 oz Lid 1500/CS          West           $        27.21
 1060     Berry P SS LF Peach Yogurt 32 oz Lid 1500/CS          DC             $       216.08
 1061     Berry P SS LF Van Bean Yogurt 32 oz Lid 1500/CS       DC             $     1,050.57
 1062     Berry P SS LF Blackberry Yogurt 6 oz Cup 1800/CS      East           $     1,348.38
 1063     Berry P SS LF Blueberry Yogurt 6 oz Cup 1800/CS       East           $       646.20
 1064     Berry P SS LF Mixed Berry Yogurt 6 oz Cup 1800/CS     East           $     1,014.44
 1065     Berry P SS LF Peach 6 oz Yogurt Cup 1800/CS           East           $     1,250.69
 1066     Berry P SS LF Rasp Yogurt 6 oz Cup 1800/CS            East           $       619.54
 1067     Berry P SS LF Strwbry Yogurt 6 oz Cup 1800/CS         East           $       257.62
 1068     Berry P SS LF Van Bean Yogurt 6 oz Cup 1800/CS        East           $     1,813.27
 1069     Berry P SS Blank White Cup 16oz. 1000/CS              West           $        95.96
 1070     Berry P SS Blank White Cup 16oz. 1000/CS              DC             $       384.06
 1071     Berry P SS Blank White Lid 16oz. 225/CS               West           $       813.15
 1072     Berry P SS Org Sour Cream 8 oz Cup 1500/CS            West           $     3,502.13
 1073     Berry P SS Org Sour Cream 16 oz Cup 1000/CS           West           $     2,577.75

EXHIBIT A
PAGE 27 of 29
                           Case 18-31644-pcm11        Doc 152   Filed 06/01/18
                               SUNSHINE DAIRY FOODS MANAGEMENT, LLC            CASE # 18-31644-pcm11
                                            SCHEDULE A/B
                                 INVENTORY - QUESTIONS 19, 21 and 22


                                                                               Current Value
                                                                                 of Debtor's
 Item                                                            Location of     Interest in
  ID #                       Description of Property              Property        Property
 1074     Berry P SS Org Sour Cream 16 oz Cup 1000/CS           DC             $       441.96
 1075     Berry P SS Org Sour Cream 8 oz/16 oz Lid 2250/CS      West           $       810.00
 1076     Berry P SS Org Sour Cream 5 LB Lid 450/CS             West           $     1,308.29
 1077     Berry P SS Org Sour Cream 5 LB Lid 450/CS             DC             $     2,223.29
 1078     TetraPak SS NF Yogurt Mix Hgal 250/CS                 West           $     2,330.81
 1079     TetraPak SS LF Van Ice Cream Mix Hgal 250/CS          West           $       692.66
 1080     TetraPak SS Eggnog Hgal Carton 250/CS                 West           $       503.36
 1081     TetraPak SS Eggnog Qt Carton 500/CS                   West           $     1,437.81
 1082     TetraPak New Seasons Eggnog Qt Carton 500/CS          West           $       815.83
 1083     Ernest Pkg Ultra Melt Box Glue LB                     East           $       522.75
 1084     Ernest Pkg 12-1 Qt Corrigated Each                    West           $     1,231.29
 1085     Ernest Pkg Plain Wrap 12/6 oz 1050/Pallet             East           $ 12,659.12
 1086     Ernest Pkg 12-16 oz Boxes 500/plt (Ochoa)             West           $     1,120.65
 1087     Ernest Pkg Blank 6/16 oz.                             West           $       980.07
 1088     LMI Pkg SS LF Yogurt 6 oz Lid 15680/CS                East           $     1,686.43
 1089     TetraPak Cascade Vlly Van NF Yogurt Hgal 250/CS       West           $     7,097.30
 1090     TetraPak Liovi Probiotic Drink Plain 8 oz Carton      West           $     1,570.47
 1091     TetraPak Liovi Probiotic Drink Vanilla 8 oz Carton    West           $     2,432.30
 1092     TetraPak Stumptown Cold Brew Conc Hgal 250/CS         West           $       906.33
 1093     Ernest Pkg Stumptown Choc Box 12/16 oz 750/Pallet     West           $       847.67
 1094     Ernest Pkg Stumptown WntChr Box 12/16oz 750/Pallet    DC             $     4,371.18
 1095     Ernest Pkg 6/1 QT Pack Box                            West           $     2,183.03
 1096     16 oz Overcap lids 500/CS                             DC             $     2,020.68
 1097     KH Unsweetened Plain 16 oz cup 468/CS                 DC             $     9,308.64
 1098     Lyrical 12/16 oz Box                                  West           $       241.16
 1099     Pallecon 315 Collapsible Container                    East           $     2,456.03
 1100     Andersen Plastic Gal Jugs DBJ 48/Bag                  DC             $     7,741.44
 1101     Lyrical 12/16oz Vented Box                            East           $     2,424.56
 1102     Greiner Peak Vanilla Yogurt 5.3oz Cup 1410/CS         DC             $     4,398.64
 1103     Greiner Peak Vanilla Yogurt 5.3oz Cup 1410/CS         East           $     3,117.74
 1104     Greiner Peak Plain Yogurt 5.3oz Cup 1410/CS           DC             $       808.27
 1105     Greiner Peak Plain Yogurt 5.3oz Cup 1410/CS           East           $     9,867.65
 1106     Greiner Peak Strawberry Yogurt 5.3oz Cup 1410/CS      DC             $     3,544.44
 1107     Greiner Peak Strawberry Yogurt 5.3oz Cup 1410/CS      East           $     1,125.94
 1108     LMI Pkg Peak Plain Seal 16800/Case                    East           $     2,158.46
 1109     LMI Pkg Peak Vanilla Seal 16800/Case                  East           $     1,253.28
 1110     LMI Pkg Peak Strawberry Seal 16800/Case               East           $     2,097.98
 1111     Groupo Phoenix Greek Plain GPI Cup 1408/CS            East           $ 29,309.49
 1112     Groupo Phoenix Greek Vanilla GPI Cup 1408/CS          East           $ 23,139.07
 1113     Groupo Phoenix Greek Strawberry GPI Cup 1408/CS       East           $ 16,197.35

EXHIBIT A
PAGE 28 of 29
                          Case 18-31644-pcm11         Doc 152   Filed 06/01/18
                              SUNSHINE DAIRY FOODS MANAGEMENT, LLC            CASE # 18-31644-pcm11
                                           SCHEDULE A/B
                                INVENTORY - QUESTIONS 19, 21 and 22


                                                                              Current Value
                                                                                of Debtor's
 Item                                                           Location of     Interest in
  ID #                     Description of Property               Property        Property
 1114     Groupo Phoenix Greek Blueberry GPI Cup 1408/CS       East           $ 23,139.07
 1115     Groupo Phoenix Greek Maple GPI Cup 1408/CS           East           $ 37,665.27
 1116     Groupo Phoenix Plain GPI Foil Lid 14400/CS           East           $     7,332.77
 1117     Groupo Phoenix Vanilla GPI Foil Lid 14400/CS         East           $     8,151.84
 1118     Groupo Phoenix Strawberry GPI Foil Lid 14400/CS      East           $     7,604.35
 1119     Groupo Phoenix Blueberry GPI Foil Lid 14400/CS       East           $     7,880.11
 1120     Groupo Phoenix Maple GPI Foil Lid 14400/CS           East           $     9,777.02
 1121     CHEP Form Fit 223l Liner 6/cs                        East           $     1,018.66
 1122     TetraPak Stumptown Cold Brew 10oz 1000/CS            West           $ 13,847.18
 1123     TetraPak Stumptown Choc Cold Brew 10oz 1000/CS       West           $ 14,663.59
 1124     TetraPak Stumptown Coconut Cold Brew 10oz 1000/CS    West           $     5,420.80
                                                                    Total     $ 586,039.52




EXHIBIT A
PAGE 29 of 29
                          Case 18-31644-pcm11        Doc 152   Filed 06/01/18
                                             SUNSHINE DAIRY FOODS MANAGEMENT, LLC                         Case #18-31644-pcm11
                                                          SCHEDULE A/B
                                           OFFICE FURNITURE, FIXTURES, AND EQUIPMENT -
                                                     QUESTIONS 39, 40 and 41




                                                                                   2018                          OLV Per
 Item                                                           Location of    Depreciation                     11/21/17
   ID                  Description of Property                   Property       Book Value        Cost Value    Appraisal

39. Office furnishings, and supplies



15120 24 X 24 Desk Shell - Plt Mgr                             West Plant     $          -    $        638.00     N/A
      30 x 66 Desk Plant Mgr                                   West Plant     $          -    $        638.00     N/A
      Black Chair                                              West Plant     $          -    $        129.00     N/A
      Building Access Control System                           West Plant     $          -    $      9,997.00     N/A
      DESK - DENNIS C                                          West Plant     $          -    $        862.00     N/A
      DESK - OFFICE                                            West Plant     $          -    $        850.00     N/A
      Desk Credenza Hutch - (Eileen office)                    West Plant     $          -    $      1,308.00     N/A
      File Cabinet F3L Black                                   West Plant     $          -    $        200.00     N/A
      Fire Kiing 2 Drawer Fireproof Cabinet                    West Plant     $          -    $        638.00     N/A
      HandPunch 1000 TImeclock West Plant                      West Plant     $          -    $      1,775.00     N/A
      Modular Furniture Customer Svc Area                      West Plant     $          -    $      2,656.00     N/A
      Payroll clocks (2) & conversion                          West Plant     $          -    $      7,424.00     N/A
15120                                                                         $          -    $     27,115.00


15120 Cherry Executive Desk Table Bookcase                     East Plant     $      392.84 $        1,500.00     N/A
      Cubicles                                                 East Plant     $    2,223.10 $        5,557.72     N/A
15120                                                                         $    2,615.94 $        7,057.72     N/A

15120                                                                         $    2,615.94 $       34,172.72     N/A

40. Office Fixtures
15120
       Carrier 5 ton HVAC (sales office)                       West Plant     $          -    $     13,500.00     N/A
       Chrome Shelving                                         West Plant     $          -    $        300.00     N/A
       OFFICE PARTITIONS                                       West Plant     $          -    $      3,100.00     N/A
       OFFICE PARTITIONS                                       West Plant     $          -    $      4,096.00     N/A
       OFFICE PARTITIONS                                       West Plant     $          -    $      4,923.00     N/A
subtotal                                                                      $          -    $     25,919.00


15120 Cubicles                                                 East Plant     $    2,223.10 $        5,557.72     N/A

Total                                                                         $    2,223.10 $       31,476.72     N/A

#41 - Computers & Electronics
 15170 1600 Series Dual Band Wireless Access Point (3 ea)
    West Plant     $          -    $      2,183.85     N/A
        19 Flat Panel - Eileen                                 West Plant     $          -    $        239.00     N/A
        19 Flat Panel Display - Don W                          West Plant     $          -    $        259.00     N/A


EXHIBIT B
PAGE 1 of 5
                                Case 18-31644-pcm11             Doc 152       Filed 06/01/18
                                         SUNSHINE DAIRY FOODS MANAGEMENT, LLC                              Case #18-31644-pcm11
                                                      SCHEDULE A/B
                                       OFFICE FURNITURE, FIXTURES, AND EQUIPMENT -
                                                 QUESTIONS 39, 40 and 41




                                                                                   2018                            OLV Per
 Item                                                           Location of    Depreciation                       11/21/17
   ID                    Description of Property                 Property       Book Value         Cost Value     Appraisal
        19 Flat Panel Monitor (Lavonne)                        West Plant     $          -     $         259.00      N/A
        19 Flat Panel Monitor (Dennis C)                       West Plant     $          -     $         259.00      N/A
        APC Smart-UPS X 3000VA Rack/Tower                      West Plant     $          -     $      1,585.00       N/A
        Backup & Recovery System for AS400                     West Plant     $          -     $      1,795.00       N/A
        CRS PI010468 AX150I inkjet printer
                   West Plant     $     6,345.81   $      7,614.97       N/A
        CTL Desktop Computer                                   West Plant     $          -     $         959.00      N/A
        CTL Desktop Computer - Chris Winston                   West Plant     $          -     $      1,398.00       N/A
        CTL Desktop Computer - Eileen                          West Plant     $          -     $      1,204.00       N/A
        CTL Notebook - Brian Simpson                           West Plant     $          -     $      1,912.00       N/A
        DC Network Setup                                       West Plant     $          -     $      2,045.85       N/A
        Dell - Latitude E5540 (nalyne)
                       West Plant     $          -     $      1,933.75       N/A
        Dell - OptiPlex 3020 (afalk)
                         West Plant     $          -     $      1,384.50       N/A
        Dell - OptiPlex 3020 (chuebner)
                      West Plant     $          -     $      1,384.50       N/A
        Dell - OptiPlex 3020 (cwinston)
                      West Plant     $          -     $      1,384.50       N/A
        Dell - OptiPlex 3020 (dcarlson)
                      West Plant     $          -     $      1,384.50       N/A
        Dell - OptiPlex 3020 (dpennick)
                      West Plant     $          -     $      1,384.50       N/A
        Dell - OptiPlex 3020 (dquitugua)
                     West Plant     $          -     $      1,384.50       N/A
        Dell - OptiPlex 3020 (gjohnson)
                      West Plant     $          -     $      1,357.50       N/A
        Dell - OptiPlex 3020 (mrobertson)
                    West Plant     $          -     $      1,384.50       N/A
        Dell - OptiPlex 3020 (mwilliams)
                     West Plant     $          -     $      1,384.50       N/A
        Dell - OptiPlex 3020 (pcole)
                         West Plant     $          -     $      1,384.50       N/A
        Dell - OptiPlex 3020 (scantoo)
                       West Plant     $          -     $      1,384.50       N/A
        Dell - OptiPlex 3020 (Sunshine)
                      West Plant     $          -     $      1,384.50       N/A
        Dell - OptiPlex 9020M + 23 Monitor (West Training)
   West Plant     $          -     $      1,435.00       N/A
        Dell Computer - Don Cookston                           West Plant     $          -     $      1,027.00       N/A
        Dell E5430 Laptop                                      West Plant     $          -     $      2,330.00       N/A
        Dell E5500 SN#2RRRJV1 (Scott)                          West Plant     $          -     $      2,191.25       N/A
        Dell E5530 Laptop                                      West Plant     $          -     $      1,035.00       N/A
        Dell E5540 Latitude + 23 Dell monitor
                West Plant     $          -     $      2,142.50       N/A
        Dell E5540 Latitude + dual 23 monitors (Eileen)
      West Plant     $          -     $      2,262.50       N/A
        Dell Laptop Computer                                   West Plant     $          -     $      2,050.00       N/A
        Dell Latitude 15 5000 Laptop w/Dock and 2 23 monitors fWest Plant     $          -     $      2,894.00       N/A
        Dell Latitude 15 5000 Laptop w/Dock and 2 23 monitors fWest Plant     $          -     $      2,325.00       N/A
        Dell Latitude 15 5000 Laptop w/Dock and 2 23 monitors fWest Plant     $          -     $      2,340.00       N/A
        Dell Latitude 15 5000 Laptop w/Dock and 23 monitor for West Plant     $          -     $      2,565.00       N/A
        Dell Latitude 15 5000 Series w/E-Port and 23 Monitor
 West Plant     $          -     $      4,610.00       N/A
        Dell Latitude E5500 Laptop                             West Plant     $          -     $      1,895.00       N/A
        Dell Latitude E5530                                    West Plant     $          -     $      2,202.15       N/A
        Dell Latitude E5530                                    West Plant     $          -     $      3,762.50       N/A
        Dell Latitude E5530                                    West Plant     $          -     $      1,665.00       N/A
        Dell Latitude E5530                                    West Plant     $          -     $      2,070.00       N/A
        Dell Latitude E5530 Laptop                             West Plant     $          -     $      1,665.00       N/A
        Dell Latitude E5530 Laptop                             West Plant     $          -     $      1,895.00       N/A
        Dell Latitude E5530 Laptop                             West Plant     $          -     $      1,150.00       N/A

EXHIBIT B
PAGE 2 of 5
                               Case 18-31644-pcm11             Doc 152        Filed 06/01/18
                                           SUNSHINE DAIRY FOODS MANAGEMENT, LLC                              Case #18-31644-pcm11
                                                        SCHEDULE A/B
                                         OFFICE FURNITURE, FIXTURES, AND EQUIPMENT -
                                                   QUESTIONS 39, 40 and 41




                                                                                       2018                          OLV Per
 Item                                                              Location of    Depreciation                      11/21/17
   ID                     Description of Property                   Property       Book Value        Cost Value     Appraisal
        Dell Latitude E5540 for Patrick Steinke                   West Plant     $           -     $    1,818.75       N/A
        Dell Latitude E5570 laptop S/N: H998N72 w/docking Stat West Plant        $       427.77   $    3,080.00       N/A
        Dell Optiplex 3010                                        West Plant     $           -     $    5,749.00       N/A
        Dell Optiplex 3010                                        West Plant     $           -     $    1,157.50       N/A
        Dell Optiplex 390                                         West Plant     $           -     $    2,679.40       N/A
        Dell Optiplex 390 #2                                      West Plant     $           -     $    1,263.15       N/A
        Dell Optiplex 390 MiniTower                               West Plant     $           -     $    1,263.75       N/A
        Dell Optiplex 7020 SFF S/N: HBFH182
                     West Plant     $        116.66   $    1,400.00       N/A
        Dell Optiplex 7020 SFF S/N: J62J482 + 3 Dell Professional West Plant     $     364.58     $    2,625.00       N/A
        Dell Optiplex 9020 Mini Tower HP Laser Jet Pro 400 print West Plant      $           -     $    2,115.00       N/A
        Dell Power Edge Server - Labor to Install                 West Plant     $           -     $    2,485.00       N/A
        Dell PowerEdge R530 Server and Windows Licensing          West Plant     $           -     $ 11,420.00         N/A
        Dell PowerEdge R610 Server                                West Plant     $           -     $ 10,390.00         N/A
        Dell PowerEdge R610 Server                                West Plant     $           -     $    8,350.00       N/A
        Dell Professional P2311H
                                West Plant     $         57.09   $       685.00      N/A
        Dell Vostro 220 - Doug Warrick                            West Plant     $           -     $    1,043.00       N/A
        Dell Vostro 230 Minitower - Greg Hall                     West Plant     $           -     $    1,013.00       N/A
        Dell Vostro 3700 and Monitor                              West Plant     $           -     $    1,382.98       N/A
        Hard Drives for New Server (3)                            West Plant     $           -     $    2,921.00       N/A
        Harvest Food Solutions implementation / consulting        West Plant     $ 102,074.89      $ 126,092.50        N/A
        HP EliteBook 840 G4
AFalk 5CG74225K3
                   West Plant     $      1,368.48   $    1,747.00       N/A
        HP EliteBook 840 G4
for bartender app 5CG74225R2
 West Plant           $      1,339.37   $    1,747.00       N/A
        HP EliteBook 850 G4
for CFO 5CG7494Q2C
  5              West Plant     $      1,545.52   $    1,973.00       N/A
        HP EliteDesk 800 G3 
for Lab                             West Plant     $        766.10   $       978.00      N/A
        HP LaserJet P2035                                         West Plant     $           -     $       385.00      N/A
        HP LazerJet P2055DN                                       West Plant     $           -     $       422.98      N/A
        HP ProBook 450 G3
5CD7155W2G
                           West Plant     $      1,091.93   $    1,489.00       N/A
        HP ProBook 640 G2
asturdy
5CG7322P26
                  West Plant     $      1,276.73   $    1,741.00       N/A
        HP ProBook 640 G2
D Crollard 5CG7265J0Q
                West Plant     $      1,449.06   $    1,975.99       N/A
        HP ProBook 640 G2
HQuinton 5CG7313B3M
                  West Plant     $      1,659.73   $    2,212.98       N/A
        HP ProBook 650 G2
rwolf 5CG7384DZN
                     West Plant     $      1,196.80   $    1,632.00       N/A
        HP ProDesk 400 G4 SFF
Upward MXL7331DWM
                West Plant     $      1,078.40   $    1,376.68       N/A
        HP ZBook Studio G4
for CEO CND7252KTN
                  West Plant     $      1,997.21   $    2,549.63       N/A
        IBM 9405 (New Server)                                     West Plant     $           -     $    4,500.00       N/A
        Install 3 firewalls - software set-up
                   West Plant     $      1,035.00   $    1,350.00       N/A
        Install cost of Power Edge R530 Server S/N: 9PGHF42 (pu West Plant       $        87.53   $    3,151.00       N/A
        Laser Printer for front office                            West Plant     $           -     $       599.99      N/A
        LENOVO - IdeaCentre Q180 Windows 8 
                     West Plant     $           -     $       805.00      N/A
        LENOVO - IdeaCentre Q180 Thin Client Computer + Dell PWest Plant         $           -    $       950.00      N/A
        Migrate Email for 55 people to Office 365
               West Plant     $           -     $    5,500.00       N/A
        OFFICE SCANNER                                            West Plant     $           -     $       145.72      N/A
        OFFICE SCANNER                                            West Plant     $           -     $    5,596.35       N/A
        Okidata 491 Printer - Customer Service                    West Plant     $           -     $       579.99      N/A
        Okidata ML 390 - Settlement office                        West Plant     $           -     $       848.00      N/A

EXHIBIT B
PAGE 3 of 5
                                Case 18-31644-pcm11              Doc 152         Filed 06/01/18
                                           SUNSHINE DAIRY FOODS MANAGEMENT, LLC                       Case #18-31644-pcm11
                                                        SCHEDULE A/B
                                         OFFICE FURNITURE, FIXTURES, AND EQUIPMENT -
                                                   QUESTIONS 39, 40 and 41




                                                                                 2018                         OLV Per
 Item                                                         Location of    Depreciation                    11/21/17
   ID                    Description of Property               Property       Book Value      Cost Value     Appraisal
        Okidata Printer C7550hdn (Sales Office)              West Plant     $          -    $    2,029.00       N/A
        Security Software                                    West Plant     $          -    $    1,228.00       N/A
        Server Computer (Quad Core Xeon)                     West Plant     $          -    $    6,481.00       N/A
        Server installation cost                             West Plant     $          -    $    4,153.75       N/A
        Tape Drive (External - Ultrium)                      West Plant     $          -    $    3,542.00       N/A
        Terminal Server Printer                              West Plant     $          -    $    1,050.00       N/A
        Uninterruptible Power Supply                         West Plant     $          -    $    1,592.79       N/A
        Vostro 230 - Controller                              West Plant     $          -    $    1,177.00       N/A
        Vostro 230 Mini-Tower - Don Herndon                  West Plant     $          -    $       992.00      N/A
        Vostro 3550                                          West Plant     $          -    $    2,038.97       N/A
        Vostro 3550 Laptop                                   West Plant     $          -    $       848.00      N/A
        Vostro 420 Tower - Chris Haines                      West Plant     $          -    $       776.00      N/A
        Vostro 420 Tower - Darin Quitugua                    West Plant     $          -    $       926.00      N/A
        Vostro 420 Tower - Lavonne Daniels                   West Plant     $          -    $       758.00      N/A
        Vostro 420 Tower - Leslie Rush                       West Plant     $          -    $       758.00      N/A
        Vostro 420 Tower - Mark Gilles                       West Plant     $          -    $       758.00      N/A
        Vostro 420 Tower - Mary Robertson                    West Plant     $          -    $       758.00      N/A
        Vostro 420 Tower - Ron Rau                           West Plant     $          -    $       906.00      N/A
        Vostro 430 Mini Tower - Darin Q                      West Plant     $          -    $    1,068.00       N/A
        Vostro 470 Tower                                     West Plant     $          -    $    1,318.00       N/A
        Website Enhancements
                               West Plant     $          -    $    9,800.00       N/A
        TOTAL                                                               $ 125,278.66    $ 361,895.17        N/A

 15170 CRS - INKJET PRINTER SN AX0000005816
                East Plant     $    5,937.26   $    7,744.25
       Dell - Latitude #5540 - East Maintenance / PLC
      East Plant     $         -     $    1,997.50
       Dell - OptiPlex 3010 w/24 Dell Monitor (em)
         East Plant     $         -     $    1,455.00
       Dell - OptiPlex 3020 (cwinston)
                     East Plant     $         -     $    1,384.50
       Dell - OptiPlex 3020 (tcrollard)
                    East Plant     $         -     $    1,384.50
       Dell - OptiPlex 3020 (tresleff)
                     East Plant     $         -     $    1,384.50
       Dell - OptiPlex 9020 (East Plant Training)
          East Plant     $         -     $    1,185.00
       Dell 2848 48port switch for Halsey                    East Plant     $         -     $      852.50
       Dell Vostro 220 - Jared SImpson                       East Plant     $         -     $      923.00
        Dell Vostro 220 - Ken Crabtree                       East Plant     $         -     $      923.00
        HP EliteDesk 800 G3 DM 35W
JCastillo 8CG7297868
   East Plant     $    1,186.50   $    1,582.00
        HP EliteDesk 800 G3 SFF
MWeatherly 2UA7412BQZ
     East Plant     $    1,482.07   $    1,892.00
        HP LaserJet Pro Color M45                            East Plant     $         -     $      635.00
15170
Total TOTAL                                                                 $    8,605.83 $     23,342.75




15130
                                                             Distribution
        Zebra Label Printer - Bartender Software
           Center         $          -    $      291.63

EXHIBIT B
PAGE 4 of 5
                                Case 18-31644-pcm11           Doc 152       Filed 06/01/18
                                              SUNSHINE DAIRY FOODS MANAGEMENT, LLC                         Case #18-31644-pcm11
                                                           SCHEDULE A/B
                                            OFFICE FURNITURE, FIXTURES, AND EQUIPMENT -
                                                      QUESTIONS 39, 40 and 41




                                                                                    2018                          OLV Per
 Item                                                            Location of    Depreciation                     11/21/17
   ID                  Description of Property                     Property      Book Value        Cost Value    Appraisal
                                                                Distribution
        Zebra Label Printer - Equipment
                       Center         $      205.35 $        1,368.87
15130 Total                                                                    $      205.35 $        1,660.50

15170 Dell - OptiPlex 3020 (jwinters)
                                        $          -    $      1,384.50
15170 Total                                                                    $          -    $      1,384.50

Grand Total #41                                                                $     134,090 $         388,283




EXHIBIT B
PAGE 5 of 5
                                Case 18-31644-pcm11              Doc 152       Filed 06/01/18
                                                     SUNSHINE DAIRY FOODS MANAGEMENT, LLC                                         Case #18-31644-pcm11
                                                                  SCHEDULE A/B
                                                             VEHICLES - QUESTION 47
                                                                                                                                        Orderly
                                                                                                                                      Liquidation
                                                                                                      2018                          Value (OLV) Per
                                                                                                  Depreciation                         11/21/17
                                               Description Property                                Book Value        Cost Value        Appraisal

47. Automobiles, trucks, trailers, and other vehicles and accessories.
West Plant:
15140         2001 International (Model S4900) VIN 1HTSDAAN61H348713                              $       -   $ 29,500.00            $    8,500.00
              2001 International (S4900) VIN 1HTSDAAN91H346566                                    $       -   $ 30,500.00            $    8,500.00
              2001 Intl Van S-490 # 0944 VIN 1HTSDAAN61H334746                                    $       -   $ 21,900.00            $    8,500.00
              2003 FREIGHTLINER TRACTOR VIN 1FUJA6CG03LL02736                                     $       -   $ 48,000.00            $    9,500.00
              2003 FREIGHTLINER TRACTOR VIN 1FUJA6CG33LL02729                                     $       -   $ 48,000.00            $    9,500.00
              2007 Dodge Caravan - Chris H VIN 1D4GP25R87B205483                                  $       -   $ 13,318.00            $    3,500.00
              2008 Chev Express Cargo Van VIN 1GCFC15X981223631                                   $       -   $ 13,764.00            $    9,000.00
              2008 Chev Trailblazer - Mike Speer VIN 1GNDT13S882194649                            $       -   $ 17,698.00            $    4,250.00
              2008 Ford Econoline E250 1FTNE24W68DA86839                                          $       -   $ 25,055.00            $    7,000.00
              2011 Chev Express 35 Van w/refrigeration upgrades                                   $ 12,276.58 $ 27,281.29            $   15,000.00
              2012 Kia Sedona White 4dr WGN EX
                                                  $ 10,141.07 $ 17,896.00            $    9,000.00
              Sales Trailer T-Lock                                                                $       -   $     271.25
              Sales Trailor Polyurea Coating                                                      $       -   $   2,500.00
              Small Sales Trailer dry - 2007 TNT Cargo Trailer VIN 5WBBE10197W001500              $       -   $ 14,000.00            $   2,500.00
              Small Sales Trailer w/ refer - 2007 TNT Cargo Trailer VIN 5WBBE10127W001399         $       -   $ 25,000.00            $   2,500.00
              West Plant - Truck 2001 Internationl 4900 VIN 1HTSDAAN31H370944                     $       -   $ 21,900.00            $   8,500.00
15140 West                                                                                        $ 36,229.97 $ 356,583.54           $ 105,750.00

East Plant:
15140           East Lot 1989 Trailmobile Trailer VIN 1PT011NJ2E9003554                           $       -      $     12,500.00 $        1,500.00
15140 East                                                                                        $       -      $     12,500.00 $        1,500.00

Astoria:
15140           1979 45' Curtain Van                                                              $       -      $      3,500.00
                2007 Chevrolet G20 Express VIN 1GCGG25U471245812                                  $       -      $     22,000.00 $       22,000.00
15140 Astoria                                                                                     $       -      $     25,500.00 $       22,000.00

                Subtotal                                                                          $ 36,229.97 $ 394,583.54 $ 129,250.00

                Balance of Rolling Stock listed in 11/21/17 Appraisal (ITEMS SOLD PREPETITION?)                                      $ 430,750.00

Grand Total Vehicles                                                                              $ 36,229.97 $ 394,583.54 $ 560,000.00




EXHIBIT C
PAGE 1 of 1
                                     Case 18-31644-pcm11                    Doc 152          Filed 06/01/18
                                              SUNSHINE DAIRY FOODS MANAGEMENT, LLC                             Case #18-31644-pcm11
                                                           SCHEDULE A/B
                                                  LEASED VEHICLES - QUESTION 47

                                                                                                             Orderly
                                                                                                           Liquidation
                                                                               2018                      Value (OLV) Per Leased
                                                                           Depreciation                       12/17       Asset
                                   Description of Property                  Book Value     Cost Value       Appraisal    Owner

47. Automobiles, trucks, trailers, and other vehicles and accessories.
15150
Capital Lease - Equipment
                  Ref #603 Van: Mitsubishi VIN JW6EEJ1E5XM000456           $       -      $   9,900.00   $    8,000.00    KHI
                  Ref #605 Tractor: International VIN 1HTHCAAR2TH277500    $       -      $   9,900.00   $    4,500.00    KHI
                  Ref #606 Van: Inernational VIN 1HTSDPCN1NH424991         $       -      $   6,700.00   $    5,000.00    KHI
                  Ref #637 Tractor: International VIN 2HSFRAHR5WC043900    $       -      $   9,100.00   $    7,500.00    KHI
                  Ref #639 Tractor: International VIN 1HSHBAHN3YH313051    $       -      $ 17,800.00    $    5,500.00    KHI
                  Ref #647 Tractor: International VIN 1HSHCAHR3XH694477    $       -      $ 13,600.00    $    5,250.00    KHI
                  Ref #649 Trailer: 1999 Wabash VIN 1JJV482W3XL627996      $       -      $ 20,400.00    $    4,500.00    KHI
                  Ref #653 Trailer: Great Dane 46' VIN 11r225G22582595     $       -      $   5,100.00   $      750.00    KHI
                  Ref #654 Trailer: Great Dane 46' VIN 1GRBA9022C509101    $       -      $   5,100.00   $      750.00    KHI
                  Ref #656 Trailer: Dorsey 45' VIN 1TTV6X2110027838        $       -      $   5,100.00   $      750.00    KHI
                  Ref #658 Trailer: Brenr 6000 gallon REF 5156             $       -      $ 17,900.00    $   14,500.00    KHI
                  Ref #667 Trailer: Great Dane 48' VIN 1GRAA9620NWO10505   $       -      $   7,700.00   $    2,500.00    KHI
                  Ref #669 Trailer: H-Combo 24' VIN IH91A1915K1021032      $       -      $   4,200.00   $    2,000.00    KHI
                  Ref #675 Trailer: Great Dane 48' VIN 1GRAA962INW019939   $       -      $   7,700.00   $    1,500.00    KHI
                  Ref #677 Trailer: Utility 48' VIN 1UYV524811M325408      $       -      $ 12,800.00    $    2,000.00    KHI
                  Ref #679 Trailer: Wabash 48' VIN 1JJE48253TL313271       $       -      $   8,500.00   $    2,500.00    KHI
                  Ref #680 Trailer: Wabash 48' VIN 1JJE48257RL240480       $       -      $   8,500.00   $    3,500.00    KHI
15150 Total                                                                $       -      $ 170,000.00   $   71,000.00




EXHIBIT D
PAGE 1 of 1
                                 Case 18-31644-pcm11                Doc 152     Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT
AMERICAN GROUP




EXHBIT E
PAGE 1 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT
AMERICAN GROUP




EXHBIT E
PAGE 2 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT
AMERICAN GROUP




EXHBIT E
PAGE 3 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT
AMERICAN GROUP




EXHBIT E
PAGE 4 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT
AMERICAN GROUP




EXHBIT E
PAGE 5 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT
AMERICAN GROUP




EXHBIT E
PAGE 6 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT
AMERICAN GROUP




EXHBIT E
PAGE 7 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT
AMERICAN GROUP




EXHBIT E
PAGE 8 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT
AMERICAN GROUP




EXHBIT E
PAGE 9 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT
AMERICAN GROUP




EXHBIT E
PAGE 10 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT
AMERICAN GROUP




EXHBIT E
PAGE 11 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT
AMERICAN GROUP




EXHBIT E
PAGE 12 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT
AMERICAN GROUP




EXHBIT E
PAGE 13 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E




                                         Exhibits C & D
PAGES FROM 11/21/17 APPRAISAL BY GREAT




                                         ✓=Verified on
AMERICAN GROUP




EXHBIT E
PAGE 14 of 18
                           Case 18-31644-pcm11            Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT




   Exhibits C & D
   ✓=Verified on
AMERICAN GROUP




EXHBIT E
PAGE 15 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT




    Exhibits C & D
    ✓=Verified on
AMERICAN GROUP




EXHBIT E
PAGE 16 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT




   Exhibits C & D
   ✓=Verified on
AMERICAN GROUP




EXHBIT E
PAGE 17 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
SCHEDULE A/B - EXHIBIT E
PAGES FROM 11/21/17 APPRAISAL BY GREAT




   Exhibits C & D
   ✓=Verified on
AMERICAN GROUP




EXHBIT E
PAGE 18 of 18
                           Case 18-31644-pcm11   Doc 152   Filed 06/01/18
                                             SUNSHINE DAIRY FOODS MANAGEMENT, LLC                                   Case #18-31644-pcm11
                                                          SCHEDULE A/B
                                      LEASED OTHER MACHINERY AND EQUIPMENT- QUESTION 50




                                                                                                  2018                         Leased
                                                                                              Depreciation                      Asset
                                      Description of Property                                  Book Value        Cost Value    Owner

50. Machinery, fixtures, equipment, and supplies used in business
Capital Lease - Equipment
15150 Ref #1 West Plant: Pump: Milk Receiving                                                 $        -     $      2,000.00    KHI
          Ref #10 West Plant: Pump: Raw Tank #1                                               $        -     $      2,700.00    KHI
          Ref #100 West Plant: Tank: SC 4                                                     $        -     $      6,600.00    KHI
          Ref #101 West Plant: Pump: SC 3                                                     $        -     $      1,700.00    KHI
          Ref #102 West Plant: Tank: SC 5                                                     $        -     $      6,600.00    KHI
          Ref #103 West Plant: Tank: SC 6                                                     $        -     $      6,600.00    KHI
          Ref #104 West Plant: Pump: Positive Displacement                                    $        -     $      4,500.00    KHI
          Ref #105 West Plant: Pump: Centrifugal                                              $        -     $      1,700.00    KHI
          Ref #106 West Plant: Liquifier                                                      $        -     $     30,000.00    KHI
          Ref #107 West Plant: Hood: Liquifier                                                $        -     $      2,900.00    KHI
          Ref #108 West Plant: Pump: Liquifier                                                $        -     $      3,300.00    KHI
          Ref #109 West Plant: Tank: CH-1                                                     $        -     $     14,100.00    KHI
          Ref #11 West Plant: Pump: Raw Tank #1                                               $        -     $      2,700.00    KHI
          Ref #110 West Plant: Tank: Flavor                                                   $        -     $     10,100.00    KHI
          Ref #111 West Plant: Filler yogurt rotary Osgood: 2001-R 181556 2000                $        -     $     65,000.00    KHI
          Ref #112 West Plant: Filler: Sour Cream                                             $        -     $     91,000.00    KHI
          Ref #113 West Plant: Conveyor: Outfeed                                              $        -     $      2,100.00    KHI
          Ref #114 West Plant: Conveyor: Outfeed                                              $        -     $     10,400.00    KHI
          Ref #115 West Plant: Conveyor: Outfeed                                              $        -     $      1,000.00    KHI
          Ref #116 West Plant: Metal Detector Power Phase Plus SL2000 22776-04 2005           $        -     $     23,700.00    KHI
          Ref #117 West Plant: Conveyor: Sour Cream                                           $        -     $      9,800.00    KHI
          Ref #118 West Plant: Erector/Packer/Taper: Sabel Engineering SE-10 998 2000         $        -     $    108,000.00    KHI
          Ref #119 West Plant: Coder: Date                                                    $        -     $      4,900.00    KHI
          Ref #12 West Plant: Pump: Raw Cream #1                                              $        -     $      1,700.00    KHI
          Ref #120 West Plant: Labeler: Carton                                                $        -     $      5,300.00    KHI
          Ref #121 West Plant: Tank: COP                                                      $        -     $      6,800.00    KHI
          Ref #122 West Plant: Tank blend #1 8' diameter x 6' high x 3' long                  $        -     $     14,200.00    KHI
          Ref #123 West Plant: Tank blend #2 8' diameter x 6' high x 3' cone bottom Feldmei   $        -     $     14,200.00    KHI
          Ref #124 West Plant: Pump: Blend #1                                                 $        -     $      1,700.00    KHI
          Ref #125 West Plant: Pump: Blend #2                                                 $        -     $      1,700.00    KHI
          Ref #13 West Plant: Pump: Past Tank #1                                              $        -     $      1,700.00    KHI
          Ref #134 West Plant: Pasteurizer: HTST                                              $        -     $     16,000.00    KHI
          Ref #135 West Plant: Exchanger: Heat                                                $        -     $     12,500.00    KHI
          Ref #136 West Plant: Pump: Booster CIP                                              $        -     $        900.00    KHI
          Ref #137 West Plant: Homogenizer                                                    $        -     $     24,100.00    KHI
          Ref #138 West Plant: Pump: Mix Portables                                            $        -     $      3,000.00    KHI
          Ref #139 West Plant: Truck forklift LPG                                             $        -     $      3,400.00    KHI
          Ref #14 West Plant: Pump: Past Tank #1                                              $        -     $      1,700.00    KHI
          Ref #140 West Plant: Man Lift                                                       $        -     $      2,600.00    KHI
          Ref #141 West Plant: Truck Pallet Walkie                                            $        -     $      1,000.00    KHI
          Ref #142 West Plant: Truck Pallet Electric Walkie                                   $        -     $      1,000.00    KHI
          Ref #143 West Plant: Truck Fork lift LPG Side Shift                                 $        -     $      5,600.00    KHI
          Ref #144 West Plant: Truck Fork lift Electric Side Shift                            $        -     $      4,700.00    KHI
          Ref #145 West Plant: Truck Forklift Electric Stand up Ride                          $        -     $      3,400.00    KHI
          Ref #146 West Plant: Truck Fork lift LPG Cushion Tire                               $        -     $      5,600.00    KHI
          Ref #147 West Plant: Truck Pallet Electric                                          $        -     $      1,000.00    KHI

EXHIBIT F
PAGE 1 of 9
                                   Case 18-31644-pcm11                  Doc 152         Filed 06/01/18
                                            SUNSHINE DAIRY FOODS MANAGEMENT, LLC                         Case #18-31644-pcm11
                                                         SCHEDULE A/B
                                     LEASED OTHER MACHINERY AND EQUIPMENT- QUESTION 50




                                                                                       2018                          Leased
                                                                                   Depreciation                       Asset
                                      Description of Property                       Book Value        Cost Value     Owner
         Ref #148 West Plant: Truck Pallet Electric                               $          -    $       1,000.00     KHI
         Ref #15 West Plant: Tank Past Tank #8 Feldmeier: N 432-04 2004           $          -    $      13,100.00     KHI
         Ref #16 West Plant: Pump: Portable                                       $          -    $       1,600.00     KHI
         Ref #17 West Plant: Tank: Pressure Vessel                                $          -    $       1,000.00     KHI
         Ref #18 West Plant: Pump & Tank                                          $          -    $       1,700.00     KHI
         Ref #19 West Plant: Tank Raw Silo #3 Feldmeir: N 433-04 2004             $          -    $      25,300.00     KHI
         Ref #2 West Plant: 20000 Gallon S-2 Silo water chilled                   $          -    $      38,900.00     KHI
         Ref #20 West Plant: Pump: Raw Silo #3                                    $          -    $       1,700.00     KHI
         Ref #201 West Plant: Builder: Ice                                        $          -    $      34,900.00     KHI
         Ref #202 West Plant: Builder: Ice                                        $          -    $      21,100.00     KHI
         Ref #203 West Plant: Tank: Ice System                                    $          -    $       2,000.00     KHI
         Ref #204 West Plant: Pump: Water Centrifugal                             $          -    $       1,300.00     KHI
         Ref #205 West Plant: Pump: Water Centrifugal                             $          -    $         600.00     KHI
         Ref #206 West Plant: Pump: Sweet Water Centrifugal                       $          -    $         700.00     KHI
         Ref #207 West Plant: Pump: Sweet Water (Vat 3) Centrifugal               $          -    $         900.00     KHI
         Ref #208 West Plant: Pump: Sweet Water Centrifugal                       $          -    $         700.00     KHI
         Ref #209 West Plant: Pump: Sweet Water Centrifugal                       $          -    $         900.00     KHI
         Ref #21 West Plant: Past Tank #5                                         $          -    $      19,600.00     KHI
         Ref #210 West Plant: Pump: Sweet Water Centrifugal                       $          -    $         700.00     KHI
         Ref #211 West Plant: Pump: Sweet Water (Vat-1) Centrifugal               $          -    $         900.00     KHI
         Ref #212 West Plant: Pump: Sweet Water Centrifugal                       $          -    $         900.00     KHI
         Ref #213 West Plant: Pump: Chemical Metering/Pneumatic Diaphragm         $          -    $         200.00     KHI
         Ref #214 West Plant: Boiler: Package 201 SQ Feet Heating Surface         $          -    $       2,400.00     KHI
         Ref #215 West Plant: Boiler: Package Larger Estimated 100 hp             $          -    $      12,100.00     KHI
         Ref #216 West Plant: Pump: Boiler Feed Water Centrifugal                 $          -    $       1,500.00     KHI
         Ref #216.1 West Plant: Pump: Boiler Feed Water Centrifugal               $          -    $       1,500.00     KHI
         Ref #216.2 West Plant: Pump: Boiler Feed Water Centrifugal               $          -    $         700.00     KHI
         Ref #217 West Plant: Tank: Boiler Water Feed                             $          -    $       1,500.00     KHI
         Ref #218 West Plant: Tank: Boiler Water Feed                             $          -    $       2,500.00     KHI
         Ref #219 West Plant: Pump: Chemical Metering                             $          -    $         200.00     KHI
         Ref #22 West Plant: Pump: Past Tank #5                                   $          -    $       1,700.00     KHI
         Ref #220 West Plant: Pump: Chemical Metering                             $          -    $         200.00     KHI
         Ref #221 West Plant: Pump: Steam Condensate                              $          -    $       3,300.00     KHI
         Ref #222 West Plant: Tank: Pasteurizer CIP                               $          -    $       1,200.00     KHI
         Ref #223 West Plant: Tank: pasteurizer CIP                               $          -    $       1,200.00     KHI
         Ref #224 West Plant: Pump: Pasteurizer CIP                               $          -    $       1,800.00     KHI
         Ref #225 West Plant: Tank: Raw CIP                                       $          -    $       1,200.00     KHI
         Ref #226 West Plant: Tank: Raw CIP                                       $          -    $       1,200.00     KHI
         Ref #227 West Plant: Pump: Raw CIP                                       $          -    $       1,800.00     KHI
         Ref #229 West Plant: Tank: Tanker Rinse                                  $          -    $       1,200.00     KHI
         Ref #23 West Plant: Tank: COP                                            $          -    $       6,000.00     KHI
         Ref #230 West Plant: Pump: Tanker CIP                                    $          -    $       2,000.00     KHI
         Ref #231 West Plant: Tank: CIP #4 Recovery                               $          -    $       3,300.00     KHI
         Ref #232 West Plant: Tank: CIP #4 Wash                                   $          -    $       3,300.00     KHI
         Ref #233 West Plant: Tank: CIP #4 Rinse                                  $          -    $       3,300.00     KHI
         Ref #234 West Plant: Pump: CIP #4 Centrifugal                            $          -    $       2,000.00     KHI
         Ref #235 West Plant: Exhcanger: Heat Package                             $          -    $       7,500.00     KHI
         Ref #236 West Plant: Exchanger: Heat Package                             $          -    $       7,500.00     KHI
         Ref #237 West Plant: Exhcanger: Heat Package                             $          -    $       7,500.00     KHI

EXHIBIT F
PAGE 2 of 9
                                  Case 18-31644-pcm11                 Doc 152   Filed 06/01/18
                                            SUNSHINE DAIRY FOODS MANAGEMENT, LLC                                Case #18-31644-pcm11
                                                         SCHEDULE A/B
                                     LEASED OTHER MACHINERY AND EQUIPMENT- QUESTION 50




                                                                                              2018                          Leased
                                                                                          Depreciation                       Asset
                                      Description of Property                              Book Value        Cost Value     Owner
         Ref #238 West Plant: Compressor air rotary screw Gardner-Denver Electra Saver   $          -    $       8,500.00     KHI
         Ref #239 West Plant: Compressor                                                 $          -    $       8,300.00     KHI
         Ref #24 West Plant: Tank: COP                                                   $          -    $       6,000.00     KHI
         Ref #240 West Plant: Compressor                                                 $          -    $       7,000.00     KHI
         Ref #241 West Plant: Receiver: Compressed Air                                   $          -    $         400.00     KHI
         Ref #242 West Plant: Tank: Whey Refrigerated                                    $          -    $       4,400.00     KHI
         Ref #243 West Plant: Tank: Whey Treatment                                       $          -    $       3,800.00     KHI
         Ref #244 West Plant: Pump: Whey Caustic                                         $          -    $       1,600.00     KHI
         Ref #245 West Plant: Tank                                                       $          -    $       3,500.00     KHI
         Ref #246 West Plant: Pump: Wastewater Treatment                                 $          -    $         300.00     KHI
         Ref #247 West Plant: Pump: Wastewater Treatment                                 $          -    $         300.00     KHI
         Ref #248 West Plant: Pump: Wasterwater Centrifugal                              $          -    $         900.00     KHI
         Ref #249 West Plant: Tank: Chemical Wastewater                                  $          -    $       2,000.00     KHI
         Ref #25 West Plant: Homoginizer                                                 $          -    $      31,900.00     KHI
         Ref #250 West Plant: Pump: Portable WWT Centrifugal                             $          -    $       1,800.00     KHI
         Ref #251 West Plant: Tank: Whey Wastewater                                      $          -    $       4,400.00     KHI
         Ref #252 West Plant: Pump: Whey Tank                                            $          -    $       1,700.00     KHI
         Ref #252.1 West Plant: Refrigeration System                                     $          -    $      90,000.00     KHI
         Ref #253 West Plant: Compressor: Refrigeration                                  $          -    $       5,000.00     KHI
         Ref #254 West Plant: Compressor: Refrigeration Mycom: N4AM 16446                $          -    $            -       KHI
         Ref #255 West Plant: Compressor: Refrigeration                                  $          -    $            -       KHI
         Ref #256 West Plant: Compressor: Refrigeration                                  $          -    $            -       KHI
         Ref #257 West Plant: Compressor: Refrigeration                                  $          -    $            -       KHI
         Ref #258 West Plant: Pump: HTST Chill Pump                                      $          -    $            -       KHI
         Ref #259 West Plant: Pump: HTST Chill Pump                                      $          -    $            -       KHI
         Ref #26 West Plant: Pasteurizer: HTST                                           $          -    $       7,500.00     KHI
         Ref #260 West Plant: Tank: Ammonia Circulation                                  $          -    $            -       KHI
         Ref #261 West Plant: Tank: Defrost Water                                        $          -    $            -       KHI
         Ref #262 West Plant: Pump: Defrost Water                                        $          -    $            -       KHI
         Ref #263 West Plant: Receiver: Ammonia                                          $          -    $            -       KHI
         Ref #264 West Plant: Accumulator: Amonia                                        $          -    $            -       KHI
         Ref #265 West Plant: Compressor: Refrigeration                                  $          -    $      64,000.00     KHI
         Ref #266 West Plant: Compressor: Refrigeration                                  $          -    $            -       KHI
         Ref #267 West Plant: Compressor: Refrigeration                                  $          -    $            -       KHI
         Ref #268 West Plant: Compressor: Refrigeration                                  $          -    $            -       KHI
         Ref #269 West Plant: Receiver: Ammonia                                          $          -    $            -       KHI
         Ref #27 West Plant: Pump: Pasteurizer                                           $          -    $       2,700.00     KHI
         Ref #270 West Plant: Receiver: Ammonia                                          $          -    $            -       KHI
         Ref #271 West Plant: Compressor: Refrigeration                                  $          -    $            -       KHI
         Ref #272 West Plant: Compressor: Refrigeration                                  $          -    $            -       KHI
         Ref #273 West Plant: Freezer: Walk-In Ice Cream                                 $          -    $      25,800.00     KHI
         Ref #274 West Plant: Cooler: Walk-In                                            $          -    $      53,000.00     KHI
         Ref #275 West Plant: Cooler: Milk                                               $          -    $      38,000.00     KHI
         Ref #275.1 West Plant: Tower: Cooling Refrigeration                             $          -    $            -       KHI
         Ref #276 West Plant: Coder: Date                                                $          -    $       4,900.00     KHI
         Ref #276.2 West Plant: Receiver: Ammonia                                        $          -    $            -       KHI
         Ref #277 West Plant: Coder: Date                                                $          -    $       4,900.00     KHI
         Ref #278 West Plant: Pump: Spare Positive Displacement                          $          -    $       2,600.00     KHI
         Ref #279 West Plant: Spares                                                     $          -    $      25,000.00     KHI

EXHIBIT F
PAGE 3 of 9
                                  Case 18-31644-pcm11                 Doc 152        Filed 06/01/18
                                             SUNSHINE DAIRY FOODS MANAGEMENT, LLC                                   Case #18-31644-pcm11
                                                          SCHEDULE A/B
                                      LEASED OTHER MACHINERY AND EQUIPMENT- QUESTION 50




                                                                                                  2018                          Leased
                                                                                              Depreciation                       Asset
                                        Description of Property                                Book Value        Cost Value     Owner
         Ref #28 West Plant: Tank: Balance                                                   $          -    $       4,300.00     KHI
         Ref #280 West Plant: Pump: Spare Centrifugal                                        $          -    $       1,000.00     KHI
         Ref #281 West Plant: Threader: Pipe                                                 $          -    $       2,000.00     KHI
         Ref #282 West Plant: Saw: Chop                                                      $          -    $         500.00     KHI
         Ref #283 West Plant: Brake: Sheet Metal                                             $          -    $       2,700.00     KHI
         Ref #284 West Plant: Sander/Grinder                                                 $          -    $         900.00     KHI
         Ref #285 West Plant: Sandblast Cabinet & Glove Box                                  $          -    $         600.00     KHI
         Ref #286 West Plant: Welder                                                         $          -    $       1,500.00     KHI
         Ref #287 West Plant: Welder                                                         $          -    $       1,000.00     KHI
         Ref #288 West Plant: Press: H-Frame                                                 $          -    $       1,000.00     KHI
         Ref #289 West Plant: Drill Press: Floor Model                                       $          -    $       2,800.00     KHI
         Ref #29 West Plant: Pump: HTST                                                      $          -    $       1,700.00     KHI
         Ref #290 West Plant: Welder: Arc                                                    $          -    $         600.00     KHI
         Ref #291 West Plant: Conveyor: Stair Incline                                        $          -    $         800.00     KHI
         Ref #292 West Plant: Group: Minor Plant Equipment                                   $          -    $      47,300.00     KHI
         Ref #293 West Plant: Analyzer: Milk (first floor)                                   $          -    $       4,800.00     KHI
         Ref #294 West Plant: Printer: Barcode Label (first floor)                           $          -    $         600.00     KHI
         Ref #295 West Plant: Group Minor Lab Equipment (first floor)                        $          -    $       1,200.00     KHI
         Ref #3 West Plant: Pump & Silo                                                      $          -    $       1,700.00     KHI
         Ref #30 West Plant: Exchanger                                                       $          -    $       7,500.00     KHI
         Ref #31 West Plant: Tank: COP                                                       $          -    $       4,800.00     KHI
         Ref #32 West Plant: Tank: #1/2 Filler Surge                                         $          -    $      26,300.00     KHI
         Ref #33 West Plant: Pump: Filler Feed                                               $          -    $       1,700.00     KHI
         Ref #34 West Plant: Pump: Filler Feed                                               $          -    $       1,700.00     KHI
         Ref #35 West Plant: Pump: Filler Feed                                               $          -    $       1,700.00     KHI
         Ref #36 West Plant: Pump: Under Mezzanine                                           $          -    $       1,600.00     KHI
         Ref #37 West Plant: Tank: V-1                                                       $          -    $       2,400.00     KHI
         Ref #38 West Plant: Pump: V-1                                                       $          -    $       1,700.00     KHI
         Ref #39 West Plant: Separator milk Alfa Laval Tetra Pak Altfast Plus: T5845440131 2 $          -    $    100,000.00      KHI
         Ref #4 West Plant: Silo S-1 25000 gallons stainless steel Dairy Craft: 73J642 1973 $           -    $      46,000.00     KHI
         Ref #40 West Plant: Tank #6 Buttermilk 8' in diameter by 8' high x 3' long Feldmeie $          -    $      41,100.00     KHI
         Ref #41 West Plant: Pump: Buttermilk Tank                                           $          -    $       1,500.00     KHI
         Ref #42 West Plant: Pump: Buttermilk Tank                                           $          -    $       1,500.00     KHI
         Ref #43 West Plant: Pump: Buttermilk Tank                                           $          -    $       3,300.00     KHI
         Ref #44 West Plant: Crane: Monorail w/ Outrigger                                    $          -    $       2,300.00     KHI
         Ref #45 West Plant: Filler: Two Lane Evergreen Packaging: Q-11 7088 1992            $          -    $      58,100.00     KHI
         Ref #46 West Plant: Coder                                                           $          -    $       4,900.00     KHI
         Ref #47 West Plant: Pump: Fill Line #1                                              $          -    $       1,700.00     KHI
         Ref #48 West Plant: Conveyor: Fill Line #1                                          $          -    $       3,200.00     KHI
         Ref #49 West Plant: Conveyor: Fill Line #1                                          $          -    $       3,200.00     KHI
         Ref #5 West Plant: Pump: S-1 Silo                                                   $          -    $       1,700.00     KHI
         Ref #50 West Plant: Conveyor: Fill Line #1                                          $          -    $       3,200.00     KHI
         Ref #51 West Plant: Caser: Drop Type 10 ouce/pint/quart GW Haap Inc: Q2-P2TCB $                -    $      11,400.00     KHI
         Ref #52 West Plant: Stacker                                                         $          -    $       3,600.00     KHI
         Ref #53 West Plant: Filler line #2 single lane AMCA International: H-6 3718 1992    $          -    $      46,600.00     KHI
         Ref #54 West Plant: Coder                                                           $          -    $       4,900.00     KHI
         Ref #55 West Plant: Conveyor: Fill Line #2                                          $          -    $       4,900.00     KHI
         Ref #56 West Plant: Caser: Fill Line #2 G&H Enterprises: KSF-9 1309                 $          -    $      11,400.00     KHI
         Ref #57 West Plant: Stacker                                                         $          -    $       3,600.00     KHI

EXHIBIT F
PAGE 4 of 9
                                   Case 18-31644-pcm11                  Doc 152         Filed 06/01/18
                                             SUNSHINE DAIRY FOODS MANAGEMENT, LLC                                   Case #18-31644-pcm11
                                                          SCHEDULE A/B
                                      LEASED OTHER MACHINERY AND EQUIPMENT- QUESTION 50




                                                                                                  2018                          Leased
                                                                                              Depreciation                       Asset
                                         Description of Property                               Book Value        Cost Value     Owner
         Ref #58 West Plant: Filler: Fill Line #3                                            $          -    $      90,100.00     KHI
         Ref #59 West Plant: Hopper                                                          $          -    $      10,000.00     KHI
         Ref #6 West Plant: Tank Raw #1 estimated 8' diameter x 22' high Feldmeier: N-428- $            -    $      25,300.00     KHI
         Ref #60 West Plant: Orienter                                                        $          -    $       5,000.00     KHI
         Ref #602 Van: International VIN IHTSDNUN3NH413963                                   $          -    $       6,700.00     KHI
         Ref #603 Van: Mitsubishi VIN JW6EEJ1E5XM000456                                      $          -    $       9,900.00     KHI
         Ref #605 Tractor: International VIN 1HTHCAAR2TH277500                               $          -    $       9,900.00     KHI
         Ref #606 Van: Inernational VIN 1HTSDPCN1NH424991                                    $          -    $       6,700.00     KHI
         Ref #61 West Plant: Coder                                                           $          -    $       4,900.00     KHI
         Ref #614 Van: International VIN 1HSDAAN0WH557470                                    $          -    $      14,700.00     KHI
         Ref #62 West Plant: Conveyor: Fill Line #3                                          $          -    $       4,900.00     KHI
         Ref #637 Tractor: International VIN 2HSFRAHR5WC043900                               $          -    $       9,100.00     KHI
         Ref #639 Tractor: International VIN 1HSHBAHN3YH313051                               $          -    $      17,800.00     KHI
         Ref #647 Tractor: International VIN 1HSHCAHR3XH694477                               $          -    $      13,600.00     KHI
         Ref #649 Trailer: 1999 Wabash VIN 1JJV482W3XL627996                                 $          -    $      20,400.00     KHI
         Ref #653 Trailer: Great Dane 46' VIN 11r225G22582595                                $          -    $       5,100.00     KHI
         Ref #654 Trailer: Great Dane 46' VIN 1GRBA9022C509101                               $          -    $       5,100.00     KHI
         Ref #656 Trailer: Dorsey 45' VIN 1TTV6X2110027838                                   $          -    $       5,100.00     KHI
         Ref #658 Trailer: Brenr 6000 gallon REF 5156                                        $          -    $      17,900.00     KHI
         Ref #659 West Plant: Trailer: Barbel 6000 gallon VIN 1B9EED1BKB101562               $          -    $      17,900.00     KHI
         Ref #660 West Plant: 2013 Trailer: Tanker 6000 gallon REF 2013                      $          -    $      15,300.00     KHI
         Ref #667 Trailer: Great Dane 48' VIN 1GRAA9620NWO10505                              $          -    $       7,700.00     KHI
         Ref #669 Trailer: H-Combo 24' VIN IH91A1915K1021032                                 $          -    $       4,200.00     KHI
         Ref #675 Trailer: Great Dane 48' VIN 1GRAA962INW019939                              $          -    $       7,700.00     KHI
         Ref #677 Trailer: Utility 48' VIN 1UYV524811M325408                                 $          -    $      12,800.00     KHI
         Ref #679 Trailer: Wabash 48' VIN 1JJE48253TL313271                                  $          -    $       8,500.00     KHI
         Ref #680 Trailer: Wabash 48' VIN 1JJE48257RL240480                                  $          -    $       8,500.00     KHI
         Ref #7 West Plant: Tank Raw #2 estimated 8' diameter x 22' high Feldmeier: 429-04 $            -    $      25,300.00     KHI
         Ref #72 West Plant: Packer: Case Half Gallon Cartons                                $          -    $       5,400.00     KHI
         Ref #73 West Plant: Taper                                                           $          -    $       3,800.00     KHI
         Ref #74 West Plant: Coder: Date                                                     $          -    $       3,200.00     KHI
         Ref #75 West Plant: Coder: Date                                                     $          -    $       3,200.00     KHI
         Ref #76 West Plant: Filler bag-in-box motor Parrish: M125-2H 93                     $          -    $            -       KHI
         Ref #77 West Plant: Pump: Bag in Box Filler                                         $          -    $       1,500.00     KHI
         Ref #78 West Plant: Stacker                                                         $          -    $       3,600.00     KHI
         Ref #79 West Plant: Tank: COP                                                       $          -    $       4,800.00     KHI
         Ref #8 West Plant: Tank Raw Cream estimated 8' diameter x 22' high Feldmeier: N- $             -    $      25,300.00     KHI
         Ref #80 West Plant: Washer: Crate                                                   $          -    $       7,300.00     KHI
         Ref #81 West Plant: Converyor: Crate                                                $          -    $      15,000.00     KHI
         Ref #82 West Plant: Taper: Carton                                                   $          -    $       3,800.00     KHI
         Ref #83 West Plant: Tank CIP Feldmeier: N612-02 2002                                $          -    $      13,500.00     KHI
         Ref #84 West Plant: Pump: CIP                                                       $          -    $       1,500.00     KHI
         Ref #85 West Plant: Baler: Waste Marathon: V6030.03 137216WB                        $          -    $       5,900.00     KHI
         Ref #86 West Plant: Wrapper: Pallet                                                 $          -    $       4,900.00     KHI
         Ref #87 West Plant: Scale: Pallet                                                   $          -    $       2,500.00     KHI
         Ref #88 West Plant: Charger: Battery                                                $          -    $       1,100.00     KHI
         Ref #89 West Plant: Charger: Battery                                                $          -    $       1,100.00     KHI
         Ref #9 West Plant: Tank Pasteurized Tank #1 estimated 8' x diameter x 22' high Feld $          -    $      25,300.00     KHI
         Ref #90 West Plant: Baler: Cardboard                                                $          -    $       5,900.00     KHI

EXHIBIT F
PAGE 5 of 9
                                   Case 18-31644-pcm11                  Doc 152         Filed 06/01/18
                                               SUNSHINE DAIRY FOODS MANAGEMENT, LLC                                   Case #18-31644-pcm11
                                                            SCHEDULE A/B
                                        LEASED OTHER MACHINERY AND EQUIPMENT- QUESTION 50




                                                                                                      2018                        Leased
                                                                                                  Depreciation                     Asset
                                      Description of Property                                      Book Value      Cost Value     Owner
        Ref #900 West Plant: Group Office Furniture                                              $          -    $    18,900.00     KHI
        Ref #901 West Plant: Group Office Equipment                                              $          -    $     5,400.00     KHI
        Ref #902 West Plant: Drill Press: Floor Type                                             $          -    $       400.00     KHI
        Ref #903 West Plant: Saw: Chop                                                           $          -    $       500.00     KHI
        Ref #905 West Plant: Welder: Arc                                                         $          -    $       700.00     KHI
        Ref #906 West Plant: Compressor: Air                                                     $          -    $     3,600.00     KHI
        Ref #907 West Plant: Tank: Waste                                                         $          -    $       400.00     KHI
        Ref #908 West Plant: Compressor: Air Portable                                            $          -    $     3,300.00     KHI
        Ref #909 West Plant: Truck: Pallet                                                       $          -    $     1,000.00     KHI
        Ref #91 West Plant: Auger: Recyle                                                        $          -    $     8,000.00     KHI
        Ref #910 West Plant: Truck: Forklift                                                     $          -    $     4,700.00     KHI
        Ref #912 West Plant: Group Automotive Service Equipment                                  $          -    $    19,800.00     KHI
        Ref #913 West Plant: Group Office Furniture                                              $          -    $     1,800.00     KHI
        Ref #914 West Plant: Group Computer Equipment                                            $          -    $     2,100.00     KHI
        Ref #915 West Plant: Analyzer: Milk                                                      $          -    $    44,100.00     KHI
        Ref #916 West Plant: Analyzer: Moisture/Solids                                           $          -    $     4,500.00     KHI
        Ref #917 West Plant: Group Laboratory Equipment                                          $          -    $    21,000.00     KHI
        Ref #918 West Plant: Mailing Machine                                                     $          -    $       500.00     KHI
        Ref #919 West Plant: Copier: Office                                                      $          -    $     6,100.00     KHI
        Ref #92 West Plant: Tank: SC-1                                                           $          -    $     5,800.00     KHI
        Ref #920 West Plant: Telephone System                                                    $          -    $    22,500.00     KHI
        Ref #921 West Plant: Network Wiring System                                               $          -    $     7,900.00     KHI
        Ref #922 West Plant: Computer: Mainframe                                                 $          -    $    30,000.00     KHI
        Ref #923 West Plant: Server: Data                                                        $          -    $     1,100.00     KHI
        Ref #924 West Plant: Server: Data                                                        $          -    $     1,100.00     KHI
        Ref #925 West Plant: Printer Line                                                        $          -    $       700.00     KHI
        Ref #926 West Plant: Printer Line                                                        $          -    $     1,700.00     KHI
        Ref #927 West Plant: Printer Line                                                        $          -    $     1,900.00     KHI
        Ref #928 West Plant: Printer Line                                                        $          -    $       700.00     KHI
        Ref #929 West Plant: Group Computer Equipment                                            $          -    $    18,900.00     KHI
        Ref #93 West Plant: Tank: SC-2                                                           $          -    $     5,800.00     KHI
        Ref #94 West Plant: Pump: Positive Displacement                                          $          -    $     4,500.00     KHI
        Ref #95 West Plant: Pump: Portable                                                       $          -    $     3,000.00     KHI
        Ref #950 West Plant: Power Feed Wiring                                                   $          -    $ 108,000.00       KHI
        Ref #952 West Plant: Process Piping                                                      $          -    $ 180,000.00       KHI
        Ref #954 West Plant: Process Piping                                                      $          -    $     2,900.00     KHI
        Ref #955 Group Store Display Cabinets                                                    $          -    $ 220,000.00       KHI
        Ref #96 West Plant: Pump: Portable                                                       $          -    $     3,000.00     KHI
        Ref #97 West Plant: Pasteurizer: Plate & Frame                                           $          -    $     8,200.00     KHI
        Ref #98 West Plant: Pasteurizer: Plate & Frame                                           $          -    $     8,200.00     KHI
        Ref #99 West Plant: Tank: SC 3                                                           $          -    $     6,200.00     KHI
15150 SubTotal - West Plant                                                                      $          -    $ 3,006,800.00     KHI

15150 Ref #401 East Plant: Pump                                                                  $         -     $     2,000.00    KHI
Capital LeRef #402 East Plant: Silo 10' diameter x 18' high with 3' long cone bottom stainless   $         -     $    34,300.00    KHI
          Ref #403 East Plant: Pump - Silo (outside)                                             $         -     $     1,800.00    KHI
          Ref #404 East Plant: Silo: Pasteurized Milk                                            $         -     $    38,300.00    KHI
          Ref #405 East Plant: Silo: Pateurized Milk chilled water Mueller                       $         -     $    38,300.00    KHI
          Ref #406 East Plant: Pump: East Silo Unloading                                         $         -     $     1,800.00    KHI

EXHIBIT F
PAGE 6 of 9
                                    Case 18-31644-pcm11                   Doc 152          Filed 06/01/18
                                              SUNSHINE DAIRY FOODS MANAGEMENT, LLC                                     Case #18-31644-pcm11
                                                           SCHEDULE A/B
                                       LEASED OTHER MACHINERY AND EQUIPMENT- QUESTION 50




                                                                                                     2018                          Leased
                                                                                                 Depreciation                       Asset
                                        Description of Property                                   Book Value        Cost Value     Owner
         Ref #407 East Plant: Pump: West Silo Unloading                                         $          -    $       2,000.00     KHI
         Ref #408 East Plant: Conveyor: Incline to Mezzanine                                    $          -    $       1,300.00     KHI
         Ref #409 East Plant: Scale Platform Bench Digital                                      $          -    $         400.00     KHI
         Ref #410 East Plant: Tank Blend                                                        $          -    $      17,300.00     KHI
         Ref #411 East Plant: Tank Blend                                                        $          -    $      17,300.00     KHI
         Ref #412 East Plant: Liquifier: 75hp Vertical Motor                                    $          -    $      20,000.00     KHI
         Ref #413 East Plant: Pump: Blend Tank North                                            $          -    $       3,300.00     KHI
         Ref #414 East Plant: Pump: Blend Tank South                                            $          -    $       3,300.00     KHI
         Ref #415 East Plant: Pump: Between Blend Tanks                                         $          -    $       1,800.00     KHI
         Ref #416 East Plant: Mill: colloid                                                     $          -    $      29,100.00     KHI
         Ref #417 East Plant: Exchanger: Heat                                                   $          -    $       6,300.00     KHI
         Ref #418 East Plant: Tank: Yogurt Process #1 NE                                        $          -    $       3,700.00     KHI
         Ref #419 East Plant: Tank: Yogurt Process # 2                                          $          -    $       6,700.00     KHI
         Ref #420 East Plant: Tank: Yogurt Process #3                                           $          -    $       6,700.00     KHI
         Ref #421 East Plant: Tank: Yogurt Process #4                                           $          -    $       6,700.00     KHI
         Ref #422 East Plant: Tank: Yogurt Process #5                                           $          -    $       6,700.00     KHI
         Ref #423 East Plant: Tank: Yogurt Process #6                                           $          -    $      18,500.00     KHI
         Ref #424 East Plant: Exchanger: Heat at Yogurt Vat #1 - T13CH - 3134                   $          -    $       6,900.00     KHI
         Ref #425 East Plant: Pump: Yogurt Vat #5                                               $          -    $       3,000.00     KHI
         Ref #426 East Plant: Pump: Between Yogurt Vat #2 & #5                                  $          -    $       4,200.00     KHI
         Ref #427 East Plant: Pump: Between Yogurt Vat #3 & #4                                  $          -    $       4,200.00     KHI
         Ref #428 East Plant: Pump: Between Yogurt Vat #6                                       $          -    $       4,200.00     KHI
         Ref #429 East Plant: Pump: Yogurt Vat #3                                               $          -    $       1,700.00     KHI
         Ref #430 East Plant: Pump: Yogurt Vat #6                                               $          -    $       3,300.00     KHI
         Ref #431 East Plant: Pump: Pasteurizer CIP                                             $          -    $       2,000.00     KHI
         Ref #432 East Plant: Pump: Pasteurizer CIP                                             $          -    $       2,000.00     KHI
         Ref #433 East Plant: Pasteurizer: HTST                                                 $          -    $       8,200.00     KHI
         Ref #434 East Plant: Exchanger                                                         $          -    $       4,200.00     KHI
         Ref #436 East Plant: Pump: Smoothie Flavor Tank                                        $          -    $       2,400.00     KHI
         Ref #459 East Plant: Tank: Flavor                                                      $          -    $       3,600.00     KHI
         Ref #460 East Plant: Tank: Flavor                                                      $          -    $       3,600.00     KHI
         Ref #461 East Plant: Pump: Pneumatic Diaphragm                                         $          -    $       2,400.00     KHI
         Ref #462 East Plant: Pump: Flavor Tanks                                                $          -    $       1,800.00     KHI
         Ref #463 East Plant: Filler yogurt cup in-line 6 cup stainless steel Osgood Industries $          -    $    126,000.00      KHI
         Ref #464 East Plant: Detector                                                          $          -    $      22,000.00     KHI
         Ref #465 East Plant: Conveyor: Filled Cup                                              $          -    $       2,200.00     KHI
         Ref #466 East Plant: Coveyor: Filled Cup                                               $          -    $       3,400.00     KHI
         Ref #467 East Plant: Coder: Portable                                                   $          -    $       4,900.00     KHI
         Ref #468 East Plant: Coder: Portable                                                   $          -    $       4,900.00     KHI
         Ref #469 East Plant: Conveyor: Filled Cup                                              $          -    $       2,400.00     KHI
         Ref #470 East Plant: Packer yogurt cup twin infeed accumulator conveyors Automa $                 -    $    360,000.00      KHI
         Ref #471 East Plant: Coder: Portable                                                   $          -    $       3,200.00     KHI
         Ref #472 East Plant: Applicator: Hot Melt Glue Nordson: Problue 10 SAO4B07487 $                   -    $       4,400.00     KHI
         Ref #473 East Plant: Conveyor: Full Carton                                             $          -    $      10,900.00     KHI
         Ref #474 East Plant: Coder: Portable                                                   $          -    $       3,200.00     KHI
         Ref #475 East Plant: Coder: Portable                                                   $          -    $       3,200.00     KHI
         Ref #476 East Plant: Coder: Portable                                                   $          -    $       3,200.00     KHI
         Ref #477 East Plant: Coder: Portable                                                   $          -    $       4,900.00     KHI
         Ref #478 East Plant: Tank flavor 4' diameter x 3' high x 2' long Feldmeier: E-92-04 2 $           -    $       3,600.00     KHI

EXHIBIT F
PAGE 7 of 9
                                    Case 18-31644-pcm11                   Doc 152         Filed 06/01/18
                                              SUNSHINE DAIRY FOODS MANAGEMENT, LLC                                      Case #18-31644-pcm11
                                                           SCHEDULE A/B
                                       LEASED OTHER MACHINERY AND EQUIPMENT- QUESTION 50




                                                                                                      2018                          Leased
                                                                                                  Depreciation                       Asset
                                        Description of Property                                    Book Value        Cost Value     Owner
         Ref #479 East Plant: Tank flavor 4' diameter x 3' high x 2' long Feldmeier: E-91-04 2   $          -    $       3,600.00     KHI
         Ref #480 East Plant: Tank flavor 4' diameter x 3' high x 2' long Feldmeier: E-271-05    $          -    $       3,600.00     KHI
         Ref #481 East Plant: Tank: Flavor                                                       $          -    $       3,200.00     KHI
         Ref #482 East Plant: Pump: Flavor Tank                                                  $          -    $       3,400.00     KHI
         Ref #483 East Plant: Pump: Flavor Tank                                                  $          -    $       3,400.00     KHI
         Ref #484 East Plant: Pump: Flavor Tank                                                  $          -    $       3,400.00     KHI
         Ref #485 East Plant: Exchanger heat plate and frame - T13CH 3135                        $          -    $       6,900.00     KHI
         Ref #486 East Plant: Filler: yogurt Cup                                                 $          -    $      96,500.00     KHI
         Ref #487 East Plant: Conveyor                                                           $          -    $       2,200.00     KHI
         Ref #488 East Plant: Detector                                                           $          -    $      22,000.00     KHI
         Ref #489 East Plant: Coder                                                              $          -    $       4,900.00     KHI
         Ref #490 East Plant: Coder                                                              $          -    $       4,900.00     KHI
         Ref #491 East Plant: Conveyor: Filled Cup                                               $          -    $       3,400.00     KHI
         Ref #492 East Plant: Conveyor: Filled Cup                                               $          -    $       3,400.00     KHI
         Ref #493 East Plant: Conveyor: Filled Cup to Caser                                      $          -    $       2,700.00     KHI
         Ref #494 East Plant: Conveyor: Filled Cup to Caser                                      $          -    $       2,700.00     KHI
         Ref #495 East Plant: Packer yogurt cup twin infeed accumulator conveyors Automa         $          -    $    360,000.00      KHI
         Ref #496 East Plant: Applicator hot melt glue Nordsen                                   $          -    $       4,400.00     KHI
         Ref #497 East Plant: Conveyor: Full Carton                                              $          -    $       1,900.00     KHI
         Ref #498 East Plant: Conveyor: Full Carton                                              $          -    $       1,900.00     KHI
         Ref #499 East Plant: Coder Domino: C6000                                                $          -    $       4,900.00     KHI
         Ref #499.10 East Plant: Refridgeration System & Compressor                              $          -    $      41,900.00     KHI
         Ref #500 East Plant: Refrigeration System                                               $          -    $            -       KHI
         Ref #501 East Plant: Compressor: Refrigeration System                                   $          -    $            -       KHI
         Ref #502 East Plant: Receiver: Refrigeration System                                     $          -    $            -       KHI
         Ref #503 East Plant: Accumulator: Refrigeration System                                  $          -    $            -       KHI
         Ref #504 East Plant: Receiver: Refrigeration System                                     $          -    $            -       KHI
         Ref #505 East Plant: Tower: Refrigeration System                                        $          -    $            -       KHI
         Ref #507 East Plant: Pump: Refrigeration System                                         $          -    $            -       KHI
         Ref #508 East Plant: Builder: Ice (Outside)                                             $          -    $      13,300.00     KHI
         Ref #509 East Plant: Tank: Water Recycle                                                $          -    $         500.00     KHI
         Ref #510 East Plant: Tank: Water Recycle                                                $          -    $         500.00     KHI
         Ref #512 East Plant: Pump: Refrigeration System                                         $          -    $            -       KHI
         Ref #513 East Plant: Boiler                                                             $          -    $      19,000.00     KHI
         Ref #514 East Plant: Pump: Condeensate (Tunnel)                                         $          -    $       1,700.00     KHI
         Ref #515 East Plant: Exchanger heat plate and frame T13CH                               $          -    $       4,000.00     KHI
         Ref #516 East Plant: Compressor air rotary screw                                        $          -    $      17,400.00     KHI
         Ref #517 East Plant: Radiator                                                           $          -    $       2,500.00     KHI
         Ref #518 East Plant: Compressor air rotary screw 40hp motor Quincy NW: 1QF-40-          $          -    $       7,000.00     KHI
         Ref #519 East Plant: Dyer: Compressed Air (in shop)                                     $          -    $       1,600.00     KHI
         Ref #520 East Plant: Receiver: 100 gallons                                              $          -    $         900.00     KHI
         Ref #521 East Plant: Receiver: 250 gallons                                              $          -    $       1,900.00     KHI
         Ref #522 East Plant: Compressor: 7.5hp                                                  $          -    $       1,000.00     KHI
         Ref #523 East Plant: Receiver: Compressed Air (engine room)                             $          -    $       1,800.00     KHI
         Ref #524 East Plant: Sanitation: 10 metering pumps 2 pneumatic diaphragm pump           $          -    $       4,100.00     KHI
         Ref #525 East Plant: Tank                                                               $          -    $         500.00     KHI
         Ref #526 East Plant: Tank: Chemical CIP                                                 $          -    $       5,200.00     KHI
         Ref #527 East Plant: Tank: Chemical CIP                                                 $          -    $       5,200.00     KHI
         Ref #528 East Plant: CIP System: Pasteurization                                         $          -    $      13,000.00     KHI

EXHIBIT F
PAGE 8 of 9
                                    Case 18-31644-pcm11                   Doc 152         Filed 06/01/18
                                             SUNSHINE DAIRY FOODS MANAGEMENT, LLC                         Case #18-31644-pcm11
                                                          SCHEDULE A/B
                                      LEASED OTHER MACHINERY AND EQUIPMENT- QUESTION 50




                                                                                        2018                          Leased
                                                                                    Depreciation                       Asset
                                         Description of Property                     Book Value        Cost Value     Owner
          Ref #529 East Plant: Pump                                                $          -    $       2,300.00     KHI
          Ref #530 East Plant: Exchanger heat plate and frame T13CH 4498           $          -    $       3,000.00     KHI
          Ref #531 East Plant: Tank: CIP wash/rinse                                $          -    $       3,700.00     KHI
          Ref #532 East Plant: Pump: CIP                                           $          -    $       1,800.00     KHI
          Ref #533 East Plant: Tank: COP                                           $          -    $       6,800.00     KHI
          Ref #534 East Plant: Tank: COP                                           $          -    $       4,800.00     KHI
          Ref #535 East Plant: Pump: CIP                                           $          -    $       1,700.00     KHI
          Ref #536 East Plant: Pump: CIP                                           $          -    $       1,700.00     KHI
          Ref #537 East Plant: Pump: Water Centrifugal                             $          -    $       2,400.00     KHI
          Ref #538 East Plant: Tank: COP (fill line north)                         $          -    $       6,800.00     KHI
          Ref #539 East Plant: Truck                                               $          -    $       1,000.00     KHI
          Ref #540 East Plant: Truck Lift                                          $          -    $       3,400.00     KHI
          Ref #541 East Plant: Charger                                             $          -    $       1,100.00     KHI
          Ref #542 East Plant: Charger                                             $          -    $       1,100.00     KHI
          Ref #544 East Plant: Truck Lift                                          $          -    $       3,400.00     KHI
          Ref #545.01 East Plant: Truck: Pallet                                    $          -    $       1,000.00     KHI
          Ref #546 East Plant: Spares: 1 Pump                                      $          -    $       3,000.00     KHI
          Ref #547 East Plant: Coder                                               $          -    $       4,000.00     KHI
          Ref #548 East Plant: Coder                                               $          -    $       4,000.00     KHI
          Ref #549 East Plant: Snake                                               $          -    $         300.00     KHI
          Ref #550 East Plant: Threader: Pipe                                      $          -    $       2,000.00     KHI
          Ref #551 East Plant: Saw: Chop                                           $          -    $         500.00     KHI
          Ref #552 East Plant: Drill Press                                         $          -    $         200.00     KHI
          Ref #553 East Plant: Welder: Arc                                         $          -    $       1,000.00     KHI
          Ref #554 East Plant: Group Mior Plant Equipment                          $          -    $      18,900.00     KHI
          Ref #554.1 East Plant: Group furniture and fixtures                      $          -    $      15,400.00     KHI
          Ref #555 East Plant: Group Laboratory Equipm: multiple                   $          -    $      15,800.00     KHI
          Ref #556 East Plant: Balance: Moisure                                    $          -    $       1,000.00     KHI
          Ref #558 East Plant: Group Office Equipment: Copier Fax TV VCR           $          -    $       2,600.00     KHI
          Ref #559 East Plant: Group Computer Equipment: 4 PC's 3 Printers         $          -    $       4,200.00     KHI
          Ref #951 East Plant: Power Feed Wiring                                   $          -    $     108,000.00     KHI
          Ref #953 East Plant: Process Piping                                      $          -    $     135,000.00     KHI
          Ref#511 East Plant: Pump: Refrigeration System                           $          -    $            -       KHI
15150
SubTota
l East
Plant                                                                              $         -     $ 1,935,900.00

          GRAND TOTAL                                                              $         -     $ 4,942,700.00


Leasehold Improvements
15160 Eplex 500 Panic Bar Key Pad                                                  $      339.86   $         805.00    KHI
        KHI Real Property: BRC Roof Repair                                         $    6,460.00   $       7,600.00    KHI
        Leasehold Improvements                                                     $    3,779.41   $       8,398.75    KHI
        Office Lighting                                                            $      491.24   $       1,203.02    KHI
        Restroom Remodel                                                           $    2,915.86   $       7,498.00    KHI
15160
Total                                                                              $   13,986.37 $       25,504.77

EXHIBIT F
PAGE 9 of 9
                                   Case 18-31644-pcm11                 Doc 152   Filed 06/01/18
                                      SUNSHINE DAIRY FOODS MANAGEMENT, LLC                            Case #18-31644-pcm11
                                                  SCHEDULE A/B
                                    OTHER MACHINERY AND EQUIPMENT- QUESTION 50

                                                                                                       Orderly
                                                                                                     Liquidation
                                                                   2018                           Value (OLV) Per
                                                               Depreciation                       12/17 Appraisal
                       Description of Property                  Book Value         Cost Value      (See Exhibit E)

50. Machinery, fixtures, equipment, and supplies used in business

West Plant:
15130       1.5 Micrometer Valve                           $             -     $       4,508.22
              2 Eye Wash Safety Stations
                                        
                  $          499.16   $       1,445.80
              2014 Toyota 7HBW23 Pallet Jack
             $        1,249.58   $       2,999.00
              5 Gal 305-4-way fogger                       $          146.86   $       1,370.67
              Air Compressor                               $             -     $     105,076.86
              Air Dryer                                    $             -     $       1,224.00
              Alarm Upgrade                                $        2,097.92   $       6,625.00
              Alfast Plus (PC B&R Tetra)                   $             -     $      11,970.60
              Ammonia Exhaust Fan                          $             -     $      20,417.84
              Ammonia Pressure Valves                      $             -     $      10,319.75
              AMONIA PROJECT                               $             -     $       8,728.50
              Amonia System                                $             -     $     159,500.00
              Ampco DC2 Pump                               $             -     $       5,035.13
              APCCO New Ammonia Detectors
                $        5,403.67   $       7,285.84
              Applicator                                   $             -     $      12,264.90
              ATP Analyzer from ACS Purchasing             $             -     $       1,204.84
              Autoclave Tuttnaure 2540 E refurb            $          256.62   $       2,395.00
              BAY DOORS                                    $             -     $       3,209.00
              BLEND TANKS                                  $             -     $       2,600.26
              Bowl Spindle                                 $             -     $      10,500.00
              BT Primemover Pallet Jack SMX45              $             -     $       2,087.00
              CARTON DESIGNER - SOUR CREAM YOGURT $                      -     $       1,370.65
              Case Washer - Labor                          $             -     $         792.00
              CENTRIFUGAL PUMPS                            $             -     $       3,913.57
              Chemical Room & Containment Area Upgrad $            30,916.67   $      35,000.00
              CHILL WATER                                  $             -     $       1,771.55
              CO2 SPARGER                                  $             -     $       4,623.00
              Coconut Pump - Yogurt Feed                   $             -     $       7,413.20
              Condensor                                    $             -     $     337,493.79
              Conveyor #226240245 - Ernest Pkg             $        1,425.06   $       1,900.08
              Cooler Line Replacement - West Plant (proj # $     32,197.50    $     100,170.00
              Cooler/ Freezer Temp Monitor - Simplex Gri $            586.84   $       4,108.00
              DAF hot water line, beacon lights, alarm     $       29,037.38   $      31,297.78
              DAF Waste Water Treatement System            $      149,873.11   $     167,560.00
              Dock Improvments                             $             -     $       2,736.80
              Dura flow track & install (by Toyota Lift)   $        9,833.69   $      12,147.50
              Electric Jack (48 forks) - Jungheinrich      $             -     $      10,760.00
              Electrical Service for Ammonia Compressor $                -     $      94,896.59
              EQUIPMENT                                    $             -     $       1,932.00
              Evergreen fillers - Carton Guides (Statco)
 $        2,348.64   $       6,802.91
              Evergreen fillers - Major repairs
          $       19,056.22   $      55,197.36
              FLOOR SCALE                                  $             -     $       1,490.30

EXHIBIT G
PAGE 1 of 5
                               Case 18-31644-pcm11                 Doc 152         Filed 06/01/18
                                      SUNSHINE DAIRY FOODS MANAGEMENT, LLC                             Case #18-31644-pcm11
                                                  SCHEDULE A/B
                                    OTHER MACHINERY AND EQUIPMENT- QUESTION 50

                                                                                                        Orderly
                                                                                                      Liquidation
                                                                  2018                             Value (OLV) Per
                                                              Depreciation                         12/17 Appraisal
                         Description of Property               Book Value          Cost Value       (See Exhibit E)
              FLOOR SCALE                                   $            -     $        1,619.77
              Forklift (model EFG220) - Jungheinrich        $            -     $      27,656.00
              Forklift Battery Replacment Model 18E-125- $               -     $        4,037.00
              Forklift Powerworker Model EWP45              $            -     $        4,375.00
              Frutar Art and Plates                         $            -     $        1,200.00
              Furrow LMI Pump C781-36, SN# 1512409481 $                  -     $        2,253.00
                                                                                            
              Furrow LMI Pump, C78136, 25 GPH @ 30 PS $                  -     $        3,687.00                
              GAL ORGANIC CORR CASER CHAIN                  $            -     $      12,571.52
              Gear Box and Reducer
                        $      1,996.61    $        3,422.75
              Graco Pump D55A11: KAYNAR 515, West Pla $              26.44    $          951.99
              Greek Yogurt Modifications                    $     15,486.98    $      48,906.22
              H6 Filler - additional setup costs            $     29,102.63    $      32,137.88
              H6 Half Gal Filler Overhaul                   $    206,080.90    $     227,574.00
              Heppa Air Filtration System                   $            -     $      19,629.29
              HOMOGINIZER                                   $            -     $      37,431.53
              HOMOGINIZER                                   $            -     $        5,556.04
              HTST - Computer Control Milk Plant            $            -     $      42,138.10
              HTST - Conduit                                $            -     $        1,332.00
              HTST Mix Press Plate Upgrade
                $     23,127.59    $      32,927.40
              HTST New Programming                          $            -     $        9,788.19
              HTST PROGRAMING                               $            -     $        7,765.40
              Installed new Coffee Brew Tank
              $     29,998.53    $      47,544.84
              Knife Blade 3.993 OD                          $            -     $          852.70
              Labeler Laber                                 $            -     $          144.00
              LED lighting for West Plant Cooler            $      2,862.11    $        3,484.31
              Linde T20 Electric Pallet Jack (Norlift)
    $      2,325.00    $        6,300.00
              Liquifier Upgrades, West Plant
              $      4,647.92    $        7,808.50
              LOWER COOLER REBUILD                          $            -     $        6,480.00
              LOWER COOLER REBUILD                          $            -     $      13,978.00
              MACHINERY AND EQUIPMENT FROM PPD D $                       -     $     237,479.88
              Mechanical Mods - Coconut Line                $            -     $        3,576.38
              Mechanicals for Yogurt                        $            -     $        3,550.00
              METAL DETECTOR GERBER                         $            -     $      10,027.60
              Mix Room Water Filter System
                $      1,338.64    $        3,877.44
              New 24v Battery for Jungheinrich Pallet Jack $        137.90    $        2,758.00
              New MP5500 CIP Panel
                        $      6,322.04    $        8,336.74
              New Spool Valve and new 8 oz Cup Jaws for $          2,135.39   $        3,384.40
              New Spool Valve for Osgood Filler #2
        $      1,752.89    $        2,778.16
              Pallet Jack                                   $            -     $        5,680.00
              Pasteurizer Touch Screen
                    $     10,246.58    $      14,465.77
              Printer Box                                   $            -     $        2,036.36
              Production Floor Re-surface                   $     65,213.70    $      76,722.00
              Q11 Filler - additioanl setup costs           $     62,061.74    $      68,534.43
              Q11 Quart Filler Overhaul                     $    375,442.43    $     414,599.00
              Racking                                       $            -     $        1,315.00

EXHIBIT G
PAGE 2 of 5
                                Case 18-31644-pcm11              Doc 152           Filed 06/01/18
                                     SUNSHINE DAIRY FOODS MANAGEMENT, LLC                            Case #18-31644-pcm11
                                                 SCHEDULE A/B
                                   OTHER MACHINERY AND EQUIPMENT- QUESTION 50

                                                                                                      Orderly
                                                                                                    Liquidation
                                                                  2018                           Value (OLV) Per
                                                              Depreciation                       12/17 Appraisal
                       Description of Property                 Book Value         Cost Value      (See Exhibit E)
             Raw / Pasterurize / Tanker CIP Tanks         $       12,455.00   $       14,100.00
             Rebuild 125 GM GEA Compressor
              $       15,657.06   $       19,777.35
             Receiving Lighting - Warehouse               $              -    $        1,296.00
             Red Zone West Plant Consulting & Training
 $         2,276.27   $       27,315.39
             Red Zone West Plant Electric upgrades to pla $       2,126.32   $       15,947.40
             Red Zone West Plant iPads and accessories
 $           651.15   $        4,883.69
             Red Zone West Plant WiFi upgrades
          $        1,175.35   $        8,815.15
             RedZone Display (flat screen TV & mounting  $          270.40   $        3,244.94
             Replacement Transmitter for Cream Tank
 $              429.52   $        1,336.25
             Replacement Transmitter for Silo (West Plan $          429.52   $        1,336.25
             RFID Temperature Sensors for Warehouse $                671.70   $        2,239.00
             Roll Conveyor - Labor                        $              -    $          350.00
             Rytec PredaCool 7'11 x 10' cooler door
     $        2,371.50   $        6,426.00
             Rytec TS6000 rapid roll freezer door
       $        8,745.48   $       12,203.00
             Separator Motor                              $              -    $        6,320.95
             Seperator Bowl Rebuild (Seperators Inc)
    $       47,188.96   $       55,516.43
             Seperator Rebuild (Tetra Pak)
              $       31,163.10   $       38,420.26
             Shear Mill                                   $       17,227.50   $       41,346.00
             TANK TRACKING SOFTWARE                       $        1,800.65   $        4,001.47
             Two-way Radios, West Plant
                 $        1,012.05   $        1,840.09
             Upgrades to cold brew room                   $       15,928.98   $       31,857.94
             Used tape mashines purchased from Ernest $            4,794.12   $        6,392.16
             Warehouse Lighting                           $              -    $        1,152.00
             Waste Water Chart Recorder
                 $          216.71   $        1,857.63
             West Energy Efficient Lighting
             $        4,910.15   $        7,236.00
             West New Door Foam System
3/2016            $        2,405.69   $        4,041.57
             West Plant Conveyor                          $        6,489.21   $        7,166.00
             West Plant Eyewash water line                $        4,102.09   $        4,475.00
             Wrapper Labor                                $              -    $        1,440.00
15130 Total West Plant                                    $ 1,309,733.42      $    3,069,152.80 $ 1,262,000.00


East Plant:
15130         2 Recovery System (Pig Chase)                $           -      $       2,088.43
              2004 COMBI Case Sealer Model #TBS100FC S $          8,403.84
                                                                             $      11,572.50
              2005 Lantech Case Erector #C300 SN CE0004 $       19,612.59    $      27,007.50
              2016 Lyrical / Kite Hill equip install exp
 $     12,755.65    $      18,797.80
              6 Lane Indexing Filler - Genesis             $           -      $      11,795.96
              Air Curtains                                 $           -      $       1,309.87
              Ammonia Project                              $           -      $       3,514.00
              Ammonia Ventilation System - East Plant - S $      12,303.97    $      29,529.51
              AMONIA DETECTORS                             $           -      $       3,392.17
              AMONIA PANEL                                 $           -      $       5,679.75
              ATIP Series 400 CRS Printer                  $           -      $      49,991.12
              Biotest Hycon Rcs Air Sampler                $           -      $       1,122.50

EXHIBIT G
PAGE 3 of 5
                               Case 18-31644-pcm11              Doc 152           Filed 06/01/18
                                     SUNSHINE DAIRY FOODS MANAGEMENT, LLC                            Case #18-31644-pcm11
                                                 SCHEDULE A/B
                                   OTHER MACHINERY AND EQUIPMENT- QUESTION 50

                                                                                                      Orderly
                                                                                                    Liquidation
                                                                2018                             Value (OLV) Per
                                                            Depreciation                         12/17 Appraisal
                          Description of Property            Book Value         Cost Value        (See Exhibit E)
              Caser                                       $            -    $         6,018.87
              CASER CONDUIT                               $            -    $         3,312.00
              Chemical Room & Containment Upgrade         $     17,666.67   $      20,000.00
              Cone hopper and stand for fruit pump - East $      1,549.43   $         1,914.00
              Cooler Chart Recorder                       $            -    $         5,411.80
              Data Line Install for Gas Reader            $            -    $           576.00
              Domino Printers (8)                         $            -    $      50,291.85
              East Pump                                   $            -    $      20,484.59
              Easy Lift Drum Handler for East Plant
     $      1,432.50   $         4,011.00
              EP Filler - A&E Conveyor                    $     22,573.64   $      31,085.00
              EP Filler - Statco pumps, piping & install  $     55,444.65   $      76,350.00
              EuroDrive and Motor for Vat                 $            -    $         5,271.78
              Fab new cone and replace                    $            -    $         9,585.00
              Filler 1 Conversion                         $            -    $           792.00
              FLOOR SCALE                                 $            -    $         9,235.00
              FLOOR SCALE                                 $            -    $         1,711.90
              FLOOR SCALE FOR GERBER TOTES                $            -    $         3,167.55
              FLOW METER                                  $            -    $         4,350.23
              Forklift - Doosan BW23S-7 Unit #91532
     $      1,361.91   $         4,400.00
              Fruit Refurbishment Pump (Genesis)          $            -    $      14,000.00
              Furrow LMI Pump, P751495SI, 1 GPH @ 110 $            239.58   $        1,725.00
              Genesis Filler                              $            -    $      15,119.07
              GERBER TOTES                                $            -    $         8,874.90
              GERBER TOTES                                $            -    $      13,385.80
              Greek Modifications - West Plant            $      2,415.42   $         5,915.31
              Heater/Vacuum Assembly                      $            -    $         3,481.56
              Heppa System                                $            -    $         3,114.77
              Homogenizer (add'l costs)                   $            -    $         2,612.00
              HP CPU & Printer Interface
                $        402.70   $         3,451.61
              HP Printer                                  $            -    $         7,177.50
              HP SOFT START ALLEN BRADLEY SCREEN          $            -    $         2,910.60
              HTST INSTALLATION                           $            -    $      12,376.67
              HTST Replacement Plates                     $      6,726.26   $      16,815.62
              HTST System                                 $            -    $      36,836.18
              Liquifier Upgrades, East Plant
            $      3,571.43   $         6,000.00
              Lyrical Trailer parts & labor
             $      1,928.70   $         6,943.30
              MACHINERY AND EQUIPMENT FROM PPD D $                     -    $      75,732.38
              Nestle metal detection SS V3 Module SN 999 $      1,877.77   $         2,976.10
              New Electrical at EP for Truck parking
    $      6,782.17   $         8,361.58
              New Steam Line at East Plant
              $      3,173.33   $         4,480.00
              New Swing Gate for East Plant
             $      1,304.59   $         1,759.00
              New Waste Water System - East Plant         $      2,872.05   $         3,152.25
              Notebook - Equipment Operating System       $            -    $         1,279.63
              Organic Valley Labeler                      $            -    $      43,570.44
              Osgood Fruit Nozzle & Body
                $      2,269.90   $         3,530.95

EXHIBIT G
PAGE 4 of 5
                               Case 18-31644-pcm11             Doc 152          Filed 06/01/18
                                     SUNSHINE DAIRY FOODS MANAGEMENT, LLC                            Case #18-31644-pcm11
                                                 SCHEDULE A/B
                                   OTHER MACHINERY AND EQUIPMENT- QUESTION 50

                                                                                                      Orderly
                                                                                                    Liquidation
                                                                  2018                           Value (OLV) Per
                                                              Depreciation                       12/17 Appraisal
                        Description of Property                Book Value         Cost Value      (See Exhibit E)
             Osgood General Drive Overhaul                 $      22,432.75   $       53,838.65
             Pallet Pal                                    $             -    $        2,087.00
             Powerworker EJE120 Forklift                   $             -    $        4,400.00
             Process Pipe                                  $             -    $        9,303.48
             Pump                                          $             -    $       18,034.09
             Red Zone East Plant Consulting & Training
 $         2,276.27   $       27,315.38
             Red Zone East Plant Electric upgrades to plan $        298.98   $        3,587.93
             Red Zone East Plant iPads and Accessories
 $           406.96   $        4,883.68
             Repair Major Crack in Vat                     $             -    $        4,950.00
             SDF costs for Kite Hill Conveyor install      $      34,599.39   $       37,974.94
             SDF costs for Kite Hill WinPak Filler install $      32,552.08   $       35,947.08
             Security Cameras for East Plant
             $         116.66   $          999.99
             Steel Parts Cabinets + shelves EP (2 ea)
    $         430.25   $        1,338.50
             Steel Shelf Cabinet                           $         316.16   $        1,264.68
             Storage Cabinet - 72x36x18                    $             -    $          260.00
             Tank Baffles (3)                              $             -    $        2,640.50
             Turtle Mountain CO2                           $             -    $       30,233.11
             Vinyl Ester Flooring and Sealer w/ Grout      $       9,708.99   $       25,327.80
             Waste Water System                            $             -    $        4,994.20
             Western Family Plate Charges                  $             -    $        5,070.00
             WF Greek Modifications - East Plant           $       1,683.70   $        4,123.32
             Yogurt Totes for Gerber                       $             -    $       41,650.00
15130 Total East Plan                                      $     291,490.94   $    1,049,576.23 $    831,000.00




Distribution Center:
15130         2014 Toyota 7HBW23 Pallet Jack
            $       1,249.58 $          2,999.00
15130 Total Dist Ctr                                      $       1,249.58 $          2,999.00

Astoria:
15130       1999 Utility Trailor (for Refrig Unit)      $              -      $       6,000.00
            Electrical Hookup Refrigertaion Unit SBE-MA $              -      $      17,730.50
            Refrigeration Unit (SBE-MAX)                $              -      $      14,000.00
15130 Total                                             $              -      $      37,730.50
Grand Total Total Astoria                               $              -      $      75,461.00

Total All:                                                $ 1,602,473.94 $ 4,197,189.03 $ 2,093,000.00




EXHIBIT G
PAGE 5 of 5
                               Case 18-31644-pcm11              Doc 152           Filed 06/01/18
                                 SUNSHINE DAIRY FOODS MANAGEMENT, LLC                     Case # 18-31644-pcm11
                                              SCHEDULE A/B
                              OTHER MACHINERY AND EQUIPMENT- QUESTION 50



                                                                         2018                         OLV Per
                                                                     Depreciation                      12/17
                              Description of Property                 Book Value      Cost Value      Appraisal
Leasehold Improvements
15160     Concrete Install                                            $    2,686.67   $    7,440.00     N/A
          Floor Repairs WP (BKE Inc.)                                 $         -     $    1,430.00     N/A
          KHI Real Property: BRC Roof Repair & Ceiling                $   15,725.00   $   18,500.00     N/A
          KHI Real Property: Sub-floor Production / Upper Cooler      $   45,042.53   $   54,597.00     N/A
          Lighting - Truck Shop on Halsey                             $      729.93   $    1,751.76     N/A
          New west concrete                                           $    1,894.50   $    3,310.00     N/A
15160                                                                 $   66,078.63   $   87,028.76




EXHIBIT H
PAGE 1 of 1
                            Case 18-31644-pcm11            Doc 152   Filed 06/01/18
 Fill in this information to identify the case:

 Debtor name         Sunshine Dairy Foods Management, LLC

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)             18-31644-pcm11
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Bankdirect Capital Finance,
 2.1                                                                                                                         $24,174.45                $27,206.30
       LLC                                            Describe debtor's property that is subject to a lien
       Creditor's Name                                Insurance Premiums
       P O Box 660448
       Dallas, TX 75266
       Creditor's mailing address                     Describe the lien
                                                      Security Interest
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Citibank, N.A.                                 Describe debtor's property that is subject to a lien                     Unknown                  Unknown
       Creditor's Name                                Precautionary
       388 Greenwich St 25th
       Floor
       Mail Drop 7
       New York, NY 10013
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy



                                              Case 18-31644-pcm11                          Doc 152           Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                     Case number (if know)    18-31644-pcm11
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       First Business Capital
 2.3                                                                                                                       $6,328,000.00   $6,328,000.00
       Corp.                                          Describe debtor's property that is subject to a lien
       Creditor's Name                                All Assets wherever located of the Debtor
       Attn: Mark Buchert,
       VP-Account Executive
       401 Charmany Dr
       Madison, Wi 53719
       Creditor's mailing address                     Describe the lien
                                                      Fully Secured
       mbuchert@firstbusiness.c                       Is the creditor an insider or related party?
       om                                                No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       First Business Capital
 2.4                                                  Describe debtor's property that is subject to a lien                 $2,764,939.30   $2,764,939.30
       Corp.
       Creditor's Name                                All Assets wherever located of the Debtor
       Attn: Mark Buchert,
       VP-Account Executive
       401 Charmany Dr
       Madison, Wi 53719
       Creditor's mailing address                     Describe the lien
                                                      Line of Credit - Fully Secured
       mbuchert@firstbusiness.c                       Is the creditor an insider or related party?
       om                                                No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Ford Motor Credit Co.                          Describe debtor's property that is subject to a lien                     $8,423.04         $14,000.00
       Creditor's Name                                2013 Ford Fusion VIN 3FA6P0D9XDR279600
                                                      (based on Value from 11/21/17 appraisal
                                                      performed by Great American Group - Exhibit
       PO Box 552679                                  E)
       Detroit, Mi 48255

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy



                                              Case 18-31644-pcm11                          Doc 152           Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                     Case number (if know)    18-31644-pcm11
              Name

       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6869
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   Multnomah County                               Describe debtor's property that is subject to a lien                     $1,287.68         $1,287.68
       Creditor's Name                                MACHINERY & EQUIPMENT ACCT# R657806,
                                                      TAX YEAR 2017/18; UCC 91493028
       501 SE Hawthorne Blvd
       Portland, OR 97214
       Creditor's mailing address                     Describe the lien
                                                      Personal Property Tax Warrant
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7806
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   Multnomah County                               Describe debtor's property that is subject to a lien                     $2,888.32         $2,888.32
       Creditor's Name                                MACHINERY & EQUIPMENT ACCT# R657804,
                                                      TAX YEAR 2017/18
       501 SE Hawthorne Blvd
       Portland, OR 97214
       Creditor's mailing address                     Describe the lien
                                                      Personal Property Tax Warrant
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7804
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy



                                              Case 18-31644-pcm11                          Doc 152           Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                     Case number (if know)       18-31644-pcm11
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.8    Strada Capital Corporation                    Describe debtor's property that is subject to a lien                      $43,975.00            Unknown
        Creditor's Name                               Table Top Conveyor System; UCC #91362566
        23046 Avenida De La
        Carlota #350
        Laguna Hills, CA 92653
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        102/23/17                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        5884
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



        Toyota Motor Credit
 2.9                                                  Describe debtor's property that is subject to a lien                      $17,150.42            $17,375.00
        Corporation
        Creditor's Name                               2017 Toyota Camry
                                                      VIN#4T1BF1FK5HU286064
        PO Box 5855
        Carol Stream, Il 60197
        Creditor's mailing address                    Describe the lien
                                                      Security Interest- Vehicle
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $9,190,838.2
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         1

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 4 of 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy



                                               Case 18-31644-pcm11                         Doc 152           Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                       Case number (if know)      18-31644-pcm11
              Name

        Name and address                                                                        On which line in Part 1 did       Last 4 digits of
                                                                                                you enter the related creditor?   account number for
                                                                                                                                  this entity
        Citibank, NA
        c/o Barbara Desoer - CEO                                                                Line   2.2
        701 East 60th Street North
        Sioux Falls, SD 57104

        First Business Capital Corp.
        c/o Chuck Batson, President & CEO                                                       Line   2.3
        401 Charmany Dr
        Madison, Wi 53719

        First Business Capital Corp.
        c/o Chuck Batson, President & CEO                                                       Line   2.4
        401 Charmany Dr
        Madison, Wi 53719

        Ford Motor Credit Company LLC
        c/o CT Corp. System, RA                                                                 Line   2.5
        780 Commerical St SE Ste 100
        Salem, OR 97301

        LCA Bank Corporation
        1375 Deer Valley Dr #218                                                                Line   2.8
        Park City, UT 84060

        LCA Bank Corporation
        c/o Thomas T. Billings, RA                                                              Line   2.8
        15 West South Temple Ste 1700
        Salt Lake City, UT 84101

        Multnomah County Tax Assessor
        Attn Angelika Loomis, Agent                                                             Line   2.6
        PO Box 2716
        Portland, OR 97208-2716

        Multnomah County Tax Assessor
        Attn Angelika Loomis, Agent                                                             Line   2.7
        PO Box 2716
        Portland, OR 97208-2716

        Strada Capital Corporation
        c/o Christopher Parsons, RA                                                             Line   2.8
        23046 Avenida De La Carlota, #350
        Laguna Hills, CA 92653

        Toyota Motor Credit Corp
        6565 Headquarters Dr.                                                                   Line   2.9
        Plano, TX 75024

        Toyota Motor Credit Corporation
        c/o CT Corporation System, RA                                                           Line   2.9
        780 Commercial St SE Ste 100
        Salem, OR 97301




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 5 of 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11             Doc 152        Filed 06/01/18
 Fill in this information to identify the case:

 Debtor name         Sunshine Dairy Foods Management, LLC

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)           18-31644-pcm11
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                       Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                             $694.91          $651.56
           Alford, Johnathan                                         Check all that apply.
           19100 E. Burnside St. APT E336                               Contingent
           Portland, OR 97233                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages: $630.99 Non-priority accrued
                                                                     vacations: $43.35 Priority Vacation accrued-
                                                                     $17.34 Non-priority accrued sick: $0.00 Priority
                                                                     accrued sick: $37.91 Unpaid Benefits: $0.00
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           $1,352.19          $1,352.19
           Amundson, Lavere                                          Check all that apply.
           11005 NE 76th St, #30                                        Contingent
           Vancouver, WA 98662                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages: $714.72 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $172.10 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $218.34 Unpaid Benefits:
                                                                     $247.03
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                   40927                                    Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $14,285.32     $5,118.43
          Arbuthnot, Stephen                                         Check all that apply.
          15172 SW Sapphire                                             Contingent
          Beaverton, OR 97007                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,849.72 Non-priority accrued
                                                                     vacations: $523.21 Priority Vacation accrued
                                                                     $1,964.57 Non-priority accrued sick: $8,643.67
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,131.64     $1,629.08
          Arenas, Damian                                             Check all that apply.
          8000 NE HWY 99 #106                                           Contingent
          Vancouver, WA 98665                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $546.28 Non-priority accrued
                                                                     vacations: $163.14 Priority Vacation accrued
                                                                     $453.78 Non-priority accrued sick: $339.43
                                                                     Priority accrued sick: $381.98 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,929.85     $1,886.75
          Aspy, Katie                                                Check all that apply.
          9105 SE 32ND AVE APT 15                                       Contingent
          Portland, OR 97222                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $627.85 Non-priority accrued
                                                                     vacations: $43.11 Priority Vacation accrued
                                                                     $677.10 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $164.84 Unpaid Benefits:
                                                                     $416.96
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 2 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $14,660.11     $4,389.91
          Austin, Dale                                               Check all that apply.
          10390 Sw Crestwood Ct                                         Contingent
          Beaverton, OR 97008                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,849.72 Non-priority accrued
                                                                     vacations: $397.97 Priority Vacation accrued
                                                                     $1,752.94 Non-priority accrued sick: $9,872.23
                                                                     Priority accrued sick: $0.00 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,296.41     $1,889.17
          Baez Hernandez, Carlos                                     Check all that apply.
          167 NE 25th Avenue #207                                       Contingent
          Hillsboro, OR 97124                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $759.49 Non-priority accrued
                                                                     vacations: $640.31 Priority Vacation accrued
                                                                     $552.55 Non-priority accrued sick: $766.94
                                                                     Priority accrued sick: $330.10 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          Batugo, Kevin                                              Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Precautionary - Employee on leave
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 3 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $9,542.03     $4,614.22
          Beck, Chris                                                Check all that apply.
          22802 NE 174th St                                             Contingent
          Brush Prairie, WA 98606                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,849.72 Non-priority accrued
                                                                     vacations: $2,247.36 Priority Vacation accrued
                                                                     $1,730.47 Non-priority accrued sick: $2,680.45
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $517.14
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,370.39     $1,370.39
          Bigelow, Nicole                                            Check all that apply.
          39805 Davis St                                                Contingent
          Sandy, OR 97055                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $502.67 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $247.86 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $156.74 Unpaid Benefits:
                                                                     $463.12
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $16,231.12     $2,983.17
          Birley, Terrance                                           Check all that apply.
          1707 NW 3rd St                                                Contingent
          Battleground, WA 98604                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,005.67 Non-priority accrued
                                                                     vacations: $3,375.72 Priority Vacation accrued
                                                                     $1,730.47 Non-priority accrued sick: $9,872.23
                                                                     Priority accrued sick: $0.00 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 4 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,694.95     $3,251.57
          Boatman, Jon                                               Check all that apply.
          18436 Southeast Yamhill Circle                                Contingent
          Portland, OR 97233                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,102.24 Non-priority accrued
                                                                     vacations: $443.39 Priority Vacation accrued
                                                                     $1,724.15 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $178.15 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,927.39     $2,198.64
          Bobb, Louis                                                Check all that apply.
          1259 NE Hogan Place                                           Contingent
          Gresham, OR 97030                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $136.87 Non-priority accrued
                                                                     vacations: $2,734.29 Priority Vacation accrued
                                                                     $1,297.85 Non-priority accrued sick: $994.46
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,248.59     $2,805.15
          Burbach, Michael                                           Check all that apply.
          3112 St Johns Blvd                                            Contingent
          Vancouver, WA 98661                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,122.14 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $703.00 Non-priority accrued sick: $7,443.44
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $463.12
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 5 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,406.50     $2,401.20
          Caballero, Ernesto                                         Check all that apply.
          8316 N. Lombard St. PMB 439                                   Contingent
          Portland, OR 97203                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $803.54 Non-priority accrued
                                                                     vacations: $1,874.48 Priority Vacation accrued
                                                                     $965.33 Non-priority accrued sick: $2,130.82
                                                                     Priority accrued sick: $385.30 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,769.82     $4,374.52
          Campa, David                                               Check all that apply.
          101 SE 199th                                                  Contingent
          Portland, OR 97233                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,905.74 Non-priority accrued
                                                                     vacations: $535.33 Priority Vacation accrued
                                                                     $1,497.89 Non-priority accrued sick: $1,859.98
                                                                     Priority accrued sick: $453.74 Unpaid Benefits:
                                                                     $517.14
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,204.33     $4,051.12
          Castillo, Johnny                                           Check all that apply.
          1506 SE Kobus Way                                             Contingent
          Hillsboro, OR 97123                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $2,315.39 Non-priority accrued
                                                                     vacations: $42.62 Priority Vacation accrued
                                                                     $549.36 Non-priority accrued sick: $110.59
                                                                     Priority accrued sick: $715.38 Unpaid Benefits:
                                                                     $470.99
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 6 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,103.18     $1,103.18
          Cates, David                                               Check all that apply.
          12212 SE Raymond St                                           Contingent
          Portland, OR 97236                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $603.57 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $178.60 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $73.98 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,428.79     $3,694.97
          Center, Christopher                                        Check all that apply.
          5231 SE Malden Dr                                             Contingent
          Portland, OR 97206                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,849.72 Non-priority accrued
                                                                     vacations: $1,723.21 Priority Vacation accrued
                                                                     $865.23 Non-priority accrued sick: $1,010.61
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $463.12
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,246.46     $3,886.58
          Chambers, Sandy                                            Check all that apply.
          18200 NE Flanders                                             Contingent
          Portland, OR 97230                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,166.27 Non-priority accrued
                                                                     vacations: $1,359.89 Priority Vacation accrued
                                                                     $1,862.27 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $394.93 Unpaid Benefits:
                                                                     $463.12
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 7 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,453.51     $2,096.03
          Chorn, James                                               Check all that apply.
          2243 SE 105th AVE                                             Contingent
          Portland, OR 97216                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $902.83 Non-priority accrued
                                                                     vacations: $163.44 Priority Vacation accrued
                                                                     $332.64 Non-priority accrued sick: $194.04
                                                                     Priority accrued sick: $397.44 Unpaid Benefits:
                                                                     $463.12
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $15,377.63     $4,580.94
          Crandall, John                                             Check all that apply.
          843 SE Walnut St                                              Contingent
          Hillsboro, OR 97123                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $2,063.22 Non-priority accrued
                                                                     vacations: $924.46 Priority Vacation accrued
                                                                     $1,730.47 Non-priority accrued sick: $9,872.23
                                                                     Priority accrued sick: $0.00 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,777.48     $4,413.53
          Crollard, Dennis                                           Check all that apply.
          5308 NE 68th St                                               Contingent
          Vancouver, WA 98661                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $2,361.54 Non-priority accrued
                                                                     vacations: $134.13 Priority Vacation accrued
                                                                     $549.36 Non-priority accrued sick: $229.82
                                                                     Priority accrued sick: $715.38 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 8 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $11,154.63     $3,375.88
          Crollard, Travis                                           Check all that apply.
          3815 NE 87th Place                                            Contingent
          Vancouver, WA 98662                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,965.38 Non-priority accrued
                                                                     vacations: $3,532.25 Priority Vacation accrued
                                                                     $1,075.00 Non-priority accrued sick: $4,246.50
                                                                     Priority accrued sick: $100.00 Unpaid Benefits:
                                                                     $235.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,515.82     $1,515.82
          Danielski, David                                           Check all that apply.
          3006 SE 16th St                                               Contingent
          Gresham, OR 97080                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $651.18 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $277.95 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $339.66 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $8,747.68     $4,650.23
          Davidson, Howard                                           Check all that apply.
          8923 Ne 41st Ave                                              Contingent
          Vancouver, WA 98665                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $913.32 Non-priority accrued
                                                                     vacations: $2,549.82 Priority Vacation accrued
                                                                     $2,432.77 Non-priority accrued sick: $1,547.64
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 9 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,142.59     $4,210.30
          Davis, Christopher                                         Check all that apply.
          205 SE 5th Ave                                                Contingent
          Battle Ground, WA 98604                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,079.69 Non-priority accrued
                                                                     vacations: $880.47 Priority Vacation accrued
                                                                     $1,804.39 Non-priority accrued sick: $1,051.83
                                                                     Priority accrued sick: $538.97 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $14,963.60     $4,172.53
          Dean, Brian                                                Check all that apply.
          845 G St.                                                     Contingent
          Washougal, WA 98671                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,849.72 Non-priority accrued
                                                                     vacations: $1,152.94 Priority Vacation accrued
                                                                     $1,730.47 Non-priority accrued sick: $9,638.13
                                                                     Priority accrued sick: $129.22 Unpaid Benefits:
                                                                     $463.12
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $9,617.03     $6,253.21
          Edmunson, Brian                                            Check all that apply.
          15092 SE Pioneer Dr                                           Contingent
          Clackamas, OR 97015-6365                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $2,815.39 Non-priority accrued
                                                                     vacations: $1,493.87 Priority Vacation accrued
                                                                     $2,101.44 Non-priority accrued sick: $1,869.95
                                                                     Priority accrued sick: $865.38 Unpaid Benefits:
                                                                     $470.99
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 10 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $955.00     $955.00
          Edwards, Kisa                                              Check all that apply.
          4927 NE Grand Avenue                                          Contingent
          Portland, OR 97211                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $955.00 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $0.00 Non-priority accrued sick: $0.00 Priority
                                                                     accrued sick: $0.00 Unpaid Benefits: $0.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $8,530.30     $5,844.64
          Falk, Alysha                                               Check all that apply.
          14600 NE 87th Street                                          Contingent
          Vancouver, WA 98682                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $3,873.20 Non-priority accrued
                                                                     vacations: $577.83 Priority Vacation accrued
                                                                     $942.48 Non-priority accrued sick: $2,107.83
                                                                     Priority accrued sick: $612.00 Unpaid Benefits:
                                                                     $416.96
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $677.17     $677.17
          Farr, Lawrence                                             Check all that apply.
          14205 NE 10th Ave                                             Contingent
          Vancouver, WA 98685                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages:- $23.08 Non-priority accrued vacations:
                                                                     $0.00 Priority Vacation accrued $269.79
                                                                     Non-priority accrued sick: $0.00 Priority
                                                                     accrued sick: $183.43 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 11 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,111.78     $2,567.35
          Forry, Brandon                                             Check all that apply.
          6421 SE Morrison St.                                          Contingent
          Portland, OR 97215                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,576.92 Non-priority accrued
                                                                     vacations: $0.88 Priority Vacation accrued
                                                                     $323.40 Non-priority accrued sick: $543.55
                                                                     Priority accrued sick: $420.00 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,558.75     $2,558.75
          Forsman, Pentti                                            Check all that apply.
          18654 SW Shaw St.                                             Contingent
          Aloha, OR 97007                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,576.92 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $335.20 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $399.60 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $9,356.01     $3,602.66
          Fortin, Patricia                                           Check all that apply.
          3111 NE 76th Ave                                              Contingent
          Portland, OR 97213                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,076.53 Non-priority accrued
                                                                     vacations: $2,825.78 Priority Vacation accrued
                                                                     $1,729.03 Non-priority accrued sick: $2,927.57
                                                                     Priority accrued sick: $561.60 Unpaid Benefits:
                                                                     $235.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 12 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,443.88     $2,420.25
          Fred, John                                                 Check all that apply.
          17823 SE Division St                                          Contingent
          Portland, OR 97236                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $830.09 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $427.55 Non-priority accrued sick: $23.63
                                                                     Priority accrued sick: $375.36 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,862.16     $2,365.82
          Fry, Mitchell                                              Check all that apply.
          3532 SW Beaverton Hillsdale Hwy                               Contingent
          Portland, OR 97221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,025.52 Non-priority accrued
                                                                     vacations: $128.09 Priority Vacation accrued
                                                                     $374.94 Non-priority accrued sick: $368.24
                                                                     Priority accrued sick: $448.22 Unpaid Benefits:
                                                                     $517.14
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,825.05     $3,434.10
          Gullberg, Choei                                            Check all that apply.
          4735 N Mississippi Avenue                                     Contingent
          Portland, OR 97217                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,146.46 Non-priority accrued
                                                                     vacations: $390.95 Priority Vacation accrued
                                                                     $1,730.47 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $40.03 Unpaid Benefits:
                                                                     $517.14
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 13 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,422.28     $1,357.11
          Gutierrez, Anthony                                         Check all that apply.
          4761 N. Girard St                                             Contingent
          Portland, OR 97203                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $749.40 Non-priority accrued
                                                                     vacations: $65.17 Priority Vacation accrued
                                                                     $254.61 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $106.06 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $28,067.73     $12,850.00
          Haines, Christopher                                        Check all that apply.
          3903 SW Wilbard St.                                           Contingent
          Portland, OR 97219                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $4,126.92 Non-priority accrued
                                                                     vacations: $8,455.19 Priority Vacation accrued
                                                                     $3,680.77 Non-priority accrued sick: $9,617.60
                                                                     Priority accrued sick: $1,480.77 Unpaid
                                                                     Benefits: $706.48
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $13,287.12     $3,931.08
          Hammer, Gary                                               Check all that apply.
          12032 SW Westbury Terr                                        Contingent
          Tigard, OR 97223                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $905.60 Non-priority accrued
                                                                     vacations: $3,986.72 Priority Vacation accrued
                                                                     $1,721.34 Non-priority accrued sick: $5,369.32
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 14 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,360.00     $1,360.00
          Hernandez, Alfredo                                         Check all that apply.
          20833 SW Imperial Place                                       Contingent
          Beaverton, OR 97003                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,360.00 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $0.00 Non-priority accrued sick: $0.00 Priority
                                                                     accrued sick: $0.00 Unpaid Benefits: $0.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,252.00     $1,252.00
          Huber, Troy                                                Check all that apply.
          9900 SE Lawnfield Rd, #87                                     Contingent
          Clackamas, OR 97015                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $866.25 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $103.17 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $35.55 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,405.04     $1,405.04
          Huber, Tyler                                               Check all that apply.
          9900 SE Lawnfield Rd APT #74                                  Contingent
          Clackamas, OR 97015                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $824.89 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $158.41 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $174.70 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 15 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,147.44     $4,788.84
          Huebner, Cynthia                                           Check all that apply.
          4617 NE St Johns Rd #H127                                     Contingent
          Vancouver, WA 98661                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,931.25 Non-priority accrued
                                                                     vacations: $517.00 Priority Vacation accrued
                                                                     $1,906.60 Non-priority accrued sick: $841.60
                                                                     Priority accrued sick: $480.00 Unpaid Benefits:
                                                                     $470.99
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          IRS                                                        Check all that apply.
          Attn: Attorney General of United                              Contingent
          States                                                        Unliquidated
          10th Constitution NW #4400                                    Disputed
          Washington, DC 20530
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          IRS                                                        Check all that apply.
          Attn: Civil Process Clerk                                     Contingent
          U.S. Attorney, District of Oregon                             Unliquidated
          1000 SW 3rd, #600                                             Disputed
          Portland, OR 97204-2936
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          IRS                                                        Check all that apply.
          Centralized Insolvency Operation                              Contingent
          P. O. Box 7346                                                Unliquidated
          Philadelphia, PA 19101                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Precautionary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 16 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,213.81     $2,213.81
          Jaimes, Enrique                                            Check all that apply.
          7936 SE 64th Avenue                                           Contingent
          Portland, OR 97206                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $436.68 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $998.44 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $315.57 Unpaid Benefits:
                                                                     $463.12
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $7,555.81     $3,146.53
          Jenkins, Chad                                              Check all that apply.
          1509 22nd Ave Apt#24                                          Contingent
          Forest Grove, OR 97116                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,338.35 Non-priority accrued
                                                                     vacations: $681.70 Priority Vacation accrued
                                                                     $1,291.30 Non-priority accrued sick: $3,727.57
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $0.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $15,645.09     $1,370.85
          Johnson, Gordon                                            Check all that apply.
          14908 NW 21st Avenue                                          Contingent
          Vancouver, WA 98685                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,272.24 Non-priority accrued
                                                                     vacations: $3,980.29 Priority Vacation accrued-
                                                                     $148.41 Non-priority accrued sick: $10,293.94
                                                                     Priority accrued sick: $0.00 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 17 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,436.26     $2,296.65
          Jones, Terry                                               Check all that apply.
          12220 SE Long St                                              Contingent
          Portland, OR 97236                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,050.84 Non-priority accrued
                                                                     vacations: $139.61 Priority Vacation accrued
                                                                     $397.44 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $385.25 Unpaid Benefits:
                                                                     $463.12
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,688.84     $3,688.84
          Kaio, Kenneth                                              Check all that apply.
          7579 SW Roanoke Dr. N                                         Contingent
          Wilsonville, OR 97070                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,448.67 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $1,482.79 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $294.26 Unpaid Benefits:
                                                                     $463.12
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,880.88     $1,880.88
          Karamanos, Benjamin                                        Check all that apply.
          6514 SW 50th Avenue                                           Contingent
          Portland, OR 97221                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,645.38 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $0.00 Non-priority accrued sick: $0.00 Priority
                                                                     accrued sick: $0.00 Unpaid Benefits: $235.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 18 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,522.63     $2,522.63
          Karamanos, John                                            Check all that apply.
          9239 NW Burntknoll COurt                                      Contingent
          Portland, OR 97229                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,816.15 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $0.00 Non-priority accrued sick: $0.00 Priority
                                                                     accrued sick: $0.00 Unpaid Benefits: $706.48
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,746.17     $1,746.17
          Khalifa, Yusef                                             Check all that apply.
          13926 SE Alimaria Dr                                          Contingent
          Clackamas, OR 97015                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $785.32 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $244.40 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $253.33 Unpaid Benefits:
                                                                     $463.12
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,609.18     $1,253.60
          Kunkel, Ashley                                             Check all that apply.
          1261 SE Olvera Place                                          Contingent
          Gresham, OR 97080                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $542.78 Non-priority accrued
                                                                     vacations: $321.54 Priority Vacation accrued
                                                                     $209.88 Non-priority accrued sick: $34.04
                                                                     Priority accrued sick: $253.92 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 19 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,866.04     $2,866.04
          Kuntzmann, Christopher                                     Check all that apply.
          1539 NE Vista Way                                             Contingent
          Gresham, OR 97030                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,434.78 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $557.63 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $86.38 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,367.51     $2,213.72
          Leek, Brian                                                Check all that apply.
          1412 Meadowlark Place                                         Contingent
          Molalla, OR 97038                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $964.84 Non-priority accrued
                                                                     vacations: $153.79 Priority Vacation accrued
                                                                     $416.72 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $315.02 Unpaid Benefits:
                                                                     $517.14
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,228.78     $1,228.78
          Levy-Center, Jacob                                         Check all that apply.
          9310 SE 65th Avenue                                           Contingent
          Milwaukie, OR 97222                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $743.45 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $147.56 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $90.75 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 20 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,665.55     $1,448.46
          Liborio, Arnold                                            Check all that apply.
          1973 SE 122nd Ave. #10                                        Contingent
          Portland, OR 97233                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $512.42 Non-priority accrued
                                                                     vacations: $96.39 Priority Vacation accrued
                                                                     $313.65 Non-priority accrued sick: $120.70
                                                                     Priority accrued sick: $375.36 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,739.34     $1,739.34
          Lockwood, Amanda                                           Check all that apply.
          1973 SE 122nd Ave. #10                                        Contingent
          Portland, OR 97233                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,503.84 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $0.00 Non-priority accrued sick: $0.00 Priority
                                                                     accrued sick: $0.00 Unpaid Benefits: $235.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $14,434.08     $3,153.74
          Love, Levi                                                 Check all that apply.
          10713 NE 88th Street                                          Contingent
          Vancouver, WA 98662                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $883.94 Non-priority accrued
                                                                     vacations: $1,948.41 Priority Vacation accrued
                                                                     $965.66 Non-priority accrued sick: $9,331.93
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 21 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,079.17     $3,079.17
          Matison, Jacob                                             Check all that apply.
          18340 SW Wheeler Crt                                          Contingent
          Aloha, OR 97078                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,694.47 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $512.27 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $85.18 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $9,452.42     $4,721.65
          McCarthy, Tara                                             Check all that apply.
          18168 Newell Crest Dr                                         Contingent
          Oregon City, OR 97045                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $3,042.30 Non-priority accrued
                                                                     vacations: $3,829.62 Priority Vacation accrued
                                                                     $520.77 Non-priority accrued sick: $901.15
                                                                     Priority accrued sick: $923.08 Unpaid Benefits:
                                                                     $235.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,483.36     $3,073.65
          Meyer, Zachary                                             Check all that apply.
          1460 SE Willow Drive, Suite A                                 Contingent
          Warrenton, OR 97146                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,738.82 Non-priority accrued
                                                                     vacations: $191.73 Priority Vacation accrued
                                                                     $388.08 Non-priority accrued sick: $217.98
                                                                     Priority accrued sick: $483.63 Unpaid Benefits:
                                                                     $463.12
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 22 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,759.89     $1,759.89
          Murutes, Michael                                           Check all that apply.
          21322 NE Weidler Cir                                          Contingent
          Fairview, OR 97024                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $683.79 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $305.83 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $253.13 Unpaid Benefits:
                                                                     $517.14
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $9,278.12     $6,123.87
          Nass, Kari                                                 Check all that apply.
          12575 SW Pathfinder Ct                                        Contingent
          Tigard, OR 97223                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $2,936.53 Non-priority accrued
                                                                     vacations: $1,970.99 Priority Vacation accrued
                                                                     $2,060.50 Non-priority accrued sick: $1,183.26
                                                                     Priority accrued sick: $891.35 Unpaid Benefits:
                                                                     $235.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $11,553.32     $4,639.67
          Neilan, Brigg                                              Check all that apply.
          24050 SE Stark St. Atp 1033                                   Contingent
          Gresham, OR 97030                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $2,335.06 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $1,302.52 Non-priority accrued sick: $6,913.64
                                                                     Priority accrued sick: $538.97 Unpaid Benefits:
                                                                     $463.12
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 23 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          ODR                                                        Check all that apply.
          ATTN: Bankruptcy Unit                                         Contingent
          955 Center St NE                                              Unliquidated
          Salem, OR 97301                                               Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Precautionary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          ODR                                                        Check all that apply.
          c/o Ellen Rosenblum, Attorney                                 Contingent
          General                                                       Unliquidated
          Oregon Department of Justice                                  Disputed
          1162 Court St, NE
          Salem, OR 97301-4096
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,534.29     $1,534.29
          Oliveria, Christopher                                      Check all that apply.
          51726 SW Old Portland Rd                                      Contingent
          Scappoose, OR 97056                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $831.51 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $397.75 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $58.00 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          Oregon Employment Department                               Check all that apply.
          875 Union Street NE                                           Contingent
          Salem, OR 97311                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Precautionary
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 24 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,052.79     $3,052.79
          Palaoro, Jeromie                                           Check all that apply.
          19462 S Wild Bill Ct                                          Contingent
          Oregon City, OR 97045                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,646.20 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $282.69 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $336.65 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,605.11     $1,980.04
          Paris, Christopher                                         Check all that apply.
          11828 Southeast Pine Street                                   Contingent
          Portland, OR 97216                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $741.72 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $546.82 Non-priority accrued sick: $1,625.07
                                                                     Priority accrued sick: $456.00 Unpaid Benefits:
                                                                     $235.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,990.51     $2,990.51
          Pennick, Doug                                              Check all that apply.
          2606 E 26th Street                                            Contingent
          Vancouver, WA 98661                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,276.20 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $1,047.68 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $419.61 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 25 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $349.42     $349.42
          Pennick, Evan                                              Check all that apply.
          410 SE 95th Ave                                               Contingent
          Vancouver, WA 98664                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $349.42 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $0.00 Non-priority accrued sick: $0.00 Priority
                                                                     accrued sick: $0.00 Unpaid Benefits: $0.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,851.86     $2,851.86
          Pennick, Justin                                            Check all that apply.
          410 SE 95th Ave                                               Contingent
          Vancouver, WA 98664                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $609.31 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $1,295.97 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $159.33 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.79     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,736.82     $6,668.17
          Pennick, Kevin                                             Check all that apply.
          2760 NE 7th Avenue                                            Contingent
          Portland, OR 97212                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,970.52 Non-priority accrued
                                                                     vacations: $1,613.65 Priority Vacation accrued
                                                                     $3,235.86 Non-priority accrued sick: $2,455.00
                                                                     Priority accrued sick: $674.54 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 26 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.80     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $958.38     $906.76
          Peralta, Benjamin                                          Check all that apply.
          16575 Bonaire Ave                                             Contingent
          Lake Oswego, OR 97305                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages:- $50.00 Non-priority accrued vacations:
                                                                     $51.62 Priority Vacation accrued $138.91
                                                                     Non-priority accrued sick: $0.00 Priority
                                                                     accrued sick: $302.05 Unpaid Benefits:
                                                                     $515.79
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.81     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,001.62     $1,001.62
          Perez, Michael                                             Check all that apply.
          17407 SW Inkster Dr                                           Contingent
          Sherwood, OR 97140                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $531.83 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $123.63 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $99.13 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (3)
                                                                        Yes


 2.82     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $9,936.98     $8,130.02
          Petersen, David                                            Check all that apply.
          9406 NE 26th Ct                                               Contingent
          Vancouver, WA 98665                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $3,280.77 Non-priority accrued
                                                                     vacations: $973.08 Priority Vacation accrued
                                                                     $3,127.38 Non-priority accrued sick: $833.88
                                                                     Priority accrued sick: $1,015.38 Unpaid
                                                                     Benefits: $706.48
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 27 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.83     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $11,766.77     $4,555.08
          Peterson, Wayne                                            Check all that apply.
          200 Main Street                                               Contingent
          Fairview, OR 97009                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,151.02 Non-priority accrued
                                                                     vacations: $1,619.74 Priority Vacation accrued
                                                                     $2,370.03 Non-priority accrued sick: $5,591.95
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $517.14
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.84     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,001.39     $3,691.67
          Phillips, Douglas                                          Check all that apply.
          11625 SW 5th St., #1                                          Contingent
          Beaverton, OR 97005                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,849.72 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $1,078.03 Non-priority accrued sick: $309.71
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.85     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,165.81     $2,165.81
          Pickens, Belinda                                           Check all that apply.
          PO Box 6324                                                   Contingent
          Vancouver, WA 98668                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,008.99 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $437.83 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $201.85 Unpaid Benefits:
                                                                     $517.14
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 28 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.86     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,454.16     $4,093.16
          Pierce, Michael                                            Check all that apply.
          54703 Brodala Way                                             Contingent
          Scappoose, OR 97056                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,413.64 Non-priority accrued
                                                                     vacations: $2,654.83 Priority Vacation accrued
                                                                     $1,353.29 Non-priority accrued sick: $3,706.17
                                                                     Priority accrued sick: $538.97 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.87     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,428.28     $1,334.20
          Pingo, Ryan                                                Check all that apply.
          6437 SE 137th Ave                                             Contingent
          Portland, OR 97236                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $563.56 Non-priority accrued
                                                                     vacations: $94.08 Priority Vacation accrued
                                                                     $274.40 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $33.12 Unpaid Benefits:
                                                                     $463.12
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.88     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $5.40     $5.40
          Pingo, Ryan                                                Check all that apply.
          6437 SE 137th Ave                                             Contingent
          Portland, OR 97236                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Uncashed payroll check #40649
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 29 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.89     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $7,326.76     $4,054.74
          Piper, Steven                                              Check all that apply.
          13447 SE Bush St                                              Contingent
          Portland, OR 97236                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,108.11 Non-priority accrued
                                                                     vacations: $2,710.41 Priority Vacation accrued
                                                                     $1,912.60 Non-priority accrued sick: $561.61
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $517.14
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.90     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $6,112.44     $4,718.16
          Pommerening, Jordan                                        Check all that apply.
          315 SE 40th St.                                               Contingent
          Troutdale, OR 97060                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $2,588.46 Non-priority accrued
                                                                     vacations: $1,394.28 Priority Vacation accrued
                                                                     $620.24 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $802.98 Unpaid Benefits:
                                                                     $706.48
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.91     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $14,690.49     $5,028.29
          Prather, Dean                                              Check all that apply.
          782 Moneda Ct N                                               Contingent
          Keizer, OR 97303                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,740.24 Non-priority accrued
                                                                     vacations: $4,048.95 Priority Vacation accrued
                                                                     $1,925.62 Non-priority accrued sick: $5,613.25
                                                                     Priority accrued sick: $575.18 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 30 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.92     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,119.68     $1,119.68
          Price, James                                               Check all that apply.
          1331 N Sarstoga St                                            Contingent
          Portland, OR 97217                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $257.54 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $388.09 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $227.02 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.93     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,634.29     $5,331.79
          Quinton, Hunter                                            Check all that apply.
          2056 SE 113th Ave                                             Contingent
          Portland, OR 97216                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $2,430.77 Non-priority accrued
                                                                     vacations: $217.81 Priority Vacation accrued
                                                                     $1,734.06 Non-priority accrued sick: $84.69
                                                                     Priority accrued sick: $750.00 Unpaid Benefits:
                                                                     $416.96
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.94     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,293.68     $4,257.65
          Rardin, Edward                                             Check all that apply.
          2340 NE Rene Ave                                              Contingent
          Gresham, OR 97030                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,223.04 Non-priority accrued
                                                                     vacations: $306.20 Priority Vacation accrued
                                                                     $1,730.47 Non-priority accrued sick: $5,729.83
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 31 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.95     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $15,469.32     $4,674.97
          Raya, Stephen                                              Check all that apply.
          3675 SE Brendon Ct                                            Contingent
          Milwaukie, OR 97267                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,910.47 Non-priority accrued
                                                                     vacations: $2,045.80 Priority Vacation accrued
                                                                     $1,730.47 Non-priority accrued sick: $8,748.55
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $517.14
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.96     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,224.84     $2,224.84
          Reed, Michael                                              Check all that apply.
          2570 NE Timothy Ln                                            Contingent
          Hillsboro, OR 97124                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,528.18 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $299.27 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $150.37 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.97     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,539.97     $1,513.28
          Regala, Reynato                                            Check all that apply.
          10 NE 162nd Avenue, Apt #23                                   Contingent
          Portland, OR 97230                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $110.03 Non-priority accrued
                                                                     vacations: $26.69 Priority Vacation accrued
                                                                     $648.46 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $507.76 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 32 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.98     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,901.48     $1,678.96
          Revelle, Kayla                                             Check all that apply.
          35739 E Crown Point Hwy                                       Contingent
          Corbett, OR 97019                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $807.13 Non-priority accrued
                                                                     vacations: $222.52 Priority Vacation accrued
                                                                     $564.93 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $59.87 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.99     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,781.62     $2,953.88
          Richards, Michael                                          Check all that apply.
          12705 SE Gladstone St                                         Contingent
          Portland, OR 97236                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,547.67 Non-priority accrued
                                                                     vacations: $27.96 Priority Vacation accrued
                                                                     $511.43 Non-priority accrued sick: $799.79
                                                                     Priority accrued sick: $431.66 Unpaid Benefits:
                                                                     $463.12
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.100    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,645.97     $2,645.97
          Robertson, Mary                                            Check all that apply.
          7415 N Fessenden St                                           Contingent
          Portland, OR 97203                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $624.13 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $1,449.84 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $155.04 Unpaid Benefits:
                                                                     $416.96
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 33 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.101    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,078.63     $4,307.74
          Rodda, Richard                                             Check all that apply.
          6009 NE #9th Street                                           Contingent
          Vancouver, WA 98661                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,177.15 Non-priority accrued
                                                                     vacations: $770.89 Priority Vacation accrued
                                                                     $1,917.75 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $425.59 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.102    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,607.37     $3,143.91
          Rodriguez, Katie                                           Check all that apply.
          7767 SE Harrison St.                                          Contingent
          Milwaukie, OR 97222                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,888.46 Non-priority accrued
                                                                     vacations: $181.97 Priority Vacation accrued
                                                                     $443.03 Non-priority accrued sick: $281.49
                                                                     Priority accrued sick: $576.92 Unpaid Benefits:
                                                                     $235.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.103    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,332.56     $1,332.56
          Ryan, Patrick                                              Check all that apply.
          2620 SW Hume St                                               Contingent
          Portland, OR 97219                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $593.86 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $267.84 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $235.36 Unpaid Benefits:
                                                                     $235.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 34 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.104    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,094.82     $4,728.88
          Salvage, Joshua                                            Check all that apply.
          22920 W Bluff Dr                                              Contingent
          West Linn, OR 97068                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $2,396.15 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $876.25 Non-priority accrued sick: $365.94
                                                                     Priority accrued sick: $750.00 Unpaid Benefits:
                                                                     $706.48
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.105    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $14,249.62     $3,815.24
          Sammons, Matthew                                           Check all that apply.
          42706 Hillcrest Loop Road                                     Contingent
          Astoria, OR 97103                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,934.61 Non-priority accrued
                                                                     vacations: $5,086.98 Priority Vacation accrued
                                                                     $1,174.15 Non-priority accrued sick: $5,347.39
                                                                     Priority accrued sick: $0.00 Unpaid Benefits:
                                                                     $706.48
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.106    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $618.00     $618.00
          Sampson, Jack                                              Check all that apply.
          4549 SE Knapp St                                              Contingent
          Portland, OR 97206                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $618.00 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $0.00 Non-priority accrued sick: $0.00 Priority
                                                                     accrued sick: $0.00 Unpaid Benefits: $0.00
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 35 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.107    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,785.61     $1,640.43
          Satanand, Steven                                           Check all that apply.
          1608 NE Failing St                                            Contingent
          Portland, OR 97212                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $701.84 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $316.20 Non-priority accrued sick: $145.18
                                                                     Priority accrued sick: $375.36 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.108    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,742.97     $1,664.77
          Shepherd, Kristina                                         Check all that apply.
          8121 SE Woodstock Blvd                                        Contingent
          Portland, OR 97206                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $971.75 Non-priority accrued
                                                                     vacations: $78.20 Priority Vacation accrued
                                                                     $316.07 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $129.92 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.109    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $671.22     $671.22
          Sims, Emma                                                 Check all that apply.
          18200 NE Couch St., #219                                      Contingent
          Portland, OR 97230                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $359.81 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $0.00 Non-priority accrued sick: $0.00 Priority
                                                                     accrued sick: $64.38 Unpaid Benefits: $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 36 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.110    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,113.47     $2,076.21
          Siquina, Agustin                                           Check all that apply.
          8925 N Newell Ave, Apt# 106                                   Contingent
          Portland, OR 97203                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $521.35 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $469.53 Non-priority accrued sick: $37.26
                                                                     Priority accrued sick: $298.08 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.111    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,226.20     $2,735.29
          Siquina, Juan                                              Check all that apply.
          8316 N Lombard PMB 296                                        Contingent
          Portland, OR 97203                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $567.09 Non-priority accrued
                                                                     vacations: $336.64 Priority Vacation accrued
                                                                     $864.06 Non-priority accrued sick: $154.27
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.112    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $14,918.25     $4,206.77
          Smith, Roger                                               Check all that apply.
          548 Bryant Hill Rd                                            Contingent
          Woodland, WA 98674                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,070.05 Non-priority accrued
                                                                     vacations: $2,564.10 Priority Vacation accrued
                                                                     $2,102.69 Non-priority accrued sick: $8,147.38
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $517.14
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 37 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.113    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,338.19     $2,220.04
          Souvanna, Luang                                            Check all that apply.
          20615 SW Ravenswood St                                        Contingent
          Beaverton, OR 97078                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $724.91 Non-priority accrued
                                                                     vacations: $118.15 Priority Vacation accrued
                                                                     $450.16 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $257.72 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.114    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $9,942.80     $3,488.43
          Spady, Gregory                                             Check all that apply.
          PO Box 87508                                                  Contingent
          Vancouver, WA 98687                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,093.81 Non-priority accrued
                                                                     vacations: $3,599.52 Priority Vacation accrued
                                                                     $1,360.59 Non-priority accrued sick: $2,854.85
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $517.14
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.115    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $16,447.55     $6,691.76
          Speer, Michael                                             Check all that apply.
          165 SW Gabbert Road                                           Contingent
          Gresham, OR 97080                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $3,200.00 Non-priority accrued
                                                                     vacations: $1,179.78 Priority Vacation accrued
                                                                     $3,020.77 Non-priority accrued sick: $8,576.01
                                                                     Priority accrued sick: $0.00 Unpaid Benefits:
                                                                     $470.99
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 38 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.116    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,893.19     $2,893.19
          Spurdy, Aaron                                              Check all that apply.
          470 NW Bella Vista Dr                                         Contingent
          Gresham, OR 97030                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $2,657.69 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $0.00 Non-priority accrued sick: $0.00 Priority
                                                                     accrued sick: $0.00 Unpaid Benefits: $235.50
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.117    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $764.17     $764.17
          Trogdon, Michael                                           Check all that apply.
          33201 SE Kelson Rd                                            Contingent
          Boring, OR 97009                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages:- $23.08 Non-priority accrued vacations:
                                                                     $0.00 Priority Vacation accrued $0.00
                                                                     Non-priority accrued sick: $0.00 Priority
                                                                     accrued sick: $0.00 Unpaid Benefits: $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.118    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $8,062.12     $3,644.42
          Vinyard, Michael                                           Check all that apply.
          15504 NE 48th St.                                             Contingent
          Vancouver, WA 98682                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,081.05 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $1,259.22 Non-priority accrued sick: $4,417.70
                                                                     Priority accrued sick: $516.89 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 39 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.119    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,351.36     $1,252.23
          Weatherly, Marylyn                                         Check all that apply.
          15631 S Tioga Rd                                              Contingent
          Oregon City, OR 97045                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $534.64 Non-priority accrued
                                                                     vacations: $99.13 Priority Vacation accrued
                                                                     $313.82 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $156.74 Unpaid Benefits:
                                                                     $247.03
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.120    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,493.21     $3,879.36
          Welch, Marcus                                              Check all that apply.
          10211 SE Clinton St                                           Contingent
          Portland, OR 97266                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $2,238.46 Non-priority accrued
                                                                     vacations: $218.37 Priority Vacation accrued
                                                                     $531.63 Non-priority accrued sick: $395.48
                                                                     Priority accrued sick: $692.31 Unpaid Benefits:
                                                                     $416.96
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.121    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,745.41     $2,489.56
          Williams, Anthony                                          Check all that apply.
          12807 SE Cooper St                                            Contingent
          Portland, OR 97236                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $1,336.92 Non-priority accrued
                                                                     vacations: $119.51 Priority Vacation accrued
                                                                     $314.16 Non-priority accrued sick: $136.34
                                                                     Priority accrued sick: $375.36 Unpaid Benefits:
                                                                     $463.12
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 40 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.122    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,213.60     $2,701.32
          Williams, Mattison                                         Check all that apply.
          6635 N Columbia Way                                           Contingent
          Portland, OR 97203                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $708.54 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $1,002.84 Non-priority accrued sick: $512.27
                                                                     Priority accrued sick: $526.83 Unpaid Benefits:
                                                                     $463.12
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.123    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,517.02     $2,371.55
          Windsor, Marc                                              Check all that apply.
          3136 SE 175th Place                                           Contingent
          Portland, OR 97236                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $627.48 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $615.68 Non-priority accrued sick: $1,145.46
                                                                     Priority accrued sick: $341.14 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.124    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $12,862.74     $2,992.07
          Winters, John                                              Check all that apply.
          18621 Boynton St                                              Contingent
          Oregon City, OR 97045                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Wages: $2,114.99 Non-priority accrued
                                                                     vacations: $5,021.63 Priority Vacation accrued-
                                                                     $449.14 Non-priority accrued sick: $4,849.05
                                                                     Priority accrued sick: $538.97 Unpaid Benefits:
                                                                     $787.25
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 41 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                            Case number (if known)   18-31644-pcm11
              Name

 2.125     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $8,030.51        $8,030.51
           Wolf, Richard                                             Check all that apply.
           388 South 10th Street                                        Contingent
           Kalama, WA 98625                                             Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages: $4,511.53 Non-priority accrued
                                                                     vacations: $0.00 Priority Vacation accrued
                                                                     $1,848.46 Non-priority accrued sick: $0.00
                                                                     Priority accrued sick: $964.04 Unpaid Benefits:
                                                                     $706.48
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.126     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $10,091.92        $4,113.01
           Wright, Frank                                             Check all that apply.
           13232 SE Bush Street                                         Contingent
           Portland, OR 97236                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages: $1,085.66 Non-priority accrued
                                                                     vacations: $368.24 Priority Vacation accrued
                                                                     $2,097.77 Non-priority accrued sick: $5,610.67
                                                                     Priority accrued sick: $142.33 Unpaid Benefits:
                                                                     $787.25
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.127     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $15,352.76        $4,275.61
           Young, Troy                                               Check all that apply.
           11545 SE Lincoln Ct                                          Contingent
           Portland, OR 97216                                           Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Wages: $1,778.78 Non-priority accrued
                                                                     vacations: $4,881.62 Priority Vacation accrued
                                                                     $1,396.56 Non-priority accrued sick: $6,195.52
                                                                     Priority accrued sick: $583.13 Unpaid Benefits:
                                                                     $517.14
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 42 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy



                                              Case 18-31644-pcm11                              Doc 152               Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $22,638.00
          48forty Solutions, LLC                                                Contingent
          PO Box 849729                                                         Unliquidated
          Dallas, TX 75284-9729                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $680.33
          A & I Distributors                                                    Contingent
          P O Box 1999                                                          Unliquidated
          Billings, MT 59103                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       0347
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,617.50
          A&E Conveyor Systems                                                  Contingent
          121 P Rickman Industrial Drive                                        Unliquidated
          Canton, GA 30115                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $183.84
          Access Information Holdings, LLC                                      Contingent
          P O Box 398306                                                        Unliquidated
          San Francisco, CA 94139-8306                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,957.43
          Accountemps                                                           Contingent
          P O Box 743295                                                        Unliquidated
          Los Angeles, CA 90074-3295                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $52.00
          Acranet-Clearstar                                                     Contingent
          521 West Maxwell Avenue                                               Unliquidated
          Spokane, WA 99201-2417                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       1846
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,057.63
          ADM Corn Processing Division                                          Contingent
          PO Box 95202                                                          Unliquidated
          Grapevine, TX 76099                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 43 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $755.05
          Aflac Group Insurance                                                 Contingent
          PO Box 84069                                                          Unliquidated
          Columbus, GA 31908-4069                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       5Z00
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,069.80
          Airgas                                                                Contingent
          P O Box 951873                                                        Unliquidated
          Dallas, TX 75395-1873                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       1006
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $89.68
          Albina Fuel                                                           Contingent
          801 Main Street                                                       Unliquidated
          Vancouver, WA 98660                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,689.20
          Allied Purshasing                                                     Contingent
          PO Box 1249                                                           Unliquidated
          Mason City, IA 50402-1249                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,975.03
          Alpine Food Distributing                                              Contingent
          PO Box 22529                                                          Unliquidated
          Milwaukie, OR 97269-2529                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,190.50
          Amcane Sugar, LLC                                                     Contingent
          PO Box 674996                                                         Unliquidated
          Detroit, MI 48267-4996                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,072.22
          American Express                                                      Contingent
          P O Box 650448                                                        Unliquidated
          Dallas, TX 75265                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 44 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,047.00
          Americold Logistics LLC                                               Contingent
          25587 Network Place                                                   Unliquidated
          Chicago, IL 60673-1255                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $358.00
          Ametek Brookfield                                                     Contingent
          PO Box 419319                                                         Unliquidated
          Boston, MA 02241                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $64,326.63
          Andersen Plastics                                                     Contingent
          PO Box 310                                                            Unliquidated
          Battle Ground, WA 98604-0310                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       3944
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,882.06
          Applied Industrial Technologies                                       Contingent
          PO Box 100538                                                         Unliquidated
          Pasadena, CA 91189-0538                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       2201
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,445.00
          AS&P Billing Services                                                 Contingent
          PO Box 733746                                                         Unliquidated
          Dallas, TX 75373                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          AT & T                                                                Contingent
          P O Box 105068                                                        Unliquidated
          Atlanta, GA 30348                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    phone
          Last 4 digits of account number       1001
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $25.50
          Atlasta Lock & Safe CO., Inc.                                         Contingent
          702 SE Grand Ave                                                      Unliquidated
          Portland, OR 97214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 45 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $51.74
          Barry Callebaut USA LLC                                               Contingent
          28543 Network Place                                                   Unliquidated
          Chicago, IL 60673-1285                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       6134
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,508.27
          Benefithelp Solutions                                                 Contingent
          P O Box 5817                                                          Unliquidated
          Portland, Or 97228                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $116,919.00
          Bev Cap Management, LLC                                               Contingent
          120 W Virginia St Suite 200                                           Unliquidated
          Mckinney, TX 75069                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       NSHI
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $391.02
          Bluetarp Financial                                                    Contingent
          PO Box 105525                                                         Unliquidated
          Atlanta, GA 30348                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       0311
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $624.56
          Boiler & Combustion Service, Inc.                                     Contingent
          9350 NE Halsey                                                        Unliquidated
          Portland, OR 97220                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $178,513.89
          Boon Chapman                                                          Contingent
          9401 Amberglen Blvd                                                   Unliquidated
          Austin, TX 78729                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $233.56
          Camfil USA, Inc.                                                      Contingent
          3302 Solutions Center                                                 Unliquidated
          Chicago, IL 60677-3003                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       3000
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 46 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $51.53
          CenturyLink                                                           Contingent
          PO Box 91155                                                          Unliquidated
          Seattle, WA 98111-9255                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    phone
          Last 4 digits of account number       499B
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,117.31
          Charm Sciences, Inc.                                                  Contingent
          659 Andover St                                                        Unliquidated
          Lawrence, MA 01843                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,746.10
          CHEP Pallecon Solutions                                               Contingent
          PO Box 7408180                                                        Unliquidated
          Chicago, IL 60674-8180                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       7300
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $482.87
          CIT Technology Fin Serv, Inc.                                         Contingent
          PO Box 100706                                                         Unliquidated
          Pasadena, CA 91189                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,122.12
          Clatsop Fleet Service, Inc                                            Contingent
          2040 SE Airport Lane                                                  Unliquidated
          Warrenton, OR 97146                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,570.00
          Clow Roofing & Siding Inc.                                            Contingent
          434 N Tillamook Street                                                Unliquidated
          Portland, OR 97227                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $176.00
          Cole-Parmer Instrument Company, LLC                                   Contingent
          13927 Collections Center Drive                                        Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       7301
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 47 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $4.19
          Comcast                                                               Contingent
          PO Box 34744                                                          Unliquidated
          Seattle, WA 98124-1744                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Internet
          Last 4 digits of account number       4548
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $149.60
          Comcast                                                               Contingent
          PO Box 34744                                                          Unliquidated
          Seattle, WA 98124-1744                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Internet
          Last 4 digits of account number       4530
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $4.49
          Comcast                                                               Contingent
          PO Box 34744                                                          Unliquidated
          Seattle, WA 98124-1744                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Internet
          Last 4 digits of account number       6900
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,500.00
          Conan Fin Org, LLC                                                    Contingent
          17606 Sydni Ct                                                        Unliquidated
          Lake Oswego, OR 97035                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $297,506.79
          Country Lane Dairy                                                    Contingent
          18555 SW Teton Ave                                                    Unliquidated
          Tualatin, OR 97062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $15.26
          Courier Direct, Inc.                                                  Contingent
          PO Box 3448                                                           Unliquidated
          Tualatin, OR 97062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,880.00
          Crest Foods                                                           Contingent
          PO Box 371                                                            Unliquidated
          Ashton, IL 61006                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       Crest Foods
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 48 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,055.77
          CRS Data Solutions                                                    Contingent
          PO Box 2764                                                           Unliquidated
          Portland, OR 97208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,521.52
          Daco Corporation                                                      Contingent
          8825 S 184th Street                                                   Unliquidated
          Kent, WA 98031-1232                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       0011
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,679.20
          Dairy Connection Inc.                                                 Contingent
          501 Tasman Street Suite B                                             Unliquidated
          Madison, WI 53714                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $255,547.72
          Danisco USA, Inc                                                      Contingent
          PO Box 32020                                                          Unliquidated
          New York, NY 10087-2020                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       Danisco
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,311.74
          Dejarnett Sales, Inc.                                                 Contingent
          45 82nd Drive, Suite 49                                               Unliquidated
          Gladstone, OR 97027                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       0000
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70,345.28
          Domino Foods, Inc                                                     Contingent
          PO Box 79066                                                          Unliquidated
          City Of Industry, CA 91716-9066                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account
          number Domino Foods,              Inc.                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,688.00
          DSM Nutritional Products, Inc.                                        Contingent
          3927 Collection Center Drive                                          Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 49 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,775.64
          Eberhards                                                             Contingent
          P O Box 845                                                           Unliquidated
          Redmond, OR 97756                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,855.08
          Edgar A. Weber & Company                                              Contingent
          PO Box 546                                                            Unliquidated
          Wheeling, IL 60090                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       6664
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,758.95
          Electric, Inc.                                                        Contingent
          PO Box 820386                                                         Unliquidated
          Vancouver, WA 98604                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,978.00
          Ellima Discovery, Inc                                                 Contingent
          390 N Sepulveda Blvd Suite 2080                                       Unliquidated
          El Segundo, CA 90245                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,475.00
          Elution Technologies                                                  Contingent
          480 Hercules Drive                                                    Unliquidated
          Colchester, VT 05446                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       4270
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $200,253.24
          Ernest Packaging Solutions                                            Contingent
          9255 NE Alderwood Rd.                                                 Unliquidated
          Portland, OR 97220                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,450.75
          Eurofins DQCI, LLC                                                    Contingent
          PO Box 11407                                                          Unliquidated
          Birmingham, AL 35246-5569                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 50 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,680.87
          EverFresh Fruit Co.                                                   Contingent
          PO Box 1177                                                           Unliquidated
          Sandy, OR 97055                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,108.20
          Evergreen Packaging Inc.                                              Contingent
          PO Box 845430                                                         Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,052.00
          Exova #774214                                                         Contingent
          4214 Solutions Center                                                 Unliquidated
          Chicago, IL XXX-XX-XXXX                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       N009
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,261.72
          Express Personnel Services                                            Contingent
          PO Box 4427                                                           Unliquidated
          Portland, OR 01003-4427                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,018.40
          F&H Food Equipment Co.                                                Contingent
          PO Box 3985                                                           Unliquidated
          Springfield, MO 65808                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,913.60
          Far West Distributors, Inc.                                           Contingent
          PO BOX 39000                                                          Unliquidated
          San Francisco, CA 94139                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $945.00
          Farm Power Misty Meadow, LLC                                          Contingent
          1934 S Wall St                                                        Unliquidated
          Mount Vernon, WA 98273                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 51 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,555.00
          Farm Power Tillamook, LLC                                             Contingent
          1934 South Wall St                                                    Unliquidated
          Mount Vernon, WA 98273                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $138.12
          Fastenal                                                              Contingent
          P O Box 1286                                                          Unliquidated
          Winona, MN 55987-1286                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,326.71
          FEDEX                                                                 Contingent
          PO BOX 7221                                                           Unliquidated
          Pasadena, CA 91109                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       7878
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,829.28
          FEDEX FREIGHT                                                         Contingent
          PO BOX 21415                                                          Unliquidated
          Pasadena, CA 91185                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       7192
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,992.54
          Firmenich Inc.                                                        Contingent
          PO Box 7247-8502                                                      Unliquidated
          Philadelphia, PA 19170-8502                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $217.78
          Foodline Piping Products                                              Contingent
          225 Edgewood Avenue                                                   Unliquidated
          West Berlin, NJ 08091                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       NS10
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $701.92
          Ford Motor Credit Co.                                                 Contingent
          PO Box 552679                                                         Unliquidated
          Detroit, MI 48255-2679                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       6869
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 52 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,056.90
          Gillco Ingredients                                                    Contingent
          1701 La Costa Meadows Drive                                           Unliquidated
          San Marcos, CA 92078                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,429.32
          Ginger People                                                         Contingent
          215 Reindollar Ave                                                    Unliquidated
          Marina, CA 93933                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,970.00
          Givaudan                                                              Contingent
          1199 Edison Ave                                                       Unliquidated
          Cincinnati, OH 45216                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,100.00
          Glorybee Foods, Inc.                                                  Contingent
          PO Box 2744                                                           Unliquidated
          Eugene, OR 97402                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       3079
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,232.61
          GNT USA, Inc.                                                         Contingent
          660 White Plains Road                                                 Unliquidated
          Tarrytown, NY 10591                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,856.20
          Grainger                                                              Contingent
          PO Box 419267                                                         Unliquidated
          Kansas City, MO 64141-6267                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       9224
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,706.03
          Graphic Packaging International Inc.                                  Contingent
          PO Box 404170                                                         Unliquidated
          Atlanta, GA 30384-4170                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 53 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,466.38
          Greiner Packaging Corp.                                               Contingent
          225 Enterprise Way                                                    Unliquidated
          Pittston, PA 18640                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $142,929.55
          Grupo Phoenix                                                         Contingent
          18851 NE 29th Ave, Suite 601                                          Unliquidated
          Aventura, FL 33180                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $364.04
          Harrington Industrial Plastics                                        Contingent
          PO Box 5128                                                           Unliquidated
          Chino, CA 91708                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70,371.16
          High Desert Milk, Inc.                                                Contingent
          1033 Idaho St                                                         Unliquidated
          Burley, ID 83318                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $549.40
          Hilton Supply Management                                              Contingent
          350 North Orleans Street                                              Unliquidated
          Chicago, IL 60654                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,734.04
          Hygiena LLC                                                           Contingent
          1801 W Olympic Blvd                                                   Unliquidated
          Pasadena, CA 91199-2007                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       4502
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,870.23
          Idaho Milk Products Inc.                                              Contingent
          2249 South Tiger Drive                                                Unliquidated
          Jerome, ID 83338                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 54 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,640.00
          Independent Retirement Consult                                        Contingent
          6500 SW Macadam Avenue, Suite 185                                     Unliquidated
          Portland, OR 97239                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $663.08
          Indoor Billboard/NW                                                   Contingent
          PO Box 17555                                                          Unliquidated
          Portland, OR 97217-0555                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       2654
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,890.16
          Ingredion                                                             Contingent
          PO Box 742206                                                         Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $565.72
          Inspired Results                                                      Contingent
          3437 Monumentum Place                                                 Unliquidated
          Chicago, IL 60689                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.00
          iPROMOTEu                                                             Contingent
          Dept LA 23232                                                         Unliquidated
          Pasadena, CA 91185                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,460.00
          iTi Tropicals, Inc.                                                   Contingent
          1 Walnut Grove Drive                                                  Unliquidated
          Horsham, PA 19044-2201                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,638.00
          J&D Refrigerated Services                                             Contingent
          PO Box 1605                                                           Unliquidated
          Clackamas, OR 97015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 55 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $420.93
          Jogue Inc./Northville Labs                                            Contingent
          PO Box 190                                                            Unliquidated
          Northwille, MI 48167                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,567.20
          Jubitz Fleet Services                                                 Contingent
          PO Box 11251                                                          Unliquidated
          Portland, OR 97211-1251                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       0493
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $52.00
          Jubitz Travel Center                                                  Contingent
          PO Box 11133                                                          Unliquidated
          Portland, OR 97211-1133                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       5521
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $195,005.39
          Karamanos Holdings                                                    Contingent
          630 West Duarte Road, #208                                            Unliquidated
          Arcadia, CA 91007                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Contract Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $331.80
          Kerry Ingredients & Flavours                                          Contingent
          File 57038                                                            Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,884.00
          Key Bank National Association                                         Contingent
          11211 SW Fifth Ave., Suite 505                                        Unliquidated
          Portland, OR 97204                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,861.95
          Kidder Matthews                                                       Contingent
          One SW Columbia St., Ste 950                                          Unliquidated
          Portland, OR 97258                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 56 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,486.58
          Kool Pak, LLC                                                         Contingent
          PO Box 1450                                                           Unliquidated
          Minneapolis, MN 55485-7939                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100,950.43
          Lactalis American Group, Inc.                                         Contingent
          2376 S Park Avenue                                                    Unliquidated
          Buffalo, NY 14220                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NEW CREDITOR
          Last 4 digits of account number       0349                         Vendor
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,042.80
          Lamoule                                                               Contingent
          819 SE Grant St                                                       Unliquidated
          Portland, OR 97214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $739.50
          Landscape Management & Services                                       Contingent
          3511 NE 109th Avenue                                                  Unliquidated
          Vancouver, WA 98682                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $133,215.65
          Larsen's Creamery, Inc.                                               Contingent
          16940 SE 130th Avenue                                                 Unliquidated
          Clackamas, OR 97015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $150.82
          Les Schwab                                                            Contingent
          2952 NE Sandy Boulevard                                               Unliquidated
          Portland, OR 97232                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       1708
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,944.55
          Lochmead Dairy, Inc.                                                  Contingent
          1120 Ivy Street                                                       Unliquidated
          Junction City, OR 97448                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       537
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 57 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $143.68
          Loomis Armored Service, Inc.                                          Contingent
          Dept. Ch. 10500                                                       Unliquidated
          Palantine, IL 60055-0500                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       8191
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $87,784.56
          LTI, Inc.                                                             Contingent
          PO Box 34026                                                          Unliquidated
          Seattle, WA 98124-1026                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $534.70
          Lubrication Engineers, Inc.                                           Contingent
          PO Box 16025                                                          Unliquidated
          Wichita, KS 67216                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,117.06
          Lucas Foods, Inc.                                                     Contingent
          7272 SW Durham Road, Suite 400                                        Unliquidated
          Portland, OR 97224                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       2021
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $8,381.83
          Mackenzie                                                             Contingent
          PO Box 14310                                                          Unliquidated
          Portland, OR 97293                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $63.32
          Mallory Safety & Supply LLC                                           Contingent
          PO Box 2068                                                           Unliquidated
          Longview, WA 98632                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,339.80
          Mane Inc.                                                             Contingent
          Attn: Dept Ch 16555                                                   Unliquidated
          Palatine, IL 60055-6555                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       3884
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 58 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,094.13
          Maverick Welding Supplies Inc.                                        Contingent
          PO Box 1570                                                           Unliquidated
          Oregon City, OR 97045                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       2276
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $380,719.21
          Mayfield Farms, LLC                                                   Contingent
          18555 SW Teton Ave                                                    Unliquidated
          Tualatin, OR 97062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $143.88
          McGuire Bearing Company                                               Contingent
          947 SE Market Street                                                  Unliquidated
          Portland, OR 97214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       6515
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $482.29
          McMaster-Carr Supply Company                                          Contingent
          PO Box 7690                                                           Unliquidated
          Chicago, IL 60680-7690                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,185.54
          Measure-Tech, Inc.                                                    Contingent
          PO Box 499                                                            Unliquidated
          Ariel, WA 98603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,627.90
          Medosweet Farms of Oregon, Inc.                                       Contingent
          P O Box 749                                                           Unliquidated
          Kent, WA 98035                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,849.03
          Mercantum (U.S.) Corp.                                                Contingent
          225 Broadway, 37Th Floor                                              Unliquidated
          New York, NY 10007                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 59 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,414.00
          Metro Overhead Door                                                   Contingent
          2525 NE Columbia Boulevard                                            Unliquidated
          Portland, OR 97211-2053                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       0342
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $270.16
          Mettler Toledo                                                        Contingent
          22670 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,157.50
          Mettler-Toledo Safeline, Inc.                                         Contingent
          22677 Network Place                                                   Unliquidated
          Chicago, IL 60673-1226                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       1426
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $174.75
          Miller Paint Company                                                  Contingent
          PO Box 20609                                                          Unliquidated
          Portland, OR 97294                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       9502
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,033.47
          Minuteman Press Lloyd Center                                          Contingent
          1015 NE Broadway Street                                               Unliquidated
          Portland, OR 97232                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $45.84
          Mitchell Lewis & Staver Co.                                           Contingent
          9935 SW Commerce Circle                                               Unliquidated
          Wilsonville, OR 97070                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $160.00
          Mocon, Inc                                                            Contingent
          PO Box 1450 - NW 8244                                                 Unliquidated
          Minneapolis, MN 55485-8244                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 60 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,840.00
          Moss Adams LLP                                                        Contingent
          PO Box 101822                                                         Unliquidated
          Pasadena, CA 91189                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,183.05
          MRV Dairy Solutions                                                   Contingent
          26382 Via De Anza                                                     Unliquidated
          San Juan Capistrano, CA 92675                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $44.00
          Multnomah County Circuit Court                                        Contingent
          PO Box 78                                                             Unliquidated
          Portland, OR 97207                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,531.03
          Multnomah County Division of                                          Contingent
          P O Box 2716                                                          Unliquidated
          Portland, OR 97208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $500.00
          National Container Group                                              Contingent
          PO Box 5649                                                           Unliquidated
          Carol Stream, IL 60197-5649                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,233.40
          National Food Corporation                                             Contingent
          808 134th Street SW, Bldg. B, Suite 116                               Unliquidated
          Everett, WA 98204                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       0001
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,729.26
          Nelson Jameson                                                        Contingent
          PO Box 1147                                                           Unliquidated
          Marshfield, WI 54449-1147                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       0346
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 61 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,944.00
          Nestle Quality Assurance Inc.                                         Contingent
          445 State Street                                                      Unliquidated
          Fremont, MI 49413                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       1235
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $120.00
          Nestle USA                                                            Contingent
          PO Box 841933                                                         Unliquidated
          Dallas, TX 75284-1933                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       2889
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,125.10
          NIPR LLC                                                              Contingent
          718 Griffin Ave PMB 17                                                Unliquidated
          Enumclaw, WA 98022                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,422.68
          Nordson Corp                                                          Contingent
          11475 Lakefield Drive                                                 Unliquidated
          Duluth, GA 30097                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,409.24
          Northwest Control Company Inc.                                        Contingent
          PO Box 22919                                                          Unliquidated
          Portland, OR 97269                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       SUNSHI
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,958.00
          Northwest Food Processors Assoc.                                      Contingent
          P O Box 4300                                                          Unliquidated
          Portland, OR 97208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,570.18
          Northwest Natural Gas Company                                         Contingent
          PO Box 6017                                                           Unliquidated
          Portland, OR 97228-6017                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 62 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $702.00
          NuBiome, Inc.                                                         Contingent
          PO Box 60087                                                          Unliquidated
          Palo Alto, CA 94306                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,733.60
          NW Natural Gas                                                        Contingent
          PO Box 6017                                                           Unliquidated
          Portland, OR 97228-6017                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Gas
          Last 4 digits of account number       2354
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $15.52
          NW Natural Gas                                                        Contingent
          PO Box 6017                                                           Unliquidated
          Portland, OR 97228-6017                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Gas
          Last 4 digits of account number       5644
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $118.29
          NW Natural Gas                                                        Contingent
          PO Box 6017                                                           Unliquidated
          Portland, OR 97228-6017                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Gas
          Last 4 digits of account number       5529
                                                                             Is the claim subject to offset?     No       Yes

 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $61.75
          NW Natural Gas                                                        Contingent
          PO Box 6017                                                           Unliquidated
          Portland, OR 97228-6017                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Gas
          Last 4 digits of account number       5586
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,156.98
          NW Natural Gas                                                        Contingent
          PO Box 6017                                                           Unliquidated
          Portland, OR 97228-6017                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Gas
          Last 4 digits of account number       9750
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $873.61
          ODOT/MCTD                                                             Contingent
          3930 Fairview Industrial Dr SE                                        Unliquidated
          Salem, OR 97302                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 63 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,480.33
          Office Depot Credit Plan                                              Contingent
          P O Box 78004                                                         Unliquidated
          Phoenix, AZ 85062-8004                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       5268
                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $147.79
          Oil Filter Service Company                                            Contingent
          615 SE Market Street                                                  Unliquidated
          Portland, OR 97214-3522                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       0585
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,964.96
          Oilseeds                                                              Contingent
          8 Jackson St                                                          Unliquidated
          San Francisco, CA 94111                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,663.40
          Oregon Dairy Products Commission                                      Contingent
          10505 SW Barbur Blvd, Suite 201                                       Unliquidated
          Portland, OR 97219                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $50.00
          Oregon Department Of Agriculture                                      Contingent
          PO Box 4395, Unit 17                                                  Unliquidated
          Portland, OR 97208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,692.10
          Oregon Tilth, Inc.                                                    Contingent
          2525 SE 3rd Street                                                    Unliquidated
          Corvallis, OR 97333-1641                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,594.24
          Organic West Milk, Inc.                                               Contingent
          129 W Main Street                                                     Unliquidated
          Ripon, CA 95366                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 64 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,245.15
          Osgood Industries, Inc.                                               Contingent
          P.O. Box 71745                                                        Unliquidated
          Chicago, IL 60694                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       0181
                                                                             Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $789.75
          P & L Johnson Mechanical Inc.                                         Contingent
          PO Box 595                                                            Unliquidated
          Astoria, OR 97103                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,277.53
          Pacific Coast Americas, LLC                                           Contingent
          PO Box 168                                                            Unliquidated
          Monrovia, CA 91017                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $116,191.43
          Pacific Foods Of Oregon, Inc.                                         Contingent
          19480 SW 97th Ave                                                     Unliquidated
          Tualatin, OR 97062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,832.93
          Pacific Power                                                         Contingent
          1033 NE 6th Avenue                                                    Unliquidated
          Portland, OR 97256-0001                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $839.90
          Pacific Power                                                         Contingent
          1033 NE 6th Avenue                                                    Unliquidated
          Portland, OR 97256-0001                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Power
          Last 4 digits of account number       0014
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Pacific Power                                                         Contingent
          1033 NE 6th Avenue                                                    Unliquidated
          Portland, OR 97256-0001                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Power
          Last 4 digits of account number       0016
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 65 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,678.00
          Paul Brong Machine Works, Inc.                                        Contingent
          421 NE 12th Avenue                                                    Unliquidated
          Portland, OR 97232                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,423.00
          PB Leiner                                                             Contingent
          DEPT CH 19836                                                         Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,999.60
          PDF Seal                                                              Contingent
          503 Acorn St                                                          Unliquidated
          Deer Park, NY 11729                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Permacold Engineering Inc.                                            Contingent
          Attn: Shauna Ray                                                      Unliquidated
          2945 NE Argyle Street                                                 Disputed
          Portland, OR 97211
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,680.00
          Peter Finley Fry                                                      Contingent
          303 NW Uptown Terrace #1B                                             Unliquidated
          Portland, OR 97210                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,821.55
          Petes Milk Delivery, LLC                                              Contingent
          27441 68th Ave S                                                      Unliquidated
          Kent, WA 98032                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $270.00
          Pitney Bowes Purchase Power                                           Contingent
          PO Box 371874                                                         Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 66 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $796.31
          Platt Electric, Inc                                                   Contingent
          PO Box 418759                                                         Unliquidated
          Boston, MA 02241-8759                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $962.71
          Portland Disposal & Recycling Inc.                                    Contingent
          7202 NE 42nd Avenue                                                   Unliquidated
          Portland, OR 97218                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Garbage
          Last 4 digits of account number       954
                                                                             Is the claim subject to offset?     No       Yes

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,570.64
          Portland Disposal & Recycling Inc.                                    Contingent
          7202 NE 42nd Avenue                                                   Unliquidated
          Portland, OR 97218                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Garbage
          Last 4 digits of account number       6212
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $7.57
          Portland General Electric                                             Contingent
          PO Box 4438                                                           Unliquidated
          Portland, OR 97208-4438                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Power
          Last 4 digits of account number       6374
                                                                             Is the claim subject to offset?     No       Yes

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $304.16
          Portland General Electric                                             Contingent
          PO Box 4438                                                           Unliquidated
          Portland, OR 97208-4438                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Power
          Last 4 digits of account number       8490
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,412.85
          Portland General Electric                                             Contingent
          PO Box 4438                                                           Unliquidated
          Portland, OR 97208-4438                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Power
          Last 4 digits of account number       8390
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,194.99
          Portland General Electric                                             Contingent
          PO Box 4438                                                           Unliquidated
          Portland, OR 97208-4438                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Power
          Last 4 digits of account number       4964
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 67 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $94.44
          Portland General Electric                                             Contingent
          PO Box 4438                                                           Unliquidated
          Portland, OR 97208-4438                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Power
          Last 4 digits of account number       2727
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $789.99
          Portland General Electric                                             Contingent
          PO Box 4438                                                           Unliquidated
          Portland, OR 97208-4438                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Power
          Last 4 digits of account number       2735
                                                                             Is the claim subject to offset?     No       Yes

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $115.74
          Portland General Electric                                             Contingent
          PO Box 4438                                                           Unliquidated
          Portland, OR 97208-4438                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Power
          Last 4 digits of account number       3159
                                                                             Is the claim subject to offset?     No       Yes

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,688.53
          Portland General Electric                                             Contingent
          PO Box 4438                                                           Unliquidated
          Portland, OR 97208-4438                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Power
          Last 4 digits of account number       9720
                                                                             Is the claim subject to offset?     No       Yes

 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,725.73
          Portland General Electric                                             Contingent
          PO Box 4438                                                           Unliquidated
          Portland, OR 97208-4438                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Power
          Last 4 digits of account number       2180
                                                                             Is the claim subject to offset?     No       Yes

 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Portland General Electric                                             Contingent
          PO Box 4438                                                           Unliquidated
          Portland, OR 97208-4438                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Power
          Last 4 digits of account number       2180
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $73,347.47
          Portland Water Bureau                                                 Contingent
          PO Box 4216                                                           Unliquidated
          Portland, OR 97208-4216                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Water
          Last 4 digits of account number       7200
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 68 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $58,118.46
          Portland Water Bureau                                                 Contingent
          PO Box 4216                                                           Unliquidated
          Portland, OR 97208-4216                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Water
          Last 4 digits of account number       5100
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Portland Water Bureau                                                 Contingent
          PO Box 4216                                                           Unliquidated
          Portland, OR 97208-4216                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Water
          Last 4 digits of account number       TRLY
                                                                             Is the claim subject to offset?     No       Yes

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $889.85
          PPV, Inc.                                                             Contingent
          PO Box 5935, Drawer # 2254                                            Unliquidated
          Troy, MI 48007                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,310.20
          Pro Sales, Inc.                                                       Contingent
          917 Valley Ave NW                                                     Unliquidated
          Puyallup, WA 98371                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,417.34
          Pro-Western Plastics LTD                                              Contingent
          PO Box 261                                                            Unliquidated
          St. Albert, AB T8N 1N3                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account
          number Pro-Western            Plastics                             Is the claim subject to offset?     No       Yes

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $313.73
          Provvista                                                             Contingent
          PO Box 601154                                                         Unliquidated
          Pasadena, CA 91189-1154                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $159,055.16
          QCS Purchasing, LLC                                                   Contingent
          PO Box 87618                                                          Unliquidated
          Chicago, IL 60680-0618                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 69 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,116.75
          Quality Chekd Dairies, Inc.                                           Contingent
          PO Box 6500                                                           Unliquidated
          Chicago, IL 60680                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $161.51
          Recology                                                              Contingent
          1850 NE Lafayette Ave                                                 Unliquidated
          Mcminnville, OR 97128                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Garbage
          Last 4 digits of account number       9542
                                                                             Is the claim subject to offset?     No       Yes

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,927.34
          Reddaway Inc.                                                         Contingent
          26401 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,607.04
          Republic Services #472                                                Contingent
          PO Box 78829                                                          Unliquidated
          Phoenix, AZ 85062-8829                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,428.00
          Revive Brands                                                         Contingent
          3900 Cypress Dr                                                       Unliquidated
          Petaluma, CA 94954                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,001.70
          Rick Wolf                                                             Contingent
          388 S 10th St                                                         Unliquidated
          Kalama, WA 98625                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,189.00
          RMMJ Services Inc.                                                    Contingent
          3307 Evergreen Way, Ste. 707-231                                      Unliquidated
          Washougal, WA 98671                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 70 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,796.85
          Rogers Machinery Company Inc.                                         Contingent
          PO Box 230429                                                         Unliquidated
          Portland, OR 97281-0429                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $775.25
          Roto-Rooter                                                           Contingent
          28655 SW Boones Ferry Road                                            Unliquidated
          Wilsonville, OR 97070                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,569.74
          Rumiano Cheese Company                                                Contingent
          PO Box 863                                                            Unliquidated
          Willows, CA 95988                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $596.13
          Sanderson Safety Supply Co.                                           Contingent
          1101 SE 3rd Avenue                                                    Unliquidated
          Portland, OR 97214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,065.43
          Scott Laboratories, Inc.                                              Contingent
          PO Box 398198                                                         Unliquidated
          San Francisco, CA 94139-8198                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number       1043
                                                                             Is the claim subject to offset?     No       Yes

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38,505.81
          Sensient Flavors LLC                                                  Contingent
          5115 Sedge Blvd                                                       Unliquidated
          Hoffman Estates, IL 60192                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,329.34
          Separators Inc.                                                       Contingent
          Dept CH 19595                                                         Unliquidated
          Palatine, IL 60055                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 71 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,492.88
          Silliker, Inc.                                                        Contingent
          3155 Paysphere Circle                                                 Unliquidated
          Chicago, IL 60674                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,874.93
          Simplex Grinnell LP                                                   Contingent
          Dept. Ch. 10320                                                       Unliquidated
          Palatine, IL 60055-0320                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $487.68
          Smith Teamaker LLC                                                    Contingent
          110 SE Washington St                                                  Unliquidated
          Portland, OR 97214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,200.43
          Sorrento Lactalis, Inc.                                               Contingent
          2376 South Park Avenue                                                Unliquidated
          Buffalo, NY 14220                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $450.00
          Spring Valley Dairy Inc.                                              Contingent
          PO Box 20970                                                          Unliquidated
          Keizer, OR 97307-0970                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,460.60
          Springfield Creamery                                                  Contingent
          29440 Airport Road                                                    Unliquidated
          Eugene, OR 97402                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,783.19
          Statco Eng. & Fabricators                                             Contingent
          PO Box 29901                                                          Unliquidated
          Phoenix, AZ 85038-9001                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 72 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,871.47
          State Of Washington                                                   Contingent
          P O Box 47464                                                         Unliquidated
          Olympia, WA 98504                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $99,936.45
          Stiebrs Farms, Inc.                                                   Contingent
          PO Box 598                                                            Unliquidated
          Yelm, WA 98597                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,000.00
          Stoel Rives, LLP                                                      Contingent
          760 SW Ninth Ave, Suite 3000                                          Unliquidated
          Portland, OR 97205                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,425.04
          Stumptown Coffee Roasters                                             Contingent
          100 SE Salmon Street                                                  Unliquidated
          Portland, OR 97214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $348.00
          Sturm Elevator, Inc.                                                  Contingent
          PO Box 3008                                                           Unliquidated
          Clackamas, OR 97015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Summit Funding Group, Inc.                                            Contingent
          4680 Parkway Drive #300                                               Unliquidated
          Mason, OH 45040                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Alternate Address - Lease Creditor on Schedule G
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,811.75
          SVZ-USA Inc.                                                          Contingent
          1700 N Broadway Ave                                                   Unliquidated
          Othello, WA 99344                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 73 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $219.34
          Swank & Swine, LLC                                                    Contingent
          8630 SW Scholls Ferry Rd                                              Unliquidated
          Beaverton, OR 97005                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $437.80
          Sweet Oregon Berry Company                                            Contingent
          3005 Bypass Highway 18                                                Unliquidated
          Dayton, OR 97114                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $50.39
          Sygma-Portland                                                        Contingent
          13019 SE Jennifer St Suite 404                                        Unliquidated
          Clackamas, OR 97015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,214.61
          Taylor-Made Labels, Inc..                                             Contingent
          P O Box 1000, Dept 148                                                Unliquidated
          Memphis, TN 38148-0148                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,522.63
          TCF Equipment Finance                                                 Contingent
          11100 Wayzata Blvd, Ste 801                                           Unliquidated
          Hopkins, MN 55305                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $158,628.11
          Tetra Pak                                                             Contingent
          DEPT CH 10803                                                         Unliquidated
          Chicago, IL 60055-0803                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $529.80
          The Standard Steel Companies                                          Contingent
          PO Box 4828                                                           Unliquidated
          Portland, OR 97208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 74 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.80
          Thermo Fluids, Inc                                                    Contingent
          PO Box 7170                                                           Unliquidated
          Pasadena, CA 91109                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,554.89
          Tic Gums, Inc.                                                        Contingent
          4609 Richlunn Drive                                                   Unliquidated
          Belcamp, MD 21017                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,547.58
          Travelcard Commercial Fueling                                         Contingent
          PO Box 71458                                                          Unliquidated
          Springfield, OR 97475                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,312.00
          Tree Top Inc.                                                         Contingent
          PO Box 248                                                            Unliquidated
          Selah, WA 98942                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,164.25
          Tribeca Transport                                                     Contingent
          1415 Port Way                                                         Unliquidated
          Woodland, WA 98674                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,160.90
          UHF Purchasing - MHA Inc.                                             Contingent
          PO Box 789                                                            Unliquidated
          Florham Park, NJ 07932-0789                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,716.19
          Umpqua Dairy Products Co.                                             Contingent
          PO Box 1306                                                           Unliquidated
          Roseburg, OR 97470                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 75 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,287.25
          Unified Grocers                                                       Contingent
          PO Box 60064                                                          Unliquidated
          City Of Industry, CA 91716                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,218.00
          United Brands, Inc.                                                   Contingent
          170 Associated Road                                                   Unliquidated
          South San Francisco, CA 94080                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $145.87
          United Site Services of Nevada, Inc.                                  Contingent
          P O Box 53267                                                         Unliquidated
          Phoenix, AZ 85072                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,800.00
          University Of Nebraska-Lincoln                                        Contingent
          PO Box 886205                                                         Unliquidated
          Lincoln, NE 68588-6205                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $833.70
          UPS                                                                   Contingent
          PO Box 894820                                                         Unliquidated
          Los Angeles, CA 90189-4820                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $412,966.37
          Valley Falls Farm, LLC                                                Contingent
          18555 SW Teton Ave                                                    Unliquidated
          Tualatin, OR 97062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,533.70
          Ventura Foods, LLC                                                    Contingent
          2281 Shadetree Circle                                                 Unliquidated
          Brea, CA 92821                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 76 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $646.46
          Verizon                                                               Contingent
          PO Box 660108                                                         Unliquidated
          Dallas, TX 75266-0108                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Cell Phone
          Last 4 digits of account number       0001
                                                                             Is the claim subject to offset?     No       Yes

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,708.92
          Vivolac Cultures Corporation                                          Contingent
          6108 West Stoner Drive                                                Unliquidated
          Greenfield, IN 46140                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,500.00
          VMS Aseptic Filling                                                   Contingent
          PO Box 10252                                                          Unliquidated
          Largo, FL 33773                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $272.08
          Waste Management of Oregon                                            Contingent
          PO Box 541065                                                         Unliquidated
          Los Angeles, CA 90054-1065                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Garbage
          Last 4 digits of account number       3004
                                                                             Is the claim subject to offset?     No       Yes

 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,823.76
          Will H. Knox Company, Inc.                                            Contingent
          6034 NE 60th Avenue                                                   Unliquidated
          Portland, OR 97218                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $739.21
          Willamette View                                                       Contingent
          13021 SE River Rd                                                     Unliquidated
          Portland, OR 97222                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,890.06
          Windstream (Paetec)                                                   Contingent
          P O Box 9001013                                                       Unliquidated
          Louisville, KY 40290-1013                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    phone
          Last 4 digits of account number       0566
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 77 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                    Case number (if known)            18-31644-pcm11
              Name

 3.246     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $5,953.70
           Wymore Transfer Company, Inc                                         Contingent
           PO Box 519                                                           Unliquidated
           Clackamas, OR 97015                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.247     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $5,304.10
           Xenium Resources                                                     Contingent
           7401 SW Washo Court, Suite 200                                       Unliquidated
           Tualatin, OR 97062                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.248     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $174.04
           XPO Logistics                                                        Contingent
           PO Box 5160                                                          Unliquidated
           Portland, OR 97208-5160                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.249     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $27,502.05
           Zentis North America, LLC                                            Contingent
           75 Remittance Drive Suite 6026                                       Unliquidated
           Chicago, IL 60675-6026                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any
 4.1       Country Lane Dairy
           c/o Keystone-Pacific, LLC                                                                  Line     3.40
           Kaye N. Barnes, RA
                                                                                                             Not listed. Explain
           9955 SW Potano St
           Tualatin, OR 97062

 4.2       EverBank Commerical Finance
           10 Waterview Blvd                                                                          Line     3.216                                7061
           Parsippany, NJ 07054
                                                                                                             Not listed. Explain

 4.3       Mayfield Farms, LLC
           c/o Keystone-Pacific, LLC                                                                  Line     3.114
           Kaye N. Barnes, RA
                                                                                                             Not listed. Explain
           9955 SW Potano St
           Tualatin, OR 97062




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 78 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152                Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                Case number (if known)        18-31644-pcm11
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the     Last 4 digits of
                                                                                                 related creditor (if any) listed?           account number, if
                                                                                                                                             any
 4.4       Valley Falls Farm, LLC
           c/o Keystone-Pacific, LLC                                                             Line     3.237
           Kaye N. Barnes, RA
                                                                                                        Not listed. Explain
           9955 SW Potano St
           Tualatin, OR 97062


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.        $                    675,867.31
 5b. Total claims from Part 2                                                                       5b.    +   $                  4,841,676.89

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.        $                    5,517,544.20




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 79 of 79
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy



                                              Case 18-31644-pcm11                     Doc 152           Filed 06/01/18
 Fill in this information to identify the case:

 Debtor name         Sunshine Dairy Foods Management, LLC

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         18-31644-pcm11
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Lease assigned from
             lease is for and the nature of               Balboa Capital
             the debtor's interest                        Corporation -UCC
                                                          #91069271; Balboa
                                                          Acct No. 214006-005 -
                                                          Lease of 4 Trailers;
                                                          Quarterly Payments of
                                                          $8785.35
                  State the term remaining                5 Qtrly Payments
                                                                                      ADS Group
             List the contract number of any                                          PO Box 15270
                   government contract                                                Irvine, CA 92623


 2.2.        State what the contract or                   First Aid Kit
             lease is for and the nature of               Maintenance, Past Due
             the debtor's interest                        1,062.36

                  State the term remaining                Monthly or As Needed
                                                                                      All American First Aid & Safety
             List the contract number of any                                          16055 SW Walker Rd Ste 196
                   government contract                                                Beaverton, OR 97006


 2.3.        State what the contract or                   Storage Agreement -
             lease is for and the nature of               Off Site Cold Storage
             the debtor's interest

                  State the term remaining
                                                                                      Americold
             List the contract number of any                                          1440 Silverton Rd.
                   government contract                                                Woodburn, OR 97071


 2.4.        State what the contract or                   Totes for East Plan;
             lease is for and the nature of               Past due $20,630.81;
             the debtor's interest                        monthly payments of
                                                          $3,735.00; 6 more
                                                          months (May 2018 - Oct
                                                          2018) on one, 7 more        AR Arena Products, Inc.
                                                          months on the other         2101 Mt. Read Blvd
                                                          (May - Nov)                 Rochester, NY 14615

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 1 of 13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy



                                              Case 18-31644-pcm11                  Doc 152      Filed 06/01/18
 Debtor 1 Sunshine Dairy Foods Management, LLC                                                Case number (if known)   18-31644-pcm11
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.5.        State what the contract or                   Alternate Address -
             lease is for and the nature of               Leases serviced
             the debtor's interest                        through Elm Services,
                                                          ADS Group and Banc
                                                          of California
                  State the term remaining
                                                                                      Balboa Captial Corp
             List the contract number of any                                          575 Anton Blvd 12th Floor
                   government contract                                                Costa Mesa, CA 92626


 2.6.        State what the contract or                   UCC
             lease is for and the nature of               #90963365;Agreement
             the debtor's interest                        #10-013357/9-BRO-1197
                                                          8 dated 8/25/16; Lease
                                                          of (10) Microsoft
                                                          Dynamics-NAV/JustFoo
                                                          dERP-10 Full Users;
                                                          (0.198) 24% (possible
                                                          duplicated of UCC
                                                          90963776)
                  State the term remaining
                                                                                      Banc of California, N.A.
             List the contract number of any                                          3 Macarthur Pl #100
                   government contract                                                Santa Ana, CA 92707


 2.7.        State what the contract or                   UCC #90963776;
             lease is for and the nature of               Agreement
             the debtor's interest                        #10-013357/9-BRO-1197
                                                          8 dated 8/25/16; Lease
                                                          of (10) Microsoft
                                                          Dynamics-NAV/JustFoo
                                                          dERP-10 Full Users;
                                                          (0.198) 24%
                                                          Enhancement
                  State the term remaining
                                                                                      Banc of California, N.A.
             List the contract number of any                                          3 Macarthur Pl #100
                   government contract                                                Santa Ana, CA 92707


 2.8.        State what the contract or                   Advertising Contract;
             lease is for and the nature of               $7,083.33 monthly
             the debtor's interest

                  State the term remaining                Ends June 2020              Beaver Sports Properties, LLC
                                                                                      c/o Learfield Communications, LLC
             List the contract number of any                                          P.O. Box 843038
                   government contract                                                Kansas City, MO 64184

Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 2 of 13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                 Doc 152       Filed 06/01/18
 Debtor 1 Sunshine Dairy Foods Management, LLC                                                 Case number (if known)   18-31644-pcm11
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease


 2.9.        State what the contract or                   Lease of Scanners;
             lease is for and the nature of               Past due $2,139.14;
             the debtor's interest                        Monthly Payments of
                                                          $1,099.77
                  State the term remaining                Last scheduled
                                                          payment 4/20/20 on
                                                          scanner agreement            Canon Financial Services
             List the contract number of any                                           14904 Collections Center Drive
                   government contract                                                 Chicago, IL 60693


 2.10.       State what the contract or                   Uniform Contract; Past
             lease is for and the nature of               due $22,910.25;
             the debtor's interest                        Monthly payments of
                                                          $8,207.44
                  State the term remaining                expires 8/1/2019
                                                                                       Cintas Corporation - 463
             List the contract number of any                                           PO Box 650838
                   government contract                                                 Dallas, TX 75265


 2.11.       State what the contract or                   DC Lease; Past due
             lease is for and the nature of               $21,830.03; Payment of
             the debtor's interest                        20,441.04 due 5/31/18;
                                                          monthly payments of
                                                          $22,000
                  State the term remaining                Expires 3/1/2020
                                                                                       Columbia Oregon 98th Ave Industrial LLC
             List the contract number of any                                           PO Box 848138-076
                   government contract                                                 Dallas, TX 75284


 2.12.       State what the contract or                   Lease assigned from
             lease is for and the nature of               Balboa Capital
             the debtor's interest                        Corporation - UCC
                                                          #90451311; Balboa
                                                          Acct No. 214006-001 -
                                                          Lease of East Plant
                                                          Filler; 2 Quarterly
                                                          payments of $8,223/Qtr
                  State the term remaining                2 Qtrly Payments
                                                                                       Elm Services
             List the contract number of any                                           PO Box 15270
                   government contract                                                 Irvine, CA 92623


 2.13.       State what the contract or                   Lease assigned from
             lease is for and the nature of               Balboa Capital
             the debtor's interest                        Corporation -UCC
                                                          #90548548; Balboa
                                                          Acct No. 214006-002 -
                                                          Lease of A&E Case
                                                          Erector + Taper;
                                                          Quarterly payments of        Elm Services
                                                          $11,122.03                   PO Box 15270
                  State the term remaining                7 Qtrly Payments             Irvine, CA 92623
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 3 of 13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                  Doc 152       Filed 06/01/18
 Debtor 1 Sunshine Dairy Foods Management, LLC                                                 Case number (if known)   18-31644-pcm11
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease


             List the contract number of any
                   government contract


 2.14.       State what the contract or                   Contract for GPS in
             lease is for and the nature of               Trucks; Past due
             the debtor's interest                        $4,698; Monthly
                                                          payments of $1,566
                  State the term remaining
                                                                                       Eroad Inc.
             List the contract number of any                                           7618 SW Mohawk Street
                   government contract                                                 Tualatin, OR 97062


 2.15.       State what the contract or                   Contract for WiFi; 1
             lease is for and the nature of               month past due; $975
             the debtor's interest                        monthly; 36 month
                                                          agreement, 12/10/15,
                                                          9/16/15, 10/14/15 signed
                                                          agreements, not sure if
                                                          renewed
                  State the term remaining
                                                                                       Freewire Broadband
             List the contract number of any                                           7327 SW Barnes Rd #701
                   government contract                                                 Portland, OR 97225


 2.16.       State what the contract or                   Hosting/Servicing of
             lease is for and the nature of               ERP System; past Due
             the debtor's interest                        $4,820.00

                  State the term remaining                can be terminated with
                                                          notice                       Harvest Food Solutions, LLC
             List the contract number of any                                           501 SE Columbia Shores Boulevard, Suite 525
                   government contract                                                 Vancouver, WA 98661


 2.17.       State what the contract or                   Natural Gas
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                renewed on a yearly
                                                          basis                        IGI Resources, Inc.
             List the contract number of any                                           12124 Collections Center Drive
                   government contract                                                 Chicago, IL 60693


 2.18.       State what the contract or                   Sublease of Cold
             lease is for and the nature of               Storage Facility located
             the debtor's interest                        at Sunshine DC, 16117
                                                          SW 98th Ave Bldg B,
                                                          Clackamas OR 97015 to
                                                          Imperfect Produce
                  State the term remaining                Expires 3/1/2020
                                                                                       Imperfect Produce Sub Lease
             List the contract number of any
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 4 of 13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                  Doc 152       Filed 06/01/18
 Debtor 1 Sunshine Dairy Foods Management, LLC                                                Case number (if known)   18-31644-pcm11
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.19.       State what the contract or                   Storage Agreement -
             lease is for and the nature of               Off Site Cold Storage
             the debtor's interest

                  State the term remaining
                                                                                      J&D
             List the contract number of any                                          12300 SE Carpenter Dr.
                   government contract                                                Clackamas, OR 97015


 2.20.       State what the contract or                   KHI (Equipment Lease)
             lease is for and the nature of               - Obligation stems from
             the debtor's interest                        a 5/1/07 lease that was
                                                          further amended on
                                                          5/9/08, 1/1/11, and
                                                          1/1/12 and relates to the
                                                          lease of equipment for
                                                          debtor's operations
                                                          with a stated cost value
                                                          of $9,731,942. Lease
                                                          payments, under the
                                                          most recent
                                                          amendment, are
                                                          $26,961.17 per month.
                                                          All pre-petition lease
                                                          payments have been
                                                          deferred. Values listed
                                                          in Schedule A/B.
                  State the term remaining                Expired
                                                                                      Karamanos Holdings, Inc.
             List the contract number of any                                          801 NE 21st Ave
                   government contract                                                Portland, OR 97232




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 5 of 13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                 Doc 152       Filed 06/01/18
 Debtor 1 Sunshine Dairy Foods Management, LLC                                                 Case number (if known)   18-31644-pcm11
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.21.       State what the contract or                   KHI (Commercial
             lease is for and the nature of               Lease) - Obligation
             the debtor's interest                        stems from a 5/1/07
                                                          lease that relates to the
                                                          lease of real property
                                                          and improvements for
                                                          debtor's operations
                                                          located at 801 NE 21st
                                                          Ave., Portland, OR; 915
                                                          NE 21st Ave., Portland,
                                                          OR; 925 NE 25th Ave.,
                                                          Portland, OR; and 8440
                                                          NE Halsey St., Portland,
                                                          OR. Base rent
                                                          payments as of the
                                                          date of the petition are
                                                          $40,373.49 with
                                                          additional rent
                                                          payments for taxes,
                                                          insurance, and utilities.
                                                          Debtor paid $200,000 to
                                                          KHI on May 8, 2018 on
                                                          account of such lease;
                                                          all outstanding
                                                          pre-petition lease
                                                          payments have been
                                                          deferred.
                  State the term remaining                Expired
                                                                                       Karamanos Holdings, Inc.
             List the contract number of any                                           801 NE 21st Ave
                   government contract                                                 Portland, OR 97232


 2.22.       State what the contract or                   Online Training System
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                       KPA Services, LLC
             List the contract number of any                                           PO Box 301526
                   government contract                                                 Dallas, TX 75303


 2.23.       State what the contract or                   Contract #45610
             lease is for and the nature of               Unit#538961 - Lease of
             the debtor's interest                        53ft Reefer Roll;
                                                          $.05/mile, $950/mth
                  State the term remaining                Expires 8/31/18
                                                                                       McKinney Trailer Rentals
             List the contract number of any                                           12008 Inverness Dr
                   government contract                                                 Portland, OR 97220


 2.24.       State what the contract or                   Unit #53963; lease of
             lease is for and the nature of               53ft Reefer Roll             McKinney Trailer Rentals
             the debtor's interest                                                     12008 Inverness Dr
                                                                                       Portland, OR 97220
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 6 of 13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                  Doc 152       Filed 06/01/18
 Debtor 1 Sunshine Dairy Foods Management, LLC                                                 Case number (if known)   18-31644-pcm11
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                  State the term remaining                Expires 8/1/18

             List the contract number of any
                   government contract


 2.25.       State what the contract or                   Unit #541560 Contract
             lease is for and the nature of               #42981 Rental of 53ft
             the debtor's interest                        Van 102 in Swing;
                                                          $200/week
                  State the term remaining
                                                                                       McKinney Trailer Rentals
             List the contract number of any                                           12008 Inverness Dr
                   government contract                                                 Portland, OR 97220


 2.26.       State what the contract or                   Contract #48675 Unit
             lease is for and the nature of               #532239 - Rental of 53ft
             the debtor's interest                        Reefer Roll; $.06/mile
                                                          $1,250/mth
                  State the term remaining
                                                                                       McKinney Trailer Rentals
             List the contract number of any                                           12008 Inverness Dr
                   government contract                                                 Portland, OR 97220


 2.27.       State what the contract or                   Service contract on
             lease is for and the nature of               Printers; $562.51 past
             the debtor's interest                        due; $150 per month

                  State the term remaining                60 month terms,
                                                          starting: 1/14               Pacific Office Automation
             List the contract number of any                                           14747 NW Greenbrier Parkway
                   government contract                                                 Beaverton, OR 97006


 2.28.       State what the contract or                   Service contract on
             lease is for and the nature of               Printers; $2,300 per
             the debtor's interest                        month

                  State the term remaining                60 month terms,
                                                          starting: 2/14               Pacific Office Automation
             List the contract number of any                                           PO Box 41602
                   government contract                                                 Philadelphia, PA 19101


 2.29.       State what the contract or                   Service contract on
             lease is for and the nature of               Printers;
             the debtor's interest

                  State the term remaining                60 month terms,
                                                          starting: 11/17              Pacific Office Automation
             List the contract number of any                                           PO Box 51043
                   government contract                                                 Los Angeles, CA 90051




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 7 of 13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                    Doc 152     Filed 06/01/18
 Debtor 1 Sunshine Dairy Foods Management, LLC                                                  Case number (if known)   18-31644-pcm11
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.30.       State what the contract or                   Phone System; $2,000
             lease is for and the nature of               per month; Past due
             the debtor's interest                        $1,597.01

                  State the term remaining                ending 6/2020
                                                          (agreement began 6/15
                                                          for 60 mo)                    Paetec
             List the contract number of any                                            PO Box 9001013
                   government contract                                                  Louisville, KY 40290


 2.31.       State what the contract or                   Trust Fleet Rentals -
             lease is for and the nature of               See Exhibit I for details
             the debtor's interest

                  State the term remaining
                                                                                        Penske Truck Leasing Company LP
             List the contract number of any                                            PO Box 7429
                   government contract                                                  Pasadena, CA 91110-7429


 2.32.       State what the contract or                   Lease of Postage
             lease is for and the nature of               Meter; $630 per month
             the debtor's interest

                  State the term remaining                Ends January 2019
                                                                                        Pitney Bowes Global Financial
             List the contract number of any                                            PO Box 371887
                   government contract                                                  Pittsburgh, PA 15250


 2.33.       State what the contract or                   Pest control services -
             lease is for and the nature of               month to month after
             the debtor's interest                        the initial year of 11/14 -
                                                          11/15
                  State the term remaining
                                                                                        Sprague Pest Control
             List the contract number of any                                            PO Box 2222
                   government contract                                                  Tacoma, WA 98401


 2.34.       State what the contract or                   Lease of MilkoScan
             lease is for and the nature of               Mars system - UCC
             the debtor's interest                        90718706; Monthly
                                                          payments of $737.69
                  State the term remaining                Expires 6/1/2021              Summit Funding Group, Inc.
                                                                                        Lease Administration Group
             List the contract number of any                                            PO Box 63-6488
                   government contract                                                  Cincinnati, OH 45263


 2.35.       State what the contract or                   Storage Lease - Off Site
             lease is for and the nature of               Cold Storage
             the debtor's interest
                                                                                        Sunshine DC
                  State the term remaining                                              16117 SW 98th Ave, Bldg B
                                                                                        Clackamas, OR 97015
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 8 of 13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy



                                              Case 18-31644-pcm11                     Doc 152     Filed 06/01/18
 Debtor 1 Sunshine Dairy Foods Management, LLC                                                Case number (if known)   18-31644-pcm11
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

             List the contract number of any
                   government contract


 2.36.       State what the contract or                   Lease assigned from
             lease is for and the nature of               Balboa Capital
             the debtor's interest                        Corporation - UCC
                                                          #91069288; Balboa
                                                          Acct No. 214006-006 -
                                                          Lease of handhelds
                                                          and printers; no
                                                          payments due in 2018
                  State the term remaining                Ends with Q1 2019
                                                          payment                     TCF Equipment Finance
             List the contract number of any                                          11100 Wayzata Blvd #801
                   government contract                                                Hopkins, MN 55305


 2.37.       State what the contract or                   See Toyota Motor
             lease is for and the nature of               Credit Corporation -
             the debtor's interest                        Alternate Address

                  State the term remaining                                            Toyota Industries
                                                                                      Attn: Commercial Finance
             List the contract number of any                                          PO Box 660926
                   government contract                                                Dallas, TX 75266


 2.38.       State what the contract or                   See Toyota Motor
             lease is for and the nature of               Credit Corporation -
             the debtor's interest                        Alternate Address

                  State the term remaining                                            Toyota Lift Northwest
                                                                                      Attn: Mail Stop 98
             List the contract number of any                                          PO Box 4100
                   government contract                                                Portland, OR 97208


 2.39.       State what the contract or                   Lease of Toyota
             lease is for and the nature of               electric palletjack
             the debtor's interest                        model 7HBW23 serial
                                                          number 53677 - UCC
                                                          #90413137
                  State the term remaining                48 months, beginning
                                                          11/2015                     Toyota Motor Credit Corporation
             List the contract number of any                                          PO Box 3457
                   government contract                                                Torrance, CA 90510


 2.40.       State what the contract or                   Lease of two Toyota
             lease is for and the nature of               forklifts model 7HBW23
             the debtor's interest                        serial numbers 54342
                                                          and 54350 - UCC
                                                          #90461586
                  State the term remaining                48 months, beginning        Toyota Motor Credit Corporation
                                                          5/2015                      PO Box 3457
             List the contract number of any                                          Torrance, CA 90510
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 9 of 13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                  Doc 152      Filed 06/01/18
 Debtor 1 Sunshine Dairy Foods Management, LLC                                                 Case number (if known)   18-31644-pcm11
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

                    government contract


 2.41.       State what the contract or                   Lease of one Toyota
             lease is for and the nature of               forklift model 7HBW23
             the debtor's interest                        serial number 54626. -
                                                          UCC #90663099
                  State the term remaining                48 months, beginning
                                                          12/2015                      Toyota Motor Credit Corporation
             List the contract number of any                                           PO Box 3457
                   government contract                                                 Torrance, CA 90510


 2.42.       State what the contract or                   Lease of two Toyota
             lease is for and the nature of               forklifts model 7HBW23
             the debtor's interest                        serial numbers 54414
                                                          and 54656 - UCC
                                                          #90703214
                  State the term remaining                48 months, beginning         Toyota Motor Industries Commerical
                                                          12/2015                      Finance, Inc.
             List the contract number of any                                           PO Box 9050
                   government contract                                                 Coppell, TX 75019


 2.43.       State what the contract or                   Lease of two Toyota
             lease is for and the nature of               forklifts model 7HBW23
             the debtor's interest                        serial numbers 54655
                                                          and 54656 - UCC
                                                          90703283
                  State the term remaining                48 months, beginning         Toyota Motor Industries Commerical
                                                          12/2015                      Finance, Inc.
             List the contract number of any                                           PO Box 9050
                   government contract                                                 Coppell, TX 75019


 2.44.       State what the contract or                   Lease of two Toyota
             lease is for and the nature of               forklifts model 8HBW23
             the debtor's interest                        serial numbers 11356
                                                          and 11417 - UCC
                                                          90755101
                  State the term remaining                48 months, beginning         Toyota Motor Industries Commerical
                                                          3/2016                       Finance, Inc.
             List the contract number of any                                           PO Box 9050
                   government contract                                                 Coppell, TX 75019


 2.45.       State what the contract or                   Lease of one Toyota
             lease is for and the nature of               forklift model 8HBW23
             the debtor's interest                        serial number 14726 -
                                                          UCC 90942773
                  State the term remaining                48 months, beginning         Toyota Motor Industries Commerical
                                                          4/2015                       Finance, Inc.
             List the contract number of any                                           PO Box 9050
                   government contract                                                 Coppell, TX 75019




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 10 of 13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11                  Doc 152       Filed 06/01/18
 Debtor 1 Sunshine Dairy Foods Management, LLC                                                  Case number (if known)   18-31644-pcm11
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.46.       State what the contract or                   Lease of one Toyota
             lease is for and the nature of               forklift model 8FBE18U
             the debtor's interest                        serial number 13074
                                                          with one Enersys
                                                          battery model
                                                          18-E100-17 and one
                                                          Enersys charger model
                                                          EI3-IN-4YO. UCC
                                                          #91235597
                  State the term remaining                74 month term, 6/2017         Toyota Motor Industries Commerical
                                                          start                         Finance, Inc.
             List the contract number of any                                            PO Box 9050
                   government contract                                                  Coppell, TX 75019


 2.47.       State what the contract or                   Lease of two Toyota
             lease is for and the nature of               forklifts model
             the debtor's interest                        8FBCU32 serial
                                                          numbers 66373 and
                                                          66377 with two
                                                          Superior masts model
                                                          THG3-4848, two
                                                          Enersys batteries
                                                          model 18-085P-29 and
                                                          two Enersys chargers
                                                          model EI3-IN-4YE - UCC
                                                          #91237775
                  State the term remaining                76 month term, 3/2016         Toyota Motor Industries Commerical
                                                                                        Finance, Inc.
             List the contract number of any                                            PO Box 9050
                   government contract                                                  Coppell, TX 75019


 2.48.       State what the contract or                   Lease of one used
             lease is for and the nature of               Toyota forklift model
             the debtor's interest                        7FBE18U serial number
                                                          27214. UCC #91538933
                  State the term remaining                                              Toyota Motor Industries Commerical
                                                                                        Finance, Inc.
             List the contract number of any                                            PO Box 9050
                   government contract                                                  Coppell, TX 75019


 2.49.       State what the contract or                   IT Provider; $8,500 per
             lease is for and the nature of               month; Past due
             the debtor's interest                        $14,990.5

                  State the term remaining                Effective 8/22/17, ends
                                                          8/22/18, master
                                                          agreement says can
                                                          terminate with 60 days
                                                          notice                        Upward Technology
             List the contract number of any                                            2636 NW 26th Ave,Suite 201
                   government contract                                                  Portland, OR 97210




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        Page 11 of 13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy



                                              Case 18-31644-pcm11                   Doc 152       Filed 06/01/18
 Debtor 1 Sunshine Dairy Foods Management, LLC                                                Case number (if known)   18-31644-pcm11
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.50.       State what the contract or                   Autoclave Table Top;
             lease is for and the nature of               $150 per month;
             the debtor's interest                        $981.49 past Due

                  State the term remaining                Expires 4/1/2022
                                                                                      US Bank Equipment Finance
             List the contract number of any                                          PO Box 790448
                   government contract                                                Saint Louis, MO 63179


 2.51.       State what the contract or                   Red Zone - Production
             lease is for and the nature of               Reporting; $18,187 past
             the debtor's interest                        due; $12,059.04 due
                                                          7/2/18
                  State the term remaining                Term 1/1/16 - 12/1/17,
                                                          auto renewed on 1/1/18
                                                          for 2 more years            Verifract
             List the contract number of any                                          5301 Blue Lagoon Drive, Suite 180
                   government contract                                                Miami, FL 33126


 2.52.       State what the contract or                   Toyota Forklift; Past
             lease is for and the nature of               Due $369.38
             the debtor's interest

                  State the term remaining                Expires 8/1/2022
                                                                                      Wells Fargo Equipment Finance
             List the contract number of any                                          PO Box 7777
                   government contract                                                San Francisco, CA 94120


 2.53.       State what the contract or                   Precuationary -
             lease is for and the nature of               Information Unavailable
             the debtor's interest                        at time of filing

                  State the term remaining
                                                                                      Workforce QA
             List the contract number of any                                          1430 South Main Street, Suite C
                   government contract                                                Salt Lake City, UT 84115


 2.54.       State what the contract or                   Storage Agreement -
             lease is for and the nature of               Off Site Cold Storage
             the debtor's interest

                  State the term remaining                                            Wymore Transfer Company
                                                                                      aka Wy-5
             List the contract number of any                                          12061 SE Hwy 212
                   government contract                                                Clackamas, OR 97015


 2.55.       State what the contract or                   Storage Agreement -
             lease is for and the nature of               Off Site Cold Storage
             the debtor's interest
                                                                                      Wymore Transfer Company, Inc
                  State the term remaining                                            12651 SE Capps Rd
                                                                                      Clackamas, OR 97015
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 12 of 13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy



                                              Case 18-31644-pcm11                 Doc 152       Filed 06/01/18
 Debtor 1 Sunshine Dairy Foods Management, LLC                                               Case number (if known)   18-31644-pcm11
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

             List the contract number of any
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 13 of 13
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy



                                              Case 18-31644-pcm11                Doc 152       Filed 06/01/18
                                                                                                               SUNSHINE DAIRY FOODS MANAGMENT, LLC
                                                                                                                       SCHEDULE G - EXHIBIT I
                                                                                                                        PENSKE TRUCK LEASE



                                                                                                                                                                                                            CURRENT   CURRENT
                                                                                                                                                           MONTHS                       CURRENT   CURRENT   REEFER    REEFER
                                                                                                                                 CONTRACT     CONTRAC      UNTIL                        FIXED     MILEAGE   RUNNING   STANDBY
                                 CATEGORY      DESCRIPTION              YEAR   MAKE           MODEL      CONTRACT SUBTYPE        START        T EXP.       TERM     VIN                 RATE      RATE      RATE      RATE
                                 TRUCK         26FT SAD MEDIUM REEFER   2016   FREIGHTLINER   M2         FULL SERVICE LEASE      04/17/2018   04/30/2022   46       3ALACWDT4GDGV8755   1948.00   0.0900    0.0800    0.0000
                                 TRACTOR       TADC TRACTOR             2016   FREIGHTLINER   X12564ST   FULL SERVICE LEASE      04/24/2017   04/30/2021   34       1FUJGED59GLGW5809   1837.00   0.0810    0.0000    0.0000
                                 TRACTOR       TADC TRACTOR             2016   FREIGHTLINER   X12564ST   FULL SERVICE LEASE      04/24/2017   04/30/2021   34       1FUJGED57GLGW5811   1837.00   0.0810    0.0000    0.0000
                                 TRUCK         24FT SAD MEDIUM REEFER   2016   FREIGHTLINER   M2         FULL SERVICE LEASE      12/30/2016   12/31/2022   54       3ALACXCYXGDHK4003   2002.07   0.0920    0.8174    0.2043
                                 TRUCK         24FT SAD MEDIUM REEFER   2016   FREIGHTLINER   M2         FULL SERVICE LEASE      12/30/2016   12/31/2022   54       3ALACXCY1GDHK4004   2002.07   0.0920    0.8174    0.2043
                                 TRUCK         22FT SAD MEDIUM REEFER   2019   INTERNATIONA   4300       FULL SERVICE LEASE      11/15/2017   05/31/2025   83       3HAMMMMLXKL386817   1693.75   0.0850    0.8500    0.2000
                                 TRUCK         22FT SAD MEDIUM REEFER   2019   INTERNATIONA   4300       FULL SERVICE LEASE      11/15/2017                0        1HTMMMML2KH387630   0.00      0.0000    0.0000    0.0000
                                 TRACTOR       TADC TRACTOR             2011   FREIGHTLINER   X12564ST   FULL SERVICE LEASE      12/30/2016   12/31/2017   0        1FUJGEDV8BSAX7026   1784.97   0.0837    0.0000    0.0000




EXHIBIT I - PAGE 1 of 1
                                 TRUCK         22FT SAD MEDIUM REEFER   2010   FREIGHTLINER   M2         FULL SERVICE LEASE      08/12/2009   12/31/2016   0        1FVACXDTXADAS5398   1787.01   0.0906    0.7365    0.0000
                                 TRACTOR       TADC TRACTOR             2011   FREIGHTLINER   X12564ST   FULL SERVICE LEASE      12/30/2016   12/31/2017   0        1FUJGEDV3BSAY8130   1784.97   0.0837    0.0000    0.0000
                                 TRUCK         26FT SAD MEDIUM REEFER   2013   FREIGHTLINER   M2         FULL SERVICE LEASE      12/30/2016   12/31/2019   18       1FVACXDT8DDFB3345   1953.57   0.0912    0.8102    0.2026
                                 TRUCK         26FT SAD MEDIUM REEFER   2014   FREIGHTLINER   M2         FULL SERVICE LEASE      02/24/2018   03/31/2020   21       3ALACXDT4EDFL8361   2054.00   0.0900    0.8000    0.0000
                                 TRACTOR       TADC TRACTOR             2003   FREIGHTLINER   CL12064S   PEGGED                  02/28/2016   03/31/2019   9        1FUJA6CG33LL02729   283.61    0.0000    0.0000    0.0000
                                 TRACTOR       TADC TRACTOR             2003   FREIGHTLINER   CL12064S   PEGGED                  02/28/2016   03/31/2019   9        1FUJA6CG03LL02736   283.61    0.0000    0.0000    0.0000
                                 TRACTOR       TADC TRACTOR             1999   INTERNATIONA   9100       PEGGED                  02/28/2016   03/31/2019   9        1HSHCAHR3XH694477   283.61    0.0000    0.0000    0.0000
                                 TRACTOR       TADC TRACTOR             1998   INTERNATIONA   9100       PEGGED                  02/28/2016   03/31/2019   9        2HSFRAHR5WC043900   283.61    0.0000    0.0000    0.0000


                                 TRACTOR       TADC TRACTOR             2016   FREIGHLINER    X12564ST                                                              1FUJGED56GLGW5816
                                 TRUCK         26FT SAD MEDIUM REEFER   2018   FREIGHLINER    M2                                                                    3ALACWFC8JDJH3855
                                 TRUCK         26FT SAD MEDIUM REEFER   2019   FREIGHLINER    M2                                                                    3ALACWFC8KDKB8486




           Case 18-31644-pcm11
           Doc 152
                                                                                                                                                                                                                                SCHEDULE J - EXHIBIT I




           Filed 06/01/18
                                 EXHIBIT I
                                 Page 1 of 1
 Fill in this information to identify the case:

 Debtor name         Sunshine Dairy Foods Management, LLC

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         18-31644-pcm11
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      John D.                           c/o Karamanos Holdings, Inc.                      Strada Capital                     D   2.8
             Karamanos IV                      801 NE 21st Ave                                   Corporation                        E/F
                                               Portland, OR 97232
                                                                                                                                    G
                                               Personal Guarantee




    2.2      Karamanos                         801 NE 21st Ave                                   Strada Capital                     D   2.8
             Holdings, Inc.                    Portland, OR 97232                                Corporation                        E/F
                                                                                                                                    G




    2.3      Karamanos                         801 NE 21st Ave                                   First Business                     D   2.3
             Holdings, Inc.                    Portland, OR 97232                                Capital Corp.                      E/F
                                                                                                                                    G




    2.4      Karamanos                         801 NE 21st Ave                                   First Business                     D   2.4
             Holdings, Inc.                    Portland, OR 97232                                Capital Corp.                      E/F
                                                                                                                                    G




    2.5      Karamanos                         801 NE 21st Ave                                   Wells Fargo                        D
             Holdings, Inc.                    Portland, OR 97232                                Equipment Finance                  E/F
                                                                                                                                    G   2.52




Official Form 206H                                                       Schedule H: Your Codebtors                                           Page 1 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy



                                              Case 18-31644-pcm11             Doc 152        Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                  Case number (if known)   18-31644-pcm11


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor




Official Form 206H                                                   Schedule H: Your Codebtors                                   Page 2 of 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy



                                              Case 18-31644-pcm11        Doc 152      Filed 06/01/18
 Fill in this information to identify the case:

 Debtor name         Sunshine Dairy Foods Management, LLC

 United States Bankruptcy Court for the:            DISTRICT OF OREGON

 Case number (if known)         18-31644-pcm11
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                           $17,469,769.92
       From 1/01/2018 to Filing Date                                                                        Gross Sales through
                                                                                                   Other    April 30, 2018


       For prior year:                                                                             Operating a business                           $54,877,569.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other    Gross Sales


       For year before that:                                                                       Operating a business                           $54,920,051.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other    Gross Sales

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152            Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                      Case number (if known) 18-31644-pcm11



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               SEE ATTACHED BANK REGISTER                                                                          $0.00              Secured debt
               EXHIBIT J                                                                                                              Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Karamanos Holdings, Inc.                                    5/24/17                         $111,803.27           Loan payments; Loan paid off
               801 NE 21st Ave                                             $14,665.04;                                           3/23/18 through loan from First
               Portland, OR 97232                                          7/8/17                                                Business Capital Corp
               Managing Member                                             $14,649.99;
                                                                           8/11/17,
                                                                           12/4/17,
                                                                           1/4/18 &
                                                                           1/27/18 -
                                                                           $10,311.41
                                                                           each;
                                                                           9/21/17,
                                                                           11/6/17,
                                                                           2/20/18 &
                                                                           3823/18 -
                                                                           $10,311.40

       4.2.    Karamanos Holdings, Inc.                                    5/8/18                          $200,000.00           Lease payments
               801 NE 21st Ave
               Portland, OR 97232
               Managing Member

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152          Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                          Case number (if known) 18-31644-pcm11




           None.

               Case title                                        Nature of case               Court or agency's name and          Status of case
               Case number                                                                    address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                           Value

       9.1.    Charitable Contributions                          $5,000 estimated based on 2016 Tax                      Throughout
                                                                 Filing Records                                          year                            $5,000.00

               Recipients relationship to debtor
               Various Charities


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                Dates of loss         Value of property
       how the loss occurred                                                                                                                                lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy



                                              Case 18-31644-pcm11                          Doc 152           Filed 06/01/18
 Debtor        Sunshine Dairy Foods Management, LLC                                                      Case number (if known) 18-31644-pcm11



                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.1.    Vanden Bos & Chapman, LLP
                319 SW Washington St, Ste
                520
                Portland, OR 97204                                                                                             5/8/18             $100,000.00

                Email or website address
                www.vbcattorneys.com

                Who made the payment, if not debtor?
                Karamanos Holdings Inc.


       11.2.    Boverman & Associates
                11285 SW Walker Rd.
                Portland, OR 97225                                                                                             5/8/18               $50,000.00

                Email or website address


                Who made the payment, if not debtor?
                Karamanos Holdings Inc.



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers           Total amount or
                                                                                                                      were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                  Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange             was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 4
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152          Filed 06/01/18
 Debtor      Sunshine Dairy Foods Management, LLC                                                       Case number (if known) 18-31644-pcm11



            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    John Hancock                                                                               EIN: .

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152          Filed 06/01/18
 Debtor      Sunshine Dairy Foods Management, LLC                                                       Case number (if known) 18-31644-pcm11



       Facility name and address                                     Names of anyone with                 Description of the contents        Do you still
                                                                     access to it                                                            have it?
       Sunshine DC                                                   Distribution Center                  In process of vacating                 No
       16117 SW 98th Ave, Bldg B                                     Manager                              premises                               Yes
       Clackamas, OR 97015                                           801 NE 21st Ave
                                                                     Portland, OR 97232

       J&D                                                           Access by Appointment                Western Family Yogurt                  No
       12300 SE Carpenter Dr.                                        only                                                                        Yes
       Clackamas, OR 97015

       Americold                                                     Access by Appointment                Gerber Yogurt Totes                    No
       1440 Silverton Rd.                                            only                                                                        Yes
       Woodburn, OR 97071

       Wymore Transfer Company, Inc                                  Access by Appointment                Packaging and Ingredients              No
       12651 SE Capps Rd                                             only                                                                        Yes
       Clackamas, OR 97015

       Wymore Transfer Company                                       Access by Appointment                Packaging and Ingredients              No
       aka Wy-5                                                      only                                                                        Yes
       12061 SE Hwy 212
       Clackamas, OR 97015



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Critical Customer - Name Withheld                             West Plant                           Propriatary food processing                Unknown
                                                                                                          equipment

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Critical Customer - Name Withheld                             East Plant                           Propriatary food processing                Unknown
                                                                                                          equipment

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Critical Customer - Name Withheld                             East Plant                           Propriatary food processing                Unknown
                                                                                                          equipment


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152          Filed 06/01/18
 Debtor      Sunshine Dairy Foods Management, LLC                                                       Case number (if known) 18-31644-pcm11




            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Moss Adams                                                                                                                 2016 and 2017
                    805 SW Broadway                                                                                                            Fiscal Years
                    Portland, OR 97205

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       Moss Adams                                                                                                                 2016 and 2017
                    805 SW Broadway                                                                                                            Fiscal Years
                    Portland, OR 97205

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152          Filed 06/01/18
 Debtor      Sunshine Dairy Foods Management, LLC                                                       Case number (if known) 18-31644-pcm11



       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Moss Adams
                    805 SW Broadway
                    Portland, OR 97205

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       First Business Capital Corp.
                    Attn: Mark Buchert, VP-Account Executive
                    401 Charmany Dr
                    Madison, Wi 53719
       26d.2.       Access Business Finance
                    14205 S.E. 36th Street, Suite 350
                    Bellevue, WA 98006

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Tara McCarthy
       .                                                                                    March 2018               $1,827,980

                Name and address of the person who has possession of
                inventory records
                Tara McCarthy
                801 NE 21st Ave
                Portland, OR 97232


       27.2 Tara McCarthy
       .                                                                                    April 2018               $1,654,197

                Name and address of the person who has possession of
                inventory records
                Tara McCarthy
                801 NE 21st Ave
                Portland, OR 97232


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Karamanos Holdings, Inc.                       801 NE 21st Ave                                     Managing Member                       94%
                                                      Portland, OR 97232

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Norman Davidson III                            801 NE 21st Ave                                     President of Karamanos
                                                      Portland, OR 97232                                  Holdings Inc.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152          Filed 06/01/18
 Debtor      Sunshine Dairy Foods Management, LLC                                                       Case number (if known) 18-31644-pcm11



       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       Michael Anderson                               801 NE 21st Ave                                     CEO
                                                      Portland, OR 97232

       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       Dan Boverman                                   Boverman & Associates                               CRO
                                                      11285 SW Walker Rd.
                                                      Portland, OR 97225
       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       Therese Nelson                                 801 NE 21st Ave                                     CFO
                                                      Portland, OR 97232

       Name                                           Address                                             Position and nature of any        % of interest, if
                                                                                                          interest                          any
       Rich Wolf                                      801 NE 21st Ave                                     COO
                                                      Portland, OR 97232



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Dirk Davis                                     1810 Radcliffe Ct                                   Former CEO                    12/31/12-3/4/17
                                                      West Linn, OR 97068

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Jason Frank                                    18768 Wood Duck St                                  Former Interim CEO            9/1/16-9/28/17
                                                      Lake Oswego, OR 97035

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Aaron Adkins                                   22284 SW Nottingham Ct                              Former CFO                    11/19/01-11/30/17
                                                      Sherwood, OR 97140

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Mark Conan                                     c/o Sunshine Dairy Foods                            Former Interim CFO            Dec 2017 - Jan
                                                      Management LLC                                                                    2018 (current
                                                      801 NE 21st Ave                                                                   contact employee
                                                      Portland, OR 97232                                                                only)

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates          Reason for
                                                                 property                                                               providing the value
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 9
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152          Filed 06/01/18
 Debtor       Sunshine Dairy Foods Management, LLC                                                      Case number (if known) 18-31644-pcm11



               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Karamanos Holdings, Inc.
       .    801 NE 21st Ave
               Portland, OR 97232                                $5,000                                                  Monthly           Management Fee

               Relationship to debtor
               Managing Member


       30.2 Norman Davidson III
       .    801 NE 21st Ave                                                                                                                General Counsel
               Portland, OR 97232                                $7,000                                                  Monthly           Fee

               Relationship to debtor
               President of KHI


       30.3 Benjamin Karamanos
       .    6514 SW 50th Avenue
               Portland, OR 97221                                $1,680                                                  Bi-Weekly         Payroll Salary

               Relationship to debtor
               Family Member of KHI
               Founder


       30.4 John Karamanos
       .    9239 NW Burntknoll COurt
               Portland, OR 97229                                $1,920                                                  Bi-Weekly         Payroll Salary

               Relationship to debtor
               Family Member of KHI
               Founder


       30.5                                                                                                                                Interest Payments
       .                                                                                                                                   for Fairway Loan
                                                                                                                                           (term loan
                                                                                                                                           secured by real
                                                                                                                                           estate used for
                                                                                                                         5/9/17; 6/1/17;   Debtor's
                                                                                                                         7/10/17;          operations; loan
                                                                                                                         8/14/17;          paid in full from
                                                                                                                         9/12/17;          proceeds from
               Karamanos Holdings, Inc.                                                                                  10/13/17;         First Business
               801 NE 21st Ave                                   $317,003.45 -                                           11/13/17 and      Capital
               Portland, OR 97232                                Breakout: $39,336,74, $39,666.67 x 7                    12/13/17          Corporation Loan)

               Relationship to debtor
               Managing Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152          Filed 06/01/18
 Debtor      Sunshine Dairy Foods Management, LLC                                                       Case number (if known) 18-31644-pcm11




    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    Western Conference of Teamsters                                                                            EIN:        XX-XXXXXXX-001

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 1, 2018

 /s/ Dan Boverman                                                       Dan Boverman
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CRO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy



                                              Case 18-31644-pcm11                       Doc 152          Filed 06/01/18
                                         SUNSHINE DAIRY FOODS MANAGEMENT, LLC                    Case #18-31644-pcm11
                                       STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                                 90 DAY CHECK REGISTER

                                                                                                             Total last 90
                                                                                                                Days
                                                                                              Original          (over
 Posting Date   Name                                       Description                        Amount           $6,425)
  3/23/2018     3M                                         Payment to vendor V10765                 354.5
   3/9/2018     48forty Solutions, LLC                     Payment to vendor V10482             4,527.60
  3/23/2018     48forty Solutions, LLC                     Payment to vendor V10482             4,527.60         9,055.20
  2/16/2018     A & I Distributors                         Payment to vendor V10474               662.73
   3/9/2018     A&E Conveyor Systems                       Payment to vendor V10679             4,340.00
   3/8/2018     Aaron Sturdy                               Payment to vendor V10886                  145
  2/16/2018     Access Information Holdings, LLC           Payment to vendor V10485               952.56
   3/9/2018     Access Information Holdings, LLC           Payment to vendor V10485               206.97
  3/23/2018     Access Information Holdings, LLC           Payment to vendor V10485               216.62
  2/21/2018     Accountemps                                Payment to vendor V10673             5,189.03
  3/16/2018     Accountemps                                Payment to vendor V10673             2,717.94
  3/30/2018     Accountemps                                Payment to vendor V10673             4,403.72
  4/20/2018     Accountemps                                Payment to vendor V10673             6,354.76
   5/4/2018     Accountemps                                Payment to vendor V10673             2,957.43        21,622.88
   3/9/2018     Acranet-Clearstar                          Payment to vendor V10002                  159
  3/16/2018     Acranet-Clearstar                          Payment to vendor V10002                  392
  3/16/2018     Adam Nakano                                Payment to vendor V10885                    3.5
   3/2/2018     ADM Corn Processing Division               Payment to vendor V10513            11,343.83
  4/13/2018     ADM Corn Processing Division               Payment of Invoice PI014581         12,561.52        23,905.35
   3/7/2018     AFLAC                                      AFLAC                                2,841.14
   4/4/2018     AFLAC                                      AFLAC                                2,801.36
  3/30/2018     Aflac Group Insurance                      Payment to vendor V10005             3,020.49
   5/3/2018     Aflac Group Insurance                      Aflac Group Insurance                2,565.20        11,228.19
   2/9/2018     Airgas                                     Payment to vendor V10475             1,603.21
  2/16/2018     Airgas                                     Payment to vendor V10475             1,465.53
   3/2/2018     Airgas                                     Payment to vendor V10475               117.15
   3/9/2018     Airgas                                     Payment to vendor V10475               338.76
  3/16/2018     Airgas                                     Payment to vendor V10475               152.35
  3/23/2018     Airgas                                     Payment to vendor V10475                  802
   3/9/2018     All American First Aid & Safety            Payment to vendor V10451               246.93
  3/16/2018     Allied Purshasing                          Payment to vendor V10861            10,492.57        10,492.57
   2/8/2018     Alpine Food Distributing                   Payment to vendor V10476            22,326.99
  2/23/2018     Alpine Food Distributing                   Payment to vendor V10476             1,601.08
   3/2/2018     Alpine Food Distributing                   Payment to vendor V10476             1,656.56
   3/8/2018     Alpine Food Distributing                   Payment to vendor V10476            17,497.06
  3/19/2018     Alpine Food Distributing                   Payment to vendor V10476             6,873.72
   4/6/2018     Alpine Food Distributing                   Payment to vendor V10476            11,252.48
  4/20/2018     Alpine Food Distributing                   Payment to vendor V10476             6,540.49
  4/26/2018     Alpine Food Distributing                   Payment to vendor V10476            13,034.21
   5/7/2018     Alpine Food Distributing                   Payment to vendor V10476             6,826.99        87,609.58
   5/4/2018     ALYSHA FALK                                Payment to vendor V10908             4,757.63
   5/4/2018     Amanda Lockwood                            Payment to vendor V10904             3,114.53
   2/9/2018     American Express                           American Express                     6,826.91
  2/23/2018     American Express                           American Express                    10,000.00
  3/29/2018     American Express                           American Express                     4,516.92
  3/29/2018     American Express                           American Express                    19,519.83
  4/10/2018     American Express                           American Express                     8,622.58        49,486.24
   4/2/2018     Americold Logistics LLC                    Payment to vendor V10789             5,818.00

EXHIBIT J
PAGE 1 of 20
                                 Case 18-31644-pcm11           Doc 152       Filed 06/01/18
                                         SUNSHINE DAIRY FOODS MANAGEMENT, LLC                     Case #18-31644-pcm11
                                       STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                                 90 DAY CHECK REGISTER

                                                                                                           Total last 90
                                                                                                               Days
                                                                                               Original        (over
 Posting Date   Name                                       Description                         Amount        $6,425)
  4/27/2018     Americold Logistics LLC                    Payment to vendor V10789              2,799.00       8,617.00
   3/2/2018     Ametek Brookfield                          Payment to vendor V10665                100.42
   2/9/2018     Andersen Plastics                          Payment to vendor V10011              8,356.74
  2/23/2018     Andersen Plastics                          Payment to vendor V10011              4,297.61
   3/9/2018     Andersen Plastics                          Payment to vendor V10011              4,298.06
  3/16/2018     Andersen Plastics                          Payment to vendor V10011              4,298.58
  3/23/2018     Andersen Plastics                          Payment to vendor V10011             16,668.27     37,919.26
   2/8/2018     Anderson Consulting Co.                    Payment to vendor V10874             12,723.40
  2/15/2018     Anderson Consulting Co.                    Payment to vendor V10874             12,000.00
   3/2/2018     Anderson Consulting Co.                    Payment to vendor V10874             12,654.00
  3/16/2018     Anderson Consulting Co.                    Payment to vendor V10874             12,000.00
  3/30/2018     Anderson Consulting Co.                    Payment to vendor V10874             12,686.70
   4/6/2018     Anderson Consulting Co.                    Payment to vendor V10874              6,000.00
  4/17/2018     Anderson Consulting Co.                    Payment to vendor V10874              6,000.00
  4/20/2018     Anderson Consulting Co.                    Payment to vendor V10874              6,000.00
  4/27/2018     Anderson Consulting Co.                    Payment to vendor V10874                870.53
  4/30/2018     Anderson Consulting Co.                    Payment to vendor V10874              6,000.00
   5/4/2018     Anderson Consulting Co.                    Payment to vendor V10874              8,294.30     95,228.93
   3/2/2018     Anderson Roofing Co., Inc.                 Payment to vendor V10742                   250
   3/2/2018     Applied Industrial Technologies            Payment to vendor V10015                750.65
   3/9/2018     Applied Industrial Technologies            Payment to vendor V10015              1,102.16
   2/9/2018     AR Arena Products, Inc.                    Payment to vendor V10512              3,735.00
  2/16/2018     AR Arena Products, Inc.                    Payment to vendor V10512              2,343.00
   3/2/2018     AR Arena Products, Inc.                    Payment to vendor V10512              1,392.00
  3/23/2018     AR Arena Products, Inc.                    Payment to vendor V10512              1,171.50
   4/6/2018     AR Arena Products, Inc.                    Payment to vendor V10512              9,998.22     18,639.72
  2/23/2018     AS&P Billing Services                      Payment to vendor V10539              1,445.00
  3/23/2018     AS&P Billing Services                      Payment to vendor V10539              1,445.00
  4/27/2018     AS&P Billing Services                      Payment to vendor V10539              1,445.00
   3/2/2018     AT&T                                       Payment to vendor V10616                  53.99
   4/6/2018     AT&T                                       Payment to vendor V10616                  55.05
  3/23/2018     Atlasta Lock & Safe CO., Inc.              Payment to vendor V10606                   110
  2/16/2018     Automation Direct                          Payment to vendor V10846                  109.5
   2/8/2018     Balboa Capital                             Balboa Capital                        8,512.81
   2/8/2018     Balboa Capital                             Balboa Capital                       11,528.00
  2/13/2018     Balboa Capital                             Balboa Capital                          515.68
  2/21/2018     Balboa Capital                             Balboa Capital                          515.68
  3/29/2018     Balboa Capital                             Balboa Capital                        9,530.78     30,602.95
  4/30/2018     Bank of America                            Payment to vendor V10903                886.74
   5/4/2018     Bank of America                            Payment to vendor V10903                   83.7
   5/4/2018     Bank of America                            Payment to vendor V10903                  69.75
  2/13/2018     Bankdirect Capital Finance, LLC            Bankdirect Capital Finance, LLC       5,608.37
  2/13/2018     Bankdirect Capital Finance, LLC            Bankdirect Capital Finance, LLC         798.11
  2/13/2018     Bankdirect Capital Finance, LLC            Bankdirect Capital Finance, LLC       4,873.14
  2/13/2018     Bankdirect Capital Finance, LLC            Bankdirect Capital Finance, LLC       3,633.12
   3/5/2018     Bankdirect Capital Finance, LLC            Bankdirect Capital Finance, LLC       5,341.64
   3/5/2018     Bankdirect Capital Finance, LLC            Bankdirect Capital Finance, LLC       4,641.42
   3/5/2018     Bankdirect Capital Finance, LLC            Bankdirect Capital Finance, LLC       3,460.45

EXHIBIT J
PAGE 2 of 20
                                 Case 18-31644-pcm11           Doc 152        Filed 06/01/18
                                         SUNSHINE DAIRY FOODS MANAGEMENT, LLC                     Case #18-31644-pcm11
                                       STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                                 90 DAY CHECK REGISTER

                                                                                                             Total last 90
                                                                                                                Days
                                                                                               Original         (over
 Posting Date   Name                                       Description                         Amount          $6,425)
   3/5/2018     Bankdirect Capital Finance, LLC            Bankdirect Capital Finance, LLC         760.44
   4/2/2018     Bankdirect Capital Finance, LLC            Bankdirect Capital Finance, LLC       4,641.42
   4/2/2018     Bankdirect Capital Finance, LLC            Bankdirect Capital Finance, LLC         760.44
   4/2/2018     Bankdirect Capital Finance, LLC            Bankdirect Capital Finance, LLC       3,460.45       37,979.00
   3/2/2018     Bardy Trophy Company                       Payment to vendor V10811                153.95
   3/9/2018     Bardy Trophy Company                       Payment to vendor V10811                425.85
   3/2/2018     Bell Flavors & Fragrances, Inc.            Payment to vendor V10514              1,275.00
   3/9/2018     Bell Flavors & Fragrances, Inc.            Payment to vendor V10514              1,275.00
  3/20/2018     Bev Cap Management, LLC                    Payment to vendor V10022             35,959.00
  3/30/2018     Bev Cap Management, LLC                    Payment to vendor V10022             35,959.00
  4/24/2018     Bev Cap Management, LLC                    Payment to vendor V10022             13,000.00
  4/27/2018     Bev Cap Management, LLC                    Payment to vendor V10022             35,959.00     120,877.00
  2/16/2018     Black Helterline LLP                       Payment to vendor V10731             14,894.16
  3/23/2018     Black Helterline LLP                       Payment to vendor V10731                206.31       15,100.47
   3/2/2018     Blue Beacon International, Inc             Payment to vendor V10647                     67
  4/24/2018     Blue Beacon International, Inc             Payment to vendor V10647                   182
  4/27/2018     Blue Beacon International, Inc             Payment to vendor V10647                  208.5
   3/2/2018     Bluetarp Financial                         Payment to vendor V10590                  54.25
   3/9/2018     Bluetarp Financial                         Payment to vendor V10590                367.41
  4/27/2018     Bluetarp Financial                         Payment to vendor V10590                  316.6
   4/1/2018     Boon Chapman                               Boon Chapman                         46,503.59
   4/1/2018     Boon Chapman                               Boon Chapman                         54,119.99
   4/1/2018     Boon Chapman                               Boon Chapman                         65,673.85
  4/27/2018     Boon Chapman                               Payment to vendor V10868             16,643.64     182,941.07
  3/16/2018     Brenntag Pacific Inc.                      Payment to vendor V10516              1,037.50
  3/16/2018     Brian Dean                                 Payment to vendor V10710                   5.99
   3/2/2018     Brian Edmunson                             Payment to vendor V10812                197.23
   4/6/2018     Brian Edmunson                             Payment to vendor V10812                     47
   2/9/2018     CA Custom Fruit & Flavors                  Payment to vendor V10519              3,275.00
  3/30/2018     CA Custom Fruit & Flavors                  Payment to vendor V10519              4,100.00        7,375.00
  2/21/2018     Camfil USA, Inc.                           Payment to vendor V10028              2,666.10
   3/2/2018     Canon Financial Services, Inc.             Payment to vendor V10029              1,065.68
  3/23/2018     Canon Financial Services, Inc.             Payment to vendor V10029              1,099.77
  2/16/2018     Cascade Courier                            Payment to vendor V10670                   108
   2/9/2018     Cem Corporation                            Payment to vendor V10032              1,765.27
   3/2/2018     Cem Corporation                            Payment to vendor V10032                152.44
   4/5/2018     Centurylink                                Payment to vendor V10033                102.69
   5/3/2018     Centurylink                                Centurylink                             104.58
   2/9/2018     Charm Sciences, Inc.                       Payment to vendor V10543              2,262.88
  2/23/2018     Charm Sciences, Inc.                       Payment to vendor V10543                293.27
  2/16/2018     Charter Communications                     Payment to vendor V10591                124.17
   3/2/2018     Charter Communications                     Payment to vendor V10591                  129.9
  3/16/2018     Charter Communications                     Payment to vendor V10591                130.24
  4/20/2018     Charter Communications                     Payment to vendor V10591                147.92
   2/9/2018     CHEP Pallecon Solutions                    Payment to vendor V10503              3,038.28
  2/23/2018     CHEP Pallecon Solutions                    Payment to vendor V10503              7,950.00
   3/9/2018     CHEP Pallecon Solutions                    Payment to vendor V10503              1,953.18
  3/16/2018     CHEP Pallecon Solutions                    Payment to vendor V10503              3,351.84       16,293.30

EXHIBIT J
PAGE 3 of 20
                                 Case 18-31644-pcm11           Doc 152        Filed 06/01/18
                                        SUNSHINE DAIRY FOODS MANAGEMENT, LLC                   Case #18-31644-pcm11
                                      STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                                90 DAY CHECK REGISTER

                                                                                                         Total last 90
                                                                                                            Days
                                                                                            Original        (over
 Posting Date   Name                                      Description                       Amount         $6,425)
  4/27/2018     Chris Beck                                Payment to vendor V10627                  54
   2/9/2018     Cintas Corporation - 463                  Payment to vendor V10039            1,388.82
  2/16/2018     Cintas Corporation - 463                  Payment to vendor V10039            3,769.49
  2/21/2018     Cintas Corporation - 463                  Payment to vendor V10039            3,678.13
   3/2/2018     Cintas Corporation - 463                  Payment to vendor V10039               842.8
   3/9/2018     Cintas Corporation - 463                  Payment to vendor V10039            1,999.72
  3/16/2018     Cintas Corporation - 463                  Payment to vendor V10039            3,043.81
  3/23/2018     Cintas Corporation - 463                  Payment to vendor V10039            4,360.97
   4/6/2018     Cintas Corporation - 463                  Payment to vendor V10039              849.73
   5/1/2018     Cintas Corporation - 463                  Payment to vendor V10039            1,124.17      21,057.64
  2/23/2018     CIT Technology Fin Serv, Inc.             Payment to vendor V10542            1,919.69
   3/2/2018     CIT Technology Fin Serv, Inc.             Payment to vendor V10542              615.63
   3/9/2018     CIT Technology Fin Serv, Inc.             Payment to vendor V10542            1,524.48
  2/21/2018     CITIBANK LOS ANGELES                      CITIBANK LOS ANGELES                4,789.97
   3/2/2018     CITIBANK LOS ANGELES                      CITIBANK LOS ANGELES                5,408.88
  3/29/2018     CITIBANK LOS ANGELES                      CITIBANK LOS ANGELES                5,421.06
  3/30/2018     CITIBANK LOS ANGELES                      CITIBANK LOS ANGELES                5,639.10
  4/12/2018     CITIBANK LOS ANGELES                      CITIBANK LOS ANGELES                6,224.26
  4/26/2018     CITIBANK LOS ANGELES                      CITIBANK LOS ANGELES                5,120.47      32,603.74
  4/10/2018     City of Bellevue                          City of Bellevue                       86.34
  4/10/2018     City of Bellevue                          City of Bellevue                           1
  4/10/2018     City of Bellevue                          City of Bellevue                           4
  4/10/2018     City of Seattle                           City of Seattle                       527.17
  4/10/2018     City of Seattle                           City of Seattle                            1
  4/10/2018     City of Seattle                           City of Seattle                            4
  2/23/2018     City Of Tigard                            Payment to vendor V10044               100.1
  3/30/2018     Clatsop Fleet Service, Inc                Payment to vendor V10764              215.43
   4/6/2018     Clatsop Fleet Service, Inc                Payment to vendor V10764              373.74
   3/2/2018     Cole-Parmer Instrument Company, LLC       Payment to vendor V10661              189.77
  2/23/2018     Color Maker, Inc                          Payment to vendor V10522            3,787.00
   3/9/2018     Color Maker, Inc                          Payment to vendor V10522           13,761.00      17,548.00
   3/2/2018     Columbia Oregon 98th Ave Industrial LLC   Payment to vendor V10723           19,027.64
  3/29/2018     Columbia Oregon 98th Ave Industrial LLC   Payment to vendor V10723           20,441.04      39,468.68
   3/9/2018     Conan Fin Org, LLC                        Payment to vendor V10850            7,500.00
   4/5/2018     Conan Fin Org, LLC                        Payment to vendor V10850            6,000.00      13,500.00
   3/9/2018     Conrey Electric, Inc.                     Payment to vendor V10050            1,680.75
  3/16/2018     Conrey Electric, Inc.                     Payment to vendor V10050               351.3
  3/23/2018     Conrey Electric, Inc.                     Payment to vendor V10050            1,158.16
  2/27/2018     Country Lane Dairy                        Country Lane Dairy                 80,033.91
  3/14/2018     Country Lane Dairy                        Country Lane Dairy                 85,866.97
  3/28/2018     Country Lane Dairy                        Country Lane Dairy                 43,178.60
   4/4/2018     Country Lane Dairy                        Country Lane Dairy                133,049.91
  4/19/2018     Country Lane Dairy                        Country Lane Dairy                 86,495.60
  4/30/2018     Country Lane Dairy                        Country Lane Dairy                  8,092.99
   5/1/2018     Country Lane Dairy                        Payment to vendor V10052           80,428.96    517,146.94
  2/23/2018     Courier Direct, Inc.                      Payment to vendor V10759               57.24
  3/30/2018     Courier Direct, Inc.                      Payment to vendor V10759               19.08
  4/20/2018     Courier Direct, Inc.                      Payment to vendor V10759               19.08

EXHIBIT J
PAGE 4 of 20
                                Case 18-31644-pcm11           Doc 152      Filed 06/01/18
                                         SUNSHINE DAIRY FOODS MANAGEMENT, LLC                   Case #18-31644-pcm11
                                       STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                                 90 DAY CHECK REGISTER

                                                                                                           Total last 90
                                                                                                              Days
                                                                                             Original         (over
 Posting Date   Name                                       Description                       Amount          $6,425)
  2/21/2018     Craftsman Label, Inc.                      Payment to vendor V10524            3,149.00
  3/20/2018     Craftsman Label, Inc.                      Payment to vendor V10524            1,876.24
   2/9/2018     Crest Foods                                Payment to vendor V10525            2,500.00
   3/9/2018     Crest Foods                                Payment to vendor V10525            3,004.32
  4/16/2018     Crest Foods                                Crest Foods                        13,470.00       18,974.32
  2/16/2018     CRS Data Solutions                         Payment to vendor V10544            2,500.00
  2/23/2018     CRS Data Solutions                         Payment to vendor V10544            2,852.19
   3/2/2018     CRS Data Solutions                         Payment to vendor V10544                712.5
   3/9/2018     CRS Data Solutions                         Payment to vendor V10544            1,470.86
  3/16/2018     CRS Data Solutions                         Payment to vendor V10544            1,063.68        8,599.23
   5/7/2018     Cutty's Lawn Care                          Payment to vendor V10907                 555
  2/23/2018     Daco Corporation                           Payment to vendor V10054            7,078.86
   3/9/2018     Daco Corporation                           Payment to vendor V10054            8,880.64       15,959.50
  3/16/2018     Danisco USA, Inc                           Payment to vendor V10526           55,000.00
  3/23/2018     Danisco USA, Inc                           Payment to vendor V10526           60,754.24
   4/2/2018     Danisco USA, Inc                           Danisco USA, Inc                   13,338.03     129,092.27
   2/9/2018     Darigold                                   Darigold                           40,000.00
  2/16/2018     Darigold                                   Darigold                           52,800.00
   3/2/2018     Darigold                                   Darigold                           49,000.00     141,800.00
  2/21/2018     Dejarnett Sales, Inc.                      Payment to vendor V10058            5,672.98
   3/2/2018     Dejarnett Sales, Inc.                      Payment to vendor V10058              356.16
   3/9/2018     Dejarnett Sales, Inc.                      Payment to vendor V10058            4,845.41
  3/16/2018     Dejarnett Sales, Inc.                      Payment to vendor V10058            5,266.93       16,141.48
  2/23/2018     DeLaval Dairy Service                      Payment to vendor V10612                350.2
   3/9/2018     DeLaval Dairy Service                      Payment to vendor V10612            1,006.50
  3/16/2018     Dept of Consumer & Bus. Svcs.              Payment to vendor V10614                 44.8
  4/20/2018     Dept of Consumer & Bus. Svcs.              Payment to vendor V10614                 44.8
  2/23/2018     Desantis Landscapes, Inc.                  Payment to vendor V10567              281.33
   3/2/2018     Desantis Landscapes, Inc.                  Payment to vendor V10567              489.08
   3/9/2018     Desantis Landscapes, Inc.                  Payment to vendor V10567              489.08
  3/23/2018     Desantis Landscapes, Inc.                  Payment to vendor V10567              281.33
  2/16/2018     DiLorenzo & Company                        Payment to vendor V10618            3,940.00
   3/9/2018     DiLorenzo & Company                        Payment to vendor V10618                 675
  2/16/2018     Domino Foods, Inc                          Payment to vendor V10558           36,431.00
  2/28/2018     Domino Foods, Inc                          Payment to vendor V10558           57,760.90       94,191.90
  2/23/2018     DSM Nutritional Products, Inc.             Payment to vendor V10528           14,688.00
   3/9/2018     DSM Nutritional Products, Inc.             Payment to vendor V10528           14,688.00       29,376.00
  3/14/2018     Dude Solutions                             Payment to vendor V10882            1,176.00
  2/23/2018     Eberhards                                  Payment to vendor V10501            7,071.33
   3/2/2018     Eberhards                                  Payment to vendor V10501            2,035.20
   3/9/2018     Eberhards                                  Payment to vendor V10501            5,307.24
  3/16/2018     Eberhards                                  Payment to vendor V10501            9,398.24
  3/23/2018     Eberhards                                  Payment to vendor V10501            5,463.72
   4/6/2018     Eberhards                                  Payment to vendor V10501            4,194.48
  4/27/2018     Eberhards                                  Payment to vendor V10501            3,557.40       37,027.61
  2/21/2018     Edgar A. Weber & Company                   Payment to vendor V10066           20,381.91
  3/22/2018     Edgar A. Weber & Company                   Payment to vendor V10066            1,836.60       22,218.51
   2/9/2018     Electric, Inc.                             Payment to vendor V10067            9,075.69

EXHIBIT J
PAGE 5 of 20
                                 Case 18-31644-pcm11           Doc 152      Filed 06/01/18
                                         SUNSHINE DAIRY FOODS MANAGEMENT, LLC                    Case #18-31644-pcm11
                                       STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                                 90 DAY CHECK REGISTER

                                                                                                            Total last 90
                                                                                                               Days
                                                                                              Original         (over
 Posting Date   Name                                       Description                        Amount          $6,425)
  2/16/2018     Electric, Inc.                             Payment to vendor V10067            11,704.65
  2/23/2018     Electric, Inc.                             Payment to vendor V10067            10,738.19
   3/2/2018     Electric, Inc.                             Payment to vendor V10067             9,241.69
   3/9/2018     Electric, Inc.                             Payment to vendor V10067            12,092.07
  3/16/2018     Electric, Inc.                             Payment to vendor V10067            17,514.05
  3/30/2018     Electric, Inc.                             Payment to vendor V10067            11,830.06
   4/6/2018     Electric, Inc.                             Payment to vendor V10067            13,450.43
  4/20/2018     Electric, Inc.                             Payment to vendor V10067             1,299.14
  4/27/2018     Electric, Inc.                             Payment to vendor V10067             1,718.36       98,664.33
   3/9/2018     Elution Technologies                       Payment to vendor V10068             1,990.00
   2/9/2018     Ernest Packaging Solutions                 Ernest Packaging Solutions          12,138.78
  2/16/2018     Ernest Packaging Solutions                 Ernest Packaging Solutions          14,039.00
  2/23/2018     Ernest Packaging Solutions                 Ernest Packaging Solutions          14,669.51
   3/2/2018     Ernest Packaging Solutions                 Ernest Packaging Solutions          18,503.52
   3/9/2018     Ernest Packaging Solutions                 Ernest Packaging Solutions          16,732.59
  3/16/2018     Ernest Packaging Solutions                 Ernest Packaging Solutions          20,089.95
  3/23/2018     Ernest Packaging Solutions                 Ernest Packaging Solutions          16,108.00
  3/30/2018     Ernest Packaging Solutions                 Ernest Packaging Solutions          16,606.37
   4/6/2018     Ernest Packaging Solutions                 Ernest Packaging Solutions          15,173.03
  4/13/2018     Ernest Packaging Solutions                 Ernest Packaging Solutions          16,495.05
  4/20/2018     Ernest Packaging Solutions                 Ernest Packaging Solutions           7,448.63
  4/30/2018     Ernest Packaging Solutions                 Ernest Packaging Solutions           8,529.69     176,534.12
  2/16/2018     Eroad Inc.                                 Payment to vendor V10072             1,566.00
   3/2/2018     Eroad Inc.                                 Payment to vendor V10072             1,566.00
   3/9/2018     Eroad Inc.                                 Payment to vendor V10072             1,566.00
  3/23/2018     Eroad Inc.                                 Payment to vendor V10072             1,566.00
   3/2/2018     Eurofins DQCI, LLC                         Payment to vendor V10553             1,039.81
   3/9/2018     Eurofins DQCI, LLC                         Payment to vendor V10553               798.25
   2/9/2018     EverFresh Fruit Co.                        Payment to vendor V10531            14,016.14
  2/21/2018     EverFresh Fruit Co.                        Payment to vendor V10531             8,928.61
  2/26/2018     EverFresh Fruit Co.                        Payment to vendor V10531             2,300.00
   3/2/2018     EverFresh Fruit Co.                        Payment to vendor V10531            13,955.37
   3/9/2018     EverFresh Fruit Co.                        Payment to vendor V10531             5,849.03
  4/19/2018     EverFresh Fruit Co.                        Payment to vendor V10531            25,406.94       70,456.09
   3/2/2018     Evergreen Packaging Inc.                   Payment to vendor V10073               214.12
  2/23/2018     Evoqua                                     Payment to vendor V10487               199.38
  3/23/2018     Evoqua                                     Payment to vendor V10487                 200.6
  2/16/2018     Exova #774214                              Payment to vendor V10453             5,197.75
   3/2/2018     Exova #774214                              Payment to vendor V10453                 166.5
   3/7/2018     Exova #774214                              Payment to vendor V10453             8,108.00
  3/16/2018     Exova #774214                              Payment to vendor V10453                 673.5      14,145.75
   2/9/2018     Express Personnel Services                 Payment to vendor V10074             6,512.77
  2/23/2018     Express Personnel Services                 Payment to vendor V10074             3,360.76
   3/2/2018     Express Personnel Services                 Payment to vendor V10074             3,289.80
   3/9/2018     Express Personnel Services                 Payment to vendor V10074             5,133.61
  3/16/2018     Express Personnel Services                 Payment to vendor V10074             2,265.81
  3/23/2018     Express Personnel Services                 Payment to vendor V10074             3,592.48
   4/6/2018     Express Personnel Services                 Payment to vendor V10074             2,288.72

EXHIBIT J
PAGE 6 of 20
                                 Case 18-31644-pcm11           Doc 152       Filed 06/01/18
                                      SUNSHINE DAIRY FOODS MANAGEMENT, LLC                    Case #18-31644-pcm11
                                    STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                              90 DAY CHECK REGISTER

                                                                                                       Total last 90
                                                                                                           Days
                                                                                           Original        (over
 Posting Date   Name                                    Description                        Amount        $6,425)
  4/23/2018     Express Personnel Services              Payment to vendor V10074             8,032.58     34,476.53
   3/2/2018     Far West Distributors, Inc.             Payment to vendor V10532             3,149.02
  3/23/2018     Far West Distributors, Inc.             Payment to vendor V10532             3,149.02
  3/23/2018     Farm Power Misty Meadow, LLC            Payment to vendor V10875             1,610.00
  4/27/2018     Farm Power Misty Meadow, LLC            Payment to vendor V10875                  490
  2/16/2018     Farm Power Tillamook, LLC               Payment to vendor V10845             2,520.00
   3/9/2018     Farm Power Tillamook, LLC               Payment to vendor V10845                  910
  4/27/2018     Farm Power Tillamook, LLC               Payment to vendor V10845                  700
   3/9/2018     Fastenal                                Payment to vendor V10669                 53.46
  3/23/2018     Fastenal                                Payment to vendor V10669                 16.93
   4/6/2018     Fastenal                                Payment to vendor V10669                 14.51
   3/2/2018     FEDEX                                   Payment to vendor V10546                 991.2
   3/9/2018     FEDEX                                   Payment to vendor V10546             2,416.89
  3/23/2018     FEDEX                                   Payment to vendor V10546             4,438.28       7,846.37
  4/23/2018     Fisher Phillips                         Payment to vendor V10653                  181
  2/23/2018     Fixed Fee IT                            Payment to vendor V10541             1,821.98
   3/2/2018     Ford Motor Credit Co.                   Payment to vendor V10078               737.02
  3/23/2018     Ford Motor Credit Co.                   Payment to vendor V10078               701.92
  2/23/2018     Foss North America Inc.                 Payment to vendor V10080               476.09
  4/27/2018     Frank Wright                            Payment to vendor V10726                  120
   2/9/2018     Freewire Broadband                      Payment to vendor V10565                  975
  3/16/2018     Freewire Broadband                      Payment to vendor V10565             1,950.00
   4/6/2018     Freewire Broadband                      Payment to vendor V10565                  975
  3/23/2018     FUNKE FILTERS                           Payment to vendor V10560                 750.5
   3/2/2018     Furrow Pump Inc.                        Payment to vendor V10082                  402
   3/9/2018     Furrow Pump Inc.                        Payment to vendor V10082             2,098.80
   2/9/2018     GCR Tires & Service-Portland            Payment to vendor V10084             3,412.44
   3/2/2018     GCR Tires & Service-Portland            Payment to vendor V10084             1,087.52
   3/9/2018     GCR Tires & Service-Portland            Payment to vendor V10084             3,893.42       8,393.38
  4/13/2018     Gillco Ingredients                      Payment of Invoice PI014150          7,651.90
  3/23/2018     Givaudan                                Payment to vendor V10824            14,321.95
  4/18/2018     Givaudan                                Payment to vendor V10824            23,210.11     37,532.06
   2/9/2018     GNSA                                    GNSA                               102,629.76
  2/13/2018     GNSA                                    GNSA                               182,067.30
  2/23/2018     GNSA                                    GNSA                                 3,213.40
  2/27/2018     GNSA                                    GNSA                               175,243.20
   3/1/2018     GNSA                                    GNSA                                94,463.90
   3/8/2018     GNSA                                    GNSA                                95,000.00
  3/13/2018     GNSA                                    GNSA                               189,234.78
  3/20/2018     GNSA                                    GNSA                                82,827.22
  3/27/2018     GNSA                                    GNSA                               171,247.85
  3/30/2018     GNSA                                    GNSA                                 2,667.68
   4/5/2018     GNSA                                    GNSA                                39,796.04
  4/10/2018     GNSA                                    GNSA                               175,919.88
  4/13/2018     GNSA                                    GNSA                                36,598.64
  4/16/2018     GNSA                                    GNSA                                82,264.11
  4/25/2018     GNSA                                    GNSA                               169,414.15
  4/25/2018     GNSA                                    GNSA                               226,719.60

EXHIBIT J
PAGE 7 of 20
                               Case 18-31644-pcm11          Doc 152       Filed 06/01/18
                                         SUNSHINE DAIRY FOODS MANAGEMENT, LLC                  Case #18-31644-pcm11
                                       STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                                 90 DAY CHECK REGISTER

                                                                                                        Total last 90
                                                                                                           Days
                                                                                             Original      (over
 Posting Date   Name                                       Description                       Amount       $6,425)
  4/30/2018     GNSA                                       GNSA                               57,357.26
   5/8/2018     GNSA                                       GNSA                              170,616.30
   5/8/2018     GNSA                                       GNSA                               74,956.39 2,132,237.46
   3/9/2018     GNT USA, Inc.                              Payment to vendor V10094            6,930.00
  3/23/2018     GNT USA, Inc.                              Payment to vendor V10094           12,121.79    19,051.79
   4/6/2018     Gordon Johnson                             Payment to vendor V10722              199.04
   2/9/2018     Grainger                                   Payment to vendor V10096            1,028.38
   3/2/2018     Grainger                                   Payment to vendor V10096            1,929.51
  3/23/2018     Grainger                                   Payment to vendor V10096            3,943.62     6,901.51
   3/9/2018     Graphic Packaging International Inc.       Payment to vendor V10848            2,769.00
  2/16/2018     Greg Moore                                 Payment to vendor V10771              541.62
  3/16/2018     Greg Moore                                 Payment to vendor V10771                340.2
  3/27/2018     Greg Moore                                 Payment of Invoice PI014167         3,310.18
  3/27/2018     Greg Moore                                 Payment of Invoice PI014168         2,088.41
  3/28/2018     Greg Moore                                 Greg Moore                            843.48     7,123.89
   3/9/2018     Greiner Packaging Corp.                    Payment to vendor V10098            9,420.03     9,420.03
  2/16/2018     Grupo Phoenix                              Payment to vendor V10842           48,848.91    48,848.91
   2/9/2018     Guardian                                   Payment to vendor V10099           13,351.67
   3/5/2018     Guardian                                   Guardian                           11,116.20
   4/3/2018     Guardian                                   Guardian                           11,800.34
   5/2/2018     Guardian                                   Guardian                           11,383.99    34,300.53
  2/16/2018     Guckenheimer                               Payment to vendor V10751                104.4
   3/2/2018     Haabtec, Inc.                              Payment to vendor V10780              232.31
  2/27/2018     Hanmi Bank Lease Services                  Hanmi Bank Lease Services           2,839.23
   3/5/2018     Hanmi Bank Lease Services                  Hanmi Bank Lease Services           2,839.23
   4/3/2018     Hanmi Bank Lease Services                  Hanmi Bank Lease Services           2,839.23
   5/3/2018     Hanmi Bank Lease Services                  Hanmi Bank Lease Services           2,839.23    11,356.92
  3/22/2018     Harrington Industrial Plastics             Payment to vendor V10831            2,001.43
   2/9/2018     Harvest Food Solutions, LLC                Payment to vendor V10104            1,625.00
   3/2/2018     Harvest Food Solutions, LLC                Payment to vendor V10104              118.75
   3/9/2018     Harvest Food Solutions, LLC                Payment to vendor V10104            1,000.00
  2/16/2018     High Desert Milk, Inc.                     Payment to vendor V10685           34,398.10
  2/21/2018     High Desert Milk, Inc.                     Payment to vendor V10685           36,051.60    70,449.70
  2/16/2018     Hilton Supply Management                   Payment to vendor V10108              374.24
   3/9/2018     Hilton Supply Management                   Payment to vendor V10108              185.46
  4/27/2018     Hunter Quinton                             Payment to vendor V10798                 171
   2/9/2018     Hygiena LLC                                Payment to vendor V10110            4,762.68
  2/16/2018     Hygiena LLC                                Payment to vendor V10110            3,168.62
   3/6/2018     Hygiena LLC                                Payment to vendor V10110            2,950.44    10,881.74
  4/18/2018     ICL Specialty Products, Inc                Payment to vendor V10828            5,606.19
  2/16/2018     IFM Efector                                Payment to vendor V10826            1,381.21
   2/9/2018     IGI Resources, Inc.                        Payment to vendor V10116            6,055.63
  2/16/2018     IGI Resources, Inc.                        Payment to vendor V10116            6,992.15
  2/23/2018     IGI Resources, Inc.                        Payment to vendor V10116            9,159.19
   3/9/2018     IGI Resources, Inc.                        Payment to vendor V10116            8,283.63    30,490.60
  3/26/2018     Indiana Department of Revenue              Indiana Department of Revenue            411
  2/21/2018     International Paper                        Payment to vendor V10127            4,155.00
  3/20/2018     International Paper                        International Paper                 6,165.00

EXHIBIT J
PAGE 8 of 20
                                 Case 18-31644-pcm11           Doc 152      Filed 06/01/18
                                         SUNSHINE DAIRY FOODS MANAGEMENT, LLC                    Case #18-31644-pcm11
                                       STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                                 90 DAY CHECK REGISTER

                                                                                                            Total last 90
                                                                                                               Days
                                                                                              Original         (over
 Posting Date   Name                                       Description                        Amount          $6,425)
  4/11/2018     International Paper                        Payment to vendor V10127             5,312.00
   5/4/2018     International Paper                        International Paper                 10,031.20       25,663.20
   3/2/2018     iPROMOTEu                                  Payment to vendor V10608                  120
  3/16/2018     iTi Tropicals, Inc.                        Payment to vendor V10131            19,460.00       19,460.00
   2/9/2018     J&D Refrigerated Services                  Payment to vendor V10790                  294
   3/2/2018     J&D Refrigerated Services                  Payment to vendor V10790                  735
   3/9/2018     J&D Refrigerated Services                  Payment to vendor V10790             2,898.00
  3/23/2018     J&D Refrigerated Services                  Payment to vendor V10790             8,113.00
   4/2/2018     J&D Refrigerated Services                  Payment to vendor V10790                  693
   4/6/2018     J&D Refrigerated Services                  Payment to vendor V10790                  546
  4/18/2018     J&D Refrigerated Services                  Payment to vendor V10790             3,458.00       16,737.00
  4/20/2018     James Cain                                 Payment of Invoice PI014702            984.59
  4/20/2018     James Cain                                 Payment of Invoice PI014703            773.56
   2/9/2018     James Fenceroy Jr.                         Payment to vendor V10879             1,730.19
   4/6/2018     Jason Boggess                              Jason Boggess                        4,123.65
  4/27/2018     Jennifer Johnstone                         Payment to vendor V10906             1,959.02
  3/29/2018     Jennifer Micahels                          Payment to vendor V10893             1,140.29
  3/23/2018     Jiffy Lube International                   Payment to vendor V10136                 79.49
  4/27/2018     Jiffy Lube International                   Payment to vendor V10136                    20
  2/15/2018     Joe Niiranen                               Payment to vendor V10809             2,350.08
   3/2/2018     Jogue Inc./Northville Labs                 Jogue Inc./Northville Labs             804.48
  4/27/2018     Jogue Inc./Northville Labs                 Payment to vendor V10139                 12.95
  2/12/2018     Jonathan Alford                            Payment to vendor V10880             1,551.63
   3/2/2018     Josh Salvage                               Payment to vendor V10814                 77.85
  3/16/2018     Josh Salvage                               Payment to vendor V10814                 34.86
   4/6/2018     Josh Salvage                               Payment to vendor V10814               134.04
   5/4/2018     Josh Salvage                               Payment to vendor V10814                  9.72
  2/12/2018     Josh Zank                                  Payment to vendor V10857             2,386.13
   2/9/2018     Jubitz Fleet Services                      Payment to vendor V10141             5,473.32
  2/16/2018     Jubitz Fleet Services                      Payment to vendor V10141             7,423.57
   3/9/2018     Jubitz Fleet Services                      Payment to vendor V10141             6,621.49
  3/16/2018     Jubitz Fleet Services                      Payment to vendor V10141             6,572.71
  4/25/2018     Jubitz Fleet Services                      Payment to vendor V10141            10,938.19       37,029.28
   2/9/2018     Jubitz Travel Center                       Payment to vendor V10142                    43
   3/9/2018     Jubitz Travel Center                       Payment to vendor V10142                    52
  3/23/2018     Jubitz Travel Center                       Payment to vendor V10142                    26
  4/30/2018     Justin Shaffer                             Payment to vendor V10854               160.65
  2/15/2018     Karamanos Holdings                         Payment to vendor V10145            10,311.40
  3/20/2018     Karamanos Holdings                         Payment to vendor V10145            10,311.40
   5/9/2018     Karamanos Holdings                         Karamanos Holdings                 200,000.00     220,622.80
   3/9/2018     Kerry Ingredients & Flavours               Payment to vendor V10149             9,400.56
   4/2/2018     Kerry Ingredients & Flavours               Payment to vendor V10149            10,167.69
   4/5/2018     Kerry Ingredients & Flavours               Kerry Ingredients & Flavours           426.41       19,994.66
  2/16/2018     Kinesis                                    Payment to vendor V10779             2,953.75
  2/23/2018     Kinesis                                    Payment to vendor V10779             2,500.00
   3/2/2018     Kinesis                                    Payment to vendor V10779             2,500.00        7,953.75
  2/16/2018     KOF-K Kosher Supervision                   Payment to vendor V10154                  292
   3/9/2018     KOF-K Kosher Supervision                   Payment to vendor V10154             2,048.00

EXHIBIT J
PAGE 9 of 20
                                 Case 18-31644-pcm11           Doc 152       Filed 06/01/18
                                       SUNSHINE DAIRY FOODS MANAGEMENT, LLC                   Case #18-31644-pcm11
                                     STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                               90 DAY CHECK REGISTER

                                                                                                         Total last 90
                                                                                                            Days
                                                                                           Original         (over
 Posting Date   Name                                     Description                       Amount          $6,425)
   3/2/2018     Koldkist Bottled Water                   Payment to vendor V10836                185.5
   3/9/2018     Koldkist Bottled Water                   Payment to vendor V10836              148.25
  2/12/2018     Kool Pak, LLC                            Kool Pak, LLC                      11,170.26
  2/23/2018     Kool Pak, LLC                            Payment to vendor V10155            1,820.96
   3/2/2018     Kool Pak, LLC                            Payment to vendor V10155            1,425.08
   3/9/2018     Kool Pak, LLC                            Payment to vendor V10155            2,178.88
  3/16/2018     Kool Pak, LLC                            Payment to vendor V10155            7,710.97
  3/23/2018     Kool Pak, LLC                            Payment to vendor V10155            5,821.22
   4/2/2018     Kool Pak, LLC                            Payment to vendor V10155            1,260.75
   4/6/2018     Kool Pak, LLC                            Payment to vendor V10155            3,190.19
  4/16/2018     Kool Pak, LLC                            Kool Pak, LLC                       2,908.58
  4/20/2018     Kool Pak, LLC                            Payment to vendor V10155            6,166.16
  4/27/2018     Kool Pak, LLC                            Payment to vendor V10155            2,133.92       45,786.97
   3/2/2018     Landscape Management & Services          Payment to vendor V10159                 469
   2/8/2018     Larsen's Creamery, Inc.                  Payment to vendor V10160          125,431.78
  2/14/2018     Larsen's Creamery, Inc.                  Payment to vendor V10160           36,700.75
  2/21/2018     Larsen's Creamery, Inc.                  Payment to vendor V10160           41,814.57
  2/28/2018     Larsen's Creamery, Inc.                  Payment to vendor V10160           46,389.41
   3/7/2018     Larsen's Creamery, Inc.                  Payment to vendor V10160           47,812.63
  3/14/2018     Larsen's Creamery, Inc.                  Payment to vendor V10160           21,294.59
  3/29/2018     Larsen's Creamery, Inc.                  Payment to vendor V10160           90,513.21
  4/11/2018     Larsen's Creamery, Inc.                  Payment to vendor V10160           84,425.46
  4/18/2018     Larsen's Creamery, Inc.                  Payment to vendor V10160           69,973.90     564,356.30
  2/16/2018     Les Schwab                               Payment to vendor V10164                389.2
   3/2/2018     Les Schwab                               Payment to vendor V10164                   15
  3/23/2018     Les Schwab                               Payment to vendor V10164                   15
  2/16/2018     Lochmead Dairy, Inc.                     Payment to vendor V10169              576.08
  2/16/2018     Loomis Armored Service, Inc.             Payment to vendor V10170              397.24
   3/2/2018     Loomis Armored Service, Inc.             Payment to vendor V10170                144.3
  3/23/2018     Loomis Armored Service, Inc.             Payment to vendor V10170                144.3
   2/8/2018     LTI, Inc.                                Payment to vendor V10171           27,291.21
  2/23/2018     LTI, Inc.                                Payment to vendor V10171           35,166.99
   3/2/2018     LTI, Inc.                                Payment to vendor V10171           27,628.30
  3/16/2018     LTI, Inc.                                Payment to vendor V10171           30,224.96
  3/30/2018     LTI, Inc.                                Payment to vendor V10171           33,383.96
  4/27/2018     LTI, Inc.                                Payment to vendor V10171           24,238.30     177,933.72
   2/9/2018     Lucas Foods, Inc.                        Payment to vendor V10172            2,639.20
  2/16/2018     Lucas Foods, Inc.                        Payment to vendor V10172            3,951.98
  2/23/2018     Lucas Foods, Inc.                        Payment to vendor V10172            1,072.88
   3/2/2018     Lucas Foods, Inc.                        Payment to vendor V10172            6,606.70
   3/9/2018     Lucas Foods, Inc.                        Payment to vendor V10172            2,365.63
  3/16/2018     Lucas Foods, Inc.                        Payment to vendor V10172            1,552.75       18,189.14
   3/9/2018     Mackenzie                                Payment to vendor V10863            1,021.45
  2/16/2018     Marcus Welch                             Payment to vendor V10813                56.99
   5/4/2018     Marcus Welch                             Payment to vendor V10813              104.11
  2/16/2018     Market Administrator                     Market Administrator               35,089.00
  3/16/2018     Market Administrator                     Market Administrator               23,793.44
  4/16/2018     Market Administrator                     Market Administrator               13,027.30       71,909.74

EXHIBIT J
PAGE 10 of 20
                               Case 18-31644-pcm11           Doc 152      Filed 06/01/18
                                       SUNSHINE DAIRY FOODS MANAGEMENT, LLC                     Case #18-31644-pcm11
                                     STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                               90 DAY CHECK REGISTER

                                                                                                           Total last 90
                                                                                                              Days
                                                                                             Original         (over
 Posting Date   Name                                     Description                         Amount          $6,425)
   4/6/2018     Maul Foster Alongi, Inc                  Payment to vendor V10890              1,040.00
   5/3/2018     Maul Foster Alongi, Inc                  Payment to vendor V10890              2,270.00
   3/2/2018     Maverick Welding Supplies Inc.           Payment to vendor V10178              1,686.07
   3/9/2018     Maverick Welding Supplies Inc.           Payment to vendor V10178                496.31
  3/23/2018     Maverick Welding Supplies Inc.           Payment to vendor V10178                   628
  2/27/2018     Mayfield Farms, LLC                      Mayfield Farms, LLC                 107,309.54
  3/14/2018     Mayfield Farms, LLC                      Mayfield Farms, LLC                  84,052.86
  3/28/2018     Mayfield Farms, LLC                      Mayfield Farms, LLC                  60,190.28
   4/4/2018     Mayfield Farms, LLC                      Mayfield Farms, LLC                 132,902.28
  4/19/2018     Mayfield Farms, LLC                      Mayfield Farms, LLC                 102,142.28
   5/1/2018     Mayfield Farms, LLC                      Payment to vendor V10179             90,983.20     577,580.44
   2/9/2018     McGuire Bearing Company                  Payment to vendor V10181                   140
  3/16/2018     McGuire Bearing Company                  Payment to vendor V10181                210.16
  2/15/2018     McKinney Trailer Rentals Inc.            McKinney Trailer Rentals Inc.              275
  2/21/2018     McKinney Trailer Rentals Inc.            McKinney Trailer Rentals Inc.           997.22
  2/21/2018     McKinney Trailer Rentals Inc.            McKinney Trailer Rentals Inc.         2,245.00
   3/2/2018     McKinney Trailer Rentals Inc.            McKinney Trailer Rentals Inc.         1,196.40
  3/29/2018     McKinney Trailer Rentals Inc.            McKinney Trailer Rentals Inc.              275
  3/29/2018     McKinney Trailer Rentals Inc.            McKinney Trailer Rentals Inc.         3,995.45
  3/29/2018     McKinney Trailer Rentals Inc.            McKinney Trailer Rentals Inc.             983.6
  4/12/2018     McKinney Trailer Rentals Inc.            McKinney Trailer Rentals Inc.              275
  4/20/2018     McKinney Trailer Rentals Inc.            McKinney Trailer Rentals Inc.         2,245.00
  4/26/2018     McKinney Trailer Rentals Inc.            McKinney Trailer Rentals Inc.              950
   5/4/2018     McKinney Trailer Rentals Inc.            McKinney Trailer Rentals Inc.              275       13,712.67
  2/16/2018     McMaster-Carr Supply Company             Payment to vendor V10183              1,266.34
   3/2/2018     McMaster-Carr Supply Company             Payment to vendor V10183                599.52
   3/9/2018     McMaster-Carr Supply Company             Payment to vendor V10183                699.07
  3/16/2018     McMaster-Carr Supply Company             Payment to vendor V10183                500.97
  3/23/2018     McMaster-Carr Supply Company             Payment to vendor V10183                562.77
  3/23/2018     Measure-Tech, Inc.                       Payment to vendor V10185                906.86
  2/16/2018     Mercantum (U.S.) Corp.                   Payment to vendor V10186              5,051.03
   2/9/2018     Metro Overhead Door                      Payment to vendor V10189                   535
  2/23/2018     Mettler Toledo                           Payment to vendor V10190                538.64
  3/23/2018     Mettler Toledo                           Payment to vendor V10190                504.07
   2/8/2018     Michael Foods, Inc.                      Payment to vendor V10762              2,100.60
  2/28/2018     Michael Foods, Inc.                      Michael Foods, Inc.                   2,100.60
  3/14/2018     Michael Foods, Inc.                      Michael Foods, Inc.                   2,100.60
  3/26/2018     Michael Foods, Inc.                      Michael Foods, Inc.                   1,709.28
  3/30/2018     Michael Foods, Inc.                      Michael Foods, Inc.                   2,129.40
   4/4/2018     Michael Foods, Inc.                      Michael Foods, Inc.                   2,129.40       12,269.88
  2/16/2018     Mike Speer                               Payment to vendor V10841              1,012.28
  2/16/2018     Miller Paint Company                     Payment to vendor V10198                784.85
  3/16/2018     Miller Paint Company                     Payment to vendor V10198                125.05
  3/23/2018     Miller Paint Company                     Payment to vendor V10198                154.65
  3/22/2018     Mitchell Lewis & Staver Co.              Payment to vendor V10817              1,018.96
  3/22/2018     Moises A. Villanueva                     Payment to vendor V10891                278.12
   3/2/2018     Moonstruck Chocolate Company             Payment to vendor V10450                453.42
   3/2/2018     Moss Adams LLP                           Payment to vendor V10733             26,270.00

EXHIBIT J
PAGE 11 of 20
                                Case 18-31644-pcm11          Doc 152        Filed 06/01/18
                                       SUNSHINE DAIRY FOODS MANAGEMENT, LLC                   Case #18-31644-pcm11
                                     STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                               90 DAY CHECK REGISTER

                                                                                                       Total last 90
                                                                                                           Days
                                                                                           Original        (over
 Posting Date   Name                                     Description                       Amount        $6,425)
   3/2/2018     Moss Adams LLP                           Payment to vendor V10733            9,000.00     35,270.00
  2/16/2018     MRV Dairy Solutions                      Payment to vendor V10205            1,465.22
  3/23/2018     MRV Dairy Solutions                      Payment to vendor V10205            2,011.21
  4/18/2018     Multnomah County Circuit Court           Payment to vendor V10615                   44
  2/23/2018     Multnomah County Division of             Payment to vendor V10660           42,587.89
  3/16/2018     Multnomah County Division of             Payment to vendor V10660              200.76
  3/29/2018     Multnomah County Division of             Payment to vendor V10660           15,369.42     58,158.07
  2/23/2018     NACM Northwest                           Payment to vendor V10207                680.3
  3/23/2018     NACM Northwest                           Payment to vendor V10207                 39.4
  4/20/2018     NACM Northwest                           Payment to vendor V10207                55.32
  2/16/2018     National Food Corporation                Payment to vendor V10209            8,272.80
   3/9/2018     National Food Corporation                Payment to vendor V10209            1,863.00
  3/16/2018     National Food Corporation                Payment to vendor V10209            3,312.00
  3/23/2018     National Food Corporation                Payment to vendor V10209            6,280.80
   4/6/2018     National Food Corporation                Payment to vendor V10209            4,625.40
  4/20/2018     National Food Corporation                Payment to vendor V10209            7,674.00
  4/27/2018     National Food Corporation                Payment to vendor V10209           10,382.50     42,410.50
  2/16/2018     NCS Services, LLC                        Payment to vendor V10701              532.28
  2/16/2018     Nelson Jameson                           Payment to vendor V10211            5,868.44
   3/2/2018     Nelson Jameson                           Payment to vendor V10211            2,897.37
  3/16/2018     Nelson Jameson                           Payment to vendor V10211            2,467.49
  3/23/2018     Nelson Jameson                           Payment to vendor V10211              530.62     11,763.92
  2/16/2018     Nestle Quality Assurance Inc.            Payment to vendor V10214            1,044.00
   3/2/2018     Nestle Quality Assurance Inc.            Payment to vendor V10214            1,044.00
   3/9/2018     Nestle Quality Assurance Inc.            Payment to vendor V10214            1,740.00
  3/16/2018     Nestle Quality Assurance Inc.            Payment to vendor V10214            1,740.00
  3/23/2018     Nestle Quality Assurance Inc.            Payment to vendor V10214            1,740.00       7,308.00
  2/21/2018     New York Investment Mgmt., LLC           New York Investment Mgmt., LLC        595.49
   3/2/2018     New York Investment Mgmt., LLC           New York Investment Mgmt., LLC        594.63
  3/29/2018     New York Investment Mgmt., LLC           New York Investment Mgmt., LLC        624.29
   4/2/2018     New York Investment Mgmt., LLC           New York Investment Mgmt., LLC          589.9
  4/12/2018     New York Investment Mgmt., LLC           New York Investment Mgmt., LLC        662.11
  4/26/2018     New York Investment Mgmt., LLC           New York Investment Mgmt., LLC        210.78
  4/26/2018     New York Investment Mgmt., LLC           New York Investment Mgmt., LLC           200
  4/26/2018     New York Investment Mgmt., LLC           New York Investment Mgmt., LLC           200
  4/26/2018     New York Investment Mgmt., LLC           New York Investment Mgmt., LLC        869.87
   3/2/2018     NIPR LLC                                 Payment to vendor V10578            5,120.00
   4/5/2018     NIPR LLC                                 Payment to vendor V10578            2,565.40       7,685.40
  2/15/2018     Norman Davidson                          Payment to vendor V10832            3,500.00
   3/6/2018     Norman Davidson                          Payment to vendor V10832            3,500.00
  3/20/2018     Norman Davidson                          Payment to vendor V10832            3,500.00
   4/2/2018     Norman Davidson                          Payment to vendor V10832            3,500.00
  4/11/2018     Norman Davidson                          Payment to vendor V10832            3,500.00
   5/4/2018     Norman Davidson                          Payment to vendor V10832            3,500.00     21,000.00
   3/2/2018     Northwest Control Company Inc.           Payment to vendor V10221                 560
   4/3/2018     Northwest Food Show, LLC                 Payment to vendor V10889                 900
  2/27/2018     Northwest Natural Gas Company            Northwest Natural Gas Company       3,064.62
  2/27/2018     Northwest Natural Gas Company            Northwest Natural Gas Company       2,094.62

EXHIBIT J
PAGE 12 of 20
                                Case 18-31644-pcm11          Doc 152      Filed 06/01/18
                                       SUNSHINE DAIRY FOODS MANAGEMENT, LLC                   Case #18-31644-pcm11
                                     STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                               90 DAY CHECK REGISTER

                                                                                                       Total last 90
                                                                                                          Days
                                                                                            Original      (over
 Posting Date   Name                                     Description                        Amount       $6,425)
  2/27/2018     Northwest Natural Gas Company            Northwest Natural Gas Company        2,271.63
  2/27/2018     Northwest Natural Gas Company            Northwest Natural Gas Company          226.68
  2/27/2018     Northwest Natural Gas Company            Northwest Natural Gas Company          383.55
  3/16/2018     Northwest Natural Gas Company            Payment to vendor V10225             4,190.35
  4/10/2018     Northwest Natural Gas Company            Northwest Natural Gas Company          613.88
  4/16/2018     Northwest Natural Gas Company            Northwest Natural Gas Company            137.6
  4/16/2018     Northwest Natural Gas Company            Northwest Natural Gas Company        1,441.26
  4/16/2018     Northwest Natural Gas Company            Northwest Natural Gas Company            72.87   14,497.06
   3/2/2018     NuBiome, Inc.                            Payment to vendor V10717               508.95
  3/16/2018     Nurnberg Scientific                      Payment to vendor V10230               340.14
   2/9/2018     ODOT/MCTD                                Payment to vendor V10621             5,375.18
   3/2/2018     ODOT/MCTD                                Payment to vendor V10621             3,255.28
  3/23/2018     ODOT/MCTD                                Payment to vendor V10621             3,868.42
   4/6/2018     ODOT/MCTD                                Payment to vendor V10621               325.52
  4/17/2018     ODOT/MCTD                                Payment to vendor V10621             5,126.97    17,951.37
   2/9/2018     Office Depot Credit Plan                 Payment to vendor V10236             3,459.44
   3/2/2018     Office Depot Credit Plan                 Payment to vendor V10236                 119.6
   4/6/2018     Office Depot Credit Plan                 Payment to vendor V10236                 35.12
  3/16/2018     Oil Filter Service Company               Payment to vendor V10237               588.16
   3/9/2018     Oilseeds                                 Payment to vendor V10823             3,992.44
   2/9/2018     Oregon Dairy Products Commission         Payment to vendor V10241             4,135.43
  2/16/2018     Oregon Dairy Products Commission         Payment to vendor V10241             4,027.46
  2/23/2018     Oregon Dairy Products Commission         Payment to vendor V10241             4,233.00
   3/9/2018     Oregon Dairy Products Commission         Payment to vendor V10241             4,106.26    16,502.15
   3/2/2018     Oregon Department of Revenue             Payment to vendor V10692               947.12
  3/23/2018     Oregon Department of Revenue             Payment to vendor V10692             4,239.57
  2/23/2018     Oregon Food Bank                         Payment to vendor V10658             2,500.00
  2/13/2018     Oregon Milk Marketing Federation         Oregon Milk Marketing Federation   130,000.00
  2/21/2018     Oregon Milk Marketing Federation         Oregon Milk Marketing Federation    57,500.11
  2/26/2018     Oregon Milk Marketing Federation         Oregon Milk Marketing Federation   159,477.97
  3/15/2018     Oregon Milk Marketing Federation         Oregon Milk Marketing Federation   159,057.27
  3/29/2018     Oregon Milk Marketing Federation         Oregon Milk Marketing Federation   190,408.46
  4/17/2018     Oregon Milk Marketing Federation         Oregon Milk Marketing Federation   201,390.86
  4/30/2018     Oregon Milk Marketing Federation         Oregon Milk Marketing Federation   193,464.44 1,091,299.11
   4/9/2018     Organic Certifiers                       Payment to vendor V10249             3,025.00
  2/26/2018     Organic Valley                           Organic Valley                      16,640.00
  3/21/2018     Organic Valley                           Organic Valley                      23,760.00    40,400.00
  2/14/2018     Organic West Milk, Inc.                  Organic West Milk, Inc.            102,875.76
  2/23/2018     Organic West Milk, Inc.                  Organic West Milk, Inc.             61,568.00
   3/2/2018     Organic West Milk, Inc.                  Organic West Milk, Inc.             72,167.04
  3/14/2018     Organic West Milk, Inc.                  Organic West Milk, Inc.             11,941.20
  3/28/2018     Organic West Milk, Inc.                  Organic West Milk, Inc.             14,079.12
  4/12/2018     Organic West Milk, Inc.                  Organic West Milk, Inc.             37,068.80 299,699.92
   3/9/2018     Osgood Industries, Inc.                  Payment to vendor V10253             3,530.95
  3/16/2018     Pacific Coast Americas, LLC              Payment to vendor V10822             3,522.18
   2/9/2018     Pacific Foods Of Oregon, Inc.            Payment to vendor V10258             9,268.50
  3/16/2018     Pacific Foods Of Oregon, Inc.            Payment to vendor V10258            88,974.56    98,243.06
  2/21/2018     Pacific Office Automation                Payment to vendor V10260             2,663.21

EXHIBIT J
PAGE 13 of 20
                                Case 18-31644-pcm11          Doc 152       Filed 06/01/18
                                         SUNSHINE DAIRY FOODS MANAGEMENT, LLC                   Case #18-31644-pcm11
                                       STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                                 90 DAY CHECK REGISTER

                                                                                                           Total last 90
                                                                                                              Days
                                                                                             Original         (over
 Posting Date   Name                                       Description                       Amount          $6,425)
   3/9/2018     Pacific Office Automation                  Payment to vendor V10259                937.7
  3/16/2018     Pacific Office Automation                  Payment to vendor V10259              782.21
  3/23/2018     Pacific Office Automation                  Payment to vendor V10259                70.01
   4/6/2018     Pacific Office Automation                  Payment to vendor V10888            2,250.00
  4/17/2018     Pacific Office Automation                  Payment to vendor V10888            6,851.28       13,554.41
   3/2/2018     Pacific Power                              Pacific Power                      10,438.26
  3/16/2018     Pacific Power                              Payment to vendor V10261              305.75
   4/5/2018     Pacific Power                              Pacific Power                      10,443.23
  4/20/2018     Pacific Power                              Pacific Power                         250.17
  4/20/2018     Pacific Power                              Pacific Power                       9,293.79       30,731.20
   2/9/2018     Paetec                                     Payment to vendor V10264            1,949.96
  3/16/2018     Paetec                                     Payment to vendor V10264              156.27
  4/18/2018     Paetec                                     Payment to vendor V10264              616.36
   4/6/2018     Paramount Supply Co.                       Payment to vendor V10268              282.99
  3/16/2018     Parishad Ehfad                             Payment to vendor V10624            2,737.54
   3/2/2018     Patrick Ryan                               Payment to vendor V10858                89.64
  3/16/2018     Patrick Ryan                               Payment to vendor V10858                 85.7
   4/6/2018     Patrick Ryan                               Payment to vendor V10858                82.62
   5/4/2018     Patrick Ryan                               Payment to vendor V10858              135.46
   3/2/2018     Paul Brong Machine Works, Inc.             Payment to vendor V10274                 486
   3/9/2018     PB Leiner                                  Payment to vendor V10276            8,357.27        8,357.27
  2/21/2018     Penske Truck Leasing Company LP            Penske Truck Leasing Company LP    41,787.82
  3/29/2018     Penske Truck Leasing Company LP            Penske Truck Leasing Company LP    36,544.65
  4/20/2018     Penske Truck Leasing Company LP            Penske Truck Leasing Company LP    28,070.77     106,403.24
   3/2/2018     Permacold Engineering Inc.                 Payment to vendor V10280            7,060.00
   3/9/2018     Permacold Engineering Inc.                 Payment to vendor V10280            5,045.50
  4/24/2018     Permacold Engineering Inc.                 Payment to vendor V10280            1,640.00       13,745.50
  2/16/2018     Peter Finley Fry                           Payment to vendor V10281            1,686.00
   3/9/2018     Peter Finley Fry                           Payment to vendor V10281                 630
  3/16/2018     Peter Finley Fry                           Payment to vendor V10281                 700
  2/16/2018     Pitney Bowes Global Financial              Payment to vendor V10286                 630
  3/23/2018     Pitney Bowes Global Financial              Payment to vendor V10286                 630
  3/27/2018     Pitney Bowes Global Financial              Pitney Bowes Global Financial            630
  3/27/2018     Pitney Bowes Global Financial              Pitney Bowes Global Financial           88.12
  3/23/2018     Pitney Bowes Purchase Power                Payment to vendor V10287            1,281.00
  3/26/2018     Pitney Bowes Purchase Power                Pitney Bowes Purchase Power              300
   4/6/2018     Pitney Bowes Purchase Power                Payment to vendor V10287                 270
  2/23/2018     Platt Electric Supply                      Payment to vendor V10830              404.88
   3/9/2018     Platt Electric Supply                      Payment to vendor V10830            1,843.80
   3/2/2018     Platt Electric, Inc                        Payment to vendor V10876                 33.2
  3/16/2018     Platt Electric, Inc                        Payment to vendor V10876                72.55
   2/9/2018     Portland Disposal & Recycling Inc.         Payment to vendor V10291            3,371.03
  2/23/2018     Portland Disposal & Recycling Inc.         Payment to vendor V10291            4,051.79
   3/2/2018     Portland Disposal & Recycling Inc.         Payment to vendor V10291            5,667.89
   3/9/2018     Portland Disposal & Recycling Inc.         Payment to vendor V10291            5,453.24
  3/23/2018     Portland Disposal & Recycling Inc.         Payment to vendor V10291            3,400.44       21,944.39
   2/8/2018     Portland General Electric                  Portland General Electric             632.65
   2/9/2018     Portland General Electric                  Portland General Electric               312.4

EXHIBIT J
PAGE 14 of 20
                                 Case 18-31644-pcm11           Doc 152      Filed 06/01/18
                                          SUNSHINE DAIRY FOODS MANAGEMENT, LLC                     Case #18-31644-pcm11
                                        STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                                  90 DAY CHECK REGISTER

                                                                                                              Total last 90
                                                                                                                 Days
                                                                                                Original         (over
 Posting Date   Name                                        Description                         Amount          $6,425)
   2/9/2018     Portland General Electric                   Portland General Electric               825.52
   2/9/2018     Portland General Electric                   Portland General Electric             2,436.69
   2/9/2018     Portland General Electric                   Portland General Electric             6,385.82
   2/9/2018     Portland General Electric                   Portland General Electric            16,518.36
  3/15/2018     Portland General Electric                   Portland General Electric             4,457.11
  3/15/2018     Portland General Electric                   Portland General Electric            14,279.43
  3/15/2018     Portland General Electric                   Portland General Electric                  7.69
  3/15/2018     Portland General Electric                   Portland General Electric               510.81
  3/15/2018     Portland General Electric                   Portland General Electric               180.24
  3/15/2018     Portland General Electric                   Portland General Electric               323.48
  3/15/2018     Portland General Electric                   Portland General Electric             2,500.50
  3/15/2018     Portland General Electric                   Portland General Electric               968.17
  4/16/2018     Portland General Electric                   Portland General Electric             3,838.00
  4/16/2018     Portland General Electric                   Portland General Electric             4,825.04
  4/16/2018     Portland General Electric                   Portland General Electric            14,798.27
  4/16/2018     Portland General Electric                   Portland General Electric                  7.55
  4/16/2018     Portland General Electric                   Portland General Electric               157.34
  4/16/2018     Portland General Electric                   Portland General Electric               287.53
  4/16/2018     Portland General Electric                   Portland General Electric             2,130.58
  4/16/2018     Portland General Electric                   Portland General Electric               968.61
  4/16/2018     Portland General Electric                   Portland General Electric               569.96       77,921.75
  2/23/2018     Portland Monthly                            Payment to vendor V10293              3,084.00
  2/14/2018     Portland Water Bureau                       Portland Water Bureau                47,179.53
   3/8/2018     Portland Water Bureau                       Portland Water Bureau                31,532.23
  3/15/2018     Portland Water Bureau                       Portland Water Bureau                36,502.63
  3/23/2018     Portland Water Bureau                       Portland Water Bureau                26,819.07
  3/23/2018     Portland Water Bureau                       Portland Water Bureau                   284.52     142,317.98
  2/23/2018     Pro-Western Plastics LTD                    Payment to vendor V10306             15,430.33
   3/2/2018     Pro-Western Plastics LTD                    Payment to vendor V10306             10,150.81
   3/9/2018     Pro-Western Plastics LTD                    Payment to vendor V10306             14,887.86
  3/16/2018     Pro-Western Plastics LTD                    Payment to vendor V10306             10,838.76
  3/23/2018     Pro-Western Plastics LTD                    Payment to vendor V10306             10,838.76       62,146.52
   3/2/2018     Puratos Bakery Supply                       Payment to vendor V10307              5,456.00
   2/9/2018     QCS Purchasing, LLC                         QCS Purchasing, LLC                  20,007.79
  2/16/2018     QCS Purchasing, LLC                         QCS Purchasing, LLC                  24,132.00
  2/23/2018     QCS Purchasing, LLC                         QCS Purchasing, LLC                  59,838.76
   3/2/2018     QCS Purchasing, LLC                         QCS Purchasing, LLC                  32,757.92
   3/9/2018     QCS Purchasing, LLC                         QCS Purchasing, LLC                  15,371.83
  3/16/2018     QCS Purchasing, LLC                         QCS Purchasing, LLC                  29,912.97
  3/23/2018     QCS Purchasing, LLC                         QCS Purchasing, LLC                  27,006.28
  3/30/2018     QCS Purchasing, LLC                         QCS Purchasing, LLC                  22,974.02
   4/6/2018     QCS Purchasing, LLC                         QCS Purchasing, LLC                  22,348.59
  4/13/2018     QCS Purchasing, LLC                         QCS Purchasing, LLC                  22,475.75
  4/20/2018     QCS Purchasing, LLC                         QCS Purchasing, LLC                   7,678.32
  4/27/2018     QCS Purchasing, LLC                         QCS Purchasing, LLC                  63,659.30
   5/1/2018     QCS Purchasing, LLC                         Payment to vendor V10309             12,684.33     360,847.86
  3/16/2018     Quality Chekd Dairies, Inc.                 Quality Chekd Dairies, Inc.           8,500.00       8,500.00
  2/23/2018     Recology Western Oregon                     Payment to vendor V10316                330.44

EXHIBIT J
PAGE 15 of 20
                                  Case 18-31644-pcm11           Doc 152        Filed 06/01/18
                                        SUNSHINE DAIRY FOODS MANAGEMENT, LLC                   Case #18-31644-pcm11
                                      STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                                90 DAY CHECK REGISTER

                                                                                                          Total last 90
                                                                                                             Days
                                                                                            Original         (over
 Posting Date   Name                                      Description                       Amount          $6,425)
   3/2/2018     Recology Western Oregon                   Payment to vendor V10316              499.38
   3/9/2018     Republic Services #472                    Payment to vendor V10318            2,369.28
  3/23/2018     Republic Services #472                    Payment to vendor V10318            3,490.26
  3/16/2018     Revive Brands                             Payment to vendor V10853            1,428.00
  3/23/2018     Revive Brands                             Payment to vendor V10853            1,428.00
  2/23/2018     Rick Wolf                                 Payment to vendor V10865            1,001.16
  3/16/2018     Rick Wolf                                 Payment to vendor V10865              995.08
   4/6/2018     Rick Wolf                                 Payment to vendor V10865            1,042.98
   5/4/2018     Rick Wolf                                 Payment to vendor V10865            1,001.70
  3/22/2018     RMMJ Services Inc.                        Payment to vendor V10796            2,299.13
  3/16/2018     Roger Smith                               Payment to vendor V10887                71.65
  2/12/2018     Rumiano Cheese Company                    Rumiano Cheese Company              5,142.45
   3/2/2018     Rumiano Cheese Company                    Payment to vendor V10331            2,084.11
  3/16/2018     Rumiano Cheese Company                    Payment to vendor V10331            3,176.15
  3/23/2018     Rumiano Cheese Company                    Payment to vendor V10331              894.12
   4/6/2018     Rumiano Cheese Company                    Payment to vendor V10331            3,746.13       15,042.96
   3/2/2018     Safeway, Inc                              Payment to vendor V10769                41.85
  4/20/2018     Sanderson Safety Supply Co.               Payment to vendor V10333              770.72
  4/27/2018     Sanderson Safety Supply Co.               Payment to vendor V10333              659.26
  4/20/2018     Sandy Chambers                            Payment to vendor V10900              136.61
   3/9/2018     Sensient Flavors LLC                      Payment to vendor V10821           11,612.87       11,612.87
   3/9/2018     Shoes for Crews                           Payment to vendor V10734              582.76
  2/13/2018     Sierra Organics                           Sierra Organics                    57,991.82
  2/14/2018     Sierra Organics                           Sierra Organics                    18,377.30
  3/14/2018     Sierra Organics                           Sierra Organics                    26,510.00
  3/28/2018     Sierra Organics                           Sierra Organics                    35,939.20
  3/29/2018     Sierra Organics                           Sierra Organics                    54,414.45
  4/12/2018     Sierra Organics                           Sierra Organics                   105,746.75
  4/26/2018     Sierra Organics                           Payment to vendor V10345          110,703.91     409,683.43
  2/23/2018     Silliker, Inc.                            Payment to vendor V10346            3,232.50
  3/19/2018     Silliker, Inc.                            Payment to vendor V10346            7,979.69
  3/23/2018     Silliker, Inc.                            Payment to vendor V10346            9,109.79       20,321.98
  3/23/2018     Smith Teamaker LLC                        Payment to vendor V10819            1,463.04
  2/13/2018     Sorrento Lactalis, Inc.                   Sorrento Lactalis, Inc.            85,730.21
   3/8/2018     Sorrento Lactalis, Inc.                   Sorrento Lactalis, Inc.           209,921.99
  3/22/2018     Sorrento Lactalis, Inc.                   Sorrento Lactalis, Inc.            88,582.07
  4/12/2018     Sorrento Lactalis, Inc.                   Sorrento Lactalis, Inc.           106,357.98
  4/26/2018     Sorrento Lactalis, Inc.                   Payment to vendor V10349          100,950.43     591,542.68
  2/23/2018     Sprague Pest Control                      Payment to vendor V10352              680.03
   3/2/2018     Sprague Pest Control                      Payment to vendor V10352                307.2
  3/16/2018     Sprague Pest Control                      Payment to vendor V10352                488.4
  3/23/2018     Sprague Pest Control                      Payment to vendor V10352            1,383.70
  2/16/2018     Spring Valley Dairy Inc.                  Payment to vendor V10353                 150
  3/16/2018     Spring Valley Dairy Inc.                  Payment to vendor V10353                 450
   3/8/2018     Springfield Creamery                      Payment to vendor V10355           10,746.28
  3/23/2018     Springfield Creamery                      Payment to vendor V10355            2,419.44       13,165.72
   3/2/2018     Standard Supply Co.                       Payment to vendor V10359                22.78
   2/9/2018     Statco Eng. & Fabricators                 Payment to vendor V10360            2,714.54

EXHIBIT J
PAGE 16 of 20
                                Case 18-31644-pcm11           Doc 152      Filed 06/01/18
                                        SUNSHINE DAIRY FOODS MANAGEMENT, LLC                    Case #18-31644-pcm11
                                      STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                                90 DAY CHECK REGISTER

                                                                                                           Total last 90
                                                                                                              Days
                                                                                             Original         (over
 Posting Date   Name                                      Description                        Amount          $6,425)
  2/16/2018     Statco Eng. & Fabricators                 Payment to vendor V10360             3,739.66
  2/23/2018     Statco Eng. & Fabricators                 Payment to vendor V10360             1,224.96
   3/2/2018     Statco Eng. & Fabricators                 Payment to vendor V10360             7,130.13
   3/9/2018     Statco Eng. & Fabricators                 Payment to vendor V10360             7,693.51
  3/23/2018     Statco Eng. & Fabricators                 Payment to vendor V10360             7,776.01
  3/30/2018     Statco Eng. & Fabricators                 Payment to vendor V10360               599.73       30,878.54
  2/27/2018     State Of Washington                       State Of Washington                  4,169.44
   4/9/2018     State Of Washington                       State Of Washington                  3,119.54
  4/27/2018     State of Washington                       State of Washington                  2,203.79        9,492.77
  2/23/2018     Stateline Plumbing LLC                    Payment to vendor V10457                  360
  2/16/2018     Steven Tyler                              Payment to vendor V10881                    32
  4/13/2018     Steven Tyler                              Payment of Invoice PI014580          1,912.23
   2/8/2018     Stiebrs Farms, Inc.                       Payment to vendor V10361            20,205.64
  2/15/2018     Stiebrs Farms, Inc.                       Payment to vendor V10361            14,607.92
  2/22/2018     Stiebrs Farms, Inc.                       Payment to vendor V10361            13,828.58
   3/1/2018     Stiebrs Farms, Inc.                       Payment to vendor V10361            16,920.32
   3/8/2018     Stiebrs Farms, Inc.                       Payment to vendor V10361             8,307.14
  3/15/2018     Stiebrs Farms, Inc.                       Payment to vendor V10361            20,839.32
  3/22/2018     Stiebrs Farms, Inc.                       Payment to vendor V10361            18,232.22
  3/29/2018     Stiebrs Farms, Inc.                       Payment to vendor V10361            24,070.30
   4/5/2018     Stiebrs Farms, Inc.                       Payment to vendor V10361            15,983.62
  4/11/2018     Stiebrs Farms, Inc.                       Payment to vendor V10361            17,720.54
  4/19/2018     Stiebrs Farms, Inc.                       Payment to vendor V10361            20,319.14
  4/26/2018     Stiebrs Farms, Inc.                       Payment to vendor V10361            11,459.44
   5/7/2018     Stiebrs Farms, Inc.                       Payment to vendor V10361            15,377.31     217,871.49
   3/2/2018     Stoel Rives, LLP                          Payment to vendor V10884             5,000.00
  3/14/2018     Stoel Rives, LLP                          Payment to vendor V10884             5,000.00
  3/16/2018     Stoel Rives, LLP                          Payment to vendor V10884             5,000.00
  3/23/2018     Stoel Rives, LLP                          Payment to vendor V10884             5,000.00
  3/30/2018     Stoel Rives, LLP                          Payment to vendor V10884             5,000.00
   4/6/2018     Stoel Rives, LLP                          Payment to vendor V10884             5,000.00
  4/20/2018     Stoel Rives, LLP                          Payment to vendor V10884             4,928.50       34,928.50
  2/21/2018     Strada Capital Corp.                      Payment to vendor V10650             2,569.67
  3/29/2018     Strada Capital Corp.                      Payment to vendor V10650             2,955.13        5,524.80
  2/16/2018     Stumptown Coffee Roasters                 Payment to vendor V10362            19,910.04
  3/16/2018     Stumptown Coffee Roasters                 Payment to vendor V10362             7,182.12       27,092.16
   3/9/2018     Sturm Elevator, Inc.                      Payment to vendor V10363             2,892.00
   2/9/2018     Summit Funding Group, Inc.                Payment to vendor V10564               670.63
   3/2/2018     Summit Funding Group, Inc.                Payment to vendor V10564                 67.06
  3/16/2018     Summit Funding Group, Inc.                Payment to vendor V10564                 67.06
   4/2/2018     Summit Funding Group, Inc.                Payment to vendor V10564             1,341.26
  4/20/2018     Summit Funding Group, Inc.                Payment to vendor V10564                 67.06
  3/13/2018     Sunshine Dairy Foods                      Payment to vendor V10370            32,000.00
  3/27/2018     Sunshine Dairy Foods                      Payment to vendor V10370            24,400.00
  3/27/2018     Sunshine Dairy Foods                      Payment to vendor V10370            48,600.00     105,000.00
  2/16/2018     SVZ-USA Inc.                              Payment to vendor V10372            30,360.00      30,360.00
  3/23/2018     Taylor-Made Labels, Inc..                 Payment to vendor V10379             2,223.99
  3/26/2018     Taylor-Made Labels, Inc..                 Payment to vendor V10379                 650.6

EXHIBIT J
PAGE 17 of 20
                                Case 18-31644-pcm11           Doc 152       Filed 06/01/18
                                        SUNSHINE DAIRY FOODS MANAGEMENT, LLC                   Case #18-31644-pcm11
                                      STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                                90 DAY CHECK REGISTER

                                                                                                          Total last 90
                                                                                                             Days
                                                                                            Original         (over
 Posting Date   Name                                      Description                       Amount          $6,425)
  2/27/2018     TCF Equipment Finance                     TCF Equipment Finance               5,446.93
  2/28/2018     TCF Equipment Finance                     TCF Equipment Finance               5,583.27
  4/30/2018     TCF Equipment Finance                     TCF Equipment Finance               5,075.70       16,105.90
   3/2/2018     Teamsters Local #305                      Payment to vendor V10380            4,650.00
  4/11/2018     Teamsters Local #305                      Payment to vendor V10380            4,883.00
  4/26/2018     Teamsters Local #305                      Teamsters Local #305                4,529.00       14,062.00
  3/16/2018     TEC Equipment                             Payment to vendor V10745            1,019.00
  3/23/2018     TEC Equipment                             Payment to vendor V10745              630.13
  4/27/2018     TEC Equipment                             Payment to vendor V10745                15.28
   2/9/2018     Tetra Pak                                 Tetra Pak                          27,486.72
  2/16/2018     Tetra Pak                                 Tetra Pak                          14,039.00
  2/23/2018     Tetra Pak                                 Tetra Pak                          23,150.51
   3/2/2018     Tetra Pak                                 Tetra Pak                          15,541.12
   3/9/2018     Tetra Pak                                 Tetra Pak                          34,138.95
  3/16/2018     Tetra Pak                                 Tetra Pak                          16,333.00
  3/23/2018     Tetra Pak                                 Tetra Pak                          19,632.53
  3/30/2018     Tetra Pak                                 Tetra Pak                          16,034.80
   4/6/2018     Tetra Pak                                 Tetra Pak                          12,402.51
  4/13/2018     Tetra Pak                                 Tetra Pak                          21,743.24
  4/20/2018     Tetra Pak                                 Tetra Pak                          10,677.18
  4/30/2018     Tetra Pak                                 Tetra Pak                          10,926.14     222,105.70
   2/8/2018     Therese Nelson                            Payment to vendor V10871            8,680.35
  2/15/2018     Therese Nelson                            Payment to vendor V10871            8,000.00
   3/2/2018     Therese Nelson                            Payment to vendor V10871            8,642.01
  3/16/2018     Therese Nelson                            Payment to vendor V10871            8,000.00
  3/30/2018     Therese Nelson                            Payment to vendor V10871            8,737.93
   4/6/2018     Therese Nelson                            Payment to vendor V10871            4,155.65
  4/17/2018     Therese Nelson                            Payment to vendor V10871            4,176.68
  4/20/2018     Therese Nelson                            Payment to vendor V10871            4,127.75
  4/27/2018     Therese Nelson                            Payment to vendor V10871            4,159.69
   5/4/2018     Therese Nelson                            Payment to vendor V10871            5,627.63       64,307.69
  2/16/2018     Tic Gums, Inc.                            Payment to vendor V10533           16,640.54       16,640.54
  2/16/2018     Toyota Financial Services                 Payment to vendor V10804              321.77
   3/2/2018     Toyota Financial Services                 Payment to vendor V10804              336.43
  3/23/2018     Toyota Financial Services                 Payment to vendor V10804              307.84
  2/16/2018     Toyota Industries                         Payment to vendor V10390            3,508.67
   3/9/2018     Toyota Industries                         Payment to vendor V10390            3,142.37
  3/23/2018     Toyota Industries                         Payment to vendor V10390            3,142.37        9,793.41
  2/16/2018     Toyota Lift Northwest                     Payment to vendor V10391                622.5
   3/2/2018     Toyota Lift Northwest                     Payment to vendor V10391              358.75
   3/9/2018     Toyota Lift Northwest                     Payment to vendor V10391            1,987.73
  3/16/2018     Toyota Lift Northwest                     Payment to vendor V10391                 612
  3/28/2018     Toyota Lift Northwest                     Payment to vendor V10391                 20.5
   2/9/2018     Travelcard Commercial Fueling             Payment to vendor V10393            5,212.54
  3/16/2018     Travelcard Commercial Fueling             Payment to vendor V10393            6,273.57
  3/23/2018     Travelcard Commercial Fueling             Payment to vendor V10393            5,790.16
  4/20/2018     Travelcard Commercial Fueling             Payment to vendor V10393            5,865.02       23,141.29
  3/16/2018     Tree Top Inc.                             Payment to vendor V10394           45,000.00

EXHIBIT J
PAGE 18 of 20
                                Case 18-31644-pcm11           Doc 152      Filed 06/01/18
                                          SUNSHINE DAIRY FOODS MANAGEMENT, LLC                   Case #18-31644-pcm11
                                        STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                                  90 DAY CHECK REGISTER

                                                                                                          Total last 90
                                                                                                              Days
                                                                                              Original        (over
 Posting Date   Name                                        Description                       Amount        $6,425)
  3/23/2018     Tree Top Inc.                               Payment to vendor V10394           42,552.00     87,552.00
  2/21/2018     Tribeca Transport                           Payment to vendor V10741            4,851.00
   3/2/2018     Tribeca Transport                           Payment to vendor V10741            4,503.00
   3/9/2018     Tribeca Transport                           Payment to vendor V10741            3,695.00
  3/23/2018     Tribeca Transport                           Payment to vendor V10741            2,079.00
  4/20/2018     Tribeca Transport                           Payment to vendor V10741            1,386.00
  4/27/2018     Tribeca Transport                           Payment to vendor V10741            1,386.00     17,900.00
   3/2/2018     UHF Purchasing - MHA Inc.                   Payment to vendor V10396            1,574.23
   3/9/2018     UHF Purchasing - MHA Inc.                   Payment to vendor V10396            1,794.43
   2/9/2018     Umpqua Dairy Products Co.                   Payment to vendor V10397            8,507.13
  2/16/2018     Umpqua Dairy Products Co.                   Payment to vendor V10367            8,889.58
  2/26/2018     Umpqua Dairy Products Co.                   Umpqua Dairy Products Co.          22,806.75
  3/23/2018     Umpqua Dairy Products Co.                   Payment to vendor V10397            5,657.92
  3/30/2018     Umpqua Dairy Products Co.                   Payment to vendor V10397            6,787.92
  4/20/2018     Umpqua Dairy Products Co.                   Payment to vendor V10397           15,285.68
  4/27/2018     Umpqua Dairy Products Co.                   Payment to vendor V10397           11,048.66     78,983.64
  2/21/2018     Unified Grocers                             Payment to vendor V10398           11,740.86
  3/23/2018     Unified Grocers                             Payment to vendor V10398           14,799.53     26,540.39
  3/16/2018     United Brands, Inc.                         Payment to vendor V10401            1,218.00
  3/22/2018     United Rentals Inc.                         Payment to vendor V10402              428.38
   3/2/2018     United Site Services of Nevada, Inc.        Payment to vendor V10613              270.96
  3/16/2018     United Site Services of Nevada, Inc.        Payment to vendor V10613                67.74
  3/21/2018     United States Treasury                      United States Treasury             16,225.54
  4/10/2018     United States Treasury                      United States Treasury              1,100.00     17,325.54
  2/21/2018     Uptown Providers                            Payment to vendor V10407            1,674.00
  3/16/2018     Uptown Providers                            Payment to vendor V10407                   99
   4/6/2018     Uptown Providers                            Payment to vendor V10407                   45
  4/20/2018     Uptown Providers                            Payment to vendor V10407                 985
   3/2/2018     Upward Technology                           Payment to vendor V10807            9,632.00
   3/9/2018     Upward Technology                           Payment to vendor V10807            8,606.00
  3/16/2018     Upward Technology                           Payment to vendor V10807            8,391.50
   4/6/2018     Upward Technology                           Payment to vendor V10807                 505     27,134.50
   4/6/2018     US Bank Equipment Finance                   US Bank Equipment Finance             402.33
  2/27/2018     Valley Falls Farm, LLC                      Valley Falls Farm, LLC             88,815.32
  3/14/2018     Valley Falls Farm, LLC                      Valley Falls Farm, LLC             92,160.77
  3/28/2018     Valley Falls Farm, LLC                      Valley Falls Farm, LLC             68,627.80
   4/4/2018     Valley Falls Farm, LLC                      Valley Falls Farm, LLC            136,332.46
  4/19/2018     Valley Falls Farm, LLC                      Valley Falls Farm, LLC            100,821.61
   5/1/2018     Valley Falls Farm, LLC                      Payment to vendor V10410           93,131.20 579,889.16
  2/16/2018     Ventura Foods, LLC                          Payment to vendor V10411            7,942.00       7,942.00
   2/9/2018     Verizon Wireless                            Payment to vendor V10413              650.98
   3/9/2018     Verizon Wireless                            Payment to vendor V10413              641.99
  3/16/2018     Verizon Wireless                            Payment to vendor V10413              641.86
  4/20/2018     Verizon Wireless                            Payment to vendor V10413              531.04
   2/9/2018     Vision Service Plan                         Payment to vendor V10415            2,302.87
   3/2/2018     Vision Service Plan                         Vision Service Plan                 2,205.56
   3/2/2018     Vision Service Plan                         Vision Service Plan                -2,205.56
   3/2/2018     Vision Service Plan                         Vision Service Plan                 2,202.56

EXHIBIT J
PAGE 19 of 20
                                  Case 18-31644-pcm11           Doc 152      Filed 06/01/18
                                       SUNSHINE DAIRY FOODS MANAGEMENT, LLC                   Case #18-31644-pcm11
                                     STATEMENT OF FINANCIAL AFFAIRS - QUESTOIN 3
                                               90 DAY CHECK REGISTER

                                                                                                         Total last 90
                                                                                                            Days
                                                                                           Original         (over
 Posting Date   Name                                     Description                       Amount          $6,425)
   4/3/2018     Vision Service Plan                      Vision Service Plan                 2,134.78
   5/2/2018     Vision Service Plan                      Vision Service Plan                 2,079.72        6,417.06
  2/23/2018     Vivolac Cultures Corporation             Payment to vendor V10418              489.18
  2/16/2018     Waste Management Of Oregon               Payment to vendor V10421              547.28
  2/23/2018     Waste Management Of Oregon               Payment to vendor V10421              273.64
  3/23/2018     Waste Management Of Oregon               Payment to vendor V10421              273.64
   3/2/2018     WC Winks Hardware                        Payment to vendor V10425                445.6
   3/9/2018     Wells Fargo Equipment Finance            Payment to vendor V10428              701.08
  3/16/2018     Wells Fargo Equipment Finance            Payment to vendor V10428              340.77
  3/30/2018     Wells Fargo Equipment Finance            Payment to vendor V10428              448.24
   2/9/2018     Western Conference Of Teamsters          Payment to vendor V10430            8,541.54
  2/13/2018     Western Conference Of Teamsters          Payment to vendor V10430           72,421.34
  2/23/2018     Western Conference Of Teamsters          Payment to vendor V10430            8,347.79
  3/15/2018     Western Conference Of Teamsters          Payment to vendor V10430           62,503.29
  4/20/2018     Western Conference Of Teamsters          Payment to vendor V10430           64,745.50     216,559.46
  2/23/2018     Workforce QA                             Payment to vendor V10438                   92
   4/6/2018     Workforce QA                             Payment to vendor V10438                   92
   2/9/2018     Wymore Transfer Company, Inc             Payment to vendor V10724            2,260.40
  2/16/2018     Wymore Transfer Company, Inc             Payment to vendor V10724            3,115.80
   3/2/2018     Wymore Transfer Company, Inc             Payment to vendor V10724            3,385.40
   3/9/2018     Wymore Transfer Company, Inc             Payment to vendor V10724            5,776.80
  3/16/2018     Wymore Transfer Company, Inc             Payment to vendor V10724            5,315.95
  3/23/2018     Wymore Transfer Company, Inc             Payment to vendor V10724            1,579.10
   4/2/2018     Wymore Transfer Company, Inc             Payment to vendor V10724            1,227.15
   4/6/2018     Wymore Transfer Company, Inc             Payment to vendor V10724                   49
  4/20/2018     Wymore Transfer Company, Inc             Payment to vendor V10724            3,823.20
  4/27/2018     Wymore Transfer Company, Inc             Payment to vendor V10724            3,109.50       29,642.30
   2/9/2018     Xenium Resources                         Payment to vendor V10442            6,661.24
  2/16/2018     Xenium Resources                         Payment to vendor V10442            7,424.99
  3/16/2018     Xenium Resources                         Payment to vendor V10442            7,697.17       21,783.40
  2/23/2018     Zentis North America, LLC                Payment to vendor V10834           29,737.40
  3/16/2018     Zentis North America, LLC                Payment to vendor V10834           10,285.84
   5/3/2018     Zentis North America, LLC                Zentis North America, LLC          32,671.96       72,695.20
  3/14/2018     Zucarmex USA                             Payment to vendor V10446           23,069.00
  3/23/2018     Zucarmex USA                             Payment to vendor V10446           23,069.00       46,138.00




EXHIBIT J
PAGE 20 of 20
                                Case 18-31644-pcm11          Doc 152      Filed 06/01/18
In re Sunshine Dairy Foods Management, LLC
Ch 11 Bankruptcy Case No. 18-31644-pcm11
In re Karamanos Holdings, Inc.;
Ch 11 Bankruptcy Case No. 18-31646-pcm11

                               CERTIFICATE - TRUE COPY

DATE:              June 1, 2018

DOCUMENT:         MISSING SCHEDULES A-H, DECLARATION OF NON-INDIVIDUAL
                  DEBTORS, STATEMENT OF FINANCIAL AFFAIRS

       I hereby certify that I prepared the foregoing copy of the foregoing named
document and have carefully compared the same with the original thereof and it is a
correct copy therefrom and of the whole thereof.

                               CERTIFICATE OF SERVICE

        I hereby certify that I served a copy of the foregoing on:
 Sunshine Dairy Foods          Valley Falls Farm, LLC                  Sorrento Lactalis, Inc.
   Management, LLC             c/o Bryan P. Coluccio, V.P. and         c/o Phillips Lytle LLP
 Attn: Norman Davidson, III    General Counsel Keystone-Pacific, LLC   Attn: Angela Z. Miller
 801 NE 21st Ave.              18555 SW Teton Avenue                   125 Main Street
 Portland, OR 97232            Tualatin, OR 97062                      Buffalo, NY 14203
                               (Un. Sec. Cred. Comm. Chairperson)
 Karamanos Holdings, Inc.
 Attn: Norman Davidson, III
 801 NE 21st Ave.
 Portland, OR 97232

by mailing a copy of the above-named document to each of them in a sealed envelope,
addressed to each of them at his or her last known address. Said envelopes were
deposited in the Post Office at Portland, Oregon, on the above date, postage prepaid.

      I hereby certify that the foregoing was served on all CM/ECF participants through
the Court's Case Management/Electronic Case File system on the date set forth below.

        Dated: June 1, 2018

                                         VANDEN BOS & CHAPMAN, LLP



                                         By:/s/Douglas R. Ricks
                                           Douglas R. Ricks, OSB #044026
                                           Of Attorneys for Debtor-in-Possession



Page 1 – CERTIFICATE OF SERVICE




                     Case 18-31644-pcm11       Doc 152      Filed 06/01/18
